  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 1 of 393 Page ID #:1
                                       FEE PAID
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                                                                       MAY 18 2023
                                                                            rsm
   KRISTEN PEARSON
 STEVEN COLLINS
   2023 W SAINT ESTEPHE COURT
 HAYDEN, ID 83835
   208-682-5870
 KPEARSONLAW@GMAIL.COM

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 
                        UNITED STATES DISTRICT COURT
                      CENTRAL DISTRICT OF CALIFORNIA

                                                        2:23-CV-03882-DSF-MRWx
 KRISTEN PEARSON, an individual;               CASE #

    KRISTEN PEARSON as administrator of
    THE ESTATE OF THOMAS PEARSON;                 VERIFIED COMPLAINT FOR

    and STEVEN COLLINS, an individual.            WRONGFUL FORECLOSURE

      Plaintiffs,                                     1. Breach Of Contract

                                                      2. Breach Of Implied Covenant Of
   vs.                                                 Good Faith And Fair Dealing
 
                                                      3. Violation Of Consumer
    LOANCARE, LLC, a Virginia limited                     Protection Laws
  liability company; TRUSTEE CORPS., a              4. Violation Of California Civil
  California Corporation; PHH MORTGAGE                  Code § 2924.17
    CORPORATION,          a    New  Jersey            5. Violation Regarding Dual

    Corporation; CATAMOUNT PROPERTIES                     Tracking Under 12 CFR
 2018, LLC, a Delaware Limited Liability               1024.41(G)

    Company; and DOES 1-10.                           6. Violation Regarding Dual
                                                          Tracking Under The California

      Defendants.                                         Homeowners Bill Of Rights
                                                   7. Negligence
                                                      8. Wrongful Foreclosure

                                                      9. Intentional Misrepresentation
                                                   10. Negligent Misrepresentation
                                                      11. Intentional Infliction Of
 
                                                          Emotional Distress
                                                    12. Negligent Infliction Of Emotional
                                              
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                           -1
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 2 of 393 Page ID #:2

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                                                               Distress
                                                           13. Loss Of Consortium
                                                         14. Void/ Cancel Trustee Sale
                                                         15. Set Aside Trustee Sale.
                                                           16. Preliminary And Permanent

                                                               Injunctive Relief Under
                                                             California Business And

                                                               Professions Code Sections 17200
                                                               Et Seq
                                                          17. Preliminary And Permanent
                                                              Injunctive Relief Under
                                                               Consumer Financial Protection
 
                                                               Act Under 12 U.S. Code 5538
                                                        18. Quiet Title

                                                       JURY TRIAL REQUESTED


         PLAINTIFF       KRISTEN       PEARSON         and   KRISTEN       PEARSON        as

      ADMINISTRATOR OF THE THOMAS PEARSON ESTATE, and STEVEN COLLINS,



      against DEFENDANTS LOANCARE, LLC., a Virginia Limited Liability Company,

    TRUSTEE CORPS., PHH MORTGAGE CORPORATION, a New Jersey Corporation,
 
      CATAMOUNT PROPERTIES 2018, LLC, a Delaware Limited Liability Company.
 


                                  JURISDICTION AND VENUE


   1. This court has original jurisdiction under 28 U.S.C. § 1332 (a) because the parties are

          citizens of different states; and the matter in controversy, exclusive of interest and



          costs, exceeds the sum of $75,000.



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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                  -2
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 3 of 393 Page ID #:3

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
      2. The Court has subject-matter jurisdiction over this action because it is brought under

          federal consumer financial law; 12 U.S.C. §§5538 and 5565 (a) and presents a federal

          question, 28 U.S.C. § 1331.


    3. Venue lies in the United States District Court for the Central District of California

          according to 28 U.S.C. § 1391(b)(2), because a substantial part of the acts and
 

         omissions giving rise to Plaintiff's claims occurred in Ventura County, California.
 

                                           PARTIES

      4. Plaintiff KRISTEN PEARSON is an individual, residing in Hayden, Idaho.

      5. Plaintiff KRISTEN PEARSON in her representative capacity as administrator of the


       ESTATE OF THOMAS PEARSON, case # 56-2021-00552214-PR-LA-OXN, in

          Ventura County, Idaho.


    6. Plaintiff STEVEN COLLINS, an individual, residing in Hayden, Idaho. Steven
 
          Collins is Plaintiff's husband and has claims for intentional infliction of emotional
 


          distress and loss of consortium.

   7. Defendant TRUSTEE CORPS. is a corporation, organized and existing under the

          laws of California, with its principal place of business at 17100 Gillette Ave. Irvine,


       CA 92614. Trustee Corps is the Trustee which conducted the foreclosure sale on

          behalf of Loancare.


 
      8. Defendant LOANCARE, LLC, is a limited liability company, organized and existing
        under the laws of Virginia, with its principal place of business at 3637 Sentara Way,
                                                   
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                   -3
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 4 of 393 Page ID #:4

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
          Virginia Beach, VA 23452-4262. Defendant Loancare is the servicer of the New Rez

          mortgage secured by the Corpus Christi home.

      9. Defendant CATAMOUNT PROPERTIES 2018, LLC, is a limited liability company,


        organized and existing under the laws of Virginia with its principal place of business

          2015 MANHATTAN BEACH BLVD., STE 100 ATTN: LEGAL DEPARTMENT
 

         REDONDO BEACH, CA 90278. Defendant Catamount Properties 2018 is the
 
          purchaser of said property during the foreclosure sale on March 16, 2023.

      10. The plaintiff lacks knowledge of the true identities and roles of the defendants being


       sued in this case as DOES 1 through 10("DOE Defendants"), inclusive, and therefore

          sues said DOE Defendants by fictitious names. Plaintiff is informed and believes, and


       based on such information and belief, aver, that each of the DOE Defendants is

          contractually, strictly, negligently, intentionally, vicariously liable, and or otherwise
 

 
          legally responsible in some manner for the acts and omissions described herein.

        Plaintiff will amend this Complaint to set forth the true names and capacities of each

          DOE Defendant when the same are ascertained.



                                          INTRODUCTION


   11. This is an action to set aside the March 16, 2023, foreclosure sale for the residential

          property; 3421 Corpus Christi Ave., Simi Valley, California, 93063 (Corpus Christi


 
          home).
 

                                                    
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                   -4
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 5 of 393 Page ID #:5

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
      12. This further is an action for damages incurred by the Plaintiffs resulting from a

          nonjudicial foreclosure of the Plaintiffs' home which was sold by Defendant's

          Loancare, LLC. (Loancare) and Trustee Corps. on March 16, 2023.


    13. On October 26, 2020, Charlotte Pearson a joint mortgagor of the Deed of Trust died

          due to a self-inflicted gunshot wound.
 

     14. On November 6, 2020, Thomas Pearson, a joint mortgagor of the Deed of Trust died
 
          due to health complications.

      15. In January 2022, Plaintiff was in default with the mortgage secured by the Corpus


       Christi home.

      16. In May 2022, Plaintiff communicated with Defendant Loancare regarding the default.


   17. Defendant Loancare did not mail preforeclosure letters to Plaintiff before the Notice

          of Default was recorded.
 

 
      18. On August 18, 2022, Trustee Corps recorded the Notice of Default.

    19. On September 6, 2022, Plaintiff received her first letter from Loancare.

      20. On November 29, 2022, Trustee Corps recorded the Notice of Trustee Sale.


   21. On March 16, 2023, Trustee Corps sold the Corpus Christi home at the foreclosure

          sale for about $600,000.00.


   22. Defendant Catamount Properties 2018, LLC, bought the Corpus Christi home on

          March 16, 2023. The defendant may have a claim or interest in the Property
 
          Described In The Complaint Adverse To Plaintiff's Title.
 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                   -5
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 6 of 393 Page ID #:6

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
                                       FACTUAL ALLEGATIONS

    23. On October 6, 2014, Thomas and Charlotte Pearson signed the deed of trust for the

          3421 Corpus Christi home, secured by a deed for $183,500 by Greentree Servicing


        LLC. A true and correct copy of this deed of trust recorded in the county of Ventura

          as instrument number 100809006393775893, is attached as Exhibit A.
 

 
      24. This above-mentioned loan is a Fannie Mae Loan.

     25. In the fall of 2020, the plaintiff lost both of her parents unexpectedly. Specifically.

          Charlotte Pearson passed away. October 26th, 2020, and Thomas Pearson passed


       away 10 days later, on November 6th, 2020.

      26. Thomas and Charlotte Pearson left the following heirs Kristen Pearson, Steven


       Pearson, Brandi Lange, and Kimberly Pearson.

      27. On January 7, 2021, Plaintiff mailed Defendant's Loancare and PHH Mortgage letters
 
          regarding her parent's death, and the death certificates and gave them her contact
 

        information.

      28. On March 22nd, 2021, the plaintiff petitioned the court to open a probate case


       regarding Thomas Pearson.

      29. On April 29th, 2021, Plaintiff was appointed as administrator of Thomas Pearson's



          estate.

   30. On July 8, 2021, Defendant Loancare was mailed Plaintiff's Notice of Administration
 
          of the Estate of Thomas G. Pearson to Loancare at 3637 Sentara Way, Virginia
 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                  -6
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 7 of 393 Page ID #:7

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
          Beach, VA 23452; and Nationstar/Mr. Cooper, 350 Highland, Houston, TX 77067, by

          Michael Haman at Haman Law. A true and correct copy of the Notice of

          Administration of the Estate of Thomas G Pearson is attached as Exhibit B.


    31. Despite Defendant Loancare being notified in writing twice, Loancare failed to

          update its file regarding the status of the 3421 Corpus Christi, Simi Valley, CA 93063
 

         home. A true and correct copy of Defendant Loancare's letters are attached as Exhibit
 
          C.

      32. In January 2022, Plaintiff experienced a hardship in paying for the mortgage as the


       tenants who lived in the Corpus Christi home were being evicted from the residence

          so the heirs of Thomas and Charlotte Pearson, Steven and Kimberly Pearson, could


       move into the property.

      33. As a result of this eviction, Plaintiff did not receive rent and was unable to maintain
 

 
          paying for the mortgage.

    34. On May 24, 2021, Plaintiff contacted Defendant Loancare to discuss the late

          payments, the status of payment regarding the residence, and to discuss being able to


       take advantage of the offer Loancare sent out on May 24, 2022, as she was able to

          start paying for the mortgage at the offered rate. See Exhibit D.


   35. However, Defendant Loancare did not have records regarding the passing of Thomas

          and Charlotte Pearson, thus mitigation becoming current on the home loan was
 
          delayed.
 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                   -7
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 8 of 393 Page ID #:8

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
      36. Plaintiff proceeded to email her letters of administration and the death certificates to

          Defendant Loancare on May 24, 2022, and again on June 1, 2022, due to Defendant

          Loancare's email or website not working correctly. See, Exhibit E.


    37. On July 14, 2022, Plaintiff contacted Defendant Loancare to discuss the status of the

          home loan and again requested to take advantage of the offer mailed to her on May
 

         24, 2022.
 
      38. Defendant Loancare informed Plaintiff that cannot happen and that she needed to

          apply for loan assistance mitigation.


   39. Under Fannie Mae’s rules, Defendant was required to offer Plaintiff the above-

          mentioned mitigation option, due to the loan’s status and the type of loan. See,


       Exhibit F, Fannie Mae Flex Modification requirements.

      40. Plaintiff's July 14, 2022, conversation with the Loancare representative was unclear
 

 
          on the steps to take as she did not want to transfer the mortgage into her and her

        sibling's names, as she just wanted an offer on what options were available for

          Plaintiff to get current so she could in the future once 3364 Greenville Ave., Simi


       Valley, CA 93063 home (Plaintiff's parents’ current home) was sold to satisfy the

          creditors in the probate case.


   41. During this conversation, Loancare did not offer any forbearances, even though the

          tenants had stopped paying both due to the eviction and due to covid, and even
 

 

                                                    
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                   -8
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 9 of 393 Page ID #:9

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
          though Plaintiff expressed an ability to pay the current amount due, just not the

          defaulted amount of the mortgage.

      42. Plaintiff filled out the mortgage mitigation application on August 25, 2022, and again


        Defendant Loancare's email was not working correctly. See, Exhibit G.

      43. On August 18, 2021, the defendant trustee corps filed the notice of default with the
 

         Ventura County recorder. A true and correct copy of the notice of default is attached
 
          as Exhibit H.

      44. Plaintiff assumed formal foreclosure, had not occurred due to not receiving a notice


       of default in the mail, and due to her parents' other property, the Greenville home

          defaulting in June 2021 not entering formal foreclosure proceedings.


   45. Plaintiff's parents' Greenville home is owned by New Rez but serviced by PHH

          mortgage. A true and correct copy of a letter from PHH mortgage/ New Rez is
 

 
          attached as Exhibit I.

    46. The Corpus Christi home is also owned by NewRez but serviced by Loancare. A true

          and correct copy of a letter from New Rez is attached as Exhibit I.


   47. According to Plaintiff's cell phone bills, Loancare had contacted Plaintiff by phone a

          total of 2-3 times.


   48. During plaintiffs-initiated contact with dependent Loancare, Loancare did not assess

          the Borrower's financial situation and explore options for the Borrower to avoid
 
          foreclosure.
 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                  -9
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 10 of 393 Page ID #:10

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
      49. Defendant Loancare is disingenuous when it asserted on the California declaration of

          compliance, civil code 2923.55, it had not denied the borrower a forbearance request

          on or after 8/312020. A true, and correct copy of the California declaration of


        compliance is attached as Exhibit J.

      50. Defendant Loancare has never offered Plaintiff, a forbearance of any sort, but merely
 

         directed Plaintiff to fill out the mortgage assistance application.
 
      51. Defendant Loancare located in Temecula, California during both 2021, and 2022

          would mail letters regarding default on the mortgage to the property address of 3421


       Corpus Christi Ave, Simi Valley, CA 93063, despite the Deed of Trust mandating

          written communication be sent to 3364 Greenville Ave., Simi Valley, CA 93063, and


       Plaintiff providing notices to Defendant Loancare to mail all correspondence to the

          administrator of the Thomas Pearson estate at 2023 W. Saint Estephe Court, Hayden,
 

 
          ID 83835.

    52. On September 6, 2022, about 9 months later, Plaintiff received her first letter from

          Loancare with options to get current.


   53. Defendant Loancare's mitigation letter dated September 6, 2022, is over 9 months

          from when Plaintiff became delinquent, and over 3 months since Plaintiff had


       emailed Defendant Loancare the letters of administration and death certificates on

          June 1, 2022.
 

 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                    - 10
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 11 of 393 Page ID #:11

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
      54. On September 9, 2022, Plaintiff discovered her email did not go through and faxed

          the completed application, MMA application, Thomas and Charlotte Pearson's 2020

          and 2021 tax returns, Plaintiff's expense statement, and Plaintiff's taxpayer consent to


        Loancare.

      55. On September 12, 2022, Plaintiff received fax confirmation receipts regarding the
 

         application and a letter regarding the lapse in homeowners' insurance.
 
      56. Plaintiff subsequently called Defendant Loancare to check on the status of Plaintiff's

          MMA application on November 3, 2022, and was informed that Defendant Loancare


       did not receive the whole MMA application even though there was a fax confirmation

          indicating successful submission of the application. See, Exhibit K, fax confirmations


       and emails regarding September 9, 2022 application, and said application.

      57. On November 3, 2022, Plaintiff learned that her income was going to be considered
 

 
          for loss mitigation purposes even though she had expressed an inability to qualify due

        to her circumstances.

      58. Plaintiff subsequently emailed her 2019-2021 tax return; VA benefit letter, 90 days


       bank statements with VA and SSDI deposits; and 3-month law office income; profit

          loss statement; and uniform borrower assistance form; and 18 months of bank


       statements with income and tax return deposits; and MMA assistance form. See,

          Exhibit L, Plaintiff’s second application.
 

 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                   - 11
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 12 of 393 Page ID #:12

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
      59. On November 15 Defendant Loancare sent a letter to Plaintiff regarding a denial for

          an incomplete application, which Plaintiff later learned on or about December 15,

          2022, the application was not complete due to Defendant Loancare, not receiving


        Plaintiff's expense sheet which was faxed over on September 9 of 2022, and was

          within the documents sent to Defendant Loancare. Id. at pg. 26.
 

     60. Defendant Loancare did not mail or call needing additional information regarding
 
          Plaintiff's application between the submission of the application and the denial. This

          was in violation of Fannie Mae’s guidelines. See, Exhibit M, Fannie Mae’s


       procedures regarding incomplete applications.

      61. On December 5, 2022, Plaintiff received the Notice of Trustee Sale letter, which was


       filed on November 29, 2022, and on December 13, 2022, Plaintiff received from

          NewRez the annual escrow account disclosure letter.
 

 
      62. Plaintiff again for the third time emailed a loss mitigation application to Defendant

        Loancare on December 22, 2022, and provided the 2019-2021 tax return, VA benefit

          letter, 90 days bank statements with VA and SSDI deposits,18 months of bank


       statements with income and tax return deposits, and 3 mo. Law income.

      63. Again, Defendant Loancare sent a mortgage assistance letter/application dated


       December 23, 2023, when Plaintiff requested a review of the application on

          December 15, 2022, and had already submitted a completed application on December
 
          22, 2022.
 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                 - 12
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 13 of 393 Page ID #:13

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
      64. On December 25, 2022, Defendant Loancare sent their first letter regarding mortgage

          resolution advocate- Megan Haynes. LC-lossmitigation@loancare.net.

      65. Plaintiff further contacted Defendant Trustee Corps and requested a reinstatement


        amount and a postponement to the Trustee sale on January 4, 2023, because

          Defendant Loancare informed Plaintiff to call Trustee Corps regarding the sale date
 

         as the representative did not have authority to postpone the sale date.
 
      66. On January 5, 2023, Plaintiff proceeded to contact Defendant Loancare to see if the

          sale scheduled for January 5, 2023, at 9:00 a.m. had been postponed and learned it


       was postponed.

      67. No representative from Trustee Corps or Loancare, informed Plaintiff of the decision


       despite Trustee Corps drafting a letter dated January 4, 2023, rescheduling the Trustee

          sale to February 2, 2023.
 

 
      68. Again, on January 30, 2023, Plaintiff received a letter regarding options available for

        foreclosure assistance.

      69. Plaintiff could not make progress with Defendant Loancare regarding mitigation


       efforts, so Steven Pearson filed for Bankruptcy on February 1, 2023, to deal with the

          default amount through a Chapter 13 bankruptcy, Case number 9:23-bk-10073-RC.


   70. On February 2, 2023, the foreclosure sale was postponed due to the bankruptcy and

          rescheduled to March 16, 2023.
 

 

                                                    
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                   - 13
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 14 of 393 Page ID #:14

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
      71. On March 9, 2023, Defendant PHH Mortgage called regarding Plaintiff's parent's

          other property the "Greenville home" located at 3364 Greenville Ave, Simi Valley,

          California, and verified with PHH Mortgage the subject property was the Corpus


        Christi home. Plaintiff spoke with Defendant PHH Mortgage and informed the

          representative when the profit loss statement would be submitted.
 

     72. On March 15, 2023, Plaintiff received another call from Defendant PHH Mortgage
 
          and was informed the Trustee Sale for March 16, 2023, was off, even though Plaintiff

          informed the representative that the property was still listed as proceeding to the


       auction.

      73. Late in the evening of March 15, 2023, Plaintiff learned the mortgage company


       Plaintiff spoke to was PHH Mortgage which does not service the Corpus Christi

          home.
 

 
      74. Both the Greenville and Corpus Christi homes are owned/ have a relationship with

        NewRez.

      75. Plaintiff called Defendant Loancare around 4:30 pm March 15, 2023, to learn if the


       trustee sale had not been postponed and communicated her conversations with PHH

          Mortgage earlier that day. Plaintiff requested a postponement of the sale due to


       thinking her application was complete.

      76. Defendant Loancare informed Plaintiff to call in the morning of March 16, 2023, and
 
          speak with their attorney at 8:00 am EST.
 

                                                    
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                   - 14
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 15 of 393 Page ID #:15

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
      77. Plaintiff called Defendant Loancare's attorney in the morning before 5:46 am and

          learned the attorney's office did not open until 8:00 am PST. Plaintiff then called

          Defendant Loancare requesting the sale be postponed and was informed by Defendant


        Loancare to again contact their attorney.

      78. Plaintiff proceeded to call Defendant Trustee Corps on March 16, 2023, at 8:00 am
 

         PST and was informed Defendant Loancare was the only one who could postpone the
 
          sale.

      79. Plaintiff then called Defendant Loancare that same morning and informed Loancare


       what Defendant Trustee Corps had said and was again informed Trustee Corps had to

          make the decision.


   80. . Plaintiff again called Defendant Trustee Corps and was again told the exact

          opposite. Plaintiff then proceeded to email Trustee Corps a request to postpone the
 

 
          sale. See, Exhibit N.

    81. Defendant Trustee Corps proceeded with the sale and Plaintiff's home was sold

          around 10:36 a.m. on March 16, 2023.


   82. Plaintiff relied on Defendant PHH Mortgage's representations and did not attempt to

          reopen/refile Steven Pearson's Bankruptcy case as it had been dismissed or take other


       steps to postpone the sale.


 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                  - 15
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 16 of 393 Page ID #:16

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
      83. PHH Mortgage is the servicer for Plaintiff's Greenville Home, and a Deed of Trust

          was executed with Plaintiff's parents Thomas and Charlotte Pearson for $

          243,308.00., which is secured by 3364 Greenville Ave., Simi Valley, CA 93063.


    84. Since the sale date, Plaintiff. has contacted both Defendant Trustee Corps and

          Loancare to get the sale rescinded. Both companies informed Plaintiff that the sale
 

         would not be rescinded, and Trustee Corps informed me to make a formal letter to
 
          Loancare or seek representation.

      85. On April 30, 2023, Plaintiff emailed Trustee Corps and Loancare, a notice of intent to


       initiate a lawsuit.

      86. On May 4, 2023, Defendant Catamount Properties 2018, LLC, recorded the Trustee's


       Deed Upon Sale.

      87. The projected property value of the Corpus Christi home at the time of sale is
 

 
          between $750,000.00 and $816,000.00.

    88. The defaulted amount on the loan was about $26,000.00, and the amount owed on the

          loan was $161,258.23.


   89. Plaintiff had informed Defendant Loancare that she wanted to pay money towards the

          delinquent amount and was going to use the proceeds from the sale of the Greenville


       home to cover the delinquent amount if necessary.


 

 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                 - 16
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 17 of 393 Page ID #:17

      




      90. Plaintiff after the sale of the Corpus Christi residence inquired multiple times with

          Defendants Trustee Corps and Loancare on her ability to buy the home back or pay

          off the loan in return for the ability to keep her home. Neither Defendant would help.


    91. As a result of Defendants Trustee Corps, Loancare, and PHH Mortgage, the Plaintiffs

          lost the home they had owned for over 40 years. The amount of damages, emotional
 

         distress, potential relocation costs, costs to obtain a property similar to Plaintiff's
 
          beloved home, Defendants' knowledge regarding the nature of Plaintiff's interest in

          the homes as it is an inherited property where Plaintiff lost her mother due to an


       accidental discharge of a gun is estimated to be well over $1,000,00.00.

                                            COUNT ONE


                                     Breach of Contract
                          (Against Defendant Loancare and Trustee Corps.)


    92. Plaintiff incorporates herein by this reference every allegation set forth above as
 
          though set forth herein.
 


      93. Upon information and belief Defendant Loancare, LLC. was an assignee or holder in

          due course of Plaintiff's loan contract with Greentree Servicing, LLC. and a

          beneficiary of the subordinate deed of trust securing the loan. Thus, Loancare, LLC


       assumed all rights, duties, and responsibilities under the loan and subordinate deed of

          trust.


    94. Upon information and belief, the contract for the loan requires the lender or its
 
          servicer to send the borrower monthly statements advising the borrower of the
                                                   
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                  - 17
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 18 of 393 Page ID #:18

      




          amount owed, including the principal, interest, and all other fees that have

          accumulated under the loan contract.

      95. Neither New Rez nor Loancare, LLC, sent Plaintiff any loan statements for the years


        of 2021, 2022, and 2023.

      96. Because Defendant Loancare, LLC, breached their contract with Plaintiff by not
 

         providing regular statements, Plaintiff was not aware of the Notice of Default
 
          recorded or that Defendant had initiated formal foreclosure proceedings until

          receiving the Notice of Trustee Sale in December 2022.


   97. Defendant Loancare Breached the Deed of Trust and Non-Uniform Covenants sec.

          25; and 1-4 Family Rider (Assignment of Rents, G) by refusing to accept any partial


       payments due under the loan pursuant to the clause: "Lender may accept any payment

          or partial payment insufficient to bring the loan current, without waiver of any
 

 
          rights."

    98. Loancare further breached its duty to give any notice to the Plaintiff (Administrator of

          Estate) in writing. "Any notice to Borrower in connection with this Security


       Instrument shall be deemed to have been given to Borrower when mailed by first

          class mail or when delivered to Borrower's notice address if sent by other means…


       The notice address shall be the property address unless Borrower has designated a

          substitute notice address by notice to Lender."
 

 

                                                    
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                  - 18
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 19 of 393 Page ID #:19

      




      99. Loancare breached the Deed of Trust which provided, "This Security Instrument shall

          be governed by federal law and the law of the jurisdiction in which the Property is

          located. All rights and obligations contained in this Security Instrument are subject to


        any requirements and limitations of Applicable Law."

      100. Loancare is explicitly bound by 12 CFR Part 1024 (Regulation X), the California
 

         Homeowner Bill of Rights, and California Civil Code §§ 2923.3(a) and (e); 2923.5,
 
          and 2923.6 (a),(c),(h); 2923.7, and 292.

      101. Loancare was obligated to give appropriate notice and perform early intervention


       foreclosure requirements.

      102. Loancare breached the Non-Uniform Covenants sec. 25; and 1-4 Family Rider


       (Assignment of Rents, G) which provides: "Borrower absolutely and unconditionally

          assigns and transfers to Lender all the rents and revenues of the Property. . . If Lender
 

 
          gives notice of default to Borrower: (i) all Rents received by Borrower shall be held

        by Borrower as trustee for the benefit of Lender only, to be applied to the sums

          secured by the Security Instrument.


   103. Rent was collected by Joshua Brandis, Kimberly Pearson, and Steven Pearson in

          the amount of $1,600 since October 2022. However, despite this "absolute


       assignment" no rent proceeds were able to be deposited per Loancare rules.


 

 

                                                      
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                     - 19
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 20 of 393 Page ID #:20

      




      104. Had Defendant allowed Plaintiff to start making partial payments, Plaintiff would

          have been able to maintain ownership of said property and transfer it into the four

          heir's names.


    105. As a result of Defendants' actions or inaction, Plaintiff lost her family home, and

          the equity in her home, the estate of Thomas Pearson suffered the loss of a home, two
 

         heirs have no home to live in, and will incur costs relocating to a new home.
 
      106. The amount of these damages is estimated to be over $1,000,000.00.



                                           COUNT TWO

                     Breach of Implied Covenant of Good Faith and Fair Dealing

                         (Against Defendant Loancare and Trustee Corps.)



      107. Plaintiff incorporates herein by this reference every allegation set forth above, as

       though fully set forth herein.
 
      108. There is an implied covenant of good faith and fair dealing in every contract that
 

        neither party will do anything which will injure the right of the other to receive the

          benefits of the agreement.


   109. Defendant Loancare and Trustee Corps violated the implied covenant of good faith

          and fair dealing in its contract with Plaintiff for the home loan when it caused to be

          issued a Notice of Default and a Notice of Trustee's Sale by failing to send default


       notices to Plaintiff's address at 2023 W. Saint Estephe Court, Hayden, ID 83835, and
 

 

                                                   
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                  - 20
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 21 of 393 Page ID #:21

      




          forcing Plaintiff to apply for mortgage assistance when she had been offered trial that

          she could pay to get out of default.

      110. Defendant Loancare violated the implied covenant of good faith and fair dealing


        by failing to offer Plaintiff the Flex Modification Solicitation after she was verified as

          a beneficiary, as her loan qualified for the program, and she indicated a willingness to
 

         accept the terms of the agreement. See, Exhibit F.
 
      111. Defendant Loancare further failed this covenant by failing to evaluate Plaintiff's

          facially complete mortgage application according to Fannie Mae's Mortgage


       Assistance Program and RESPA §1024.41(iv).See, Exhibit O, Fannie Mae’s

          definition of a complete mortgage application.


   112. Fannie Mae’s definition of a complete mortgage application is illustrative of the

          standards in the mortgage industry regarding the evaluation of a mortgage assistance
 

 
          application. Under Fannie Mae’s definition, Plaintiff had submitted a complete

        application on September 9, 2022 (per email by Defendant Loancare); on November

          3, 2022, and on December 22, 2022.


   113. Loancare required additional documents for the December 22, 2022 application,

          another 3 months of income, Plaintiff Steven Collins signature on the Application


       (even though he is not an heir and the property is still in probate). These requests

          were unduly burdensome on Plaintiff as her business practice is to bill for time spent
 

 

                                                     
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                   - 21
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 22 of 393 Page ID #:22

      




          each month, and clients may not pay monthly. Additionally, even the federal

          government does not expect businesses to pay taxes monthly, but quarterly.

      114. Defendant Trustee Corps breached its duty of good faith and fair dealing as it was


        Loancare’s agent, and filed the Notice of Default on incorrect information. Under

          Fannie Mae’s policies Loancare was to provide Defendant Trustee Corps
 

     115. As a result of Defendants' actions or inaction, Plaintiff lost her family home, the
 
          equity in her home, and the estate of Thomas Pearson suffered the loss of a home, two

          heirs have no home to live in, and will incur costs relocating to a new home.


   116. The amount of these damages is estimated to be over $1,000,000.00.

                                           COUNT THREE


                            Violation Of Consumer Protection Laws
                                             (Loancare)


    117. Plaintiff incorporates herein by this reference each and every allegation set forth
 
          above and incorporates allegations outlined in Plaintiff's Claim to Void and Cancel
 

       the Trustee Deed Upon Sale as though fully set forth herein.

      118. Plaintiff violated the notices and requirements to file foreclosure under 12 CFR



          Part 1024 (Regulation X),

   119. Plaintiff did not give notices, did not communicate effectively with Plaintiff, and

          did not aid Plaintiff in exploring options to prevent foreclosure.


    120. Plaintiff only informed Plaintiff to fill out an application for mortgage assistance
 
          and did not go over any options available to Plaintiff.
                                                    
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                   - 22
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 23 of 393 Page ID #:23

      




      121. Due to Defendant's reckless disregard for the Consumer Act Code, Plaintiff

          suffered significant damages and request the Court use its equity and void the

          foreclosure sale and assess punitive damages to Defendant Loancare.


                                          COUNT FOUR

                             Violation of California Civil Code § 2924.17
                                   (Loancare and Trustee Corps.)
 
      122. Plaintiff incorporates herein by this reference each and every allegation set forth
 

       above, as though fully set forth herein.

      123. Civil Code § 2924.17(a) provides that a notice of default, a notice of sale, or


       substitution of trustee recorded by or on behalf of a mortgage servicer in connection

          with a foreclosure subject to the requirements of Section 2924 shall be accurate and

          complete and supported by competent and reliable evidence.


    124. Civil Code § 2924.17(b) provides that before recording or filing any of the
 
          documents described in subdivision (a), a mortgage servicer shall ensure that it has
 

       reviewed competent and reliable evidence to substantiate the borrower's default and

          the right to foreclose, including the borrower's loan status and loan information.



      125. Defendants' Loancare, LLC and Trustee Corps. Notice of Default and Notice of

       sale was not supported by competent and reliable evidence as Defendant Loancare

          was mailing default letters to the Corpus Christi home address, and not mailing


        default letters to Plaintiff located in Hayden, Idaho despite the Notice of
 
          Administration of Thomas Pearson's Estate in July 2021, the Plaintiff's letter to
                                                      
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                     - 23
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 24 of 393 Page ID #:24

      




          Defendant Loancare regarding the deaths of Thomas Pearson and Charlotte Pearson

          with attached death certificates in January 2021, and Plaintiff emailing the Letters of

          Administration and death certificates again on June 1, 2022.


    126. Moreover, Defendant Loancare, LLC was not even mailing notices regarding

          default to the address listed on the Deed of Trust, which was Plaintiff's parents'
 

         Greenville home.
 
      127. Civil Code § 2924.12(b) provides that after a trustee's deed upon sale has been

          recorded, a mortgage servicer, mortgagee, trustee, beneficiary, or authorized agent


       shall be liable to a borrower for actual economic damages under Section 3281,

          resulting from a material violation of Section 2924.17 by that mortgage servicer,


       mortgagee, trustee, beneficiary, or authorized agent where the violation was not

          corrected and remedied before the recordation of the trustee's deed upon sale.
 

 
      128. If the court finds that the material violation was intentional or reckless, or resulted

        from willful misconduct by a mortgage servicer, mortgagee, trustee, beneficiary, or

          authorized agent, the court may award the borrower the greater of treble actual


       damages or statutory damages of fifty thousand dollars ($50,000).

      129. As a result of Defendants' actions or inaction, Plaintiff lost her family home, the


       equity in her home, and the estate of Thomas Pearson suffered the loss of a home, two

          heirs have no home to live in, and will incur costs relocating to a new home.
 
      130. The amount of these damages is estimated to be over $1,000,000.00.
 

                                                    
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                  - 24
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 25 of 393 Page ID #:25

      




                                            COUNT FIVE
                   Violation regarding dual tracking under 12 CFR 1024.41(g)
                                  (Loancare and Trustee Corps)

      131. Plaintiff incorporates herein by this reference each and every allegation set forth



          above, as though fully set forth herein.

     132. Under 12 CFR 1024.41(g), if a borrower submits a complete loss mitigation
 
          application after a servicer has made the first notice or filing required by applicable
 

       law for any judicial or non-judicial foreclosure process but more than 37 days before

          a foreclosure sale, a servicer shall not move for foreclosure judgment or order of sale,


       or conduct a foreclosure sale, unless:

          (1) The servicer has sent the borrower a notice under paragraph (c)(1)(ii) of this
       section that the borrower is not eligible for any loss mitigation option and the appeal
          process in paragraph (h) of this section is not applicable, the borrower has not

          requested an appeal within the applicable time period for requesting an appeal, or the
        borrower's appeal has been denied.
 
          (2) The borrower rejects all loss mitigation options offered by the servicer; or
          (3) The borrower fails to perform under an agreement on a loss mitigation option.
 

   133.   Here, Plaintiff submitted a complete application on November 3, 2022, or in the

          alternative a facially complete application, which is considered complete to trigger



          the requirement of prohibiting Defendant Loancare from proceeding in a dual track

       fashion, under the comments to §1024.41(c)(2) (iv).

      134. The 12 CFR 1024.41(c)(2)(iv) comments provide:


        A servicer is to treat a facially complete application as complete for the purposes of
          paragraphs (f)(2) and (g) until the borrower has been given a reasonable opportunity
 
          to complete the application. A reasonable opportunity requires the servicer to notify
                                                      
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                     - 25
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 26 of 393 Page ID #:26

      




          the borrower of what additional information or corrected documents are required and
          to afford the borrower sufficient time to gather the information and documentation
        necessary to complete the application and submit it to the servicer.

      129.   Plaintiff's application is considered complete during the "reasonable amount of


        time" Defendant has given to Plaintiff to acquire/submit the required documents. See,

          §1024.41(c)(2)(iv)(2).
 

     130. Under 12 CFR 1024.41(b)(2)(ii)(1), thirty days is generally considered a
 
          reasonable time for Plaintiff to submit documents.

      131. Defendant Loancare did not within 5 days inform Plaintiff there were further


       documents needed to complete her application as required under Fannie Mae

          guidelines. See, Exhibit M, Fannie Mae Procedures.


   132. Rather Defendant Loancare sent a letter dated November 15, 2022, providing the

          application was considered denied due to being incomplete. See, Exhibit P.
 

 
      133. Plaintiff being given less than two weeks to acquire said documents (assuming

        Plaintiff overlooked the letter), having no notice the application was missing the

          expense statement (which had already been provided on September 9, 2022), and


       denying the application is not reasonable, does not display good faith in dealings with

          Loancare, and is just simply in violation of RESPA, and not ok. See, §§1023(b)(1)


       and 1024(c)(2)(vi).

      134    Additionally, Defendant's failure to notify Plaintiff regarding the status of needed
 
          documents regarding the application by November 15, 2022, should be deemed a
 

                                                   
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                  - 26
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 27 of 393 Page ID #:27

      




           continuing course of conduct of bad faith as this was the 2nd application Plaintiff did

           not receive notice documents were missing from the application.

      135     Here, it is evident, Plaintiff dual-tracked the application as it filed a notice of


         Trustee's sale on November 28, 2022, when the application should have at the very

           least been considered facially complete.
 

     136     Due to Loancare not informing Plaintiff of missing documents, Loancare’s lack of
 
           attention to detail when evaluating applications, and it dual tracking the loan,

           Loancare’s actions proximately caused Plaintiff’s damages. See, Exhibit Q, Fannie


        Mae’s procedures to prevent dual tracking.1

      137     Plaintiff complied with Defendant Loancare's requests and submitted documents


        promptly. Therefore, Plaintiff asks this court to use its powers of equity empowered to

           it under 12 U.S. Code § 5565.
 

 
                                                 COUNT SIX

            Violation regarding dual tracking under California Homeowners Bill of Rights
                                  (Loancare and Trustee Corps.)

      138. Plaintiff incorporates herein by this reference each and every allegation set forth



            above and as provided under the Federal Regulations dual tracking, as though fully

         set forth herein.




 
                                   
     Loancare’s policies do not comply with California’s Homeowner’s Bill of Rights, regarding dual
      tracking. See, CCP 2923.6. California’s laws are stricter than its federal counterpart. 
                                                         
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                        - 27
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 28 of 393 Page ID #:28

      




      139. Under the Homeowner Bill of Rights, strict compliance is necessary regarding dual

          tracking when Plaintiff has submitted a complete application and the application has

          been evaluated.


    140. Under this strict rule of compliance, the mortgagee shall not proceed in the

          foreclosure process.
 

     141. Here, Plaintiff submitted a complete application on November 3, 2022. It was just
 
          by chance Plaintiff learned that her prior application had gone by the wayside as

          Defendant had not followed up with the September 9, 2022, application regarding


       missing documents, or verifying whether the application received was complete.

      142.   Plaintiff initiated contact with Defendant to follow up on her application status on


       October 3, 2022, as it had been about 1 month since she submitted it and had not

          heard anything from Loancare. It was during this contact Plaintiff was informed of
 

 
          the missing documents, and that her income would be necessary to be evaluated for

        foreclosure alternatives.

      143. Plaintiff then proceeded to do the financials for her business and was able to


       submit them to Defendant on November 3, 2022.

      144.   Plaintiff was then informed by a letter from Defendant Loancare on November 15,


       2022, that her application was denied due to being incomplete (missing the Expense

          statement submitted in September), which she was not told she was required to
 
          submit to Defendant during her November 8, 2022, conversation with Loancare.
 

                                                   
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                  - 28
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 29 of 393 Page ID #:29

      




      145. As it was Plaintiff who had called Defendant a couple of times a month since May

          2022, and had attempted to avail herself of information Loancare needed to not lose

          her home, Defendant wrongfully continued to duel track the home loan despite


        Plaintiff's efforts to do 9 months of bookkeeping to submit all information needed.

      146. Plaintiff repeatedly informed Loancare her income would not qualify for a
 

         modification and that she simply needed a forbearance or an extension of time to
 
          cover the defaulted amount as she had enlisted a realtor to sell the Greenville home

          and would be able to cover the default amount upon the sale of the home.


   147. Additionally, Plaintiff informed Defendant that the home was going to be paid by

          all the heirs, 4 adult children as this is an inherited property in probate and just


       wanted to start making payments as her brother and sister could make the current

          mortgage amount but Plaintiff was told she couldn't do so until the application was
 

 
          reviewed.

    148. Defendant continued to dual-track the application and foreclosure despite the

          above information and issued a denial of Plaintiff's application without giving her the


       mandatory right to appeal the decision.

      149.   Had Plaintiff had the right to appeal the decision, assuming Plaintiff's application


       was complete as Plaintiff asserts, Defendant recorded the Notice of Trustee's Sale

          during the mandatory time frame for Appeal, which would have ended December 1,
 
          2022.
 

                                                     
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                    - 29
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 30 of 393 Page ID #:30

      




      150. Defendant Trustee Corps violated said Act as it recorded the Notice of Trustee's

          Sale with the knowledge the application denial was due to missing documents and did

          not inquire to see if the application was facially complete thus staying the foreclosure.


    151. Due to Defendant's actions, in combination with Plaintiff not knowing the formal

          foreclosure process had begun, Plaintiff was unduly prejudiced as she was denied the
 

         ability to increase efforts to sell the Greenville home to save the Corpus Christi home.
 
      152. Thus, Defendants are liable for damages, and Plaintiff asserts the Trustee Sale is

          void and Plaintiff is legally entitled to keep her home.


                                        COUNT SEVEN

                                             Negligence

                        (Against Loancare, Trustee Corps, and PHH Mortgage)

      153. Plaintiff incorporates herein by this reference each and every allegation set forth


        above, as though fully set forth herein.
 
      154. Defendants owed Plaintiff a general duty of care. Further, Defendants owed
 

       Plaintiff a statutory duty of care. Civil Code § 2924 and other statutes referenced

          herein, mandate a duty upon the defendants to ensure that appropriate safeguards are



          put into place before any foreclosure sale.

   155. At all times relevant herein, Loancare and Trustee Corps, acting as Plaintiff's

          lender and servicer, had a duty to exercise reasonable care and skill to maintain


        proper and accurate loan records and to discharge and fulfill the other incidents
 
          attendant to the maintenance, accounting, and servicing of loan records, including,
                                                      
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                     - 30
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 31 of 393 Page ID #:31

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
          but not limited, disclosing to Plaintiff the status of any foreclosure actions taken by it,

          refraining from taking any action against Plaintiff that it did not have the legal

          authority to do, and providing all relevant information regarding the loans Defendant


        had with it to Plaintiff.

      156. In taking the actions alleged above, and in failing to take the actions as alleged
 

         above, Loancare and Trustee Corps. breached its duty of care and skill to Plaintiff in
 
          the servicing of Plaintiff's loan that it was foreclosing on.

      157. Defendant Loancare was negligent in servicing the loan to the Corpus Christi home


       under 12 CFR Part 1024 §1024.39.

      158. Defendant Loancare breached its duty of care in evaluating Plaintiff's mortgage


       application as complete and evaluating Plaintiff's mortgage application for various

          loss mitigation options because Plaintiff submitted all documents required in the
 

 
          application. See, Exhibits L and K, which is a true and correct copy of the application

        Plaintiff submitted to Defendant Loancare.

      159. Defendant Loancare violated (e) of this subsection as it didn't offer forbearance


       programs related to COVID-19-related hardships.

      160.   Defendant Loancare further was negligent in not offering a single point of contact


       to the plaintiff until 9 months after the initial default.


 

 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                     - 31
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 32 of 393 Page ID #:32

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
      161. Under California Civil Code § 2923.7(a) and (b)(5), Defendants Loancare and

          Trustee Corps mailed default letters to the wrong address (an address not even

          provided for in the Deed of Trust or by Plaintiff).


    162. Defendant Loancare consistently mailed applications for mortgage mitigation after

          Plaintiff had already applied and supporting documents for the application a day or
 

         two prior.
 
      163. Defendants Loancare and Trustee Corps failed to update the address to send

          notices of default and statements after being informed three times to do so.


   164. Defendant did not vest their assigned single point of contact with the authority to

          stop the foreclosure or foreclosure sale or give Plaintiff the contact information to get


       in contact with the appropriate party to do so as required under California Civil Code

          § 2923.7(a) and (b)(5).
 

 
      165. Defendants Loancare and Trustee Corps failed to address Plaintiff's multiple

        concerns regarding the procedurally deficient process.

      166.   Defendant Loancare recorded default upon incorrect information which was easily


       discoverable.

      167. Defendant Loancare and Trustee Corps did not return phone calls regarding


       Plaintiff's concerns regarding the validity of the foreclosure after the trustee sale and

          continuing to deliver the Trustee Deed Upon Sale.
 

 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                    - 32
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 33 of 393 Page ID #:33

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
      168. Defendant Trustee Corps was negligent in filling a Notice of Default before

          Defendant Loancare had met the requirements necessary to file a Notice of Default

          under the California Homeowners Bill of Rights and RESPA.


    169. Defendant PHH Mortgage owed Plaintiff a duty to report correct information

          regarding the status of her loans, a duty to ensure PHH Mortgage was giving correct
 

         information regarding the loans it services and to give Plaintiff correct foreclosure
 
          information regarding the correct property.

      170.   But for Defendants Loancare, Trustee Corps, and PHH Mortgage's breach of their


       care of duty, Plaintiff would have been able to satisfy the default amount and the

          house would not have been lost to foreclosure.


   Plaintiff requests the trustee sale be voided/ rescinded, and the Plaintiffs have suffered

      damages for at least $1,000,000.00.
 

 
                                            COUNT EIGHT

                                       Wrongful Foreclosure
                                  (Loancare and Trustee Corps.)

      171. Plaintiff incorporates herein by this reference each and every allegation set forth



          above, as though fully set forth herein.

   172. Under California law, the basic elements of the tort of wrongful foreclosure are as

          follows: (1) the defendant causes an illegal, fraudulent, or willfully oppressive sale of


        real property pursuant to a power of sale in a mortgage or deed of trust; (2) the
 

                                                      
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                     - 33
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 34 of 393 Page ID #:34

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
          plaintiff was prejudiced or harmed; and (3) the mortgagor tendered the amount of the

          secured indebtedness or was excused from tendering.

      173. In this case, Defendant Loancare violated the Plaintiffs' contract, rights under the


        RESPA, rights under the California Homeowner's Bill of Rights, and both Federal

          and State Consumer Protection Acts.
 

                                             COUNT NINE
 
                                       Intentional Misrepresentation
                                        (PHH MORTGAGE)

      174. Plaintiff incorporates herein by this reference each and every allegation set forth


       above, as though fully set forth herein.

      175. California Civil Procedure §§ 1709-17010 provides, where a party alleges a fact to

          another as being true, and the fact is not true, that is not true, and that party made the


        representation recklessly and without regard for the truth. As a result, the alleged fact
 
          is relied on to the plaintiff's detriment.
 

   176. Here, Plaintiff spoke with PHH Mortgage on March 9th and 15th, 2023, about the

          foreclosure status of a home loan. Plaintiff verified the address regarding the home



          loan on March 9th, 2023, as regarding the Corpus Christi home. Defendant PHH

       Mortgage confirmed this.

      177. On March 15, 2023, PHH Mortgage told Plaintiff the foreclosure sale was off,


        despite Plaintiff stating the foreclosure sale is still scheduled for the next day. PHH
 
          Mortgage assured the sale was off.
                                                        
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                       - 34
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 35 of 393 Page ID #:35

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
      178. PHH Mortgage is the servicer for Plaintiff's Greenville home, which has not

          entered the formal foreclosure process as of March 15, 2023.

      179. Plaintiff relied on PHH Mortgage's representation, and due to that representation


        did not request a postponement, reopen her brother's bankruptcy case, or even file

          bankruptcy under her name.
 

     180. As a result of PHH's representation, Plaintiff's home was sold at the foreclosure
 
          sale on March 16, 2023, and Plaintiff suffered damages for at least $1,000,000.00.

                                             COUNT TEN


                                  Negligent Misrepresentation

                                        (PHH MORTGAGE)

      181. Plaintiff incorporates herein by this reference each and every allegation set forth

          above, as though fully set forth herein.


    182. California Civil Procedure Code § 1572(2), provides: Defendant's representation
 
          was not true, and that although the defendant may have honestly believed the
 

       representation was true, the defendant had no reason for believing the representation

          was true when Defendant made it. Additionally, Defendant intended that Plaintiff



          believe this representation and Plaintiff reasonably relied on the representation to

       Plaintiff's detriment.

      183. Plaintiff incorporates herein by this reference allegation set forth above under the


        claim of Intentional Misrepresentation, as though fully set forth herein.
 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                     - 35
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 36 of 393 Page ID #:36

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
      184. As a result of PHH's representation, Plaintiff's home was sold at the foreclosure

          sale on March 16, 2023, and Plaintiff suffered damages for at least $1,000,000.00.

                                          COUNT ELEVEN


                            Intentional Infliction of Emotional Distress

                            (Loancare, Trustee Corps., and PHH Mortgage)

     185. Plaintiff incorporates herein by this reference each and every allegation set forth
 
          above, as though fully set forth herein.
 

   186. Under California law, intentional infliction of emotional distress occurs when the

          Defendants' conduct is outrageous, and Defendant acted with reckless disregard of the


       probability of causing Plaintiffs Kristen Pearson and Steven Collins emotional

          distress and is the actual and proximate causation of the emotional distress by

          Defendant's outrageous conduct.


    187. Defendants Loancare and Trustee Corps willfully, negligently, and/or with a
 
          reckless disregard for the facts and legal requirements in this case, and foreclosed on
 

       the Plaintiff's home.

      188. The home was in the Pearson family's possession for nearly 40 years and is the



          place where all of Thomas and Charlotte Pearson's children were born except Kristen

       Pearson, who was 1 year old when she moved into the Corpus Christi home.

      189. Defendants had knowledge the Corpus Christi home was intended to be kept in the


        family as it was disclosed by Plaintiff Kristen Pearson that she had to evict the tenants
 
          so that her brother and sister could move into the property.
                                                      
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                     - 36
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 37 of 393 Page ID #:37

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
      190.   Loancare per Fannie Mae's Servicing Manual can be penalized for not closing a

          foreclosure in California in 480 days. See, Exhibit R. Defendant Loancare completed

          its foreclosure of Plaintiff's home within 439 days.


    191. Due to Plaintiff Loancare completing the foreclosure 41 days early, Plaintiff could

          receive an incentive in the amount of $950.98 as a credit ((.0525/365 * 161,258) *-
 

         41=950.98)) under Fannie Mae.
 
      192. This incentive Loancare received to employ reasonable efforts to work mitigation

          options with Plaintiff was not effective as it was a fee higher than having to work any


       mitigation plans.

      193. If Defendant Loancare had to reissue its Notice of Default, due to its


       inattentiveness, Loancare would presumably have had to pay from its coffers

          $1257.15 for attorney fees to reissue the Notice of Default, and foreclosure would
 

 
          have been delayed approximately 109 days:

        • Facially complete application 11/3/22- 5-day letter

          • 30 days to get documents missing submitted


       • 30-day period to review a complete application

          • 14 days to appeal the decision.


       • 30 days to review the appeal.

          x Potentially 109 days = 68 days late = (.0525/365 * 161,258) *86= $1,994.73 in fee
 

 
             to be paid to Fannie Mae.

                                                    
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                   - 37
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 38 of 393 Page ID #:38

      




          Id.

      194. Due to Defendant's wrongful foreclosure of the property, and general lack of

          servicing the loan, Plaintiffs both suffered extreme emotional distress with symptoms


        of depression, renewed grief from parents passing, struggling to do daily chores, and

          an exacerbation of Plaintiff Kristen Pearson's ability to concentrate on her job.
 

     195. Both Plaintiffs have sought psychiatric care.
 
      196. It is Defendant's actions that are the proximate and actual cause of Plaintiff's

          distress and as such should be liable for damages to be determined at trial.


                                      COUNT TWELVE

                             Negligent Infliction of Emotional Distress

                           (Loancare, Trustee Corps., and PHH Mortgage)

      197. Plaintiff incorporates herein by this reference each and every allegation set forth


        above, as though fully set forth herein.
 
      198. Under California law, a claim for negligent infliction of emotional distress requires
 

       that as a result of the defendant's negligence, the plaintiff suffered serious emotional

          distress and the defendant's negligence was a substantial factor in Plaintiff's serious



          emotional distress.

   199. Here, in this case, Plaintiff Kristen Pearson suffered emotional distress requiring

          psychiatric care, her face and body broke out with acne, she would have breakdowns


        resulting in her body and head shaking, and she had to hire outside help to help with
 

                                                      
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                     - 38
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 39 of 393 Page ID #:39

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
          chores and care of the children due to Defendants wrongful foreclosure of her

          property.

      200.   Furthermore, due to Defendant's actions or reckless disregard for the facts of the


        case and laws regarding servicing mortgage loans, Plaintiff is entitled to damages to

          be determined at trial.
 

                                       COUNT THIRTEEN
 
                                         Loss of Consortium
                         (Loancare, Trustee Corps., and PHH Mortgage)

      201. Plaintiff incorporates herein by this reference each and every allegation set forth


       above, as though fully set forth herein.

      202. Under California Civil Code §1431.2(b), in California, each spouse has a cause of

          action for loss of consortium, as defined as the loss of love, companionship, comfort,


        care, assistance, protection, affection, society, and moral support and the loss of the
 
          enjoyment of sexual relations, caused by a negligent or intentional injury to the other
 

       spouse by a third party. See, Rodriguez v. Bethlehem Steel Corp. 12 Cal.3d 382, 408

          (1974)



      203. In this case, Plaintiff Steven Collins has been married to his wife for 13 years and

       had known and lived with Plaintiff Kristen Pearson for over 20 years. Plaintiff is

          furthermore a 100 percent service-disabled veteran and has depended on his wife to


        care for his physical and mental health needs since 2010. Additionally, Plaintiff has 5
 

                                                      
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                     - 39
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 40 of 393 Page ID #:40

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
          children with his wife with the oldest being 10 years old and the youngest being 8

          months old.

      204. Since the foreclosure and loss of the Corpus Christi home, Plaintiff Kristen


        Pearson has been an emotional mess, depressed, struggling with the reopened wounds

          of grief, and struggling to take care of the children she was once able to do so
 

         efficiently. Moreover, Plaintiff's wife has been preoccupied and constantly
 
          researching and trying to learn of ways to save her family home of close to 40 years.

      205. Due to Defendant's actions, Plaintiff's wife has been unable to meet both his


       children's needs, as well as both his physical and mental health needs, which has

          caused Plaintiff both emotional distress and harm resulting in an amount to be


       determined at trial.

                                        COUNT FOURTEEN
 

 
                       To Void and Cancel The Trustees Deed Upon the Sale
                  (Catamount Properties 2018, LLC; Loancare, And Trustee Corps.)
 

   206. Plaintiff incorporates herein by this reference each and every allegation set forth

          above, as though fully set forth herein.



      207. Defendant Loancare and Trustee Corps. did not have the authority to exercise the

       power of sale under the Deed of Trust and convey the Trustees Deed Upon Sale to

          Defendant Catamount Properties 2018.


    208. Defendant Loancare did not mail the required letters of default to Plaintiff, did not
 
          perform preforeclosure contacts under Title X, and under the California Homeowner
                                                      
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                     - 40
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 41 of 393 Page ID #:41

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
          Bill of Rights, did not mail Plaintiff the Notice of Default, and did not confer all

          rights the deceased homeowners had under the Garn–St Germain Depository

          Institutions Act of 1982 by honoring the previous offer, "FLEX MODIFICATION


        TRIAL PERIOD PLAN SOLICITATION OFFER," did not provide a point of contact

          for foreclosure mitigation, and dual tracked the foreclosure when Loancare had a
 

         facially complete application in November 2022.
 
      209. As a result of Defendants' Loancare and Trustee Corps. actions, Plaintiff was

          prejudiced by their actions and seeks to void and cancel the Trustees Deed upon sale.


       Plaintiff further requests damages over $1,000,000.00.

                                         COUNT FIFTEEN


                                  To Set Aside Trustee's Sale
                                          (All Defendants)


    210. Plaintiff incorporates herein by this reference each and every allegation set forth
 
          above and incorporates allegations outlined in Plaintiff's Claim to Void and Cancel
 

       the Trustee Deed Upon Sale as though fully set forth herein.

                                         COUNT SIXTEEN



                          Preliminary and Permanent Injunctive Relief Under
                   California Business and Professions Code Sections 17200 Et Seq
                                 (Loancare and Trustee Corps.)

      211. Plaintiff incorporates herein by reference the allegations, inclusive, as though fully


        set forth herein.
 

                                                   
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                  - 41
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 42 of 393 Page ID #:42

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      212. California's unfair competition statute, California Business & Professions Code

          Section 17200, et seq., prohibits acts of unfair competition, which means and includes

          any "fraudulent business act or practice . . ." and conduct which is "likely to deceive"


        and is "fraudulent" within the meaning of Section 17200. This tripartite is disjunctive

          and the plaint need only allege one of the three theories to properly plead a claim
 

         under section 17200. Sect 17200 was written broadly to allow courts maximum
 
          discretion to prohibit new schemes to defraud. The statute provides that unfair

          competition includes unlawful, unfair, or fraudulent business practices and unfair,


       deceptive, untrue, or misleading advertising.

      213. Defendants' actions herein in violating California Civil Code Section 2934 by


       making misrepresentations to the State of California by filing with the Ventura

          County Recorder its "California Declaration of Compliance" a Declaration which is
 

 
          incorrect based on the facts in this case and thus display Loancare's egregious

        inability to correctly document its cases and service them accordingly, and as such,

          are also business practices that are unlawful, unfair, and/or fraudulent under


       California Business & Professions Code Section 17200.

      214. Additionally, Defendant Loancare applied the following charges to Plaintiff's


       account: $1,257.15 for attorney fees from 8/16/22 – 9/1/22 and $393.74 for mail fees

          (presumably for the Notice of Default), and $1,205.00 for attorney fees from 12/9/22-
 
          2/9/23 and $499.71 for mail fees. The fees for the Notice of Default are well more
 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                  - 42
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 43 of 393 Page ID #:43

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
          than the amount permitted under California Civil Code §2924c, which is $828.15.

          Under section 2924d, the fees permitted are $1,531.29 and the fees Plaintiff is aware

          of, which do not include the actual sale is $1,205. Thus, Defendant Loancare is in the


        business practice of passing on illegal attorney fees to Plaintiffs that are already

          distressed due to being unable to meet their already defaulted mortgage.
 

     215. Moreover, Defendant Loancare's mailing fees of $ 893.45 are unconscionable and
 
          excessive as the only place documents related to the defaulted loan need to be mailed

          to is the administrator of the estate, which is Plaintiff Kristen Pearson.


   216. Specifically, as fully set forth above and in the facts section, Defendant Loancare

          engaged in deceptive business practices concerning mortgage loan servicing,


       assignments of notes and deeds of trust, foreclosure of residential properties, and

          related matters by, among other things,
 

 
          • Instituting improper or premature foreclosure proceedings to generate unwarranted

           fees.

          • Executing and recording false and misleading documents.


       • Defendant Loancare reported a good faith attempt to contact Plaintiff, but

             Defendant Loancare did not do the following:


          a. call Plaintiff's phone number after every month delinquent

             b. send Plaintiff a letter of default at least 10 days but no more than 45 days before
 
                recording the Notice of Default.
 

                                                     
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                    - 43
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 44 of 393 Page ID #:44

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
             c. Send Plaintiff all notices required under Regulation X during the 90 days before

                the servicer made the filing of the notice of default. All of which was required

                under 12 CFR §1024.41(f)(3)(ii)(C).


        • Executing and recording documents without the legal authority to do so.

          • Failing to disclose the principal for which documents were being executed and
 

            recorded in violation of California Civil Code § 1095.
 
          • Failing to comply with California Civil Code §2923.5; and

          • Other deceptive business practices.


   217. Plaintiff alleges that by engaging in the above-described acts and/or practices as

          alleged herein, Defendant violated several California laws and regulations, and said


       predicated acts are therefore per se violations of California Business and Professions

          Code §17200, et seq.
 

 
      218. Plaintiff alleges that Defendant's misconduct, as alleged herein, gave, and has

        given, Defendant an unfair competitive advantage over their competitors. The scheme

          implemented by Defendant is designed to defraud California consumers and enrich


       Defendant.

      219. Plaintiff is informed and believes and therefore alleges that the Defendants


       performed the above-mentioned acts to injure Plaintiff and facilitate Plaintiff losing

          her home to foreclosure. Plaintiff further alleges that as a direct and proximate result
 
          of the aforementioned acts, Defendant has prospered and benefitted from Plaintiff by
 

                                                    
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                  - 44
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 45 of 393 Page ID #:45

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
          collecting mortgage payments and fees for foreclosure-related services that are above

          and beyond the industry standard and have been unjustly enriched from their act of

          foreclosing on Plaintiff's home in violation with applicable laws as well as their


        servicing contract with Fannie Mae. See, Exhibit S, Fannie Mae's permissive

          foreclosure fee allowance for servicing its loans in California.
 

     220. Plaintiff further alleges that the Defendants will continue to engage in the above-
 
          described unfair business practices unless restrained.

                                       COUNT SEVENTEEN


                      Preliminary and Permanent Injunctive Relief Under

                     Consumer Financial Protection Act under 12 U.S. Code 5538
                                            (Loancare)


   221. Plaintiff incorporates herein by reference the allegations, inclusive, as though fully

          set forth herein.
 

 
      222.   Under Sections 1031 and 1036 of the CFPA, it is unlawful for any covered person

        to commit or engage in any unfair, deceptive, or abusive acts or practices. 12 U.S.C.

          §§ 5531(a), 5536(a)(1)(B).


   223. . Under Section 1036 of the CFPA, it is unlawful for any covered person "to offer

          or provide to a consumer any financial product or service not in conformity with


       federal consumer financial law, or otherwise commit any act or omission in violation

          of a federal consumer financial law." 12 U.S.C 5536(a)(1)(A).
 

 

                                                    
      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                   - 45
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 46 of 393 Page ID #:46

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      224.   Pursuant to 12 U.S. Code §5538, any violation under the 12 CFR Part 1024, will

          be treated as a violation of a rule prohibiting unfair, deceptive, or abusive acts or

          practices under the Consumer Financial Protection Act of 2010.


    225.   An act or practice is unfair under the CFPA if "the act or practice causes or is

          likely to cause substantial injury to consumers which is not reasonably avoidable by
 

         consumers" and "such substantial injury is not outweighed by countervailing benefits
 
          to consumers or to competition." 12 U.S.C. § 5531(c).

      226.   Defendant Loancare is a "covered person" pursuant to 12 U.S.C. § 5481(6)


       because it offers and provides consumer financial services, which includes "extending

          credit and servicing loans" and "collecting debt" related to such loans, as defined


       under the CFPA, 12 U.S.C. § 5481(15)(A)(i) and (x).

      227.   For the purpose of RESPA, a servicer is a person "responsible for servicing of a
 

 
          loan." 12 U.S.C. § 2605(i)(2). Under RESPA, "servicing" means "receiving any

        scheduled periodic payments from a borrower pursuant to the terms of any loan...and

          making the payments of principal and interest and such other payments with respect


       to the amounts received from the borrower as may be required pursuant to the terms

          of the loan." 12 U.S.C. § 2605(i)(3).


   228.   Defendant is subject to RESPA and Regulation X as a mortgage servicer of

          federally related mortgage loans as Loancare services a Fannie Mae Loan.
 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                  - 46
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 47 of 393 Page ID #:47

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
      229.   Prima facie evidence Defendant Loancare violated the Consumer Protection Act

          are the following:

          • Failure to perform preforeclosure contacts.


        • Failure to have continuity of contact after the foreclosure process was started.

          • Loancare never offered a forbearance to help prevent foreclosure.
 

         • Loancare mailed default letters to the incorrect address, and not the address that
 
             was that was provided in the Notice of Administration of Thomas Pearson's estate,

             which was mailed in July 2021.


       • Loancare mailed default letters to the incorrect address, and not the address notated

             on the Deed of Trust as the address Loancare was to mail notices.


       • Loancare had the Greenville home address as the address to mail monthly

             statements to but did not even use that address to mail default letters.
 

 
          • Loancare did dual tracking on facially complete applications.

        • Loancare did not provide letters consistently regarding the acceptance of the

             mortgage assistance application, letters regarding missing or needed documents


          regarding the application, and made Plaintiff complete the application several

             times due to its policies.


       • Loancare did not treat Plaintiff as if she were in the same shoes as her parents by

             allowing Plaintiff to take part in the May 2022 offer to get out of default.
 

 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                    - 47
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 48 of 393 Page ID #:48

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
          • Defendant Loancare recorded a default without meeting all the requirements

             necessary before its recording.

      230.    Due to Loancare's blatant breach of the Consumer Financial Protection Act,


        Plaintiff was denied any meaningful possibility to become current with her loan. As

          such, Defendant was the actual and proximate cause of Plaintiff's foreclosure and
 

         Plaintiff requests the trustee sale be set aside and Plaintiff be awarded damages at
 
          trial.

      231.    Moreover, in numerous instances, Defendant's actions caused or were likely to


       cause substantial injury to borrowers as a result of Defendant's lack of training

          employees, systems operations, or quality control.


                                     COUNT EIGHTEEN
                                             Quiet Title

                                   (Catamount Properties 2018, LLC)
 

 
      232.    Plaintiff incorporates herein by reference the allegations, inclusive, as though fully

        set forth herein.

      233.    Plaintiff is the owner of the subject property subject to Loancare's prior lien,


       which has the following description: 3421 Corpus Christi Ave, Simi Valley, CA

          93063.


   234.    Plaintiff seeks to quiet title against the claims of Defendant Catamount Properties

          2018, LLC. and ALL PERSON UNKNOWN CLAIMING ANDY LEGAL OR
 
          EQUITABLE TITLE, ESTATE, LIEN, OR INTEREST IN THE PROPERTY
 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                    - 48
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 49 of 393 Page ID #:49

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
          DESCRIBED IN THIS COMPLAINT ADVERSE TO PLAINTFF'S TITLE, OR

          ANY CLOUD ON SAID PROPERTY.

      235. Defendants Loancare and Trustee Corp pursued a foreclosure with blatant


        disregard for the laws and policies mandated under the California Homeowner Bill of

          Rights and Regulation X. Thus, any transfer of title should be considered void.
 

     236.   Additionally, Defendant Catamount Properties 2018, LLC should not be enjoined
 
          from asserting title to said property due to Defendant Loancare and Trustee Corp's

          actions, and Defendant Catamount Properties not being a bonified purchaser.


   237.   Plaintiff seeks a judicial declaration that the title to the subject property is vested

          in the Estate of Thomas Pearson alone, subject to Defendant Loancare's primary lien.


                                DEMAND FOR JURY TRIAL

             Plaintiff hereby demands a jury trial, pursuant to the Seventh Amendment to the
 

 
      Constitution of the United States, as to all claims for damages.

                                 DEMAND FOR JUDGMENT

             Plaintiffs   KRISTEN        PEARSON          and     KRISTEN        PEARSON         as


   ADMINISTRATOR FOR THE ESTATE OF THOMAS PEARSON, demand judgment

      against LOANCARE, LLC, TRUSTEE CORPS., PHH MORTGAGE, LLC., and


   CATAMOUNT PROPERTIES 2018, LLC., as follows:

          1. FOR ECONOMIC DAMAGES PURSUANT TO CIVIL CODE § 3281, in the
 
          amount of at least $1,000,000.00, and in an amount to be determined at trial.
 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                   - 49
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 50 of 393 Page ID #:50

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
          2. For general damages in an amount to be determined at trial.

          3. For restitution in an amount to be determined at trial.

          4. For treble actual damages under Civil Code §2923.12(b).


        5. For damages under 12 CFR §2924.41(a).

          6. For attorney's fees, if one is acquired, under Civil Code §2924.12(h).
 

         7. For costs of suit herein incurred; and
 
          8. For such other and further relief as the court may deem proper.

          PLAINTIFF STEVEN COLLINS demands judgment against LOANCARE, LLC and


   TRUSTEE CORPS as follows:

          1. For general damages/ non-economic damages in an amount to be determined at


       trial for only the following claims: Intentional Infliction of Emotional Distress, and

          Loss of Consortium.
 

 
                                        INDEX OF EXHIBITS
 
      A. Deed Of Trust


   B. Notice Of Administration Of The Estate Of Thomas G Pearson

      C. Loancare Notice Of Default Letters

      D. Loancare Offer Sent Out On May 24, 2022


   E. Loancare Emails Bounce Back To Plaintiff

      F. Loancare Emails Bounce Back To Plaintiff
 
      G. Notice Of Default
 

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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                      - 50
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 51 of 393 Page ID #:51

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
      H. Statements From Greenville Home Showing New Rez As A Loan Servicer.

    I. Statements From Corpus Christi Home Showing New Rez As Servicer.

      J. California Declaration Of Compliance.



      K. fax confirmations and emails regarding September 9, 2022 application, and said
      application.


 
      L. Plaintiff’s 2nd application.

     M. Fannie Mae’s procedures regarding incomplete applications.
 
      N. Plaintiff’s email requesting postponement of sale



      O. Fannie Mae’s definition of a complete application.

   Fannie Mae's Permissive Foreclosure Fee Allowance

      P. Loancare Letter Regarding Denial Of Mitigation Assistance Application



      Q. Fannie Mae's Policies Regarding Dual tracking.

   R. Fannie Mae’s timeline for foreclosure and fees.
 
      S. Fannie Mae's permissive foreclosure fee allowance for servicing its loans in California
 
      Dated: 5/17/23
 




                                        Respectfully submitted,




                                        ___________________
                                        ________________________
                                        Kit P
                                        Kristen Pearson, Pl i t
                                                         Plaintiff
                                     and Administrator of Thomas Pearson’s Estate.


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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                   - 51
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 52 of 393 Page ID #:52

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
                                        Respectfully submitted,
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                                        ________________________
                                        Steven Collins, Plaintiff


                                          JURY DEMAND

             Plaintiffs demand a jury trial for all claims set forth herein.
 

 
                                        Respectfully submitted,
 


                                        ________________________
                                        ____________________

                                        Ki
                                        Kristen P
                                                Pearson, Pl i iff
                                                         Plaintiff
                                     and Administrator of Thomas Pearson’s Estate.


                                     Respectfully submitted,


                                     ________________________
                                      Steven Collins, Plaintiff
 

 

                                     INDEX OF EXHIBITS
          A. Deed Of Trust


       B. Notice Of Administration Of The Estate Of Thomas G Pearson

          C. Loancare Notice Of Default Letters


       D. Loancare Offer Sent Out On May 24, 2022

          E. Loancare Emails Bounce Back To Plaintiff
 
          F.                  
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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                    - 52
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 53 of 393 Page ID #:53

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
          G. Loancare Emails Bounce Back To Plaintiff

          H. Notice Of Default

          I. Statements From Greenville Home Showing New Rez As A Loan Servicer and


           Statements From Corpus Christi Home Show New Rez As Servicer.

          J. California Declaration Of Compliance.
 

         K. Fax Confirmation Indicating Successful Submission Of The Application, and MA
 
             Application Submitted September 9, 2022.

          L. Email Trustee Corps A Request To Postpone The Sale


       M. Fannie Mae’s Permissive Foreclosure Fee Allowance


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      VERIFIED COMPLAINT FOR WRONGFUL FORECLOSURE
                                                - 53
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     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 54 of 393 Page ID #:54




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     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 57 of 393 Page ID #:57




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     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 59 of 393 Page ID #:59




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     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 60 of 393 Page ID #:60




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     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 62 of 393 Page ID #:62




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     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 63 of 393 Page ID #:63




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     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 64 of 393 Page ID #:64




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     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 65 of 393 Page ID #:65




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     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 66 of 393 Page ID #:66




VENTURA,CA                           Page            Printed     
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     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 67 of 393 Page ID #:67




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     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 69 of 393 Page ID #:69




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     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 70 of 393 Page ID #:70




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     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 71 of 393 Page ID #:71




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                                                                                                                     Haman Law
                                                                                                                     923 North 3rd Street
                                                                                                                     P.O. Box 2155
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 75 of 393 Page ID #:75



               POST OFFICE BOX 8068
               VIRGINIA BEACH, VA 23450




                    + 0516005 000050232 09LCZ4 0075327 095 XC731
                    THOMAS PEARSON
                    CHARLOTTE PEARSON
                    3364 GREENVILLE DR
                    SIMI   VALLEY CA 93063-1249
                    
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 76 of 393 Page ID #:76




                                                                                                                               March 10, 2021

                     THOMAS PEARSON                                                 Reference: XXXXXX7299
                     CHARLOTTE PEARSON                                              Property Address: 3421 Corpus Christi St
                     3364 GREENVILLE DR                                                               Simi Valley CA 93063
                     SIMI VALLEY CA 93063-1249




                    SUBJECT: Please Contact Us about Your Recently Missed Mortgage Payment

                    Dear Thomas Pearson and Charlotte Pearson:

                    As your mortgage servicer, we are concerned about your recently missed payment and would like to offer our
                    assistance. Please contact us so that we can explore what options may be available to help you get back on
                    track. Our goal is to work with you to find the best option based on your hardship. Our records indicate you
                    have missed 2 mortgage payments and your account is 37 days past due. It is important that you act quickly.
                    Fewer options may be available the longer you wait.
                                       WE WOULD LIKE TO HELP YOU – PLEASE CONTACT US AT
                                                         1.800.909.9525
                                                         LoanCare, LLC
 00




                    Mortgage Assistance May Be Available
        *C002KG*




                       •   We can answer questions about your mortgage and explore options based on your individual hardship.
                       •   We can determine if you qualify for assistance, including options to stay in your home or leave your home
                             while avoiding foreclosure (see Information on Avoiding Foreclosure below for an overview).
                    You must contact us or complete and return the attached Mortgage Assistance Application,
                    including any required documents described in the application, by April 09, 2021.
                                                      How to Get Help – You Can Reach Us By
                     • Phone: 1.800.909.9525 or Fax: 866-521-4669
                     • Email: LC-LossMitigation@loancare.net
                     • Mail: Attention - Loss Mitigation Department, 3637 Sentara Way, Virginia Beach, VA 23452
                     • Online at https://www.myloancare.com/pub/index.html#/HomeRetentionMain
                                                             Additional Resources
                    For a list of HUD-approved housing counseling agencies that can provide free foreclosure prevention and
                    debt management information, as well as provide translation or other language assistance, contact one of the
                    following federal government agencies.

                           •      The U.S. Department of Housing and Urban Development (HUD) at (800) 569-4287 or
                                  www.hud.gov/counseling
                           •      The Consumer Financial Protection Bureau (CFPB) at (855) 411-2372 or
                                  www.consumerfinance.gov/mortgagehelp

                    For additional information on how to avoid foreclosure, including help for military servicemembers,
                    you may also visit Freddie Mac’s My Home website at http://myhome.freddiemac.com or Fannie
                    Mae’s www.KnowYourOptions.com.
                                               Customer Service: 1.800.410.1091         Collections: 1.800.909.9525
                                                  Monday – Friday: 8 a.m. – 10 p.m. EST Saturday 8 a.m. – 3 p.m. EST

                                           3637 Sentara Way | Virginia Beach, VA 23452 | www.newrez.myloancare.com
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 77 of 393 Page ID #:77




    About Our Evaluation Process:
    Please include both your mortgage loan number and last name on each page and remit the required
    items by April 09, 2021. Should we not receive the documents, we will not be able to evaluate your
    request for a foreclosure prevention alternative. We must either deny the application or submit a written
    offer for a foreclosure prevention alternative within 30 calendar days after you submit a complete
    application. If we submit to you a written offer for a foreclosure prevention alternative, you must accept or
    reject the offer within 14 calendar days after you receive the offer, and the offer is deemed to be rejected
    if you do not accept the offer within 14 calendar days of receiving the offer.

    Thank you for your prompt attention to this matter. We are here to help you with your delinquent
    mortgage.


    Sincerely,

    Loss Mitigation Department
    LoanCare, LLC
    NMLS ID 2916
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 78 of 393 Page ID #:78




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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 79 of 393 Page ID #:79


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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 81 of 393 Page ID #:81




  TO THE EXTENT THE FAIR DEBT COLLECTION PRACTICES ACT (FDCPA) AND/OR
  STATE DEBT COLLECTION LAWS ARE APPLICABLE, PLEASE BE ADVISED THAT THIS
  COMMUNICATION IS FROM A DEBT COLLECTOR AND ANY INFORMATION OBTAINED
  WILL BE USED FOR THAT PURPOSE.

  IF YOU ARE CURRENTLY INVOLVED IN A BANKRUPTCY PROCEEDING OR HAVE
  PREVIOUSLY RECEIVED A DISCHARGE IN A BANKRUPTCY PROCEEDING, PLEASE
  NOTIFY US IMMEDIATELY AND BE ADVISED THAT THIS NOTICE IS FOR
  INFORMATIONAL PURPOSES ONLY. THIS NOTICE IS NOT INTENDED TO COLLECT,
  RECOVER, OR OFFSET THE DEBT AGAINST YOU PERSONALLY AND SHOULD NOT BE
  CONSIDERED A DEMAND FOR PAYMENT OR INDICATE THAT YOU ARE PERSONALLY
  LIABLE FOR THIS DEBT. PLEASE CONSULT AN ATTORNEY IF YOU HAVE ANY
  QUESTIONS ABOUT YOUR RIGHTS UNDER BANKRUPTCY LAW.

  THE SERVICEMEMBERS CIVIL RELIEF ACT (SCRA) MAY OFFER PROTECTION OR
  RELIEF TO SERVICEMEMBERS. IF EITHER YOU HAVE BEEN CALLED TO ACTIVE DUTY
  OR ACTIVE SERVICE, OR YOU ARE A SPOUSE OR DEPENDENT OF SUCH A
  SERVICEMEMBER, YOU MAY BE ENTITLED TO CERTAIN LEGAL PROTECTIONS AND
  DEBT RELIEF PURSUANT TO THE SCRA. IF YOU HAVE NOT MADE US AWARE OF YOUR
  STATUS, PLEASE CONTACT US IMMEDIATELY. YOU MAY ALSO CONTACT YOUR
  UNIT’S JUDGE ADVOCATE OR YOUR INSTALLATION’S LEGAL ASSISTANCE OFFICER,
  AVAILABLE AT HTTP://LEGALASSISTANCE.LAW.AF.MIL/CONTENT/LOCATOR.PHP, OR
  CALL 1-800-342-9647 (TOLL FREE FROM THE UNITED STATES) OR
  WWW.MILITARYONESOURCE.MIL/LEGAL TO FIND OUT MORE INFORMATION.


  As required by law, we may report information about your account to credit bureaus. Late
  payments, missed payments, or other defaults on your account may be reflected in your credit
  report.




  *PLEASE SEE IMPORTANT STATE DISCLOSURES INCLUDED WITH THIS LETTER*


  Notices of error and information requests must be sent to:

  LoanCare, LLC
  Attn: Office of the Customer
  P.O. Box 8068
  Virginia Beach, VA 23450



   XC731 Page 8
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 82 of 393 Page ID #:82

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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 86 of 393 Page ID #:86


                       7:5   
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                       7=:)=<75)<-,;-4.0-48;-:>1+-<774;!4-);->1;1<=;)<"#/7>)6,+41+376D-<)$)@$:)6;+:18<E=6,-:D$774;E7:+)44  .A7=6--,)+78A
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                                                                                                                                                                              
                        43(.-767<;1/6<01;.7:5=64-;;)44)8841+)*4-416-;0)>-*--6+7584-<-,
                       (&- 341$ .% 3 7/ 8$12  ,-+4):- <0)<  )5 -1<0-: <0- <)@8)A-: ?07;- 6)5- 1; ;07?6 76 416- ) 7: ) 7: ) 8-:;76 )=<07:1B-, <7 7*<)16 <0- <)@
                       16.7:5)<176 :-9=-;<-, . <0- :-9=-;< )8841-; <7 ) 2716< :-<=:6 )< 4-);< 76- ;87=;- 5=;< ;1/6 . ;1/6-, *A ) +7:87:)<- 7..1+-:  8-:+-6< 7: 57:-
                       ;0):-074,-:8):<6-:5)6)/16/5-5*-:/=):,1)6<)@5)<<-:;8):<6-:-@-+=<7::-+-1>-:),5161;<:)<7:<:=;<--7:8):<A7<0-:<0)6<0-<)@8)A-:
                       +-:<1.A<0)<0)>-<0-)=<07:1<A<7-@-+=<-7:5 $76*-0)4.7.<0-<)@8)A-:.3$$01;.7:55=;<*-:-+-1>-,*A"#?1<016 ,)A;7.<0-
                       ;1/6)<=:-,)<-
                           (&- 3.18 33$2323' 3'$2'$' 21$ #3'$ 33$23 3(.-"+ 42$ -#4/.-2.1$ #(-&#$"+ 1$23' 3'$2'$                         !076-6=5*-:7.<)@8)A-:76416-
                           ' 23'$ 43'.1(383.2(&-3'$.1, #--16;<:=+<176;                                                                      )7: )


                                        (&- 341$;--16;<:=+<176;                                                           )<-
                       (&-
                       $1$            (3+$1.416- ))*7>-1;)+7:87:)<1768):<6-:;018-;<)<-7:<:=;<


                                        /.42$922(&- 341$                                                                     )<-




                       .11(5 "8"3 -# /$16.1*$#4"3(.-"3.3("$2$$/ &$                                           )<7                          7:5    "->  

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  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 87 of 393 Page ID #:87

:=8     &$0A                                                                                                                                                                      #,20    
%0.?4:9=010=09.0>,=0?:?309?0=9,7$0A09@0:/0@970>>
                                                                    %.0#+.((+0%".0.*/ .&,0/                                          090=,77D:=8 &.,9-0>4290/-D
:?30=B4>09:?0/
                                                                                                                                          ,9:114.0=3,A492702,7,@?3:=4?D?:-49/?30.:=;:=,?4:9 
101.""2"(+,)"*0/                                                 #5+1(&2"!&*                                                   ,9D;0=>:9/0>429,?0/-D?30-:,=/:1/4=0.?:=>:=:?30=
                                                                    +.5+1.1/&*"//3/             &(+.#40+                  2:A0=9492-:/D:= ,9D:114.0=:=08;7:D00:9B=4??09
:=?307,?0>?491:=8,?4:9,-:@?:=8 &,9/4?>                                                                                     =0<@0>?-D,9D;=49.4;,7:114.0=,9/,??0>?0/?:-D?30
49>?=@.?4:9>2:?:     91:=8,?4:9,-:@?     &*
                                                                                                                                         >0.=0?,=D:=:?30=:114.0=-:9,14/0>3,=03:7/0=:1=0.:=/
,9D=0.09?/0A07:;809?>,110.?492:=8 &>@.3,>                                                                                   :B9492 ;0=.09?:=8:=0:1?30:@?>?,9/492>?:.6:1?30
                                                                    7,-,8,7,>6,=4E:9,
7024>7,?4:909,.?0/,1?0=B0=070,>0/4?B477-0;:>?0/:9?3,?                                                                        .:=;:=,?4:98,D>@-84?,:=8 &-@?8@>?;=:A4/0
;,20                                                               =6,9>,>,741:=94,
                                                                                                                                         /:.@809?,?4:9?:>@;;:=??30=0<@0>?0=>=423??:=0.04A0?30
                                                                    :7:=,/::990.?4.@?
%06/"3>;,=?:14?>:92:492011:=?>?:;=:?0.?                                                                                   491:=8,?4:9
?,C;,D0=/,?,?309?0=9,7$0A09@0%0=A4.0,99:@9.0/?3,?         07,B,=04>?=4.?:1
                                                                                                                                              090=,77D:=8 &.,9-0>4290/-D
49@7D  4?B477>?:;,77?34=/;,=?D8,47492>:1=0<@0>?0/   :7@8-4,7:=4/,0:=24,
                                                                                                                                         ,9D;0=>:9B3:B,>,808-0=:1?30;,=?90=>34;/@=492,9D
?=,9>.=4;?>1?0=?34>/,?08,>60/&,C&=,9>.=4;?>B477:97D      ,B,44/,3:7749:4>                                            ;,=?:1?30?,C;0=4:/=0<@0>?0/:97490
-08,470/?:?30?,C;,D0=F>,//=0>>:1=0.:=/                      9/4,9,:B,,9>,>                                                   %00>0.?4:9  041?30?,C;,D0=3,>/40/4>
1,?34=/;,=?D4>@9,-70?:,..0;?,&,C&=,9>.=4;?8,470/?:    09?@.6D:@4>4,9,                                                49>:7A09?4>,/4>>:7A0/.:=;:=,?4:9:=41,?=@>?002@,=/4,9
?30?,C;,D0=?30D8,D04?30=.:9?=,.?B4?3,90C4>?492(%          ,=D7,9/ 4.342,9
                                                                                                   9?0=9,7$0A09@0%0=A4.0             0C0.@?:==0.04A0=:=,/8494>?=,?:=4>,.?4921:=?30?,C;,D0=
;,=?4.4;,9?:=-0.:80,9(%;,=?4.4;,9??308>07A0>:=             4990>:?, 4>>4>>4;;4
                                                                                                   $(%&0,8
                                                                                                                                         +0"1D:@,=004=,?7,B!0C?:1649:=09014.4,=DD:@
,//4?4:9,7491:=8,?4:9,-:@??30(%;=:2=,82:?:
                                                                       4>>:@=4 :9?,9,
                                                                                                   #":C                        8@>?-0,-70?:0>?,-74>3,8,?0=4,749?0=0>?49?300>?,?0:=
       ,9/>0,=.3(%
                                                                    !0-=,>6,!0A,/,!0B
                                                                                                       ,47%?:;                    ?=@>?
"*".(*/0.1 0&+*/                                               0=>0D!0B 0C4.:!:=?3
                                                                                                   "2/09'&                        + 1)"*00&+*:=09?4?40>:?30=?3,949/4A4/@,7>D:@
                                                                    ,=:749,!:=?3,6:?,"34:
                                                                                                                                      8@>?,??,.3?30,@?3:=4E,?4:9/:.@809?:=0C,8;70?34>
10&+*:9:?>429?34>1:=8@970>>,77,;;74.,-707490>                                        
                                                                    "67,3:8,"=02:9$3:/0                                             .:@7/-0?3070??0=1=:8?30;=49.4;,7:114.0=,@?3:=4E492,9
3,A0-009.:8;70?0/
                                                                    >7,9/%:@?3,=:749,%:@?3
                                                                                                                                        08;7:D00:1?30.:=;:=,?4:9:=?3070??0=>?0>?,809?,=D
1.,+/"+##+.)'>0:=8 &?:=0<@0>??,C=0?@=9                                                                                  ,@?3:=4E492,949/4A4/@,7?:,.?1:=,90>?,?0
491:=8,?4:9&,C;,D0=>@>492,?,CD0,=-0249949249:90           ,6:?,&0990>>00&0C,>
.,709/,=D0,=,9/09/49249?301:77:B492D0,=14>.,7?,CD0,=   '?,3(4=2494,),>3492?:9
                                                                                                                                    &$*01."5.",."/"*00&2"=0;=0>09?,?4A0.,9>429
                                                                                                                                         :=8 &1:=,?,C;,D0=:97D41?30?,C;,D0=3,>
8@>?1470:=8 &?:=0<@0>?,=0?@=9?=,9>.=4;?                )0>?(4=2494,)4>.:9>49                                           >;0.414.,77D/0702,?0/?34>,@?3:=4?D?:?30=0;=0>09?,?4A0:9
+0"1D:@,=0@9>@=0:1B34.3?D;0:1?=,9>.=4;?D:@900/      )D:8492,1:=0429.:@9?=D                                         :=8  7490 &30=0;=0>09?,?4A08@>?,??,.3:=8  
=0<@0>??30$0.:=/:1..:@9?,>4?;=:A4/0>?308:>?             80=4.,9%,8:,#@0=?:                                              >3:B492?30/0702,?4:9?::=8 &
/0?,470/491:=8,?4:9                                               $4.:@,8?30
1/0+)".&("1)".&30?=,9>.=4;?>;=:A4/0/-D?30$%          :88:9B0,7?3:1?30                                                 .&2 5 0*!,".3+.'"!1 0&+* 0+0& ")0,>6
3,A0-0098:/4140/?:;=:?0.??,C;,D0=>;=4A,.D&=,9>.=4;?>      !:=?30=9 ,=4,9,>7,9/>                                           1:=?30491:=8,?4:9:9?34>1:=8?:0>?,-74>3D:@==423??:2,49
:97D/4>;7,D;,=?4,7;0=>:9,7491:=8,?4:9>@.3,>?307,>?1:@=                                                                        ,..0>>?:?30=0<@0>?0/?,C491:=8,?4:9@9/0=?309?0=9,7
                                                                    ?30'%(4=249>7,9/>
/424?>:1?30?,C;,D0=>%:.4,7%0.@=4?D!@8-0=@77149,9.4,7                                                                         $0A09@0:/0)0900/?34>491:=8,?4:9?:;=:;0=7D4/09?41D
,9/?,C491:=8,?4:9>@.3,>B,20>,9/?,C,-7049.:80,=0         #":=#",//=0>>                                             ?30?,C491:=8,?4:9,9/=0>;:9/?:D:@==0<@0>?+:@,=09:?
>3:B9:9?30?=,9>.=4;?                                                                                                               =0<@4=0/?:=0<@0>?,9D?=,9>.=4;?41D:@/:=0<@0>?,
                                                                     ,490 ,>>,.3@>0??>!0B 9?0=9,7$0A09@0%0=A4.0
9:;?4:9,7@>?:80=470!@8-0=1407/4>,A,47,-70?:@>0                                                                              ?=,9>.=4;?>0.?4:9>  ,9/ ,9/?304==02@7,?4:9>
                                                                    ,8;>34=0!0B+:=6       $(%&0,8                              =0<@4=0D:@?:;=:A4/0?34>491:=8,?4:949.7@/492D:@=%%!:=
B309=0<@0>?492,?=,9>.=4;?&34>9@8-0=B477;=49?:9?30
                                                                    #099>D7A,94,(0=8:9?       %?:; %                            !1D:@/:9:?;=:A4/0?34>491:=8,?4:9B08,D9:?-0
?=,9>.=4;?%00490 49>?=@.?4:9>1:=>;0.414.=0<@4=0809?>
&30.@>?:80=14709@8-0=4>,9:;?4:9,71407/,9/9:?                                              ,9>,>4?D "                ,-70?:;=:.0>>D:@==0<@0>?#=:A4/4921,7>0:=1=,@/@709?
                                                                                                                                         491:=8,?4:98,D>@-50.?D:@?:;09,7?40>
=0<@4=0/                                                                                           
&,'>0:=8 $0<@0>?1:=:;D:1&,C$0?@=9?:                                                                                     $:@?490@>0>:1?34>491:=8,?4:949.7@/024A4924??:?30
=0<@0>?.:;40>:1?,C=0?@=9>                                                                                                           0;,=?809?:1@>?4.01:=.4A47,9/.=4849,774?42,?4:9,9/
                                                                                                      
                                                                                                                                         .4?40>>?,?0>?304>?=4.?:1:7@8-4,,9/'%
10+)0"!0.*/ .&,0."-1"/0+:@.,9<@4.67D=0<@0>?
                                                                                                                                         .:88:9B0,7?3>,9/;:>>0>>4:9>1:=@>049,/8494>?0=492
?=,9>.=4;?>-D@>492:@=,@?:8,?0/>071307;>0=A4.0?::7>        &*"9?0=D:@=08;7:D0=4/09?414.,?4:99@8-0=!41         ?304=?,C7,B>)08,D,7>:/4>.7:>0?34>491:=8,?4:9?::?30=
#70,>0A4>4?@>,?$%2:A,9/.74.6:9G0?,&,C                 D:@==0<@0>?=07,?0>?:,-@>490>>=0?@=9"?30=B4>009?0=?30     .:@9?=40>@9/0=,?,C?=0,?D?:10/0=,7,9/>?,?0,209.40>?:
&=,9>.=4;?H@9/0=G&::7>H:=.,77                 14=>?>:.4,7>0.@=4?D9@8-0=%%!:=D:@=49/4A4/@,7?,C;,D0=      091:=.010/0=,79:9?,C.=4849,77,B>:=?:10/0=,77,B
                                                                    4/09?414.,?4:99@8-0=&!>3:B9:9?30=0?@=9:=               091:=.0809?,9/49?0774209.0,209.40>?:.:8-,??0==:=4>8
%"."0+#&(" ,47:=1,C:=8 &?:?30,//=0>>-07:B         0C,8;7041D:@,=0=0<@0>?492:=8  ?3,?49.7@/0>
1:=?30>?,?0D:@74A0/49:=?30>?,?0D:@=-@>490>>B,>49     %.30/@70:=8  09?0=D:@=%%!                                 +:@,=09:?=0<@4=0/?:;=:A4/0?30491:=8,?4:9=0<@0>?0/
B309?3,?=0?@=9B,>1470/&30=0,=0?B:,//=0>>.3,=?>:90                                                                           :9,1:=8?3,?4>>@-50.??:?30#,;0=B:=6$0/@.?4:9.?
1:=49/4A4/@,7?=,9>.=4;?>:=8  >0=40>,9/:=8)          &*" 9?0=D:@=.@==09?,//=0>>1D:@@>0,#"-:C          @970>>?301:=8/4>;7,D>,A,74/" .:9?=:79@8-0=::6>
,9/:901:=,77:?30=?=,9>.=4;?>                                 49.7@/04?:9?34>7490                                             :==0.:=/>=07,?492?:,1:=8:=4?>49>?=@.?4:9>8@>?-0
  1D:@,=0=0<@0>?4928:=0?3,9:90?=,9>.=4;?:=:?30=          &*" 9?0=?30,//=0>>>3:B9:9?307,>?=0?@=91470/41         =0?,490/,>7:92,>?304=.:9?09?>8,D-0.:808,?0=4,749?30
;=:/@.?,9/?30.3,=?-07:B>3:B>?B:/4110=09?,//=0>>0>         /4110=09?1=:8?30,//=0>>09?0=0/:97490                         ,/8494>?=,?4:9:1,9D9?0=9,7$0A09@07,B090=,77D?,C
>09/D:@==0<@0>??:?30,//=0>>-,>0/:9?30,//=0>>:1                                                                                =0?@=9>,9/=0?@=9491:=8,?4:9,=0.:914/09?4,7,>=0<@4=0/-D
                                                                    +0"1?30,//=0>>0>:97490> ,9/ ,=0/4110=09?,9/D:@       >0.?4:9  
D:@=8:>?=0.09?=0?@=9
                                                                    3,A09:?.3,920/D:@=,//=0>>B4?3?30$%1470:=8              &30?480900/0/?:.:8;70?0,9/1470:=8 &B477
                                                                    3,920:1//=0>>:=,-@>490>>,//=0>>1470:=8 
%.0#+.&*!&2&!1(0.*/ .&,0/                                   3,920:1//=0>>:=$0>;:9>4-70#,=?DI@>490>>
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                 XC731 Page 14
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 88 of 393 Page ID #:88


LoanCare, LLC                                                                                                   PRESORT
P.O. Box 9054                                                                                                 First-Class Mail
Temecula, CA 92589-9054                                                                                      U.S. Postage and
                                         *2359841435*                                                            Fees Paid
                                                                                                                    WSO
                                         2359841435

Send Payments to:
LoanCare, LLC
P.O. Box 60509
City Of Industry, CA 91716-0509

                                         20210322-332
Send Correspondence to:
LoanCare, LLC
P.O. Box 8068
Virginia Beach, VA 23450                 qprpprqqprqpsqrprqspsrpqppqsqpspsrsqrrrrqspqpqrrspsrsqpqprssssrqp
                                         THOMAS PEARSON
                                         CHARLOTTE PEARSON
                                         3421 CORPUS CHRISTI ST
                                         SIMI VALLEY, CA 93063-1407




                                        Please Read This First

Please note that LoanCare is required to send you the enclosed breach notice due to investor
guidelines and/or applicable laws or regulations. If you are experiencing a financial hardship due to
COVID-19, we're here to help. Depending on the investor of your loan, you may be eligible for a
forbearance plan. A forbearance plan allows you to pause your monthly mortgage payment(s) for an
initial term of up to 180 days. If you still need assistance at the end of your initial forbearance plan
term, an extension of up to an additional 180 days may be available (for a total of up to 360 days, when
combined with the initial forbearance term). To learn more about assistance that may be available to
you, please contact us at 1-800-909-9525. We will not pursue foreclosure while you are on a
forbearance plan, performing under an approved loss mitigation plan, or if your loan is subject to a
foreclosure moratorium.
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 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 89 of 393 Page ID #:89
                                                                                                                    3637 Sentara Way
                                                                                                            Virginia Beach, VA 23452
                                                                                                              Phone: 1-800-909-9525
                                                                                                                 Fax: 1-866-221-5275
                                                                                                               www.MyLoanCare.com



               Sent Via First-Class Mail®

               03/23/2021

               THOMAS PEARSON
               CHARLOTTE PEARSON
               3421 CORPUS CHRISTI ST
               SIMI VALLEY, CA 93063-1407

               Loan Number:         XXXXXX7299
               Property Address:    3421 CORPUS CHRISTI ST
                                    SIMI VALLEY, CA 93063

                                      NOTICE OF DEFAULT AND INTENT TO ACCELERATE

               Dear THOMAS PEARSON and CHARLOTTE PEARSON:

               This letter is formal notice by LoanCare, LLC, the Servicer of the above-referenced loan acting on behalf of
               New Residential Mortgage LLC, that you are in default under the terms of the documents creating and securing
               your Loan described above, including the Note and Deed of Trust/Mortgage/Security Deed (“Security
               Instrument”), for failure to pay the amounts due.

               If you have questions about any of the items contained in this notice, or need any additional information, please
               contact Matthew Murphy at 1-800-509-0872 whom we have designated as your single point of contact.

               As of the date of this notice, the total amount required to cure the default is $4,007.18, which consists of the
               following:

                         Next Payment Due Date:                                                              02/01/2021

                         Total Monthly Payments Due:                                                         $2,472.34
                             02/01/2021                                      at                      $1,235.92
                             03/01/2021                                      at                      $1,235.92
                         Late Charges:                                                                         $101.32
                         Escrow Advance Balance:                                                             $1,433.52
                         Unapplied Balance:                                                                      $0.00

                         TOTAL YOU MUST PAY TO CURE DEFAULT:                                                   $4,007.18

               You can cure this default by making a payment of $4,007.18 by 04/27/2021. Please note any additional
               monthly payments, late charges and other charges that may be due under the Note, Security Instrument and
               applicable law after the date of this notice must also be paid to bring your account current. For the exact
               amount you must pay to bring your loan current, please contact Matthew Murphy at 1-800-509-0872. This
               letter is in no way intended as a payoff statement for your mortgage, it merely states an amount necessary to
               cure the current default. Please include your loan number and property address with your payment and send to:

                     LoanCare, LLC
                     P.O. Box 60509
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                     City Of Industry, CA 91716-0509
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               W_CA_DEMAND         Rev. 02/2021
               Page 1 of 3                                                                                            2359841435
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 90 of 393 Page ID #:90


            Overnight:
            LoanCare, LLC
            3637 Sentara Way
            Virginia Beach, VA 23452

    To the extent your obligation has been discharged or is subject to the automatic stay in a bankruptcy
    case, this notice is for informational purposes only and does not constitute a demand for payment or an
    attempt to collect a debt as your personal obligation. If you are represented by an attorney, please
    provide us with the attorney’s name, address, and telephone number.

    IF YOU ARE UNABLE TO BRING YOUR ACCOUNT CURRENT, LoanCare, LLC offers consumer
    assistance programs designed to help resolve delinquencies and avoid foreclosure. These services are provided
    without cost to our customers. You may be eligible for a loan workout plan or other similar alternative to
    foreclosure. If you would like to learn more about these programs, you may contact Matthew Murphy at
    1-800-509-0872, Monday through Friday from 8:00 A.M. to 10:00 P.M. and Saturday from 8:00 A.M. to 3:00
    P.M., Eastern Time to discuss possible options. You may also visit our website www.MyLoanCare.com. WE
    ARE VERY INTERESTED IN ASSISTING YOU.

    You have a right to cure the default. To cure the default, you must pay the full amount of the default on this
    loan by the thirty-fifth (35th) day from the date of this letter which is 04/27/2021 (or if said date falls on a
    Saturday, Sunday, or legal holiday, then on the first business day thereafter). Failure to cure the default on or
    before this date may result in acceleration of the sums secured by the Security Instrument and sale of the
    property.

    You have the right to reinstate the loan after acceleration and the right to bring a court action to assert the
    non-existence of a default or any other defense to acceleration and sale. If foreclosure proceedings are
    undertaken, we may pursue a deficiency judgment, if permitted by applicable law. Failure to respond to this
    letter may result in the loss of your property.

    You may request from us the following documents:

        §    A copy of the promissory note;
        §    A copy of the deed of trust or mortgage;
        §    A copy of any assignment of the mortgage or deed of trust;
        §    A copy of your payment history since you were last less than sixty (60) days past due.

    The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act
    require that, except under unusual circumstances, collectors may not contact you before 8:00 a.m. or after 9:00
    p.m. They may not harass you by using threats of violence or arrest or by using obscene language. Collectors
    may not use false or misleading statements or call you at work if they know or have reason to know that you
    may not receive personal calls at work. For the most part, collectors may not tell another person, other than
    your attorney or spouse, about your debt. Collectors may contact another person to confirm your location or
    enforce a judgment. For more information about debt collection activities, you may contact the Federal Trade
    Commission at 1-877-FTC-HELP or www.ftc.gov.

    As required by law, you are hereby notified that a negative credit report reflecting on your credit record may be
    submitted to a credit reporting agency if you fail to fulfill the terms of your credit obligations.

    Please be advised that this communication is from a debt collector. LoanCare, LLC is attempting to
    collect a debt, and any information will be used for that purpose.

    Attention Servicemembers and Dependents: Servicemembers on active duty, or a spouse or dependent of
    such a servicemember, may be entitled to certain protections under the Servicemembers Civil Relief Act
    ("SCRA") regarding the servicemember's interest rate and the risk of the foreclosure. SCRA and certain state
    W_CA_DEMAND          Rev. 02/2021
    Page 2 of 3                                                                                          2359841435
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 91 of 393 Page ID #:91


              laws provide important protections for you, including prohibiting foreclosure under most circumstances. If you
              are currently in the military service, or have been within the last twelve (12) months, please notify LoanCare,
              LLC immediately. When contacting LoanCare, LLC as to your military service, you must provide positive
              proof as to your military status. Servicemembers and dependents with questions about the SCRA should
              contact their unit's Judge Advocate, or their installation's Legal Assistance Officer. Homeowner counseling is
              also available at agencies such as Military OneSource (www.militaryonesource.mil, 1-800-342-9647) and
              Armed Forces Legal Assistance (http://legalassistance.law.af.mil), and through HUD-certified housing
              counselors (http://apps.hud.gov/offices/hsg/sfh/hcc/hcs.cfm). You can also contact Matthew Murphy toll-free
              at 1-800-509-0872 if you have questions about your rights under SCRA.

              For your benefit and assistance, there are government approved homeownership counseling agencies designed
              to help homeowners avoid losing their homes. To obtain a list of approved counseling agencies, please call
              1-800-569-4287 or visit http://apps.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You may also contact the
              Homeownership Preservation Foundation’s Hope hotline at 1-888-995-HOPE (4673).

              Thank you for your prompt attention to this matter.

              Sincerely,

              LoanCare, LLC
              3637 Sentara Way
              Virginia Beach, VA 23452
              1-800-909-9525

              NMLS ID 2916 Important notice about foreclosure moratoriums: Failure to bring your account current on or
              before the date specified in this notice may result in acceleration of your loan balance, foreclosure proceedings,
              and the sale of your property. If your mortgage account is subject to a foreclosure moratorium, we will not
              initiate and/or proceed with foreclosure and sale of your property during the applicable foreclosure moratorium
              period. However, we may proceed with foreclosure and sale of your property after the applicable foreclosure
              moratorium has expired.




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              Page 3 of 3                                                                                           2359841435
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 92 of 393 Page ID #:92


LoanCare, LLC                                                                                            PRESORT
P.O. Box 9054                                                                                          First-Class Mail
Temecula, CA 92589-9054                                                                               U.S. Postage and
                                  *2359985630*                                                            Fees Paid
                                                                                                             WSO
                                  2359985630

Send Payments to:
LoanCare, LLC
P.O. Box 60509
City Of Industry, CA 91716-0509

                                  20210330-332
Send Correspondence to:
LoanCare, LLC
P.O. Box 8068
Virginia Beach, VA 23450          sqrqqpsrrprpsppprppqsqqqsqqrppprspsrssprrspsppsrsrprssppqqssrqpsp
                                  THOMAS PEARSON
                                  CHARLOTTE PEARSON
                                  3421 CORPUS CHRISTI ST
                                  SIMI VALLEY, CA 93063-1407




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 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 93 of 393 Page ID #:93
                                                                                                                     3637 Sentara Way
                                                                                                             Virginia Beach, VA 23452
                                                                                                               Phone: 1-800-909-9525
                                                                                                                  Fax: 1-866-221-5275
                                                                                                                www.MyLoanCare.com



               Sent Via First-Class Mail®

               03/30/2021

               THOMAS PEARSON
               CHARLOTTE PEARSON
               3421 CORPUS CHRISTI ST
               SIMI VALLEY, CA 93063-1407

               Loan Number:         XXXXXX7299
               Property Address:    3421 CORPUS CHRISTI ST
                                    SIMI VALLEY, CA 93063

               Dear THOMAS PEARSON and CHARLOTTE PEARSON:

               LoanCare, LLC recognizes that homeownership can be challenging and is committed to helping its customers
               avoid foreclosure whenever possible.

               To assist homeowners experiencing financial setbacks, LoanCare, LLC offers a number of options, including:

                   •   Repayment Plans
                   •   Loan Modifications
                   •   Short Sales
                   •   Deeds-in-Lieu

               Please contact us to assess your financial situation and explore potential options that may be available to you to
               avoid foreclosure. It is important that you contact us as soon as possible so that we may assist you to bring
               your account current.

               You may contact us by phone toll-free at 1-800-909-9525 during business hours to discuss available options
               for avoiding foreclosure. A representative will be available Monday through Friday from 8:00 A.M. to 10:00
               P.M. and Saturday from 8:00 A.M. to 3:00 P.M., Eastern Time.

               To the extent your obligation has been discharged or is subject to the automatic stay in a bankruptcy
               case, this notice is for informational purposes only and does not constitute a demand for payment or an
               attempt to collect a debt as your personal obligation. If you are represented by an attorney, please
               provide us with the attorney’s name, address, and telephone number.

               The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act
               require that, except under unusual circumstances, collectors may not contact you before 8:00 a.m. or after 9:00
               p.m. They may not harass you by using threats of violence or arrest or by using obscene language. Collectors
               may not use false or misleading statements or call you at work if they know or have reason to know that you
               may not receive personal calls at work. For the most part, collectors may not tell another person, other than
               your attorney or spouse, about your debt. Collectors may contact another person to confirm your location or
               enforce a judgment. For more information about debt collection activities, you may contact the Federal Trade
               Commission at 1-877-FTC-HELP or www.ftc.gov.

               As required by law, you are hereby notified that a negative credit report reflecting on your credit record may be
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   submitted to a credit reporting agency if you fail to fulfill the terms of your credit obligations.
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               W_CA_DUE1       Rev. 02/2021
               Page 1 of 2                                                                                             2359985630
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 94 of 393 Page ID #:94


    Please be advised that this communication is from a debt collector. LoanCare, LLC is attempting to
    collect a debt, and any information will be used for that purpose.

    For your benefit and assistance, there are government approved homeownership counseling agencies designed
    to help homeowners avoid losing their homes. To obtain a list of approved counseling agencies, please call
    1-800-569-4287 or visit http://apps.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You may also contact the
    Homeownership Preservation Foundation’s Hope hotline at 1-888-995-HOPE (4673).

    Sincerely,

    LoanCare, LLC
    3637 Sentara Way
    Virginia Beach, VA 23452
    1-800-909-9525

    NMLS ID 2916




    W_CA_DUE1      Rev. 02/2021
    Page 2 of 2                                                                                    2359985630
                                                                                                                x
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 95 of 393 Page ID #:95



              POST OFFICE BOX 8068
              VIRGINIA BEACH, VA 23450




                   + 0529308 000036335 09LCZ4 0075327 095 XC761
                   THOMAS PEARSON
                   CHARLOTTE PEARSON
                   3364 GREENVILLE DR
                   SIMI   VALLEY CA 93063-1249
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                                                    Important Information About the Enclosed Notice

                                                                          Please Read This First

                   Please note that LoanCare is required to send you the enclosed notice due to investor
                   guidelines and/or applicable laws or regulations. However, if your loan is in forbearance,
                   then during the forbearance term, you will not be required to make monthly mortgage
0




                   payments and late charges and other fees will be suspended. This means you will not be
                   marked “late” for any missed payments or be charged phone pay fees or other fees
   *S005KG*




                   during the forbearance period. We will not pursue foreclosure while you are on a
                   forbearance plan or if your loan is subject to a foreclosure moratorium. If your loan was
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                   current at the time of entering into a forbearance plan, then each month you are in the
                   forbearance plan we will report the status of the account to the credit reporting agencies
                   as current. If, however, your loan was delinquent prior to entering into a forbearance
                   plan, we will maintain that delinquency status during the period of the forbearance. If
                   you are able to bring the loan current during the forbearance plan, we will report the
                   account as current. We will also work with you once the forbearance plan term ends to
                   help you get back on track.




              XC761 Page 1
                                                                                                                                            x
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 96 of 393 Page ID #:96




                                                                                                                           April 07, 2021

                 THOMAS PEARSON                                                 Reference: XXXXXX7299
                 CHARLOTTE PEARSON                                              Property Address: 3421 Corpus Christi St
                 3364 GREENVILLE DR                                                               Simi Valley CA 93063
                 SIMI VALLEY CA 93063-1249




                SUBJECT: Please Contact Us about Your Recently Missed Mortgage Payment

                Dear Thomas Pearson and Charlotte Pearson:

                As your mortgage servicer, we are concerned about your recently missed payment and would like to offer our
                assistance. Please contact us so that we can explore what options may be available to help you get back on
                track. Our goal is to work with you to find the best option based on your hardship. Our records indicate you
                have missed 3 mortgage payments and your account is 65 days past due. It is important that you act quickly.
                Fewer options may be available the longer you wait.
                                   WE WOULD LIKE TO HELP YOU – PLEASE CONTACT US AT
                                                     1.800.909.9525
                                                     LoanCare, LLC
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                Mortgage Assistance May Be Available
    *C005CG*




                   •   We can answer questions about your mortgage and explore options based on your individual hardship.
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                   •   We can determine if you qualify for assistance, including options to stay in your home or leave your home
                         while avoiding foreclosure (see Information on Avoiding Foreclosure below for an overview).
                You must contact us or complete and return the attached Mortgage Assistance Application,
                including any required documents described in the application, by May 07, 2021.
                                                  How to Get Help – You Can Reach Us By
                 • Phone: 1.800.909.9525 or Fax: 866-521-4669
                 • Email: LC-LossMitigation@loancare.net
                 • Mail: Attention - Loss Mitigation Department, 3637 Sentara Way, Virginia Beach, VA 23452
                 • Online at https://www.myloancare.com/pub/index.html#/HomeRetentionMain
                                                         Additional Resources
                For a list of HUD-approved housing counseling agencies that can provide free foreclosure prevention and
                debt management information, as well as provide translation or other language assistance, contact one of the
                following federal government agencies.

                       •      The U.S. Department of Housing and Urban Development (HUD) at (800) 569-4287 or
                              www.hud.gov/counseling
                       •      The Consumer Financial Protection Bureau (CFPB) at (855) 411-2372 or
                              www.consumerfinance.gov/mortgagehelp

                For additional information on how to avoid foreclosure, including help for military servicemembers,
                you may also visit Freddie Mac’s My Home website at http://myhome.freddiemac.com or Fannie
                Mae’s www.KnowYourOptions.com.
                                           Customer Service: 1.800.410.1091         Collections: 1.800.909.9525
                                              Monday – Friday: 8 a.m. – 10 p.m. EST Saturday 8 a.m. – 3 p.m. EST

                                       3637 Sentara Way | Virginia Beach, VA 23452 | www.newrez.myloancare.com
               XC761 Page 3                         0529308 000036335 09LCZ4 0075327 095             XC761                     0038507299
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 97 of 393 Page ID #:97




    About Our Evaluation Process:
    Please include both your mortgage loan number and last name on each page and remit the required
    items by May 07, 2021. Should we not receive the documents, we will not be able to evaluate your
    request for a foreclosure prevention alternative. We must either deny the application or submit a written
    offer for a foreclosure prevention alternative within 30 calendar days after you submit a complete
    application. If we submit to you a written offer for a foreclosure prevention alternative, you must accept or
    reject the offer within 14 calendar days after you receive the offer, and the offer is deemed to be rejected
    if you do not accept the offer within 14 calendar days of receiving the offer.

    Thank you for your prompt attention to this matter. We are here to help you with your delinquent
    mortgage.


    Sincerely,

    Loss Mitigation Department
    LoanCare, LLC
    NMLS ID 2916
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 98 of 393 Page ID #:98




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   TO THE EXTENT THE FAIR DEBT COLLECTION PRACTICES ACT (FDCPA) AND/OR
   STATE DEBT COLLECTION LAWS ARE APPLICABLE, PLEASE BE ADVISED THAT THIS
   COMMUNICATION IS FROM A DEBT COLLECTOR AND ANY INFORMATION OBTAINED
   WILL BE USED FOR THAT PURPOSE.

   IF YOU ARE CURRENTLY INVOLVED IN A BANKRUPTCY PROCEEDING OR HAVE
   PREVIOUSLY RECEIVED A DISCHARGE IN A BANKRUPTCY PROCEEDING, PLEASE
   NOTIFY US IMMEDIATELY AND BE ADVISED THAT THIS NOTICE IS FOR
   INFORMATIONAL PURPOSES ONLY. THIS NOTICE IS NOT INTENDED TO COLLECT,
   RECOVER, OR OFFSET THE DEBT AGAINST YOU PERSONALLY AND SHOULD NOT BE
   CONSIDERED A DEMAND FOR PAYMENT OR INDICATE THAT YOU ARE PERSONALLY
   LIABLE FOR THIS DEBT. PLEASE CONSULT AN ATTORNEY IF YOU HAVE ANY
   QUESTIONS ABOUT YOUR RIGHTS UNDER BANKRUPTCY LAW.

   THE SERVICEMEMBERS CIVIL RELIEF ACT (SCRA) MAY OFFER PROTECTION OR
   RELIEF TO SERVICEMEMBERS. IF EITHER YOU HAVE BEEN CALLED TO ACTIVE DUTY
   OR ACTIVE SERVICE, OR YOU ARE A SPOUSE OR DEPENDENT OF SUCH A
   SERVICEMEMBER, YOU MAY BE ENTITLED TO CERTAIN LEGAL PROTECTIONS AND
   DEBT RELIEF PURSUANT TO THE SCRA. IF YOU HAVE NOT MADE US AWARE OF YOUR
   STATUS, PLEASE CONTACT US IMMEDIATELY. YOU MAY ALSO CONTACT YOUR
   UNIT’S JUDGE ADVOCATE OR YOUR INSTALLATION’S LEGAL ASSISTANCE OFFICER,
   AVAILABLE AT HTTP://LEGALASSISTANCE.LAW.AF.MIL/CONTENT/LOCATOR.PHP, OR
   CALL 1-800-342-9647 (TOLL FREE FROM THE UNITED STATES) OR
   WWW.MILITARYONESOURCE.MIL/LEGAL TO FIND OUT MORE INFORMATION.


   As required by law, we may report information about your account to credit bureaus. Late
   payments, missed payments, or other defaults on your account may be reflected in your credit
   report.




   *PLEASE SEE IMPORTANT STATE DISCLOSURES INCLUDED WITH THIS LETTER*


   Notices of error and information requests must be sent to:

   LoanCare, LLC
   Attn: Office of the Customer
   P.O. Box 8068
   Virginia Beach, VA 23450



    XC761 Page 8
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 102 of 393 Page ID #:102

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                ?5;3;9:;9+583 '4*8+7;+9:')56?5,?5;88+:;84=./)./4)2;*+9'22'::').3+4:9
                      %+'8586+8/5*8+7;+9:+*4:+8:.++4*/4-*':+5,:.+:'>?+'8586+8/5*;9/4-:.+33**????,583':           
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                )'.!452%/&4!80!9%23*+)2'8+:.':'3+/:.+8:.+:'>6'?+8=.59+4'3+/99.5=4542/4+ '58 '58'6+8954';:.58/@+*:55(:'/4:.+:'>/4,583':/54
                8+7;+9:+*,:.+8+7;+9:'662/+9:5'05/4:8+:;84':2+'9:54+965;9+3;9:9/-4,9/-4+*(?')58658':+5,,/)+8 6+8)+4:58358+9.'8+.52*+86'8:4+8
                3'4'-/4-3+3(+8-;'8*/'4:'>3'::+896'8:4+8+>+);:588+)+/<+8'*3/4/9:8':58:8;9:++586'8:?5:.+8:.'4:.+:'>6'?+8)+8:/,?:.':.'<+:.+';:.58/:?:5
                +>+);:+583 54(+.'2,5,:.+:'>6'?+8/4%"./9,5833;9:(+8+)+/<+*(? !=/:./4 *'?95,:.+9/-4':;8+*':+
                        )'.!4/29!44%3434(!4(%3(%(!32%!$4(%!44%34!4)/.#,!53%!.$50/.3/2%!$).'$%#,!2%34(!4(%3(%(!34(%!54(/2)494/3)'.4(%/2-                     
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 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 107 of 393 Page ID #:107
                        )./-0/%*)."*-*-(                    !,0!./"*--).-%+/*"3!/0-)
&0.?4:9=010=09.0>,=0?:?309?0=9,7%0A09@0            +!%"%)./-0/%*).                                       */!1D:@,=004=,?7,B"0C?:1649:=
:/0@970>>:?30=B4>09:?0/                                                                                           09014.4,=DD:@8@>?-0,-70?:0>?,-74>3,
                                                           %)!9?0=?30>:.4,7>0.@=4?D9@8-0=&&"            8,?0=4,749?0=0>?49?300>?,?0:=?=@>?
0/0-!!1!'*+(!)/.                                        :=49/4A4/@,7?,C;,D0=4/09?414.,?4:99@8-0='"
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:=?307,?0>?491:=8,?4:9,-:@?:=8 ,9/          08;7:D0=4/09?414.,?4:99@8-0="1:=?30               49/4A4/@,7>D:@8@>?,??,.3?30,@?3:=4E,?4:9
4?>49>?=@.?4:9>2:?: ,9/>0,=.3            -@>490>>74>?0/:97490 ,                                 /:.@809?:=0C,8;70?34>.:@7/-0?3070??0=
)&91:=8,?4:9,-:@?,9D=0.09?/0A07:;809?>                                                                       1=:8?30;=49.4;,7:114.0=,@?3:=4E492,908;7:D00
,110.?492:=8 >@.3,>7024>7,?4:9                %)!9?0=D:@=.@==09?,//=0>>1D:@@>0,
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09,.?0/,1?0=B0=070,>0/4?B477-0;:>?0/:9?3,?      $#-:C49.7@/04?:9?34>7490
                                                                                                                       ,@?3:=4E492,949/4A4/@,7?:,.?1:=,90>?,?0
;,20                                                      %)! 9?0=?30,//=0>>>3:B9:9?307,>?=0?@=9
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                                                                                                                       .,9>429:=8 1:=,?,C;,D0=:97D41?30
@?474E0/-D,@?3:=4E0/)&;,=?4.4;,9?>?::=/0=         */!1?30,//=0>>0>:97490> ,9/,=0                ?,C;,D0=3,>>;0.414.,77D/0702,?0/?34>,@?3:=4?D
?,C?=,9>.=4;?>B4?3?30.:9>09?:1?30?,C;,D0=          /4110=09?,9/D:@3,A09:?.3,920/D:@=,//=0>>            ?:?30=0;=0>09?,?4A0:9:=8 7490'30
                                                           B4?3?30%&1470:=8 3,920:1//=0>>            =0;=0>09?,?4A08@>?,??,.3:=8 >3:B492
!)!-')./-0/%*).                                       :=:=8 3,920:1//=0>>:=                         ?30/0702,?4:9?:>429:=8 
0/%*):9:?>429?34>1:=8@970>>,77                 %0>;:9>4-70$,=?DF@>490>>B4?3:=8 
,;;74.,-707490>3,A0-009.:8;70?0/                      %)! 9?0=@;?: 9@80=4..3,=,.?0=>?:               -%14/) +!-2*-&! 0/%*)/
                                                           .=0,?0,@94<@0.@>?:80=14709@8-0=?3,?B477             */%!*0,>61:=?30491:=8,?4:9:9?34>1:=8?:
!.%#)/! !%+%!)/*/%"%/%*)9?0=9,7                                                                           0>?,-74>3D:@==423??:2,49,..0>>?:?30
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                                                           .,99:?.:9?,49,9&&"'":=":8;70?4:9             =0<@0>?0/?,C491:=8,?4:9@9/0=?309?0=9,7
,9/@>0:1=0?@=9491:=8,?4:9=0.04A0/;@=>@,9??:                                                                    %0A09@0:/0*0900/?34>491:=8,?4:9?:
?30?,C;,D0=G>.:9>09?,9/3:7/>?30=0.4;409?            :1?34>74904>9:?=0<@4=0/
                                                                                                                       ;=:;0=7D4/09?41D?30?,C491:=8,?4:9,9/=0>;:9/
>@-50.??:;09,7?40>1:=,9D@9,@?3:=4E0/,..0>>         */!1D:@@>0,9&&"9,80:=.:8-49,?4:9:1            ?:D:@==0<@0>?+:@,=09:?=0<@4=0/?:=0<@0>?
:?30=@>0:= =0/4>.7:>@=0B4?3:@??30?,C;,D0=G>         -:?3B0B4779:?49;@??30491:=8,?4:9,9/?30            ,9D?=,9>.=4;?41D:@/:=0<@0>?,?=,9>.=4;?
0C;=0>>;0=84>>4:9:==0<@0>?                             .@>?:80=14709@8-0=B477=0170.?,2090=4.09?=D:1       >0.?4:9>     ,9/ ,9/?304==02@7,?4:9>
3+4!-*/%"%/%*)9?0=9,7%0A09@0:/0             :9?30?=,9>.=4;?                             =0<@4=0D:@?:;=:A4/0?34>491:=8,?4:949.7@/492
&0.?4:9      .7484?>/4>.7:>@=0,9/@>0:1=0?@=9   %)! 9?0=?3009//,?0:1?30?,CD0,=:=              D:@=&&":="1D:@/:9:?;=:A4/0?34>
491:=8,?4:9;=:A4/0/;@=>@,9??:D:@=.:9>09?,9/         ;0=4:/=0<@0>?0/4988 // DDDD1:=8,?'34>8,D            491:=8,?4:9B08,D9:?-0,-70?:;=:.0>>D:@=
3:7/>?30=0.4;409?>@-50.??:;09,7?40>-=:@23?-D      -0,.,709/,=D0,=14>.,7D0,=:=<@,=?0=9?0=          =0<@0>?$=:A4/4921,7>0:=1=,@/@709?491:=8,?4:9
;=4A,?0=423?:1,.?4:91:=,9D@9,@?3:=4E0/             0,.3<@,=?0==0<@0>?0/1:=<@,=?0=7D=0?@=9>              8,D>@-50.?D:@?:;09,7?40>
,..0>>:?30=@>0:==0/4>.7:>@=0B4?3:@?D:@=           C,8;709?0=            1:=,.,709/,=D0,=           %:@?490@>0>:1?34>491:=8,?4:949.7@/024A4924??:
0C;=0>>;0=84>>4:9:==0<@0>?                                 :=8  ?=,9>.=4;?                                  ?300;,=?809?:1@>?4.01:=.4A47,9/.=4849,7
0-+*.!*""*-((>0:=8 ?:=0<@0>?               %#)/0-!)  /!:=8 8@>?-0                    74?42,?4:9,9/.4?40>>?,?0>?304>?=4.?:1
?,C=0?@=9491:=8,?4:9?3=:@23,9,@?3:=4E0/)&         >4290/,9//,?0/-D?30?,C;,D0=74>?0/:97490 ,         :7@8-4,,9/(&.:88:9B0,7?3>,9/
;,=?4.4;,9?+:@B477/0>429,?0,9)&;,=?4.4;,9?       := ,'30%&8@>?=0.04A0:=8 B4?349             ;:>>0>>4:9>1:=@>049,/8494>?0=492?304=?,C
?:=0.04A0?30491:=8,?4:9:97490,                          /,D>:1?30/,?0>4290/-D?30?,C;,D0=:=4?        7,B>*08,D,7>:/4>.7:>0?34>491:=8,?4:9?:
                                                           B477-0=050.?0/9>@=0?3,?,77,;;74.,-707490>        :?30=.:@9?=40>@9/0=,?,C?=0,?D?:10/0=,7,9/
*/!1D:@,=0@9>@=0:1B34.3?D;0:1?=,9>.=4;?                                                                   >?,?0,209.40>?:091:=.010/0=,79:9?,C.=4849,7
                                                                ,=0.:8;70?0/-01:=0
D:@900/.30.6B4?3?30;,=?D=0<@0>?492D:@=?,C                                                                    7,B>:=?:10/0=,77,B091:=.0809?,9/
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491:=8,?4:9                                                                                                           49?0774209.0,209.40>?:.:8-,??0==:=4>8
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$!-!/*"%'!'30)&;,=?4.4;,9?B4771,C:=8                                  +:@,=09:?=0<@4=0/?:;=:A4/0?30491:=8,?4:9
 B4?3?30,;;=:A0/)&.:A0=>300??:                                    =0<@0>?0/:9,1:=8?3,?4>>@-50.??:?30
?304=,>>4290/&0=A4.009?0=                                               
                                                                                                                       $,;0=B:=6%0/@.?4:9.?@970>>?301:=8/4>;7,D>
$-/"*-*- !-%)#/-).-%+/.                            ) %1% 0'.'=,9>.=4;?>74>?0/:9:974908,D-0        ,A,74/#!.:9?=:79@8-0=::6>:==0.:=/>
                                                           1@=94>30/?:04?30=>;:@>0415:49?7D1470/#97D:90      =07,?492?:,1:=8:=4?>49>?=@.?4:9>8@>?-0
"4*0-..%#)!            3/$!-!,0!./.2%/$         >429,?@=04>=0<@4=0/&429:=8 0C,.?7D            =0?,490/,>7:92,>?304=.:9?09?>8,D-0.:80
!-1%!!)/!-%.           /$!++-*1!                   ,>D:@=9,80,;;0,=0/:9?30:=4249,7=0?@=91           8,?0=4,749?30,/8494>?=,?4:9:1,9D9?0=9,7
                            *1!-.$!!//*                  D:@.3,920/D:@=9,80,7>:>429D:@=.@==09?              %0A09@07,B090=,77D?,C=0?@=9>,9/=0?@=9
                                                           9,80                                                       491:=8,?4:9,=0.:914/09?4,7,>=0<@4=0/-D>0.?4:9
@>?49&@-84>>4:9          @>?49)&'0,8                                                                               
                                                           *-+*-/%*).090=,77D:=8 .,9-0
$=:.0>>49209?0=                                          >4290/-D                                                  '30?480900/0/?:.:8;70?0,9/1470:=8 
                                                                                                              B477A,=D/0;09/492:949/4A4/@,7.4=.@8>?,9.0>
                                                            ,9:114.0=3,A492702,7,@?3:=4?D?:-49/?30
                                                                                                                       '300>?48,?0/,A0=,20?4804>
                                                           .:=;:=,?4:9 ,9D;0=>:9/0>429,?0/-D?30
=0>9:&@-84>>4:9          =0>9:)&'0,8
                                                           -:,=/:1/4=0.?:=>:=:?30=2:A0=9492-:/D:=          !-)%)#*0//$!'2*-/$!"*-(            849
$=:.0>>49209?0=
                                                           ,9D:114.0=:=08;7:D00:9B=4??09=0<@0>?-D,9D          -!+-%)#/$!"*-(                  849
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                                                           :?30=:114.0=-:9,14/0>3,=03:7/0=:1=0.:=/           /$!"*-(/*/$!                 849
 ,9>,>4?D&@-84>>4:9 ,9>,>4?D)&                   :B9492 ;0=.09?:=8:=0:1?30:@?>?,9/492>?:.6
$=:.0>>49209?0=      '0,8                               :1?30.:=;:=,?4:98,D>@-84?,:=8 -@?            1D:@3,A0.:8809?>.:9.0=9492?30,..@=,.D:1
                                                           8@>?;=:A4/0/:.@809?,?4:9?:>@;;:=??30                  ?30>0?4800>?48,?0>:=>@220>?4:9>1:=8,6492
                                                  =0<@0>?0=>=423??:=0.04A0?30491:=8,?4:9               :=8 >48;70=B0B:@7/-03,;;D?:30,=
                                                                                                                       1=:8D:@+:@.,9B=4?0?:
                                                           -/)!-.$%+.090=,77D:=8 .,9-0
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                  Servicemembers Civil Relief                         U.S. Department of Housing                            OMB Approval 2502 - 0584
                  Act Notice Disclosure                                and Urban Development                                          Exp 3/31/2021
                                                                           Office of Housing

                  Legal Rights and Protections Under the SCRA

                  Servicemembers on “active duty” or “active service,” or a spouse or dependent of such a servicemember may be
                  entitled to certain legal protections and debt relief pursuant to the Servicemembers Civil Relief Act (50 USC §§
                  3901-4043) (SCRA).

                  Who May Be Entitled to Legal Protections Under the SCRA?
                       •    Regular members of the U.S. Armed Forces (Army, Navy, Air Force Marine Corps and Coast Guard).
                       •    Reserve and National Guard personnel who have been activated and are on Federal active duty.
                       •    National Guard personnel under a call or order to active duty for more than 30 consecutive days under section 502(f)
                            of title 32, United States Code, for purposes of responding to a national emergency declared by the President and
                            supported by Federal funds.
                       •    Active service members of the commissioned corps of the Public Health Service and the National Oceanic
                            and Atmospheric Administration.
                       •    Certain United States citizens serving with the armed forces of a nation with which the United States is
                            allied in the prosecution of a war or military action.

                  What Legal Protections Are Servicemembers Entitled To Under the SCRA?
                       •    The SCRA states that a debt incurred by a servicemember, or servicemember and spouse jointly, prior to entering
                            military service shall not bear interest at a rate above 6 % during the period of military service and one year thereafter,
                            in the case of an obligation or liability consisting of a mortgage, trust deed, or other security in the nature of a mortgage,
                            or during the period of military service in the case of any other obligation or liability.
                       •    The SCRA states that in a legal action to enforce a debt against real estate that is filed during, or within one
                            year after the servicemember’s military service, a court may stop the proceedings for a period of time, or
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                            adjust the debt. In addition, the sale, foreclosure, or seizure of real estate shall not be valid if it occurs
                            during or within one year after the servicemember’s military service unless the creditor has obtained a valid
     *C005CG*




                            court order approving the sale, foreclosure, or seizure of the real estate.
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                       •    The SCRA contains many other protections besides those applicable to home loans.

                  How Does A Servicemember or Dependent Request Relief Under the SCRA?
                       •    In order to request relief under the SCRA from loans with interest rates above 6% a servicemember or spouse
                            must provide a written request to the lender, together with a copy of the servicemember’s military orders.
                            LoanCare, LLC, Attn: Special Loans, 3637 Sentara Way, Virginia Beach, VA 23452.
                       •    There is no requirement under the SCRA, however, for a servicemember to provide a written notice or a copy
                            of a servicemember’s military orders to the lender in connection with a foreclosure or other debt enforcement
                            action against real estate. Under these circumstances, lenders should inquire about the military status of a
                            person by searching the Department of Defense’s Defense Manpower Data Center’s website, contacting the
                            servicemember, and examining their files for indicia of military service. Although there is no requirement for
                            servicemembers to alert the lender of their military status in these situations, it still is a good idea for the
                            servicemember to do so.

                  How Does a Servicemember or Dependent Obtain Information About the SCRA?

                       •    Servicemembers and dependents with questions about the SCRA should contact their unit’s Judge Advocate,
                            or their installation’s Legal Assistance Officer. A military legal assistance office locator for all branches of
                            the Armed Forces is available at http://legalassistance.law.af.mil/content/locator.php.
                       •    “Military OneSource” is the U. S. Department of Defense’s information resource. If you are listed as entitled
                            to legal protections under the SCRA (see above), please go to www.militaryonesource.mil/legal or call 1-
                            800-342-9647 (toll free from the United States) to find out more information. Dialing instructions for areas
                            outside the United States are provided on the website.

                                                                                                                                        form HUD-92070
                                                                                                                                               (6/2017)
                XC761 Page 17                          0529308 000036335 09LCZ4 0075327 095
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LoanCare, LLC                                                                                            PRESORT
P.O. Box 9054                                                                                          First-Class Mail
Temecula, CA 92589-9054                                                                               U.S. Postage and
                                  *2360396833*                                                            Fees Paid
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Send Payments to:
LoanCare, LLC
P.O. Box 60509
City Of Industry, CA 91716-0509

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Send Correspondence to:
LoanCare, LLC
P.O. Box 8068
Virginia Beach, VA 23450          qrrqqqqqppppqprprqppqrpqqpsrqpppsssrrrrrqsrspsspsprpqqprpsrssspsr
                                  THOMAS PEARSON
                                  CHARLOTTE PEARSON
                                  3421 CORPUS CHRISTI ST
                                  SIMI VALLEY, CA 93063-1407




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                                                                                                                        3637 Sentara Way
                                                                                                                Virginia Beach, VA 23452
                                                                                                                  Phone: 1-800-909-9525
                                                                                                                     Fax: 1-866-221-5275
                                                                                                                   www.MyLoanCare.com



                  Sent Via First-Class Mail®

                  04/21/2021

                  THOMAS PEARSON
                  CHARLOTTE PEARSON
                  3421 CORPUS CHRISTI ST
                  SIMI VALLEY, CA 93063-1407

                  Loan Number:         XXXXXX7299
                  Property Address:    3421 CORPUS CHRISTI ST
                                       SIMI VALLEY, CA 93063

                  Dear THOMAS PEARSON and CHARLOTTE PEARSON:

                  LoanCare, LLC recognizes that homeownership can be challenging and is committed to helping its customers
                  avoid foreclosure whenever possible.

                  To assist homeowners experiencing financial setbacks, LoanCare, LLC offers a number of options, including:

                      •   Repayment Plans
                      •   Loan Modifications
                      •   Short Sales
                      •   Deeds-in-Lieu

                  Please contact us to assess your financial situation and explore potential options that may be available to you to
                  avoid foreclosure. It is important that you contact us as soon as possible so that we may assist you to bring
                  your account current.

                  You may contact us by phone toll-free at 1-800-909-9525 during business hours to discuss available options
                  for avoiding foreclosure. A representative will be available Monday through Friday from 8:00 A.M. to 10:00
                  P.M. and Saturday from 8:00 A.M. to 3:00 P.M., Eastern Time.

                  To the extent your obligation has been discharged or is subject to the automatic stay in a bankruptcy
                  case, this notice is for informational purposes only and does not constitute a demand for payment or an
                  attempt to collect a debt as your personal obligation. If you are represented by an attorney, please
                  provide us with the attorney’s name, address, and telephone number.

                  The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act
                  require that, except under unusual circumstances, collectors may not contact you before 8:00 a.m. or after 9:00
                  p.m. They may not harass you by using threats of violence or arrest or by using obscene language. Collectors
                  may not use false or misleading statements or call you at work if they know or have reason to know that you
                  may not receive personal calls at work. For the most part, collectors may not tell another person, other than
                  your attorney or spouse, about your debt. Collectors may contact another person to confirm your location or
                  enforce a judgment. For more information about debt collection activities, you may contact the Federal Trade
                  Commission at 1-877-FTC-HELP or www.ftc.gov.

                  As required by law, you are hereby notified that a negative credit report reflecting on your credit record may be
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                  Page 1 of 2                                                                                             2360396833
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 112 of 393 Page ID #:112



               POST OFFICE BOX 8068
               VIRGINIA BEACH, VA 23450




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                    THOMAS PEARSON
                    CHARLOTTE PEARSON
                    3364 GREENVILLE DR
                    SIMI   VALLEY CA 93063-1249
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                                                     Important Information About the Enclosed Notice

                                                                           Please Read This First

                    Please note that LoanCare is required to send you the enclosed notice due to investor
                    guidelines and/or applicable laws or regulations. However, if your loan is in forbearance,
                    then during the forbearance term, you will not be required to make monthly mortgage
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                    payments and late charges and other fees will be suspended. This means you will not be
                    marked “late” for any missed payments or be charged phone pay fees or other fees
    *S005KG*




                    during the forbearance period. We will not pursue foreclosure while you are on a
                    forbearance plan or if your loan is subject to a foreclosure moratorium. If your loan was
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                    current at the time of entering into a forbearance plan, then each month you are in the
                    forbearance plan we will report the status of the account to the credit reporting agencies
                    as current. If, however, your loan was delinquent prior to entering into a forbearance
                    plan, we will maintain that delinquency status during the period of the forbearance. If
                    you are able to bring the loan current during the forbearance plan, we will report the
                    account as current. We will also work with you once the forbearance plan term ends to
                    help you get back on track.




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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 113 of 393 Page ID #:113




                                                                                                                            April 07, 2021

                  THOMAS PEARSON                                                 Reference: XXXXXX7299
                  CHARLOTTE PEARSON                                              Property Address: 3421 Corpus Christi St
                  3364 GREENVILLE DR                                                               Simi Valley CA 93063
                  SIMI VALLEY CA 93063-1249




                 SUBJECT: Please Contact Us about Your Recently Missed Mortgage Payment

                 Dear Thomas Pearson and Charlotte Pearson:

                 As your mortgage servicer, we are concerned about your recently missed payment and would like to offer our
                 assistance. Please contact us so that we can explore what options may be available to help you get back on
                 track. Our goal is to work with you to find the best option based on your hardship. Our records indicate you
                 have missed 3 mortgage payments and your account is 65 days past due. It is important that you act quickly.
                 Fewer options may be available the longer you wait.
                                    WE WOULD LIKE TO HELP YOU – PLEASE CONTACT US AT
                                                      1.800.909.9525
                                                      LoanCare, LLC
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                 Mortgage Assistance May Be Available
     *C005CG*




                    •   We can answer questions about your mortgage and explore options based on your individual hardship.
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                    •   We can determine if you qualify for assistance, including options to stay in your home or leave your home
                          while avoiding foreclosure (see Information on Avoiding Foreclosure below for an overview).
                 You must contact us or complete and return the attached Mortgage Assistance Application,
                 including any required documents described in the application, by May 07, 2021.
                                                   How to Get Help – You Can Reach Us By
                  • Phone: 1.800.909.9525 or Fax: 866-521-4669
                  • Email: LC-LossMitigation@loancare.net
                  • Mail: Attention - Loss Mitigation Department, 3637 Sentara Way, Virginia Beach, VA 23452
                  • Online at https://www.myloancare.com/pub/index.html#/HomeRetentionMain
                                                          Additional Resources
                 For a list of HUD-approved housing counseling agencies that can provide free foreclosure prevention and
                 debt management information, as well as provide translation or other language assistance, contact one of the
                 following federal government agencies.

                        •      The U.S. Department of Housing and Urban Development (HUD) at (800) 569-4287 or
                               www.hud.gov/counseling
                        •      The Consumer Financial Protection Bureau (CFPB) at (855) 411-2372 or
                               www.consumerfinance.gov/mortgagehelp

                 For additional information on how to avoid foreclosure, including help for military servicemembers,
                 you may also visit Freddie Mac’s My Home website at http://myhome.freddiemac.com or Fannie
                 Mae’s www.KnowYourOptions.com.
                                            Customer Service: 1.800.410.1091         Collections: 1.800.909.9525
                                               Monday – Friday: 8 a.m. – 10 p.m. EST Saturday 8 a.m. – 3 p.m. EST

                                        3637 Sentara Way | Virginia Beach, VA 23452 | www.newrez.myloancare.com
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 114 of 393 Page ID #:114




     About Our Evaluation Process:
     Please include both your mortgage loan number and last name on each page and remit the required
     items by May 07, 2021. Should we not receive the documents, we will not be able to evaluate your
     request for a foreclosure prevention alternative. We must either deny the application or submit a written
     offer for a foreclosure prevention alternative within 30 calendar days after you submit a complete
     application. If we submit to you a written offer for a foreclosure prevention alternative, you must accept or
     reject the offer within 14 calendar days after you receive the offer, and the offer is deemed to be rejected
     if you do not accept the offer within 14 calendar days of receiving the offer.

     Thank you for your prompt attention to this matter. We are here to help you with your delinquent
     mortgage.


     Sincerely,

     Loss Mitigation Department
     LoanCare, LLC
     NMLS ID 2916
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                XC761 Page 7                      0529308 000036335 09LCZ4 0075327 095
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   TO THE EXTENT THE FAIR DEBT COLLECTION PRACTICES ACT (FDCPA) AND/OR
   STATE DEBT COLLECTION LAWS ARE APPLICABLE, PLEASE BE ADVISED THAT THIS
   COMMUNICATION IS FROM A DEBT COLLECTOR AND ANY INFORMATION OBTAINED
   WILL BE USED FOR THAT PURPOSE.

   IF YOU ARE CURRENTLY INVOLVED IN A BANKRUPTCY PROCEEDING OR HAVE
   PREVIOUSLY RECEIVED A DISCHARGE IN A BANKRUPTCY PROCEEDING, PLEASE
   NOTIFY US IMMEDIATELY AND BE ADVISED THAT THIS NOTICE IS FOR
   INFORMATIONAL PURPOSES ONLY. THIS NOTICE IS NOT INTENDED TO COLLECT,
   RECOVER, OR OFFSET THE DEBT AGAINST YOU PERSONALLY AND SHOULD NOT BE
   CONSIDERED A DEMAND FOR PAYMENT OR INDICATE THAT YOU ARE PERSONALLY
   LIABLE FOR THIS DEBT. PLEASE CONSULT AN ATTORNEY IF YOU HAVE ANY
   QUESTIONS ABOUT YOUR RIGHTS UNDER BANKRUPTCY LAW.

   THE SERVICEMEMBERS CIVIL RELIEF ACT (SCRA) MAY OFFER PROTECTION OR
   RELIEF TO SERVICEMEMBERS. IF EITHER YOU HAVE BEEN CALLED TO ACTIVE DUTY
   OR ACTIVE SERVICE, OR YOU ARE A SPOUSE OR DEPENDENT OF SUCH A
   SERVICEMEMBER, YOU MAY BE ENTITLED TO CERTAIN LEGAL PROTECTIONS AND
   DEBT RELIEF PURSUANT TO THE SCRA. IF YOU HAVE NOT MADE US AWARE OF YOUR
   STATUS, PLEASE CONTACT US IMMEDIATELY. YOU MAY ALSO CONTACT YOUR
   UNIT’S JUDGE ADVOCATE OR YOUR INSTALLATION’S LEGAL ASSISTANCE OFFICER,
   AVAILABLE AT HTTP://LEGALASSISTANCE.LAW.AF.MIL/CONTENT/LOCATOR.PHP, OR
   CALL 1-800-342-9647 (TOLL FREE FROM THE UNITED STATES) OR
   WWW.MILITARYONESOURCE.MIL/LEGAL TO FIND OUT MORE INFORMATION.


   As required by law, we may report information about your account to credit bureaus. Late
   payments, missed payments, or other defaults on your account may be reflected in your credit
   report.




   *PLEASE SEE IMPORTANT STATE DISCLOSURES INCLUDED WITH THIS LETTER*


   Notices of error and information requests must be sent to:

   LoanCare, LLC
   Attn: Office of the Customer
   P.O. Box 8068
   Virginia Beach, VA 23450



    XC761 Page 8
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 119 of 393 Page ID #:119

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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 125 of 393 Page ID #:125




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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 126 of 393 Page ID #:126


                  Servicemembers Civil Relief                         U.S. Department of Housing                            OMB Approval 2502 - 0584
                  Act Notice Disclosure                                and Urban Development                                          Exp 3/31/2021
                                                                           Office of Housing

                  Legal Rights and Protections Under the SCRA

                  Servicemembers on “active duty” or “active service,” or a spouse or dependent of such a servicemember may be
                  entitled to certain legal protections and debt relief pursuant to the Servicemembers Civil Relief Act (50 USC §§
                  3901-4043) (SCRA).

                  Who May Be Entitled to Legal Protections Under the SCRA?
                       •    Regular members of the U.S. Armed Forces (Army, Navy, Air Force Marine Corps and Coast Guard).
                       •    Reserve and National Guard personnel who have been activated and are on Federal active duty.
                       •    National Guard personnel under a call or order to active duty for more than 30 consecutive days under section 502(f)
                            of title 32, United States Code, for purposes of responding to a national emergency declared by the President and
                            supported by Federal funds.
                       •    Active service members of the commissioned corps of the Public Health Service and the National Oceanic
                            and Atmospheric Administration.
                       •    Certain United States citizens serving with the armed forces of a nation with which the United States is
                            allied in the prosecution of a war or military action.

                  What Legal Protections Are Servicemembers Entitled To Under the SCRA?
                       •    The SCRA states that a debt incurred by a servicemember, or servicemember and spouse jointly, prior to entering
                            military service shall not bear interest at a rate above 6 % during the period of military service and one year thereafter,
                            in the case of an obligation or liability consisting of a mortgage, trust deed, or other security in the nature of a mortgage,
                            or during the period of military service in the case of any other obligation or liability.
                       •    The SCRA states that in a legal action to enforce a debt against real estate that is filed during, or within one
                            year after the servicemember’s military service, a court may stop the proceedings for a period of time, or
  0




                            adjust the debt. In addition, the sale, foreclosure, or seizure of real estate shall not be valid if it occurs
                            during or within one year after the servicemember’s military service unless the creditor has obtained a valid
     *C005CG*




                            court order approving the sale, foreclosure, or seizure of the real estate.
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                       •    The SCRA contains many other protections besides those applicable to home loans.

                  How Does A Servicemember or Dependent Request Relief Under the SCRA?
                       •    In order to request relief under the SCRA from loans with interest rates above 6% a servicemember or spouse
                            must provide a written request to the lender, together with a copy of the servicemember’s military orders.
                            LoanCare, LLC, Attn: Special Loans, 3637 Sentara Way, Virginia Beach, VA 23452.
                       •    There is no requirement under the SCRA, however, for a servicemember to provide a written notice or a copy
                            of a servicemember’s military orders to the lender in connection with a foreclosure or other debt enforcement
                            action against real estate. Under these circumstances, lenders should inquire about the military status of a
                            person by searching the Department of Defense’s Defense Manpower Data Center’s website, contacting the
                            servicemember, and examining their files for indicia of military service. Although there is no requirement for
                            servicemembers to alert the lender of their military status in these situations, it still is a good idea for the
                            servicemember to do so.

                  How Does a Servicemember or Dependent Obtain Information About the SCRA?

                       •    Servicemembers and dependents with questions about the SCRA should contact their unit’s Judge Advocate,
                            or their installation’s Legal Assistance Officer. A military legal assistance office locator for all branches of
                            the Armed Forces is available at http://legalassistance.law.af.mil/content/locator.php.
                       •    “Military OneSource” is the U. S. Department of Defense’s information resource. If you are listed as entitled
                            to legal protections under the SCRA (see above), please go to www.militaryonesource.mil/legal or call 1-
                            800-342-9647 (toll free from the United States) to find out more information. Dialing instructions for areas
                            outside the United States are provided on the website.

                                                                                                                                        form HUD-92070
                                                                                                                                               (6/2017)
                XC761 Page 17                          0529308 000036335 09LCZ4 0075327 095
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 127 of 393 Page ID #:127



                               IMPORTANT NOTICE TO CONFIRMED SUCCESSORS IN INTEREST

               NOTICE TO CONFIRMED SUCCESSORS IN INTEREST: Please be advised that, unless you
               assume the loan under state law, you will not be liable for the mortgage debt and cannot be
               required to use your assets, as a confirmed successor in interest, to pay the mortgage debt,
               except that the lender has a security interest in the property and a right to foreclose on the
               property when permitted by law and authorized under the mortgage loan contract.


                                            IMPORTANT STATE DISCLOSURES

                                         SEE IMPORTANT DISCLOSURES BELOW

               Important notice for Arkansas Residents: Within the state of Arkansas, LoanCare is licensed
               by the Arkansas Securities Department. You may file complaints with the Department at 1
               Commerce Way, Suite 402, Little Rock, Arkansas 72202.

               IMPORTANT NOTICE FOR CONSUMERS IN COLORADO WE ATTEMPT TO COLLECT A
               DEBT FROM: Within the state of Colorado, LoanCare maintains an office at 8690 Wolff Court,
               Suite 110, Westminster, CO 80031. The telephone number is 303-920-4763.

               Important notice for Hawaii Residents: Within the state of Hawaii, LoanCare is licensed by
               the Commissioner of Financial Institutions. You may file complaints with the Commissioner at
               P.O. Box 2054, Honolulu, HI 96805.

               Important notice for Hawaii Residents who submitted a loss mitigation request: If you
               believe your loss mitigation option request has been wrongly denied, you may file a
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               complaint with the state division of financial institutions at (808) 586-2820 or
               http://cca.hawaii.gov/dfi/file-a-complaint.
    *C005SG*




               Important notice for Maryland Residents: Maryland law requires LoanCare to designate a
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               contact to whom mortgagors may direct complaints and inquiries. LoanCare has designated the
               Office of the Customer for that purpose. The telephone number for the Office of the Customer
               is 1-800-919-5631. The Office of the Customer must respond in writing to each written
               complaint or inquiry within 15 days if requested. LoanCare’s failure to comply with any provision
               of Section 13-316 of the Maryland Commercial Law will result in LoanCare being liable for any
               economic damages caused by the violation.

               Important notice for New York Residents: Within the state of New York, LoanCare is
               registered with the Superintendent of the New York Department of Financial Services. You may
               file complaints and obtain further information about LoanCare by contacting the Department of
               Financial Services Consumer Assistance Unit at 1-800-342-3736 or by visiting the Department’s
               website at www.dfs.ny.gov.

               Important notice for New York Residents who submitted a loss mitigation request: If you
               believe the loss mitigation request has been wrongly denied, you may file a complaint
               with the New York State Department of Financial Services at 1-800-342-3736
               or www.dfs.ny.gov.

               Important notice for New York Residents who were offered a debt payment schedule or
               agreement to settle debt: If a creditor or debt collector receives a money judgment against




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               XC761 Page 19                      0529308 000036335 09LCZ4 0075327 095 XC761
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 128 of 393 Page ID #:128


     Please be advised that this communication is from a debt collector. LoanCare, LLC is attempting to
     collect a debt, and any information will be used for that purpose.

     For your benefit and assistance, there are government approved homeownership counseling agencies designed
     to help homeowners avoid losing their homes. To obtain a list of approved counseling agencies, please call
     1-800-569-4287 or visit http://apps.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You may also contact the
     Homeownership Preservation Foundation’s Hope hotline at 1-888-995-HOPE (4673).

     Sincerely,

     LoanCare, LLC
     3637 Sentara Way
     Virginia Beach, VA 23452
     1-800-909-9525

     NMLS ID 2916




     W_CA_DUE1      Rev. 02/2021
     Page 2 of 2                                                                                    2360396833
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 129 of 393 Page ID #:129



                               IMPORTANT NOTICE TO CONFIRMED SUCCESSORS IN INTEREST

               NOTICE TO CONFIRMED SUCCESSORS IN INTEREST: Please be advised that, unless you
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    *C005SG*




               Important notice for Maryland Residents: Maryland law requires LoanCare to designate a
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               contact to whom mortgagors may direct complaints and inquiries. LoanCare has designated the
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               or www.dfs.ny.gov.

               Important notice for New York Residents who were offered a debt payment schedule or
               agreement to settle debt: If a creditor or debt collector receives a money judgment against




               2.7

               XC761 Page 19                      0529308 000036335 09LCZ4 0075327 095 XC761
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 130 of 393 Page ID #:130


LoanCare, LLC                                                                                            PRESORT
P.O. Box 9054                                                                                          First-Class Mail
Temecula, CA 92589-9054                                                                               U.S. Postage and
                                  *2367268127*                                                            Fees Paid
                                                                                                             WSO
                                  2367268127

Send Payments to:
LoanCare, LLC
P.O. Box 60509
City Of Industry, CA 91716-0509

                                  20220203-332
Send Correspondence to:
LoanCare, LLC
P.O. Box 8068
Virginia Beach, VA 23450          srrspqqpqppqqspqsspqpspssrqpprqqrqspqrrssrqsqpsqrppppqprpppsrrrrr
                                  THOMAS PEARSON
                                  CHARLOTTE PEARSON
                                  3421 CORPUS CHRISTI ST
                                  SIMI VALLEY, CA 93063-1407




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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 131 of 393 Page ID #:131
                                                                                                                      3637 Sentara Way
                                                                                                              Virginia Beach, VA 23452
                                                                                                                Phone: 1-800-909-9525
                                                                                                                   Fax: 1-866-221-5275
                                                                                                                 www.MyLoanCare.com



                Sent Via First-Class Mail®

                02/03/2022

                THOMAS PEARSON
                CHARLOTTE PEARSON
                3421 CORPUS CHRISTI ST
                SIMI VALLEY, CA 93063-1407

                Loan Number:         XXXXXX7299
                Property Address:    3421 CORPUS CHRISTI ST
                                     SIMI VALLEY, CA 93063

                Dear THOMAS PEARSON and CHARLOTTE PEARSON:

                LoanCare, LLC recognizes that homeownership can be challenging and is committed to helping its customers
                avoid foreclosure whenever possible.

                To assist homeowners experiencing financial setbacks, LoanCare, LLC offers a number of options, including:

                    •   Repayment Plans
                    •   Loan Modifications
                    •   Short Sales
                    •   Deeds-in-Lieu

                Please contact us to assess your financial situation and explore potential options that may be available to you to
                avoid foreclosure. It is important that you contact us as soon as possible so that we may assist you to bring
                your account current.

                You may contact us by phone toll-free at 1-800-909-9525 during business hours to discuss available options
                for avoiding foreclosure. A representative will be available Monday through Friday from 8:00 A.M. to 10:00
                P.M. and Saturday from 8:00 A.M. to 3:00 P.M., Eastern Time.

                To the extent your obligation has been discharged or is subject to the automatic stay in a bankruptcy
                case, this notice is for informational purposes only and does not constitute a demand for payment or an
                attempt to collect a debt as your personal obligation. If you are represented by an attorney, please
                provide us with the attorney’s name, address, and telephone number.

                The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act
                require that, except under unusual circumstances, collectors may not contact you before 8:00 a.m. or after 9:00
                p.m. They may not harass you by using threats of violence or arrest or by using obscene language. Collectors
                may not use false or misleading statements or call you at work if they know or have reason to know that you
                may not receive personal calls at work. For the most part, collectors may not tell another person, other than
                your attorney or spouse, about your debt. Collectors may contact another person to confirm your location or
                enforce a judgment. For more information about debt collection activities, you may contact the Federal Trade
                Commission at 1-877-FTC-HELP or www.ftc.gov.

                As required by law, you are hereby notified that a negative credit report reflecting on your credit record may be
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                W_CA_DUE1       Rev. 12/2021
                Page 1 of 2                                                                                             2367268127
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 132 of 393 Page ID #:132


     Please be advised that this communication is from a debt collector. LoanCare, LLC is attempting to
     collect a debt, and any information will be used for that purpose.

     For your benefit and assistance, there are government approved homeownership counseling agencies designed
     to help homeowners avoid losing their homes. To obtain a list of approved counseling agencies, please call
     1-800-569-4287 or visit http://apps.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You may also contact the
     Homeownership Preservation Foundation’s Hope hotline at 1-888-995-HOPE (4673).

     Sincerely,

     LoanCare, LLC
     3637 Sentara Way
     Virginia Beach, VA 23452
     1-800-909-9525

     NMLS ID 2916




     W_CA_DUE1      Rev. 12/2021
     Page 2 of 2                                                                                    2367268127
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 133 of 393 Page ID #:133



                   POST OFFICE BOX 8068
                   VIRGINIA BEACH, VA 23450




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                        THOMAS PEARSON
                        CHARLOTTE PEARSON
                        3364 GREENVILLE DR
                        SIMI   VALLEY CA 93063-1249
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 134 of 393 Page ID #:134




                                                                                                                                February 07, 2022

                      THOMAS PEARSON                                                 Reference: XXXXXX7299
                      CHARLOTTE PEARSON                                              Property Address: 3421 Corpus Christi St
                      3364 GREENVILLE DR                                                               Simi Valley CA 93063
                      SIMI VALLEY CA 93063-1249




                     SUBJECT: Please Contact Us about Your Recently Missed Mortgage Payment

                     Dear Thomas Pearson and Charlotte Pearson:

                     As your mortgage servicer, we are concerned about your recently missed payment and would like to offer our
                     assistance. Please contact us so that we can explore what options may be available to help you get back on
                     track. Our goal is to work with you to find the best option based on your hardship. Our records indicate you
                     have missed 2 mortgage payments and your account is 37 days past due. It is important that you act quickly.
                     Fewer options may be available the longer you wait.
                                        WE WOULD LIKE TO HELP YOU – PLEASE CONTACT US AT
                                                          1.800.909.9525
                                                          LoanCare, LLC
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                     Mortgage Assistance May Be Available
         *C003GG*




                        •   We can answer questions about your mortgage and explore options based on your individual hardship.
                        •   We can determine if you qualify for assistance, including options to stay in your home or leave your home
                              while avoiding foreclosure (see Information on Avoiding Foreclosure below for an overview).
                     You must contact us or complete and return the attached Mortgage Assistance Application,
                     including any required documents described in the application, by March 09, 2022.
                                                       How to Get Help – You Can Reach Us By
                      • Phone: 1.800.909.9525 or Fax: 866-521-4669
                      • Email: LC-LossMitigation@loancare.net
                      • Mail: Attention - Loss Mitigation Department, 3637 Sentara Way, Virginia Beach, VA 23452
                      • Online at https://www.myloancare.com/pub/index.html#/HomeRetentionMain
                                                              Additional Resources
                     For a list of HUD-approved housing counseling agencies that can provide free foreclosure prevention and
                     debt management information, as well as provide translation or other language assistance, contact one of the
                     following federal government agencies.

                            •      The U.S. Department of Housing and Urban Development (HUD) at (800) 569-4287 or
                                   www.hud.gov/counseling
                            •      The Consumer Financial Protection Bureau (CFPB) at (855) 411-2372 or
                                   www.consumerfinance.gov/mortgagehelp

                     For additional information on how to avoid foreclosure, including help for military servicemembers,
                     you may also visit Freddie Mac’s My Home website at http://myhome.freddiemac.com or Fannie
                     Mae’s www.KnowYourOptions.com.
                                                Customer Service: 1.800.410.1091         Collections: 1.800.909.9525
                                                   Monday – Friday: 8 a.m. – 10 p.m. EST Saturday 8 a.m. – 3 p.m. EST

                                            3637 Sentara Way | Virginia Beach, VA 23452 | www.newrez.myloancare.com
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 135 of 393 Page ID #:135




     About Our Evaluation Process:
     Please include both your mortgage loan number and last name on each page and remit the required
     items by March 09, 2022. Should we not receive the documents, we will not be able to evaluate your
     request for a foreclosure prevention alternative. We must either deny the application or submit a written
     offer for a foreclosure prevention alternative within 30 calendar days after you submit a complete
     application. If we submit to you a written offer for a foreclosure prevention alternative, you must accept or
     reject the offer within 14 calendar days after you receive the offer, and the offer is deemed to be rejected
     if you do not accept the offer within 14 calendar days of receiving the offer.

     Thank you for your prompt attention to this matter. We are here to help you with your delinquent
     mortgage.


     Sincerely,

     Loss Mitigation Department
     LoanCare, LLC
     NMLS ID 2916
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 136 of 393 Page ID #:136

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    XC731 Page 6
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 139 of 393 Page ID #:139




   TO THE EXTENT THE FAIR DEBT COLLECTION PRACTICES ACT (FDCPA) AND/OR
   STATE DEBT COLLECTION LAWS ARE APPLICABLE, PLEASE BE ADVISED THAT THIS
   COMMUNICATION IS FROM A DEBT COLLECTOR AND ANY INFORMATION OBTAINED
   WILL BE USED FOR THAT PURPOSE.

   IF YOU ARE CURRENTLY INVOLVED IN A BANKRUPTCY PROCEEDING OR HAVE
   PREVIOUSLY RECEIVED A DISCHARGE IN A BANKRUPTCY PROCEEDING, PLEASE
   NOTIFY US IMMEDIATELY AND BE ADVISED THAT THIS NOTICE IS FOR
   INFORMATIONAL PURPOSES ONLY. THIS NOTICE IS NOT INTENDED TO COLLECT,
   RECOVER, OR OFFSET THE DEBT AGAINST YOU PERSONALLY AND SHOULD NOT BE
   CONSIDERED A DEMAND FOR PAYMENT OR INDICATE THAT YOU ARE PERSONALLY
   LIABLE FOR THIS DEBT. PLEASE CONSULT AN ATTORNEY IF YOU HAVE ANY
   QUESTIONS ABOUT YOUR RIGHTS UNDER BANKRUPTCY LAW.

   THE SERVICEMEMBERS CIVIL RELIEF ACT (SCRA) MAY OFFER PROTECTION OR
   RELIEF TO SERVICEMEMBERS. IF EITHER YOU HAVE BEEN CALLED TO ACTIVE DUTY
   OR ACTIVE SERVICE, OR YOU ARE A SPOUSE OR DEPENDENT OF SUCH A
   SERVICEMEMBER, YOU MAY BE ENTITLED TO CERTAIN LEGAL PROTECTIONS AND
   DEBT RELIEF PURSUANT TO THE SCRA. IF YOU HAVE NOT MADE US AWARE OF YOUR
   STATUS, PLEASE CONTACT US IMMEDIATELY. YOU MAY ALSO CONTACT YOUR
   UNIT’S JUDGE ADVOCATE OR YOUR INSTALLATION’S LEGAL ASSISTANCE OFFICER,
   AVAILABLE AT HTTPS://LEGALASSISTANCE.LAW.AF.MIL/, OR CALL 1-800-342-9647
   (TOLL FREE FROM THE UNITED STATES) OR WWW.MILITARYONESOURCE.MIL/LEGAL
   TO FIND OUT MORE INFORMATION.


   As required by law, we may report information about your account to credit bureaus. Late
   payments, missed payments, or other defaults on your account may be reflected in your credit
   report.




   *PLEASE SEE IMPORTANT STATE DISCLOSURES INCLUDED WITH THIS LETTER*


   Notices of error and information requests must be sent to:

   LoanCare, LLC
   Attn: Office of the Customer
   P.O. Box 8068
   Virginia Beach, VA 23450



    XC731 Page 8
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 140 of 393 Page ID #:140

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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 146 of 393 Page ID #:146




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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 147 of 393 Page ID #:147


                      Servicemembers Civil Relief                    U.S. Department of Housing                                OMB Approval 2502 - 0584
                      Act Notice Disclosure                             and Urban Development                                            Exp 3/31/2021
                                                                           Office of Housing

                      Legal Rights and Protections Under the SCRA

                      Servicemembers on “active duty” or “active service,” or a spouse or dependent of such a servicemember may be
                      entitled to certain legal protections and debt relief pursuant to the Servicemembers Civil Relief Act (50 USC §§
                      39014043) (SCRA).

                      Who May Be Entitled to Legal Protections Under the SCRA?
                           x Regular members of the U.S. Armed Forces (Army, Navy, Air ForceMarine Corps anG
                            Coast Guard).
                           x Reserve and National Guard personnel who have been activated and are on Federal active duty
                           x National Guard personnel under a call or order to active duty for more than 30 consecutive days under
                                 section 502(f) of title 32, United States Code, for purposes of responding to a national emergency
                                 declared by the President and supported by Federal funds
                           x Active service members of the commissioned corps of the Public Health Service and the
                                 National Oceanic and Atmospheric Administration.
                           x Certain United States citizens serving with the armed forces of a nation with which the United
                                 States is allied in the prosecution of a war or military action.

                      What Legal Protections Are Servicemembers Entitled To Under the SCRA?
                           x    The SCRA states that a debt incurred by a servicemember, or servicemember and spouse jointly, prior to entering
                                military service shall not bear interest at a rate above 6 % during the period of military service and one year thereafter,
                                in the case of an obligation or liability consisting of a mortgage, trust deed, or other security in the nature of a
                                mortgage, or during the period of military service in the case of any other obligation or liability.
                           x    The SCRA states that in a legal action to enforce a debt against real estate that is filed during, or within one
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                                year after the servicemember’s military service, a court may stop the proceedings for a period of time, or
                                adjust the debt. In addition, the sale, foreclosure, or seizure of real estate shall not be valid if it occurs
         *C003GG*




                                during or within one year after the servicemember’s military service unless the creditor has obtained a valid
                                court order approving the sale, foreclosure, or seizure of the real estate.
                           x    The SCRA contains many other protections besides those applicable to home loans.

                      How Does A Servicemember or Dependent Request Relief Under the SCRA?
                           x    In order to request relief under the SCRA from loans with interest rates above 6% a servicemember or
                                spouse must provide a written request to the lender, together with a copy of the servicemember’s
                                                                                                                        .              military
                                orders. [/RDQ&DUH//&$WWQ6SHFLDO/RDQV6HQWDUD:D\9LUJLQLD%HDFK9$]
                           x    There is no requirement under the SCRA, however, for a servicemember to provide a written notice or a
                                copy of a servicemember’s military orders to the lender in connection with a foreclosure or other debt
                                enforcement action against real estate. Under these circumstances, lenders should inquire about the military
                                status of a person by searching the Department of Defense’s Defense Manpower Data Center’s website,
                                contacting the servicemember, and examining their files for indicia of military service. Although there is no
                                requirement for servicemembers to alert the lender of their military status in these situations, it still is a good
                                idea for the servicemember to do so.

                      How Does a Servicemember or Dependent Obtain Information About the SCRA?
                           x    Servicemembers and dependents with questions about the SCRA should contact their unit’s Judge
                                Advocate, or their installation’s Legal Assistance Officer. A military legal assistance office locator for all
                                                                              h ttps://legalassistance.law.af.mil/
                                branches of the Armed Forces is available at

                           x    “Military OneSource” is the U. S. Department of Defense’s information resource. If you are listed as entitled
                                to legal protections under the SCRA (see above), please go to www.militaryonesource.mil/legal or call 1-
                                800342-9647 (toll free from the United States) to find out more information. Dialing instructions for areas
                                outside the United States are provided on the website.

                                                                                                                                          form HUD-92070
                    XC731 Page 17                          0620073 000030656 09LCZ4 0075327 095                                                  (6/2017)
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 148 of 393 Page ID #:148

                                 IMPORTANT NOTICE TO CONFIRMED SUCCESSORS IN INTEREST

                NOTICE TO CONFIRMED SUCCESSORS IN INTEREST: Please be advised that, unless you assume the
                loan under state law, you will not be liable for the mortgage debt and cannot be required to use your
                assets, as a confirmed successor in interest, to pay the mortgage debt, except that the lender has a
                security interest in the property and a right to foreclose on the property when permitted by law and
                authorized under the mortgage loan contract.

                                                 IMPORTANT STATE DISCLOSURES
                                               SEE IMPORTANT DISCLOSURES BELOW

                Important notice for Arkansas Residents: Within the state of Arkansas, LoanCare is licensed by the
                Arkansas Securities Department. You may file complaints with the Department at 1 Commerce Way, Suite
                402, Little Rock, Arkansas 72202.

                Important notice for California Residents: Within the state of California, LoanCare is licensed by the
                Department of Financial Protection and Innovation. LoanCare’s Residential Mortgage Lending Act license
                numbers are as follows:

                License Number 4130563 – 3637 Sentara Way, Virginia Beach, VA 23452
                License Number 813K544 – 601 Riverside Ave, Building 5, 3rd Floor, Jacksonville, FL 32204
                License Number 41DBO-77773 – 4330 West Chandler Boulevard, Chandler, AZ 85226
                License Number 41DBO-96087 – 1200 Cherrington Parkway, Moon Township, PA 15108

                IMPORTANT NOTICE FOR CONSUMERS IN COLORADO WE ATTEMPT TO COLLECT A DEBT
                FROM: Within the state of Colorado, LoanCare maintains an office at 8690 Wolff Court, Suite 110,
                Westminster, CO 80031. The telephone number is 303-920-4763.

                Important notice for Hawaii Residents: Within the state of Hawaii, LoanCare is licensed by the
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                Commissioner of Financial Institutions. You may file complaints with the Commissioner at P.O. Box 2054,
                Honolulu, HI 96805.
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                Important notice for Hawaii Residents who submitted a loss mitigation request: If you believe your
                loss mitigation option request has been wrongly denied, you may file a complaint with the state
                division of financial institutions at (808) 586-2820 or http://cca.hawaii.gov/dfi/file-a-complaint.

                Important notice for Maryland Residents: Maryland law requires LoanCare to designate a contact to
                whom mortgagors may direct complaints and inquiries. LoanCare has designated the Office of the
                Customer for that purpose. The telephone number for the Office of the Customer is 1-800-919-5631. The
                Office of the Customer must respond in writing to each written complaint or inquiry within 15 days if
                requested. LoanCare’s failure to comply with any provision of Section 13-316 of the Maryland Commercial
                Law will result in LoanCare being liable for any economic damages caused by the violation.

                Important notice for New York Residents: Within the state of New York, LoanCare is registered with the
                Superintendent of the New York Department of Financial Services. You may file complaints and obtain
                further information about LoanCare by contacting the Department of Financial Services Consumer
                Assistance Unit at 1-800-342-3736 or by visiting the Department’s website at www.dfs.ny.gov.

                Important notice for New York Residents who submitted a loss mitigation request: If you believe
                the loss mitigation request has been wrongly denied, you may file a complaint with the New York
                State Department of Financial Services at 1-800-342-3736 or www.dfs.ny.gov.

                Important notice for New York Residents who were offered a debt payment schedule or agreement
                to settle debt: If a creditor or debt collector receives a money judgment against you in court, state and
                federal laws may prevent the following types of income from being taken to pay the debt:

                2.8

                XC731 Page 19                       0620073 000030656 09LCZ4 0075327 095 XC731
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 149 of 393 Page ID #:149

                   1. Supplemental security income, (SSI);
                   2. Social security;
                   3. Public assistance (welfare);
                   4. Spousal support, maintenance (alimony) or child support;
                   5. Unemployment benefits;
                   6. Disability benefits;
                   7. Workers’ compensation benefits;
                   8. Public or private pensions;
                   9. Veterans’ benefits;
                   10. Federal student loans, federal student grants, and federal work study funds; and
                   11. Ninety percent of your wages or salary earned in the last sixty days.

                   Important notice for North Carolina Residents: Within the state of North Carolina, LoanCare is licensed
                   by the Commissioner of Banks. You may file complaints with the Commissioner at 4309 Mail Service
                   Center, Raleigh, NC 27699.

                   Important notice for North Carolina Residents who submitted a loss mitigation request: If you
                   believe the loss mitigation request has been wrongly denied, you may file a complaint with the
                   North Carolina Office of the Commissioner of Banks website, www.nccob.gov.

                   North Carolina Department of Insurance Collection Agency Company Numbers:
                   NC Company Number 119505731 – 3637 Sentara Way, Virginia Beach, VA 23452 (legacy Permit No.
                   112029)
                   NC Company Number 119505867 – 601 Riverside Ave, Building 5, 3rd Floor, Jacksonville, FL 32204
                   (legacy Permit No. 112165)
                   NC Company Number 119507216 – 4330 West Chandler Boulevard, Chandler, AZ 85226 (legacy Permit
                   No. 113538)
                   NC Company Number 119507547 – 1200 Cherrington Parkway, Moon Township, PA 15108 (legacy Permit
                   No. 113876)
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                   Important notice for Oregon Residents: Borrowers: The Oregon Division of Financial Regulation (DFR)
        *C003OI*




                   oversees residential mortgage loan servicers who are responsible for servicing residential mortgage loans
                   in connection with real property located in Oregon and persons required to have a license to service
                   residential mortgage loans in this state. If you have questions regarding your residential mortgage loan,
                   contact your servicer at 800-274-6600. To file a complaint about unlawful conduct by an Oregon licensee
                   or a person required to have an Oregon license, call DFR at (888) 877-4894 or visit http://dfr.oregon.gov.

                   Important notice for those with a mortgage loan on real estate located in Texas: COMPLAINTS
                   REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE SENT TO THE DEPARTMENT OF
                   SAVINGS AND MORTGAGE LENDING, 2601 NORTH LAMAR, SUITE 201, AUSTIN, TX 78705. A TOLL-
                   FREE CONSUMER HOTLINE IS AVAILABLE AT 877-276-5550.

                   A complaint form and instructions may be downloaded and printed from the Department’s website located
                   at www.sml.texas.gov or obtained from the department upon request by mail at the address above, by
                   telephone at its toll-free consumer hotline listed above, or by email at smlinfo@sml.texas.gov.




                   2.8

                   XC731 Page 21                       0620073 000030656 09LCZ4 0075327 095 XC731
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 150 of 393 Page ID #:150


LoanCare, LLC                                                                                                  PRESORT
P.O. Box 9054                                                                                                First-Class Mail
Temecula, CA 92589-9054                                                                                     U.S. Postage and
                                        *2367690740*                                                            Fees Paid
                                                                                                                   WSO
                                        2367690740

Send Payments to:
LoanCare, LLC
P.O. Box 60509
City Of Industry, CA 91716-0509

                                        20220217-332
Send Correspondence to:
LoanCare, LLC
P.O. Box 8068
Virginia Beach, VA 23450                pqpqqprqpprssprpppqpspqrqqppsppssrrprppppsrrrssrqsrsqsrpsssssqqsr
                                        THOMAS PEARSON
                                        CHARLOTTE PEARSON
                                        3421 CORPUS CHRISTI ST
                                        SIMI VALLEY, CA 93063-1407




                                       Please Read This First

Please note that LoanCare is required to send you the enclosed notice due to investor guidelines
and/or applicable laws or regulations. If you are experiencing a financial hardship due to COVID-19,
we're here to help. To learn more about assistance that may be available to you, please contact us at
1-800-909-9525. We will not pursue foreclosure while you are on a forbearance plan, performing under
an approved loss mitigation plan, or if your loan is subject to a foreclosure moratorium.
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 151 of 393 Page ID #:151
                                                                                                                    3637 Sentara Way
                                                                                                            Virginia Beach, VA 23452
                                                                                                              Phone: 1-800-909-9525
                                                                                                                 Fax: 1-866-221-5275
                                                                                                               www.MyLoanCare.com



               Sent Via First-Class Mail®

               02/18/2022

               THOMAS PEARSON
               CHARLOTTE PEARSON
               3421 CORPUS CHRISTI ST
               SIMI VALLEY, CA 93063-1407

               Loan Number:         XXXXXX7299
               Property Address:    3421 CORPUS CHRISTI ST
                                    SIMI VALLEY, CA 93063

                                      NOTICE OF DEFAULT AND INTENT TO ACCELERATE

               Dear THOMAS PEARSON and CHARLOTTE PEARSON:

               This letter is formal notice by LoanCare, LLC, the Servicer of the above-referenced loan acting on behalf of
               New Residential Mortgage LLC, that you are in default under the terms of the documents creating and securing
               your Loan described above, including the Note and Deed of Trust/Mortgage/Security Deed (“Security
               Instrument”), for failure to pay the amounts due.

               If you have questions about any of the items contained in this notice, or need any additional information, please
               contact Roger Maute at 1-800-509-0872 whom we have designated as your single point of contact.

               As of the date of this notice, the total amount required to cure the default is $3,107.14, which consists of the
               following:

                         Next Payment Due Date:                                                              01/01/2022

                         Total Monthly Payments Due:                                                         $2,864.50
                             01/01/2022                                      at                      $1,432.25
                             02/01/2022                                      at                      $1,432.25
                         Late Charges:                                                                         $202.64
                         Other Charges:
                                                Uncollected NSF Fees:                                              $25.00
                         Corporate Advance Balance:                                                                $15.00
                         Unapplied Balance:                                                                         $0.00

                         TOTAL YOU MUST PAY TO CURE DEFAULT:                                                   $3,107.14

               You can cure this default by making a payment of $3,107.14 by 03/25/2022. Please note any additional
               monthly payments, late charges and other charges that may be due under the Note, Security Instrument and
               applicable law after the date of this notice must also be paid to bring your account current. For the exact
               amount you must pay to bring your loan current, please contact Roger Maute at 1-800-509-0872. This letter is
               in no way intended as a payoff statement for your mortgage, it merely states an amount necessary to cure the
               current default. Please include your loan number and property address with your payment and send to:

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                     LoanCare, LLC
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               Page 1 of 3                                                                                            2367690740
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 152 of 393 Page ID #:152


             P.O. Box 60509
             City Of Industry, CA 91716-0509

             Overnight:
             LoanCare, LLC
             3637 Sentara Way
             Virginia Beach, VA 23452

     To the extent your obligation has been discharged or is subject to the automatic stay in a bankruptcy
     case, this notice is for informational purposes only and does not constitute a demand for payment or an
     attempt to collect a debt as your personal obligation. If you are represented by an attorney, please
     provide us with the attorney’s name, address, and telephone number.

     IF YOU ARE UNABLE TO BRING YOUR ACCOUNT CURRENT, LoanCare, LLC offers consumer
     assistance programs designed to help resolve delinquencies and avoid foreclosure. These services are provided
     without cost to our customers. You may be eligible for a loan workout plan or other similar alternative to
     foreclosure. If you would like to learn more about these programs, you may contact Roger Maute at
     1-800-509-0872, Monday through Friday from 8:00 A.M. to 10:00 P.M. and Saturday from 8:00 A.M. to 3:00
     P.M., Eastern Time to discuss possible options. You may also visit our website www.MyLoanCare.com. WE
     ARE VERY INTERESTED IN ASSISTING YOU.

     You have a right to cure the default. To cure the default, you must pay the full amount of the default on this
     loan by the thirty-fifth (35th) day from the date of this letter which is 03/25/2022 (or if said date falls on a
     Saturday, Sunday, or legal holiday, then on the first business day thereafter). Failure to cure the default on or
     before this date may result in acceleration of the sums secured by the Security Instrument and sale of the
     property.

     You have the right to reinstate the loan after acceleration and the right to bring a court action to assert the
     non-existence of a default or any other defense to acceleration and sale. If foreclosure proceedings are
     undertaken, we may pursue a deficiency judgment, if permitted by applicable law. Failure to respond to this
     letter may result in the loss of your property.

     You may request from us the following documents:

         §    A copy of the promissory note;
         §    A copy of the deed of trust or mortgage;
         §    A copy of any assignment of the mortgage or deed of trust;
         §    A copy of your payment history since you were last less than sixty (60) days past due.

     The state Rosenthal Fair Debt Collection Practices Act and the federal Fair Debt Collection Practices Act
     require that, except under unusual circumstances, collectors may not contact you before 8:00 a.m. or after 9:00
     p.m. They may not harass you by using threats of violence or arrest or by using obscene language. Collectors
     may not use false or misleading statements or call you at work if they know or have reason to know that you
     may not receive personal calls at work. For the most part, collectors may not tell another person, other than
     your attorney or spouse, about your debt. Collectors may contact another person to confirm your location or
     enforce a judgment. For more information about debt collection activities, you may contact the Federal Trade
     Commission at 1-877-FTC-HELP or www.ftc.gov.

     As required by law, you are hereby notified that a negative credit report reflecting on your credit record may be
     submitted to a credit reporting agency if you fail to fulfill the terms of your credit obligations.

     Please be advised that this communication is from a debt collector. LoanCare, LLC is attempting to
     collect a debt, and any information will be used for that purpose.

     Attention Servicemembers and Dependents: Servicemembers on active duty, or a spouse or dependent of
     W_CA_DEMAND          Rev. 12/2021
     Page 2 of 3                                                                                          2367690740
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 153 of 393 Page ID #:153


                  such a servicemember, may be entitled to certain protections under the Servicemembers Civil Relief Act
                  ("SCRA") regarding the servicemember's interest rate and the risk of the foreclosure. SCRA and certain state
                  laws provide important protections for you, including prohibiting foreclosure under most circumstances. If you
                  are currently in the military service, or have been within the last twelve (12) months, please notify LoanCare,
                  LLC immediately. When contacting LoanCare, LLC as to your military service, you must provide positive
                  proof as to your military status. Servicemembers and dependents with questions about the SCRA should
                  contact their unit's Judge Advocate, or their installation's Legal Assistance Officer. Homeowner counseling is
                  also available at agencies such as Military OneSource (www.militaryonesource.mil, 1-800-342-9647) and
                  Armed Forces Legal Assistance (http://legalassistance.law.af.mil), and through HUD-certified housing
                  counselors (http://apps.hud.gov/offices/hsg/sfh/hcc/hcs.cfm). You can also contact Roger Maute toll-free at
                  1-800-509-0872 if you have questions about your rights under SCRA.

                  For your benefit and assistance, there are government approved homeownership counseling agencies designed
                  to help homeowners avoid losing their homes. To obtain a list of approved counseling agencies, please call
                  1-800-569-4287 or visit http://apps.hud.gov/offices/hsg/sfh/hcc/hcs.cfm. You may also contact the
                  Homeownership Preservation Foundation’s Hope hotline at 1-888-995-HOPE (4673).

                  Thank you for your prompt attention to this matter.

                  Sincerely,

                  LoanCare, LLC
                  3637 Sentara Way
                  Virginia Beach, VA 23452
                  1-800-909-9525

                  NMLS ID 2916 Important notice about foreclosure moratoriums: Failure to bring your account current on or
                  before the date specified in this notice may result in acceleration of your loan balance, foreclosure proceedings,
                  and the sale of your property. If your mortgage account is subject to a foreclosure moratorium, we will not
                  initiate and/or proceed with foreclosure and sale of your property during the applicable foreclosure moratorium
                  period. However, we may proceed with foreclosure and sale of your property after the applicable foreclosure
                  moratorium has expired.




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                  Page 3 of 3                                                                                           2367690740
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 154 of 393 Page ID #:154



               POST OFFICE BOX 8068
               VIRGINIA BEACH, VA 23450




                    + 0627188 000016741 09LCZ4 0075327 095 XC761
                    THOMAS PEARSON
                    CHARLOTTE PEARSON
                    3364 GREENVILLE DR
                    SIMI   VALLEY CA 93063-1249
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                                                     Important Information About the Enclosed Notice

                                                                           Please Read This First

                    Please note that LoanCare is required to send you the enclosed notice due to investor
                    guidelines and/or applicable laws or regulations. If you are experiencing a financial
                    hardship due to COVID-19, we’re here to help. To learn more about assistance that may
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                    be available to you, please contact us at 1-800-909-9525. We will not pursue foreclosure
                    while you are on a forbearance plan, performing under an approved loss mitigation plan,
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                    or if your loan is subject to a foreclosure moratorium.
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               XC761 Page 1
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 155 of 393 Page ID #:155




                                                                                                                            March 07, 2022

                  THOMAS PEARSON                                                 Reference: XXXXXX7299
                  CHARLOTTE PEARSON                                              Property Address: 3421 Corpus Christi St
                  3364 GREENVILLE DR                                                               Simi Valley CA 93063
                  SIMI VALLEY CA 93063-1249




                 SUBJECT: Please Contact Us about Your Recently Missed Mortgage Payment

                 Dear Thomas Pearson and Charlotte Pearson:

                 As your mortgage servicer, we are concerned about your recently missed payment and would like to offer our
                 assistance. Please contact us so that we can explore what options may be available to help you get back on
                 track. Our goal is to work with you to find the best option based on your hardship. Our records indicate you
                 have missed 3 mortgage payments and your account is 65 days past due. It is important that you act quickly.
                 Fewer options may be available the longer you wait.
                                    WE WOULD LIKE TO HELP YOU – PLEASE CONTACT US AT
                                                      1.800.909.9525
                                                      LoanCare, LLC
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                 Mortgage Assistance May Be Available
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                    •   We can answer questions about your mortgage and explore options based on your individual hardship.
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                    •   We can determine if you qualify for assistance, including options to stay in your home or leave your home
                          while avoiding foreclosure (see Information on Avoiding Foreclosure below for an overview).
                 You must contact us or complete and return the attached Mortgage Assistance Application,
                 including any required documents described in the application, by April 06, 2022.
                                                   How to Get Help – You Can Reach Us By
                  • Phone: 1.800.909.9525 or Fax: 866-521-4669
                  • Email: LC-LossMitigation@loancare.net
                  • Mail: Attention - Loss Mitigation Department, 3637 Sentara Way, Virginia Beach, VA 23452
                  • Online at https://www.myloancare.com/pub/index.html#/HomeRetentionMain
                                                          Additional Resources
                 For a list of HUD-approved housing counseling agencies that can provide free foreclosure prevention and
                 debt management information, as well as provide translation or other language assistance, contact one of the
                 following federal government agencies.

                        •      The U.S. Department of Housing and Urban Development (HUD) at (800) 569-4287 or
                               www.hud.gov/counseling
                        •      The Consumer Financial Protection Bureau (CFPB) at (855) 411-2372 or
                               www.consumerfinance.gov/mortgagehelp

                 For additional information on how to avoid foreclosure, including help for military servicemembers,
                 you may also visit Freddie Mac’s My Home website at http://myhome.freddiemac.com or Fannie
                 Mae’s www.KnowYourOptions.com.
                                            Customer Service: 1.800.410.1091         Collections: 1.800.909.9525
                                               Monday – Friday: 8 a.m. – 10 p.m. EST Saturday 8 a.m. – 3 p.m. EST

                                        3637 Sentara Way | Virginia Beach, VA 23452 | www.newrez.myloancare.com
                XC761 Page 3                         0627188 000016741 09LCZ4 0075327 095             XC761                      0038507299
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 156 of 393 Page ID #:156




     About Our Evaluation Process:
     Please include both your mortgage loan number and last name on each page and remit the required
     items by April 06, 2022. Should we not receive the documents, we will not be able to evaluate your
     request for a foreclosure prevention alternative. We must either deny the application or submit a written
     offer for a foreclosure prevention alternative within 30 calendar days after you submit a complete
     application. If we submit to you a written offer for a foreclosure prevention alternative, you must accept or
     reject the offer within 14 calendar days after you receive the offer, and the offer is deemed to be rejected
     if you do not accept the offer within 14 calendar days of receiving the offer.

     Thank you for your prompt attention to this matter. We are here to help you with your delinquent
     mortgage.


     Sincerely,

     Loss Mitigation Department
     LoanCare, LLC
     NMLS ID 2916
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 157 of 393 Page ID #:157

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    XC761 Page 6
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 159 of 393 Page ID #:159


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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 160 of 393 Page ID #:160




   TO THE EXTENT THE FAIR DEBT COLLECTION PRACTICES ACT (FDCPA) AND/OR
   STATE DEBT COLLECTION LAWS ARE APPLICABLE, PLEASE BE ADVISED THAT THIS
   COMMUNICATION IS FROM A DEBT COLLECTOR AND ANY INFORMATION OBTAINED
   WILL BE USED FOR THAT PURPOSE.

   IF YOU ARE CURRENTLY INVOLVED IN A BANKRUPTCY PROCEEDING OR HAVE
   PREVIOUSLY RECEIVED A DISCHARGE IN A BANKRUPTCY PROCEEDING, PLEASE
   NOTIFY US IMMEDIATELY AND BE ADVISED THAT THIS NOTICE IS FOR
   INFORMATIONAL PURPOSES ONLY. THIS NOTICE IS NOT INTENDED TO COLLECT,
   RECOVER, OR OFFSET THE DEBT AGAINST YOU PERSONALLY AND SHOULD NOT BE
   CONSIDERED A DEMAND FOR PAYMENT OR INDICATE THAT YOU ARE PERSONALLY
   LIABLE FOR THIS DEBT. PLEASE CONSULT AN ATTORNEY IF YOU HAVE ANY
   QUESTIONS ABOUT YOUR RIGHTS UNDER BANKRUPTCY LAW.

   THE SERVICEMEMBERS CIVIL RELIEF ACT (SCRA) MAY OFFER PROTECTION OR
   RELIEF TO SERVICEMEMBERS. IF EITHER YOU HAVE BEEN CALLED TO ACTIVE DUTY
   OR ACTIVE SERVICE, OR YOU ARE A SPOUSE OR DEPENDENT OF SUCH A
   SERVICEMEMBER, YOU MAY BE ENTITLED TO CERTAIN LEGAL PROTECTIONS AND
   DEBT RELIEF PURSUANT TO THE SCRA. IF YOU HAVE NOT MADE US AWARE OF YOUR
   STATUS, PLEASE CONTACT US IMMEDIATELY. YOU MAY ALSO CONTACT YOUR
   UNIT’S JUDGE ADVOCATE OR YOUR INSTALLATION’S LEGAL ASSISTANCE OFFICER,
   AVAILABLE AT HTTPS://LEGALASSISTANCE.LAW.AF.MIL/, OR CALL 1-800-342-9647
   (TOLL FREE FROM THE UNITED STATES) OR WWW.MILITARYONESOURCE.MIL/LEGAL
   TO FIND OUT MORE INFORMATION.


   As required by law, we may report information about your account to credit bureaus. Late
   payments, missed payments, or other defaults on your account may be reflected in your credit
   report.




   *PLEASE SEE IMPORTANT STATE DISCLOSURES INCLUDED WITH THIS LETTER*


   Notices of error and information requests must be sent to:

   LoanCare, LLC
   Attn: Office of the Customer
   P.O. Box 8068
   Virginia Beach, VA 23450



    XC761 Page 8
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 161 of 393 Page ID #:161

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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 165 of 393 Page ID #:165

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               XC761 Page 14
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 167 of 393 Page ID #:167




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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 168 of 393 Page ID #:168


                  Servicemembers Civil Relief                    U.S. Department of Housing                                OMB Approval 2502 - 0584
                  Act Notice Disclosure                             and Urban Development                                            Exp 3/31/2021
                                                                       Office of Housing

                  Legal Rights and Protections Under the SCRA

                  Servicemembers on “active duty” or “active service,” or a spouse or dependent of such a servicemember may be
                  entitled to certain legal protections and debt relief pursuant to the Servicemembers Civil Relief Act (50 USC §§
                  39014043) (SCRA).

                  Who May Be Entitled to Legal Protections Under the SCRA?
                       x Regular members of the U.S. Armed Forces (Army, Navy, Air ForceMarine Corps anG
                        Coast Guard).
                       x Reserve and National Guard personnel who have been activated and are on Federal active duty
                       x National Guard personnel under a call or order to active duty for more than 30 consecutive days under
                             section 502(f) of title 32, United States Code, for purposes of responding to a national emergency
                             declared by the President and supported by Federal funds
                       x Active service members of the commissioned corps of the Public Health Service and the
                             National Oceanic and Atmospheric Administration.
                       x Certain United States citizens serving with the armed forces of a nation with which the United
                             States is allied in the prosecution of a war or military action.

                  What Legal Protections Are Servicemembers Entitled To Under the SCRA?
                       x    The SCRA states that a debt incurred by a servicemember, or servicemember and spouse jointly, prior to entering
                            military service shall not bear interest at a rate above 6 % during the period of military service and one year thereafter,
                            in the case of an obligation or liability consisting of a mortgage, trust deed, or other security in the nature of a
                            mortgage, or during the period of military service in the case of any other obligation or liability.
                       x    The SCRA states that in a legal action to enforce a debt against real estate that is filed during, or within one
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                            year after the servicemember’s military service, a court may stop the proceedings for a period of time, or
                            adjust the debt. In addition, the sale, foreclosure, or seizure of real estate shall not be valid if it occurs
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                            during or within one year after the servicemember’s military service unless the creditor has obtained a valid
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                            court order approving the sale, foreclosure, or seizure of the real estate.
                       x    The SCRA contains many other protections besides those applicable to home loans.

                  How Does A Servicemember or Dependent Request Relief Under the SCRA?
                       x    In order to request relief under the SCRA from loans with interest rates above 6% a servicemember or
                            spouse must provide a written request to the lender, together with a copy of the servicemember’s
                                                                                                                    .              military
                            orders. [/RDQ&DUH//&$WWQ6SHFLDO/RDQV6HQWDUD:D\9LUJLQLD%HDFK9$]
                       x    There is no requirement under the SCRA, however, for a servicemember to provide a written notice or a
                            copy of a servicemember’s military orders to the lender in connection with a foreclosure or other debt
                            enforcement action against real estate. Under these circumstances, lenders should inquire about the military
                            status of a person by searching the Department of Defense’s Defense Manpower Data Center’s website,
                            contacting the servicemember, and examining their files for indicia of military service. Although there is no
                            requirement for servicemembers to alert the lender of their military status in these situations, it still is a good
                            idea for the servicemember to do so.

                  How Does a Servicemember or Dependent Obtain Information About the SCRA?
                       x    Servicemembers and dependents with questions about the SCRA should contact their unit’s Judge
                            Advocate, or their installation’s Legal Assistance Officer. A military legal assistance office locator for all
                                                                          h ttps://legalassistance.law.af.mil/
                            branches of the Armed Forces is available at

                       x    “Military OneSource” is the U. S. Department of Defense’s information resource. If you are listed as entitled
                            to legal protections under the SCRA (see above), please go to www.militaryonesource.mil/legal or call 1-
                            800342-9647 (toll free from the United States) to find out more information. Dialing instructions for areas
                            outside the United States are provided on the website.

                                                                                                                                      form HUD-92070
                XC761 Page 17                          0627188 000016741 09LCZ4 0075327 095                                                  (6/2017)
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 169 of 393 Page ID #:169

                                IMPORTANT NOTICE TO CONFIRMED SUCCESSORS IN INTEREST

               NOTICE TO CONFIRMED SUCCESSORS IN INTEREST: Please be advised that, unless you assume the
               loan under state law, you will not be liable for the mortgage debt and cannot be required to use your
               assets, as a confirmed successor in interest, to pay the mortgage debt, except that the lender has a
               security interest in the property and a right to foreclose on the property when permitted by law and
               authorized under the mortgage loan contract.

                                                IMPORTANT STATE DISCLOSURES
                                              SEE IMPORTANT DISCLOSURES BELOW

               Important notice for Arkansas Residents: Within the state of Arkansas, LoanCare is licensed by the
               Arkansas Securities Department. You may file complaints with the Department at 1 Commerce Way, Suite
               402, Little Rock, Arkansas 72202.

               Important notice for California Residents: Within the state of California, LoanCare is licensed by the
               Department of Financial Protection and Innovation. LoanCare’s Residential Mortgage Lending Act license
               numbers are as follows:

               License Number 4130563 – 3637 Sentara Way, Virginia Beach, VA 23452
               License Number 813K544 – 601 Riverside Ave, Building 5, 3rd Floor, Jacksonville, FL 32204
               License Number 41DBO-77773 – 4330 West Chandler Boulevard, Chandler, AZ 85226
               License Number 41DBO-96087 – 1200 Cherrington Parkway, Moon Township, PA 15108

               IMPORTANT NOTICE FOR CONSUMERS IN COLORADO WE ATTEMPT TO COLLECT A DEBT
               FROM: Within the state of Colorado, LoanCare maintains an office at 8690 Wolff Court, Suite 110,
               Westminster, CO 80031. The telephone number is 303-920-4763.

               Important notice for Hawaii Residents: Within the state of Hawaii, LoanCare is licensed by the
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               Commissioner of Financial Institutions. You may file complaints with the Commissioner at P.O. Box 2054,
               Honolulu, HI 96805.
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               Important notice for Hawaii Residents who submitted a loss mitigation request: If you believe your
               loss mitigation option request has been wrongly denied, you may file a complaint with the state
               division of financial institutions at (808) 586-2820 or http://cca.hawaii.gov/dfi/file-a-complaint.

               Important notice for Maryland Residents: Maryland law requires LoanCare to designate a contact to
               whom mortgagors may direct complaints and inquiries. LoanCare has designated the Office of the
               Customer for that purpose. The telephone number for the Office of the Customer is 1-800-919-5631. The
               Office of the Customer must respond in writing to each written complaint or inquiry within 15 days if
               requested. LoanCare’s failure to comply with any provision of Section 13-316 of the Maryland Commercial
               Law will result in LoanCare being liable for any economic damages caused by the violation.

               Important notice for New York Residents: Within the state of New York, LoanCare is registered with the
               Superintendent of the New York Department of Financial Services. You may file complaints and obtain
               further information about LoanCare by contacting the Department of Financial Services Consumer
               Assistance Unit at 1-800-342-3736 or by visiting the Department’s website at www.dfs.ny.gov.

               Important notice for New York Residents who submitted a loss mitigation request: If you believe
               the loss mitigation request has been wrongly denied, you may file a complaint with the New York
               State Department of Financial Services at 1-800-342-3736 or www.dfs.ny.gov.

               Important notice for New York Residents who were offered a debt payment schedule or agreement
               to settle debt: If a creditor or debt collector receives a money judgment against you in court, state and
               federal laws may prevent the following types of income from being taken to pay the debt:

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               XC761 Page 19                       0627188 000016741 09LCZ4 0075327 095 XC761
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 170 of 393 Page ID #:170

               1. Supplemental security income, (SSI);
               2. Social security;
               3. Public assistance (welfare);
               4. Spousal support, maintenance (alimony) or child support;
               5. Unemployment benefits;
               6. Disability benefits;
               7. Workers’ compensation benefits;
               8. Public or private pensions;
               9. Veterans’ benefits;
               10. Federal student loans, federal student grants, and federal work study funds; and
               11. Ninety percent of your wages or salary earned in the last sixty days.

               Important notice for North Carolina Residents: Within the state of North Carolina, LoanCare is licensed
               by the Commissioner of Banks. You may file complaints with the Commissioner at 4309 Mail Service
               Center, Raleigh, NC 27699.

               Important notice for North Carolina Residents who submitted a loss mitigation request: If you
               believe the loss mitigation request has been wrongly denied, you may file a complaint with the
               North Carolina Office of the Commissioner of Banks website, www.nccob.gov.

               North Carolina Department of Insurance Collection Agency Company Numbers:
               NC Company Number 119505731 – 3637 Sentara Way, Virginia Beach, VA 23452 (legacy Permit No.
               112029)
               NC Company Number 119505867 – 601 Riverside Ave, Building 5, 3rd Floor, Jacksonville, FL 32204
               (legacy Permit No. 112165)
               NC Company Number 119507216 – 4330 West Chandler Boulevard, Chandler, AZ 85226 (legacy Permit
               No. 113538)
               NC Company Number 119507547 – 1200 Cherrington Parkway, Moon Township, PA 15108 (legacy Permit
               No. 113876)
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               Important notice for Oregon Residents: Borrowers: The Oregon Division of Financial Regulation (DFR)
    *C004SI*




               oversees residential mortgage loan servicers who are responsible for servicing residential mortgage loans
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               in connection with real property located in Oregon and persons required to have a license to service
               residential mortgage loans in this state. If you have questions regarding your residential mortgage loan,
               contact your servicer at 800-274-6600. To file a complaint about unlawful conduct by an Oregon licensee
               or a person required to have an Oregon license, call DFR at (888) 877-4894 or visit http://dfr.oregon.gov.

               Important notice for those with a mortgage loan on real estate located in Texas: COMPLAINTS
               REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE SENT TO THE DEPARTMENT OF
               SAVINGS AND MORTGAGE LENDING, 2601 NORTH LAMAR, SUITE 201, AUSTIN, TX 78705. A TOLL-
               FREE CONSUMER HOTLINE IS AVAILABLE AT 877-276-5550.

               A complaint form and instructions may be downloaded and printed from the Department’s website located
               at www.sml.texas.gov or obtained from the department upon request by mail at the address above, by
               telephone at its toll-free consumer hotline listed above, or by email at smlinfo@sml.texas.gov.




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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 171 of 393 Page ID #:171



               POST OFFICE BOX 8068
               VIRGINIA BEACH, VA 23450




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                    ESTATE OF THOMAS PEARSON
                    ESTATE OF CHARLOTTE PEARSON
                    2023 W SAINT ESTEPHE CT
                    HAYDEN        ID 83835-8436
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 172 of 393 Page ID #:172




                                                                                                                        December 23, 2022

                  ESTATE OF THOMAS PEARSON                                       Reference: XXXXXX7299
                  ESTATE OF CHARLOTTE PEARSON                                    Property Address: 3421 Corpus Christi St
                  2023 W SAINT ESTEPHE CT                                                          Simi Valley CA 93063
                  HAYDEN ID 83835-8436




                 SUBJECT: Please Contact Us about Your Recently Missed Mortgage Payment

                 Dear Estate Of Thomas Pearson and Estate Of Charlotte Pearson:

                 As your mortgage servicer, we are concerned about your recently missed payment and would like to offer our
                 assistance. Please contact us so that we can explore what options may be available to help you get back on
                 track. Our goal is to work with you to find the best option based on your hardship. Our records indicate you
                 have missed 12 mortgage payments and your account is 356 days past due. It is important that you act
                 quickly. Fewer options may be available the longer you wait.
                                    WE WOULD LIKE TO HELP YOU – PLEASE CONTACT US AT
                                                      1.800.909.9525
                                                      LoanCare, LLC
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                 Mortgage Assistance May Be Available
     *2006KG*




                    •   We can answer questions about your mortgage and explore options based on your individual hardship.
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                    •   We can determine if you qualify for assistance, including options to stay in your home or leave your home
                          while avoiding foreclosure (see Information on Avoiding Foreclosure below for an overview).
                 You must contact us or complete and return the attached Mortgage Assistance Application,
                 including any required documents described in the application, by January 22, 2023.

                                                   How to Get Help – You Can Reach Us By
                  • Phone: 1.800.909.9525 or Fax: 866-521-4669
                  • Email: LC-LossMitigation@loancare.net
                  • Mail: Attention - Loss Mitigation Department, 3637 Sentara Way, Virginia Beach, VA 23452
                  • Online at https://www.myloancare.com/pub/index.html#/HomeRetentionMain

                                                          Additional Resources
                 For a list of HUD-approved housing counseling agencies that can provide free foreclosure prevention and
                 debt management information, as well as provide translation or other language assistance, contact one of the
                 following federal government agencies.

                        •      The U.S. Department of Housing and Urban Development (HUD) at (800) 569-4287 or
                               www.hud.gov/counseling
                        •      The Consumer Financial Protection Bureau (CFPB) at (855) 411-2372 or
                               www.consumerfinance.gov/mortgagehelp




                                            Customer Service: 1.800.410.1091         Collections: 1.800.909.9525
                                               Monday – Friday: 8 a.m. – 10 p.m. EST Saturday 8 a.m. – 3 p.m. EST

                                        3637 Sentara Way | Virginia Beach, VA 23452 | www.newrez.myloancare.com
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 173 of 393 Page ID #:173




   For additional information on how to avoid foreclosure, including help for military servicemembers,
   you may also visit Fannie Mae's www.KnowYourOptions.com. Fannie Mae is the owner of your
   mortgage.

   About Our Evaluation Process:
   Please include both your mortgage loan number and last name on each page and remit the required items
   by January 22, 2023. Should we not receive the documents, we will not be able to evaluate your request for
   a foreclosure prevention alternative. We must either deny the application or submit a written offer for a
   foreclosure prevention alternative within 30 calendar days after you submit a complete application. If we
   submit to you a written offer for a foreclosure prevention alternative, you must accept or reject the offer
   within 14 calendar days after you receive the offer, and the offer is deemed to be rejected if you do not
   accept the offer within 14 calendar days of receiving the offer.

   Thank you for your prompt attention to this matter. We are here to help you with your delinquent mortgage.


   Sincerely,

   Loss Mitigation Department
   LoanCare, LLC
   NMLS ID 2916




                            Customer Service: 1.800.410.1091          Collections: 1.800.909.9525
                                Monday – Friday: 8 a.m. – 10 p.m. EST Saturday 8 a.m. – 3 p.m. EST

                        3637 Sentara Way | Virginia Beach, VA 23452 | www.newrez.myloancare.com
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   XC731 Page 6                        0709528 000002959 09LCZ4 0075327 095 XC731
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 176 of 393 Page ID #:176


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                XC731 Page 7                       0709528 000002959 09LCZ4 0075327 095 XC731
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 177 of 393 Page ID #:177




   TO THE EXTENT THE FAIR DEBT COLLECTION PRACTICES ACT (FDCPA) AND/OR
   STATE DEBT COLLECTION LAWS ARE APPLICABLE, PLEASE BE ADVISED THAT THIS
   COMMUNICATION IS FROM A DEBT COLLECTOR AND ANY INFORMATION OBTAINED
   WILL BE USED FOR THAT PURPOSE.

   IF YOU ARE CURRENTLY INVOLVED IN A BANKRUPTCY PROCEEDING OR HAVE
   PREVIOUSLY RECEIVED A DISCHARGE IN A BANKRUPTCY PROCEEDING, PLEASE
   NOTIFY US IMMEDIATELY AND BE ADVISED THAT THIS NOTICE IS FOR
   INFORMATIONAL PURPOSES ONLY. THIS NOTICE IS NOT INTENDED TO COLLECT,
   RECOVER, OR OFFSET THE DEBT AGAINST YOU PERSONALLY AND SHOULD NOT BE
   CONSIDERED A DEMAND FOR PAYMENT OR INDICATE THAT YOU ARE PERSONALLY
   LIABLE FOR THIS DEBT. PLEASE CONSULT AN ATTORNEY IF YOU HAVE ANY
   QUESTIONS ABOUT YOUR RIGHTS UNDER BANKRUPTCY LAW.

   THE SERVICEMEMBERS CIVIL RELIEF ACT (SCRA) MAY OFFER PROTECTION OR
   RELIEF TO SERVICEMEMBERS. IF EITHER YOU HAVE BEEN CALLED TO ACTIVE DUTY
   OR ACTIVE SERVICE, OR YOU ARE A SPOUSE OR DEPENDENT OF SUCH A
   SERVICEMEMBER, YOU MAY BE ENTITLED TO CERTAIN LEGAL PROTECTIONS AND
   DEBT RELIEF PURSUANT TO THE SCRA. IF YOU HAVE NOT MADE US AWARE OF YOUR
   STATUS, PLEASE CONTACT US IMMEDIATELY. YOU MAY ALSO CONTACT YOUR
   UNIT’S JUDGE ADVOCATE OR YOUR INSTALLATION’S LEGAL ASSISTANCE OFFICER,
   AVAILABLE AT HTTPS://LEGALASSISTANCE.LAW.AF.MIL/, OR CALL 1-800-342-9647
   (TOLL FREE FROM THE UNITED STATES) OR WWW.MILITARYONESOURCE.MIL/LEGAL
   TO FIND OUT MORE INFORMATION.


   As required by law, we may report information about your account to credit bureaus. Late
   payments, missed payments, or other defaults on your account may be reflected in your credit
   report.




   *PLEASE SEE IMPORTANT STATE DISCLOSURES INCLUDED WITH THIS LETTER*


   Notices of error and information requests must be sent to:

   LoanCare, LLC
   Attn: Office of the Customer
   P.O. Box 8068
   Virginia Beach, VA 23450




                         Customer Service: 1.800.410.1091         Collections: 1.800.909.9525
                            Monday – Friday: 8 a.m. – 10 p.m. EST Saturday 8 a.m. – 3 p.m. EST

                     3637 Sentara Way | Virginia Beach, VA 23452 | www.newrez.myloancare.com
   XC731 Page 8                  0709528 000002959 09LCZ4 0075327 095 XC731
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XC731 Page 14
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 186 of 393 Page ID #:186


                  Servicemembers Civil Relief                     U.S. Department of Housing                               OMB Approval No. 2502-0584
                  Act Notice Disclosure                             and Urban Development                                           Expire 11/30/2024
                                                                        Office of Housing

                  Legal Rights and Protections Under the SCRA

                  Servicemembers on “active duty” or “active service,” or a spouse or dependent of such a servicemember
                  may be entitled to certain legal protections and debt relief pursuant to the Servicemembers Civil Relief Act
                  (50 USC §§ 39014043) (SCRA).

                  Who May Be Entitled to Legal Protections Under the SCRA?
                       x   Regular members of the U.S. Armed Forces (Army, Navy, Air Force Marine Corps and
                            Coast Guard).
                       x   Reserve and National Guard personnel who have been activated and are on Federal active duty.
                       x   National Guard personnel under a call or order to active duty for more than 30 consecutive days under
                            section 502(f) of title 32, United States Code, for purposes of responding to a national emergency
                            declared by the President and supported by Federal funds.
                       x   Active service members of the commissioned corps of the Public Health Service and the
                            National Oceanic and Atmospheric Administration.
                       x   Certain United States citizens serving with the armed forces of a nation with which the United
                            States is allied in the prosecution of a war or military action.

                  What Legal Protections Are Servicemembers Entitled To Under the SCRA?
                       x   The SCRA states that a debt incurred by a servicemember, or servicemember and spouse jointly, prior to entering
                            military service shall not bear interest at a rate above 6 % during the period of military service and one year thereafter,
                            in the case of an obligation or liability consisting of a mortgage, trust deed, or other security in the nature of a
                            mortgage, or during the period of military service in the case of any other obligation or liability.
                       x   The SCRA states that in a legal action to enforce a debt against real estate that is filed during, or within one
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                            year after the servicemember’s military service, a court may stop the proceedings for a period of time, or
                            adjust the debt. In addition, the sale, foreclosure, or seizure of real estate shall not be valid if it occurs
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                            during or within one year after the servicemember’s military service unless the creditor has obtained a valid
                            court order approving the sale, foreclosure, or seizure of the real estate.
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                       x   The SCRA contains many other protections besides those applicable to home loans.

                  How Does A Servicemember or Dependent Request Relief Under the SCRA?
                       x   In order to request relief under the SCRA from loans with interest rates above 6% a servicemember or
                            spouse must provide a written request to the lender, together with a copy of the servicemember’s military
                                                                                                                    .
                            orders. [LoanCare, LLC, Attn: Special Loans, 3637 Sentara Way, Virginia Beach, VA 23452]
                       x   There is no requirement under the SCRA, however, for a servicemember to provide a written notice or a
                            copy of a servicemember’s military orders to the lender in connection with a foreclosure or other debt
                            enforcement action against real estate. Under these circumstances, lenders should inquire about the military
                            status of a person by searching the Department of Defense’s Defense Manpower Data Center’s website,
                            contacting the servicemember, and examining their files for indicia of military service. Although there is no
                            requirement for servicemembers to alert the lender of their military status in these situations, it still is a good
                            idea for the servicemember to do so.

                  How Does a Servicemember or Dependent Obtain Information About the SCRA?
                       x   Servicemembers and dependents with questions about the SCRA should contact their unit’s Judge
                            Advocate, or their installation’s Legal Assistance Officer. A military legal assistance office locator for all
                            branches of the Armed Forces is available at https://legalassistance.law.af.mil/.
                       x   “Military OneSource” is the U. S. Department of Defense’s information resource. If you are listed as entitled
                            to legal protections under the SCRA (see above), please go to www.militaryonesource.mil/legal or call
                            (800) 342-9647 (toll free from the United States) to find out more information. Dialing instructions for
                            areas outside the United States are provided on the website.


                                                                                                                                      form HUD-92070
                XC731 Page 19                          0709528 000002959 09LCZ4 0075327 095                                                  (6/2017)
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 187 of 393 Page ID #:187

                                IMPORTANT NOTICE TO CONFIRMED SUCCESSORS IN INTEREST

               NOTICE TO CONFIRMED SUCCESSORS IN INTEREST: Please be advised that, unless you assume the
               loan under state law, you will not be liable for the mortgage debt and cannot be required to use your
               assets, as a confirmed successor in interest, to pay the mortgage debt, except that the lender has a
               security interest in the property and a right to foreclose on the property when permitted by law and
               authorized under the mortgage loan contract.

                                                IMPORTANT STATE DISCLOSURES
                                              SEE IMPORTANT DISCLOSURES BELOW

               Important notice for Arkansas Residents: Within the state of Arkansas, LoanCare is licensed by the
               Arkansas Securities Department. You may file complaints with the Department at 1 Commerce Way, Suite
               402, Little Rock, Arkansas 72202.

               Important notice for California Residents: Within the state of California, LoanCare is licensed by the
               Department of Financial Protection and Innovation. LoanCare’s Residential Mortgage Lending Act license
               numbers are as follows:

               License Number 4130563 – 3637 Sentara Way, Virginia Beach, VA 23452
               License Number 813K544 – 601 Riverside Ave, Building 5, 3rd Floor, Jacksonville, FL 32204
               License Number 41DBO-77773 – 4330 West Chandler Boulevard, Chandler, AZ 85226
               License Number 41DBO-96087 – 1200 Cherrington Parkway, Moon Township, PA 15108

               IMPORTANT NOTICE FOR CONSUMERS IN COLORADO WE ATTEMPT TO COLLECT A DEBT
               FROM: Within the state of Colorado, LoanCare maintains an office at 8690 Wolff Court, Suite 110,
               Westminster, CO 80031. The telephone number is 303-920-4763.

               Important notice for Hawaii Residents: Within the state of Hawaii, LoanCare is licensed by the
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               Commissioner of Financial Institutions. You may file complaints with the Commissioner at P.O. Box 2054,
               Honolulu, HI 96805.
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               Important notice for Hawaii Residents who submitted a loss mitigation request: If you believe your
               loss mitigation option request has been wrongly denied, you may file a complaint with the state
               division of financial institutions at (808) 586-2820 or http://cca.hawaii.gov/dfi/file-a-complaint.

               Important notice for Maryland Residents: Maryland law requires LoanCare to designate a contact to
               whom mortgagors may direct complaints and inquiries. LoanCare has designated the Office of the
               Customer for that purpose. The telephone number for the Office of the Customer is 1-800-919-5631. The
               Office of the Customer must respond in writing to each written complaint or inquiry within 15 days if
               requested. LoanCare’s failure to comply with any provision of Section 13-316 of the Maryland Commercial
               Law will result in LoanCare being liable for any economic damages caused by the violation.

               Important notice for New York Residents: Within the state of New York, LoanCare is registered with the
               Superintendent of the New York Department of Financial Services. You may file complaints and obtain
               further information about LoanCare by contacting the Department of Financial Services Consumer
               Assistance Unit at 1-800-342-3736 or by visiting the Department’s website at www.dfs.ny.gov.

               Important notice for New York Residents who submitted a loss mitigation request: If you believe
               the loss mitigation request has been wrongly denied, you may file a complaint with the New York
               State Department of Financial Services at 1-800-342-3736 or www.dfs.ny.gov.

               Important notice for New York Residents who were offered a debt payment schedule or agreement
               to settle debt: If a creditor or debt collector receives a money judgment against you in court, state and
               federal laws may prevent the following types of income from being taken to pay the debt:

               2.8                       XC731 Page 21                       0709528 000002959 09LCZ4 0075327 095 XC731
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 188 of 393 Page ID #:188

               1. Supplemental security income, (SSI);
               2. Social security;
               3. Public assistance (welfare);
               4. Spousal support, maintenance (alimony) or child support;
               5. Unemployment benefits;
               6. Disability benefits;
               7. Workers’ compensation benefits;
               8. Public or private pensions;
               9. Veterans’ benefits;
               10. Federal student loans, federal student grants, and federal work study funds; and
               11. Ninety percent of your wages or salary earned in the last sixty days.

               Important notice for North Carolina Residents: Within the state of North Carolina, LoanCare is licensed
               by the Commissioner of Banks. You may file complaints with the Commissioner at 4309 Mail Service
               Center, Raleigh, NC 27699.

               Important notice for North Carolina Residents who submitted a loss mitigation request: If you
               believe the loss mitigation request has been wrongly denied, you may file a complaint with the
               North Carolina Office of the Commissioner of Banks website, www.nccob.gov.

               North Carolina Department of Insurance Collection Agency Company Numbers:
               NC Company Number 119505731 – 3637 Sentara Way, Virginia Beach, VA 23452 (legacy Permit No.
               112029)
               NC Company Number 119505867 – 601 Riverside Ave, Building 5, 3rd Floor, Jacksonville, FL 32204
               (legacy Permit No. 112165)
               NC Company Number 119507216 – 4330 West Chandler Boulevard, Chandler, AZ 85226 (legacy Permit
               No. 113538)
               NC Company Number 119507547 – 1200 Cherrington Parkway, Moon Township, PA 15108 (legacy Permit
               No. 113876)
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               Important notice for Oregon Residents: Borrowers: The Oregon Division of Financial Regulation (DFR)
    *2006GI*




               oversees residential mortgage loan servicers who are responsible for servicing residential mortgage loans
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               in connection with real property located in Oregon and persons required to have a license to service
               residential mortgage loans in this state. If you have questions regarding your residential mortgage loan,
               contact your servicer at 800-274-6600. To file a complaint about unlawful conduct by an Oregon licensee
               or a person required to have an Oregon license, call DFR at (888) 877-4894 or visit http://dfr.oregon.gov.

               Important notice for those with a mortgage loan on real estate located in Texas: COMPLAINTS
               REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE SENT TO THE DEPARTMENT OF
               SAVINGS AND MORTGAGE LENDING, 2601 NORTH LAMAR, SUITE 201, AUSTIN, TX 78705. A TOLL-
               FREE CONSUMER HOTLINE IS AVAILABLE AT 877-276-5550.

               A complaint form and instructions may be downloaded and printed from the Department’s website located
               at www.sml.texas.gov or obtained from the department upon request by mail at the address above, by
               telephone at its toll-free consumer hotline listed above, or by email at smlinfo@sml.texas.gov.




               2.8                       XC731 Page 23                       0709528 000002959 09LCZ4 0075327 095 XC731
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 189 of 393 Page ID #:189



               you in court, state and federal laws may prevent the following types of income from being taken
               to pay the debt:
               1. Supplemental security income, (SSI);
               2. Social security;
               3. Public assistance (welfare);
               4. Spousal support, maintenance (alimony) or child support;
               5. Unemployment benefits;
               6. Disability benefits;
               7. Workers’ compensation benefits;
               8. Public or private pensions;
               9. Veterans’ benefits;
               10. Federal student loans, federal student grants, and federal work study funds; and
               11. Ninety percent of your wages or salary earned in the last sixty days.

               Important notice for North Carolina Residents: Within the state of North Carolina, LoanCare
               is licensed by the Commissioner of Banks. You may file complaints with the Commissioner at
               4309 Mail Service Center, Raleigh, NC 27699.

               Important notice for North Carolina Residents who submitted a loss mitigation request:
               If you believe the loss mitigation request has been wrongly denied, you may file a
               complaint with the North Carolina Office of the Commissioner of Banks website,
               www.nccob.gov.

               North Carolina Department of Insurance Collection Agency Permit Numbers:
               NC Permit Number 112029 - 3637 Sentara Way, Virginia Beach, VA 23452
               NC Permit Number 112165 - 601 Riverside Ave., Building 5, 3rd Floor, Jacksonville, FL 32204
               NC Permit Number 113538 - 4330 West Chandler Boulevard, Chandler, AZ 85226
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               NC Permit Number 113876 - 1200 Cherrington Parkway, Moon Township, PA 15108

               Important notice for Oregon Residents: Borrowers: The Oregon Division of Financial
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               Regulation (DFR) oversees residential mortgage loan servicers who are responsible for
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               servicing residential mortgage loans in connection with real property located in Oregon and
               persons required to have a license to service residential mortgage loans in this state. If you
               have questions regarding your residential mortgage loan, contact your servicer at
               800-274-6600. To file a complaint about unlawful conduct by an Oregon licensee or a person
               required to have an Oregon license, call DFR at (888) 877-4894 or visit http://dfr.oregon.gov.

               Important notice for those with a mortgage loan on real estate located in Texas:
               COMPLAINTS REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE SENT TO
               THE DEPARTMENT OF SAVINGS AND MORTGAGE LENDING, 2601 NORTH LAMAR,
               SUITE 201, AUSTIN, TX 78705. A TOLL-FREE CONSUMER HOTLINE IS AVAILABLE AT
               877-276-5550.

               A complaint form and instructions may be downloaded and printed from the Department’s
               website located at www.sml.texas.gov or obtained from the department upon request by mail at
               the address above, by telephone at its toll-free consumer hotline listed above, or by email at
               smlinfo@sml.texas.gov.




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               XC761 Page 21                      0529308 000036335 09LCZ4 0075327 095 XC761
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 190 of 393 Page ID #:190
FLEX MODIFICATION SOLICITATION COVER LETTER


THOMAS PEARSON and CHARLOTTE PEARSON                                   April 12, 2022
3364 GREENVILLE DR
SIMI VALLEY, CA 93063                                                  Reference: 0038507299
Subject: Loan Modification Offer Enclosed - Act Now to Avoid Foreclosure
Dear THOMAS PEARSON and CHARLOTTE PEARSON:
Your mortgage is seriously delinquent, and your time to act and avoid foreclosure is running out. You have options, but
you must act now. We are here to help. If you have questions about the options listed below, please contact us
immediately.
You are Approved for a Trial Period Plan to Modify Your Mortgage Payment
If you accept this trial period plan, you will be required to make three monthly payments in the amount of $1,192.89. If you
follow the terms of the trial period plan, your mortgage will be permanently modified. Please refer to the enclosed trial
period plan for details on accepting this offer.
If you do not contact us or send your first trial period plan payment by April 26, 2022, foreclosure proceedings may be
started or continue.


                                                         QUESTIONS? CONTACT US
                    New Residential Mortgage LLC, by LoanCare, LLC as agent under Limited POA
                                              Phone: (800) 909-9525
                                  Email Address: LC-lossmitigation@loancare.net
                                      Website: https://www.myloancare.com/

Unable to Pay the Monthly Trial Period Payment or Prefer to Leave Your Home?
You may have other options to avoid foreclosure.
          A short sale: the sale of your property for a price that is less than the amount you still owe on your mortgage.
          A Mortgage ReleaseTM (deed-in-lieu of foreclosure): the transfer of ownership of your property to us in exchange
           for release of some or all of the amount you still owe on your mortgage.
If you are approved for a short sale or Mortgage Release and complete the necessary steps, we will cancel your
remaining mortgage debt obligation. Cancellation of debt may have tax consequences; please consult a tax advisor
to discuss potential tax consequences.

We encourage you to review the enclosed trial period plan. Thank you for your prompt attention to this matter. We are
here to help you with your mortgage.

Sincerely,

Loss Mitigation Department
New Residential Mortgage LLC, by LoanCare, LLC as agent under Limited POA




*0038507299*                                                                                   *773488+25*
Fannie Mae Flex Modification Solicitation Cover Letter                                                                  09.18.18
4256 05/19                                                       Page 1 of 1
  Case 2:23-cv-03882-DSF-MRW                                Document 1 Filed 05/18/23 Page 191 of 393 Page ID #:191

FLEX MODIFICATION TRIAL PERIOD PLAN SOLICITATION OFFER - NOT BASED
ON AN EVALUATION OF A BRP


                                                                                                                         April 12, 2022
Dear THOMAS PEARSON and CHARLOTTE PEARSON:

Based on careful review of your mortgage account, we are offering you an opportunity to enter into a loan modification
trial period plan. This is the first step toward qualifying for a permanent loan modification. If you satisfy all of the terms of
the offer, successfully complete the trial period plan by making the required payments, and return a signed loan
modification agreement, we will sign the loan modification agreement and your loan will be permanently modified.

      ACT NOW – Key Steps to Modify your Mortgage and Prevent Foreclosure Action

Step 1: Contact Us or Send Your First Trial Period Plan Payment to Prevent Foreclosure Proceedings
You must do one of these by April 26, 2022.
   9 Contact us by phone or in writing to let us know if you intend to accept this offer, OR
     9    Send your first trial period plan payment of $1,192.89 to accept this offer


                    New Residential Mortgage LLC, by LoanCare, LLC as agent under Limited POA
                                    3637 Sentara Way, Virginia Beach, VA 23452

                          Phone: (800) 909-9525; Email Address: LC-lossmitigation@loancare.net

If you do not contact us or send your first trial period plan payment by April 26, 2022, foreclosure proceedings may be
started or continue.

Step 2: Make Your Trial Period Plan Payments
   9 To successfully complete the trial period plan, you must make the trial period plan payments below.

  Trial Period Plan Payment                                            Amount Due                           Due Date
  FIRST*                                                                 $1,192.89                          05/01/2022
  SECOND                                                                 $1,192.89                          06/01/2022
  THIRD                                                                  $1,192.89                          07/01/2022

*If you submit your first trial period plan payment by April 26, 2022, follow this schedule for your second and third trial
period plan payments only.

We must receive each trial period plan payment in the month in which it is due. If we do not receive a trial period
payment by the last day of the month in which it is due, this offer is revoked and we may refer your mortgage to
foreclosure. If your mortgage has already been referred to foreclosure, foreclosure related expenses may have been
incurred, foreclosure proceedings may continue, and a foreclosure sale may occur.

If you cannot afford the trial period plan payments described above but want to remain in your home, or if you
have decided to leave your home, please contact us immediately to discuss additional foreclosure prevention
options that may be available.

Step 3: Sign and Return the Loan Modification Agreement – Your modified terms will take effect only after:
   9 You have signed and submitted your loan modification agreement (which we will send you near the completion of
        the trial period plan);


*0038507299*                                                                                              *773488+25*
Fannie Mae Flex Modification Trial Period Plan Solicitation Offer - Not Based on an Evaluation of a BRP                         12.08.21
4262 03/22                                                                       Page 1 of 5
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 192 of 393 Page ID #:192
    9 We have signed the loan modification agreement and returned a copy to you upon completion of the trial period
      plan; AND
     9 The modification effective date set forth in the loan modification agreement has occurred.

                                                                  Modification Terms
The table below compares your current mortgage terms to the estimated modified terms.

                                                                    Current Terms                         Modification Terms
 Payment*                                                              $1,432.25                                   $1,192.89
 Interest Rate                                                           5.250%                                       5.250%
 Term                                                                275 months                                  480 months
 Maturity Date                                                  November 1, 2044                                 July 1, 2062
 Deferred Principal**                                                      $0.00                                        $0.00

*Payment includes principal, interest, and escrow payment, if applicable. For more information on the estimated
modification payment amount, review the Frequently Asked Questions.
**For more information on deferred principal, review the Frequently Asked Questions.

What Else Do You Need to Know?
   The terms of your existing note and mortgage remain in effect until the mortgage is permanently modified.
       However, while you are making your monthly trial period plan payments and otherwise remain in compliance with
       this trial period plan, foreclosure proceedings will not start or continue.
         There are no modification processing fees for this trial period plan or for modifying your mortgage.
         If your mortgage is modified, we will waive all unpaid late charges.
         There are no penalties for paying more than the amount due or for paying off the mortgage early.


                                                       Frequently Asked Questions
Q1. What is a trial period plan?
    A trial period plan is a temporary payment relief period that allows you to demonstrate that you can consistently
      manage the estimated modified mortgage payment.

Q2. How does the modification work?
     A loan modification changes some of the terms of your mortgage, such as monthly payment, interest rate, and
      maturity date, which may make your payment more affordable.
         You will repay the new interest-bearing mortgage balance in equal monthly payments over the modified term.
         To permanently modify your mortgage, you first need to successfully complete the trial period plan. Your modified
          mortgage payment will be based on the interest-bearing unpaid principal balance as of the end of the trial period
          and may be moderately different than the trial period plan payment, which is an estimate of your modified
          mortgage payment.
         Once you make all of your trial period plan payments on time and meet all of the terms in this trial period plan, you
          must sign and return the loan modification agreement. Once we determine you have complied with the trial period
          plan requirements, we will sign the loan modification agreement and send a copy back to you for your records.

Q3. What is deferred principal?
     Deferred principal is a portion of the unpaid mortgage balance for which repayment is delayed. If your modified
      terms include deferred principal your due date for this amount would be the earliest of 1) the date you sell or
      transfer the property; 2) the date you refinance the modified mortgage; 3) the date you pay off the interest-bearing



*0038507299*                                                                                              *773488+25*
Fannie Mae Flex Modification Trial Period Plan Solicitation Offer - Not Based on an Evaluation of a BRP                         12.08.21
4262 03/22                                                                       Page 2 of 5
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 193 of 393 Page ID #:193
      unpaid principal balance of the modified mortgage; or 4) the new maturity date of the modified mortgage. Interest
      is not charged on any deferred principal.

Q4. Will my interest rate and principal and interest payment be fixed after my loan is permanently modified?
     Yes. If your loan is permanently modified, your interest rate and monthly principal and interest payment will be
        fixed for the life of your mortgage.
         Your new monthly payment may include an escrow payment for property taxes, hazard insurance, and other
          escrowed expenses, unless its inclusion is prohibited by applicable law. If the cost of your homeowners
          insurance, property tax assessment, or other escrowed expenses increases, your monthly payment may increase
          as well.

Q5. Do I have to modify my loan into a 480-month (40-year) fixed rate term?
     Yes. A 480-month repayment term results in a lower modified monthly payment than would be available under a
       shorter term. The modified mortgage does not have any penalty if you pay off your mortgage earlier than the new
       maturity date. If you would like more information on options for paying off your mortgage early, please contact us
       for additional details at (800) 909-9525.

Q6. How will a trial period plan and loan modification impact my credit?
     A trial period plan and loan modification may result in your credit score being adversely affected. Credit reporting
      agencies generally consider the entry into a trial period plan and loan modification as an increased credit risk.
      Please note, however, that continued delinquency, including a foreclosure, would have a more negative impact to
      your credit score.
     We will continue to report the delinquency status of your loan to credit reporting agencies as well as your entry
      into a trial period plan in accordance with applicable law.
         Once your loan is modified, you will be considered current on your mortgage and your credit score may improve
          so long as you make your payments on time.
         For more information about your credit score, go to: https://www.consumerfinance.gov/consumer-tools/credit-
          reports-and-scores/

Q7. What if I need further assistance?
     If you are experiencing a financial hardship you may be eligible for mortgage assistance from your state’s housing
      finance agency or other state or local government agency.
         For a list of HUD-approved housing counseling agencies that can provide free foreclosure prevention and debt
          management information, information on state or local government mortgage assistance programs that may be
          available, as well as translation or other language assistance, contact one of the following federal government
          agencies:
               o The U.S. Department of Housing and Urban Development (HUD) at (800) 569-4287 or
                    www.hud.gov/counseling
               o The Consumer Financial Protection Bureau (CFPB) at (855) 411-2372 or
                    www.consumerfinance.gov/mortgagehelp
         For additional information on how to avoid foreclosure, including help for military servicemembers, you may also
          visit Fannie Mae’s www.KnowYourOptions.com. Fannie Mae is the owner of your mortgage loan.
         Please contact us anytime at (800) 909-9525, especially if you experience another event that may prevent you
          from making your mortgage payment.

Q8. Why do I need to contact you within 14 days?
     It is important to contact us within 14 days of the date of this letter. If your mortgage has already been, or is about
      to be, referred to foreclosure, contacting us will stop the foreclosure process. You can also stop the foreclosure
      process by sending the first trial period plan payment within 14 days of the date of this letter, which is earlier than
      the due date for the first trial period plan payment in Step 2.
         If your mortgage has already been referred to foreclosure, a foreclosure sale may occur if you do not contact us
          or send the first trial period plan payment within 14 days of the date of this letter.




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Fannie Mae Flex Modification Trial Period Plan Solicitation Offer - Not Based on an Evaluation of a BRP               12.08.21
4262 03/22                                                                       Page 3 of 5
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 194 of 393 Page ID #:194
     You may also incur additional expenses related to foreclosure if you do not contact us or send the first trial period
      plan payment within 14 days of the date of this letter.

Q9. Can I still receive a modification if I do not contact you or send the first trial period plan payment within 14
days?
     Yes, except in the limited circumstances where a foreclosure sale occurs before the due date of the first trial
       period plan payment. However, you must make each of the trial period plan payments on time and then sign the
       final modification agreement as required in Steps 2 and 3.

Q10. What if I acquired an ownership interest in the property, such as through death, divorce, or legal
separation?
    You should contact us as soon as possible. We are here to help you adjust to these events and provide you with
       information on where to send the mortgage payments. Please contact us to obtain a list of documentation that is
       needed to confirm your identity and ownership interest in the property, and to discuss next steps.

                       Additional Trial Period Plan Information and Legal Notices
We will not refer your loan to foreclosure or proceed to foreclosure sale during the trial period plan if you are
complying with the terms of the trial period plan:
    Any pending foreclosure action or proceeding that has been suspended may be resumed if you do not follow the
       terms of the plan or do not qualify for a permanent modification.
         We will hold the trial period plan payments in an account until sufficient funds are in the account to pay your
          oldest past due monthly payment. Unless required by applicable law, there will be no interest paid on the funds in
          the account and any funds in the account at the end of the trial period plan will be deducted from the amount that
          will be added to your principal balance.
         Our acceptance of your payments during the trial period plan does not waive our right to require immediate
          payment in full of all amounts you owe on your mortgage, including the right to resume or continue foreclosure
          action, if you fail to comply with the terms of the plan. Entering a trial period plan does not mean that your
          mortgage will be considered current, unless your payments under the plan completely resolve all past due
          amounts.

Your current mortgage documents remain in effect; however, you are permitted to make the trial period plan
payment instead of the current monthly payment required under your mortgage documents:
    All the terms of your current mortgage documents remain in effect during the trial period plan. Nothing in the trial
       period plan shall be understood to be a satisfaction or release in whole or in part of your obligations contained in
       the mortgage documents.

We reserve the right to revoke this offer or terminate the trial period plan following your acceptance if we learn of
information that would make you ineligible for the trial period plan or loan modification. In this event, we may
exercise any of the rights and remedies provided by the loan documents and applicable law.

Your mortgage will not be modified if you sold or transferred any interest in the property in violation of your
mortgage loan documents.




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4262 03/22                                                                       Page 4 of 5
  Case 2:23-cv-03882-DSF-MRW                                Document 1 Filed 05/18/23 Page 195 of 393 Page ID #:195
                                                                    Your Next Steps
     9 Call us or make your first trial period plan payment to stop the foreclosure process and begin your loan
          modification process.
     9 Make your trial period plan payments by their due dates.
     9 Remember that in addition to successfully completing your trial period plan payments, you must sign and
          return the loan modification agreement.




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Fannie Mae Flex Modification Trial Period Plan Solicitation Offer - Not Based on an Evaluation of a BRP           12.08.21
4262 03/22                                                                       Page 5 of 5
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 196 of 393 Page ID #:196


                   IMPORTANT NOTICE TO CONFIRMED SUCCESSORS IN INTEREST
NOTICE TO CONFIRMED SUCCESSORS IN INTEREST: Please be advised that, unless you assume the
loan under state law, you will not be liable for the mortgage debt and cannot be required to use your assets, as
a confirmed successor in interest, to pay the mortgage debt, except that the lender has a security interest in
the property and a right to foreclose on the property when permitted by law and authorized under the mortgage
loan contract.
                                   IMPORTANT STATE DISCLOSURES
                                 SEE IMPORTANT DISCLOSURES BELOW
Important notice for Arkansas Residents: Within the state of Arkansas, LoanCare is licensed by the
Arkansas Securities Department. You may file complaints with the Department at 1 Commerce Way, Suite
402, Little Rock, Arkansas 72202.
Important notice for California Residents: Within the state of California, LoanCare is licensed by the
Department of Financial Protection and Innovation. LoanCare's Residential Mortgage Lending Act license
numbers are as follows:

License Number 4130563 - 3637 Sentara Way, Virginia Beach, VA 23452
License Number 813K544 - 601 Riverside Ave, Building 5, 3rd Floor, Jacksonville, FL 32204
License Number 41DBO-77773 - 4330 West Chandler Boulevard, Chandler, AZ 85226
License Number 41DBO-96087 - 1200 Cherrington Parkway, Moon Township, PA 15108
IMPORTANT NOTICE FOR CONSUMERS IN COLORADO WE ATTEMPT TO COLLECT A DEBT FROM:
Within the state of Colorado, LoanCare maintains an office at 8690 Wolff Court, Suite 110, Westminster, CO
80031. The telephone number is 303-920-4763.
Important notice for Hawaii Residents: Within the state of Hawaii, LoanCare is licensed by the
Commissioner of Financial Institutions. You may file complaints with the Commissioner at P.O. Box 2054,
Honolulu, HI 96805.
Important notice for Hawaii Residents who submitted a loss mitigation request: If you believe your
loss mitigation option request has been wrongly denied, you may file a complaint with the state
division of financial institutions at (808) 586-2820 or http://cca.hawaii.gov/dfi/file-a-complaint.
Important notice for Maryland Residents: Maryland law requires LoanCare to designate a contact to whom
mortgagors may direct complaints and inquiries. LoanCare has designated the Office of the Customer for that
purpose. The telephone number for the Office of the Customer is 1-800-919-5631. The Office of the
Customer must respond in writing to each written complaint or inquiry within 15 days if requested. LoanCare’s
failure to comply with any provision of Section 13-316 of the Maryland Commercial Law will result in LoanCare
being liable for any economic damages caused by the violation.
Important notice for New York Residents: Within the state of New York, LoanCare is registered with the
Superintendent of the New York Department of Financial Services. You may file complaints and obtain further
information about LoanCare by contacting the Department of Financial Services Consumer Assistance Unit at
1-800-342-3736 or by visiting the Department’s website at www.dfs.ny.gov.
Important notice for New York Residents who submitted a loss mitigation request: If you believe the
loss mitigation request has been wrongly denied, you may file a complaint with the New York State
Department of Financial Services at 1-800-342-3736 or www.dfs.ny.gov.




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12457 01/22                                 Page 1 of 2
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 197 of 393 Page ID #:197

Important notice for New York Residents who were offered a debt payment schedule or agreement to
settle debt: If a creditor or debt collector receives a money judgment against you in court, state and federal
laws may prevent the following types of income from being taken to pay the debt:
1. Supplemental security income, (SSI);
2. Social security;
3. Public assistance (welfare);
4. Spousal support, maintenance (alimony) or child support;
5. Unemployment benefits;
6. Disability benefits;
7. Workers’ compensation benefits;
8. Public or private pensions;
9. Veterans’ benefits;
10. Federal student loans, federal student grants, and federal work study funds; and
11. Ninety percent of your wages or salary earned in the last sixty days.
Important notice for North Carolina Residents: Within the state of North Carolina, LoanCare is licensed by
the Commissioner of Banks. You may file complaints with the Commissioner at 4309 Mail Service Center,
Raleigh, NC 27699.
Important notice for North Carolina Residents who submitted a loss mitigation request: If you believe
the loss mitigation request has been wrongly denied, you may file a complaint with the North Carolina
Office of the Commissioner of Banks website, www.nccob.gov.
North Carolina Department of Insurance Collection Agency Company Numbers:
NC Company Number 119505731 - 3637 Sentara Way, Virginia Beach, VA 23452 (legacy Permit No. 112029)
NC Company Number 119505867 - 601 Riverside Ave, Building 5, 3rd Floor, Jacksonville, FL 32204 (legacy
Permit No. 112165)
NC Company Number 119507216 - 4330 West Chandler Boulevard, Chandler, AZ 85226 (legacy Permit No.
113538)
NC Company Number 119507547 - 1200 Cherrington Parkway, Moon Township, PA 15108 (legacy Permit No.
113876)
Important notice for Oregon Residents: Borrowers: The Oregon Division of Financial Regulation (DFR)
oversees residential mortgage loan servicers who are responsible for servicing residential mortgage loans in
connection with real property located in Oregon and persons are required to have a license to service
residential mortgage loans in this state. If you have questions regarding your residential mortgage loan, contact
your servicer at 800-274-6600. To file a complaint about unlawful conduct by an Oregon licensee or a person
required to have an Oregon license, call DFR at (888) 877-4894 or visit http://dfr.oregon.gov.
Important notice for those with a mortgage loan on real estate located in Texas: COMPLAINTS
REGARDING THE SERVICING OF YOUR MORTGAGE SHOULD BE SENT TO THE DEPARTMENT OF
SAVINGS AND MORTGAGE LENDING, 2601 NORTH LAMAR, SUITE 201, AUSTIN, TX 78705. A TOLL-
FREE CONSUMER HOTLINE IS AVAILABLE AT 877-276-5550.

A complaint form and instructions may be downloaded and printed from the Department’s website located at
www.sml.texas.gov or obtained from the department upon request by mail at the address above, by telephone
at its toll-free consumer hotline listed above, or by email at smlinfo@sml.texas.gov.




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12457 01/22                                 Page 2 of 2
         Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 198 of 393 Page ID 4/30/23,
                                                                                      #:198 4:24 AM
Gmail - Fwd: death certificates and letters of administration- Charlotte Pearson and Thomas Pearson. Loan 0038507299




                                                                                               Kristen Pearson <kpearsonlaw@gmail.com>



 Fwd: death certificates and letters of administration- Charlotte Pearson and
 Thomas Pearson. Loan 0038507299
 Kristen Pearson <kpearsonlaw@gmail.com>                                                                               Tue, May 24, 2022 at 12:49 PM
 To: docs.sii@myloancare.com



    ---------- Forwarded message ---------
    From: Kristen Pearson <kpearsonlaw@gmail.com>
    Date: Fri, Dec 3, 2021 at 12:47 PM
    Subject: death certificates and letters of administration- Charlotte Pearson and Thomas Pearson
    To: <hdfs-allclaimsdeceased@harley-davidson.com>


    1-877-877-7370 option 1- claims and deceased department

    Attn: Attached please find the death certificates of Charlotte Pearson and Thomas Pearson, as well as the letters of
    administration. Please forward any inquiries to me.


    Thank you,


    --

    Kristen Pearson

    109 W. Honeysuckle Ave

    Hayden, ID 83835

    Telephone: (208) 682-5970



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    Kristen Pearson

    109 W. Honeysuckle Ave

    PO BOX 184

    Hayden, ID 83835

    Telephone: (208) 682-5870


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        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 199 of 393 Page ID 4/30/23,
                                                                                     #:199 4:24 AM
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          1060K




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Gmail - Fwd: death certificates and letters of administration- Charlotte Pearson and Thomas Pearson. Loan 0038507299
                                                                                       4/1/23, 8:18 PM




                                                                                               Kristen Pearson <kpearsonlaw@gmail.com>



 Fwd: death certificates and letters of administration- Charlotte Pearson and
 Thomas Pearson. Loan 0038507299
 4 messages

 Kristen Pearson <kpearsonlaw@gmail.com>                                                                               Tue, May 24, 2022 at 12:49 PM
 To: docs.sii@myloancare.com



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    From: Kristen Pearson <kpearsonlaw@gmail.com>
    Date: Fri, Dec 3, 2021 at 12:47 PM
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    Kristen Pearson

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    Hayden, ID 83835

    Telephone: (208) 682-5970



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    Hayden, ID 83835

    Telephone: (208) 682-5870

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        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 201 of 393 Page ID #:201
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     2 attachments
          LETTERS OF ADMINISTRATION.pdf
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 Mail Delivery Subsystem <mailer-daemon@googlemail.com>                                                                Tue, May 24, 2022 at 12:49 PM
 To: kpearsonlaw@gmail.com




                               Address not found

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      The response from the remote server was:

      550 5.4.1 All recipient addresses rejected : Access denied. AS(201806271)
      [BN8NAM04FT037.eop-NAM04.prod.protection.outlook.com]




    Final-Recipient: rfc822; docs.sii@myloancare.com
    Action: failed
    Status: 5.4.1
    Remote-MTA: dns; myloancare-com.mail.protection.outlook.com. (104.47.74.10,
     the server for the domain myloancare.com.)
    Diagnostic-Code: smtp; 550 5.4.1 All recipient addresses rejected : Access denied. AS(201806271)
    [BN8NAM04FT037.eop-NAM04.prod.protection.outlook.com]
    Last-Attempt-Date: Tue, 24 May 2022 12:49:42 -0700 (PDT)


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        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 202 of 393 Page ID #:202
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                                                                                      4/1/23, 8:18 PM



    To: docs.sii@myloancare.com
    Cc:
    Bcc:
    Date: Tue, 24 May 2022 12:49:27 -0700
    Subject: Fwd: death certificates and letters of administration- Charlotte Pearson and Thomas Pearson. Loan
    0038507299
    ----- Message truncated -----


 Kristen Pearson <kpearsonlaw@gmail.com>                                                                               Wed, Jun 1, 2022 at 2:52 PM
 To: LC-lossmitigation@loancare.net

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     2 attachments
          LETTERS OF ADMINISTRATION.pdf
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 Kristen Pearson <kpearsonlaw@gmail.com>                                                                               Wed, Jun 1, 2022 at 3:59 PM
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 203 of 393 Page ID #:203
      immediately provide the borrower with notice of the right to receive a copy of all appraisals and other
      valuations developed in connection with the mortgage loan moditcation, and

      provide the borrower a copy of all appraisals and other valuations developed in connection with the
      mortgage loan moditcation.

Prior to granting a permanent mortgage loan moditcation, the servicer must place the borrower in a Trial Period
Plan using the new modited mortgage loan terms.


Osering a Trial Period Plan and Completing a Fannie Mae Flex Moditcation

For an MBS mortgage loan, the servicer must also see Conditions of a First and Second Lien Mortgage Loan
Moditcation for an MBS Mortgage Loan in D2-3.1-02, Conditions of a First and Second Lien Mortgage Loan
Moditcation for an MBS Mortgage Loan.

The servicer must communicate with the borrower that the mortgage loan moditcation will not be binding,
enforceable, or esective unless all conditions of the mortgage loan moditcation have been satisted, which is
when all of the following have occurred:

      the borrower has satisted all of the requirements of the Trial Period Plan,

      the borrower has executed and returned a copy of the Loan Modihcation Agreement (Form 3179), and

      the servicer or Fannie Mae (depending upon the entity that is the mortgagee of record) executes and
      dates Form 3179.

The servicer must use the applicable Evaluation Notice to document the borrower's Trial Period Plan. See
Sending a Notice of Decision on a Workout Option in D2-2-05, Receiving a Borrower Response Package for
requirements relating to the Evaluation Notice, and the additional requirements provided in the table below.


  If the servicer sends the Evaluation Notice…                      Then the servicer must use...


                                                          the trst day of the following month as the trst Trial
  on or before the 15th day of a calendar month
                                                          Period Plan payment due date.


                                                          the trst day of the month after the next month as
  after the 15th day of a calendar month
                                                          the trst Trial Period Plan payment due date.


The following table provides the requirements for the length of the Trial Period Plan, which must not change
even if the borrower makes scheduled payments earlier than required.


  If the mortgage loan at the time of evaluation
                                                                 Then the Trial Period Plan must be…
                       is...


  current or less than 31 days delinquent                   four months long.




Published May 10, 2023
                                                                                                                  355
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 204 of 393 Page ID #:204

  If the mortgage loan at the time of evaluation
                                                                  Then the Trial Period Plan must be…
                       is...


  31 or more days delinquent                                 three months long.


If the borrower fails to make a Trial Period Plan payment by the last day of the month in which it is due, the
borrower is considered to have failed the Trial Period Plan and the servicer must not grant the borrower a
permanent Fannie Mae Flex Moditcation.

The servicer must see E-3.4-01, Suspending Foreclosure Proceedings for Workout Negotiations for the
requirements for suspending foreclosure.

The servicer must use the Form Moditcation Cover Letter to communicate a borrower's eligibility for a
permanent Fannie Mae Flex Moditcation, which must be accompanied by a completed Form 3179.

The servicer must ensure that the modited mortgage loan retains its trst lien position and is fully enforceable in
accordance with its terms.

Electronic documents, signatures, and notarizations for Fannie Mae Flex Moditcations are acceptable as long as
the electronic record complies with Fannie Mae's requirements. See Selling Guide A2-4.1-03, Electronic Records,
Signatures, and Transactions for Fannie Mae's requirements for electronic records.

The servicer must follow the procedures in Executing and Recording the Loan Moditcation Agreement and
Adjusting the Mortgage Loan Account Post-Mortgage Loan Moditcation in F-1-27, Processing a Fannie Mae Flex
Moditcation for preparing, executing, recording Form 3179 and for adjusting the mortgage loan account upon
completion of the mortgage loan moditcation. The servicer must also follow the procedures in Loan
Moditcations for an eMortgage in F-1-26, Servicing eMortgages for additional requirements when the modited
mortgage loan is an eMortgage.


Soliciting the Borrower for a Fannie Mae Flex Moditcation

Except as specited in the note below, if the mortgage loan is 90 or more days delinquent and the servicer
determines that the borrower is eligible for a Fannie Mae Flex Moditcation and at least one of the following
circumstances are met, the servicer must send the borrower the applicable Flex Moditcation Solicitation Cover
Letter with the Flex Modihcation Trial Period Plan Solicitation Oger - Not Based on an Evaluation of a
BRP Evaluation Notice between the 90th and 105th day of delinquency:

      the borrower did not submit a complete BRP before the 90th day of delinquency;

      prior to soliciting the borrower, the servicer previously conducted an evaluation of the complete BRP and
      determined that the borrower was not eligible for a workout option in accordance with this Guide; or

      the borrower has rejected all other alternatives to foreclosure osered by the servicer.

  Note: If the mortgage loan was previously modited into a mortgage loan with a step-rate feature, an
  interest rate adjustment occurred within the last 12 months and the mortgage loan became 60 days
  delinquent after the interest rate adjustment, and the servicer determines that the borrower is eligible
  for a Fannie Mae Flex Moditcation without having to evaluate a complete BRP, the servicer must send




Published May 10, 2023
                                                                                                                 356
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 205 of 393 Page ID #:205
  the solicitation to the borrower between the 60th and 75th day of delinquency.

If for any reason the servicer fails to send the solicitation within the prescribed time frame, it must send the
solicitation as soon as possible thereafter.

While the borrower remains eligible for a Fannie Mae Flex Moditcation if a payment is received following the
borrower evaluation or solicitation that results in the mortgage loan subsequently becoming less than 90 days
delinquent (or less than 60 days delinquent if the mortgage loan was previously modited into a mortgage loan
with a step-rate feature and an interest rate adjustment occurred within the last 12 months), the servicer must
ensure that the mortgage loan is at least 30 days or more delinquent prior to the commencement of the Fannie
Mae Flex Moditcation Trial Period Plan.

The servicer is authorized to continue proactive solicitation for a Fannie Mae Flex Moditcation at its discretion,
but must not solicit a borrower if the property has a scheduled foreclosure sale date within

        60 days of the evaluation date if the property is in a judicial state, or

        30 days of the evaluation date if the property is in a non-judicial state.


Evaluating or Soliciting a Borrower with a Disaster-Related Hardship for a Fannie
Mae Flex Moditcation

The following table provides the reduced eligibility criteria for evaluating a borrower with a disaster-related
hardship for a Fannie Mae Flex Moditcation.


                  Reduced Eligibility Criteria When Evaluating a Borrower with a Disaster-Related
    i
                                    Hardship for a Fannie Mae Flex Modilcation


               The disaster event must result in
               • a tnancial hardship (e.g., a loss/reduction of income or increase in expenses) that impacts the
               borrower’s ability to pay their current contractual monthly payment, and
               • either
                 q the property securing the mortgage loan experienced an insured loss,
                 q the property securing the mortgage loan is located in a FEMA-Declared Disaster Area
               eligible for Individual Assistance, or
                 q the borrower’s place of employment is located in a FEMA-Declared Disaster Area eligible for
               Individual Assistance.
               Note: See Evaluating the Extent and Nature of the Property Damage in D1-3-01, Evaluating the
               Impact of a Disaster Event and Assisting a Borrower for additional information on what
               constitutes a disaster.


               The mortgage loan must be a trst-lien conventional mortgage loan.




Published May 10, 2023
                                                                                                                   357
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 206 of 393 Page ID #:206



   If the borrower submitted a complete BRP prior to the 90th day of delinquency, the servicer must

           use the information from the Mortgage Assistance Application (Form 710), or equivalent, to determine the
           borrower's hardship, total income and assets, and
           evaluate the borrower for all workout options in accordance with D2-3.1-01, Determining the Appropriate
           Workout Option.

   A complete BRP is not required and the servicer may solicit an eligible borrower as described in Soliciting the
   Borrower for a Fannie Mae Flex Moditcation if the mortgage loan

           is 90 or more days delinquent; or

           was previously modited into a mortgage loan with a step-rate feature, an interest rate adjustment
           occurred within the last 12 months, and the mortgage loan became 60 days delinquent after the interest
           rate adjustment.

     Note: For purposes of determining the submission date in connection with the borrower's submission
     of a complete BRP, the servicer must use the date of the postmark or other independent indicator such
     as date and time stamp (electronic or otherwise).


   Determining Eligibility for a Fannie Mae Flex Moditcation

   In order to be eligible for a Fannie Mae Flex Moditcation, all of the criteria in the following table must be met.


       i                            Eligibility Criteria for a Fannie Mae Flex Modilcation


                 The mortgage loan must be a conventional trst lien mortgage loan.
                 Note: The property securing the mortgage loan may be vacant or condemned.


                 The mortgage loan must be at least 60 days delinquent or the servicer has determined that the
                 borrower's monthly payment is in imminent default in accordance with Evaluating a Borrower for
                 Imminent Default for Conventional Mortgage Loan Modihcation Eligibility in D2-1-01,
                 Determining if the Borrower’s Mortgage Payment is in Imminent Default.


                 The mortgage loan must have been originated at least 12 months prior to the evaluation date
                 for the mortgage loan moditcation.




   Published May 10, 2023
                                                                                                                     351
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 207 of 393 Page ID #:207




       i                            Eligibility Criteria for a Fannie Mae Flex Modilcation


                The mortgage loan must not be subject to
                • a recourse or indemnitcation arrangement under which Fannie Mae purchased or securitized
                the mortgage loan or that was imposed by Fannie Mae after the mortgage loan was purchased
                or securitized;
                • an approved liquidation workout option;
                • an active and performing forbearance plan or repayment plan, unless otherwise directed by
                Fannie Mae;
                • a current oser for another mortgage loan moditcation or other workout option; or
                • an active and performing moditcation Trial Period Plan.


                The mortgage loan must not have been modited three or more times previously, regardless of
                the mortgage loan moditcation program or dates of prior mortgage loan moditcations.
                Note: A payment deferral does not count as a mortgage loan moditcation when determining
                the number of times the mortgage loan has previously been modited for purposes of
                determining eligibility for a Fannie Mae Flex Moditcation.


                The borrower must not have failed a Fannie Mae Flex Moditcation Trial Period Plan within 12
                months of being evaluated for eligibility for another Fannie Mae Flex Moditcation.
                Note: Converting from a Trial Period Plan to a forbearance plan is not considered a failed Trial
                Period Plan.


                The mortgage loan must not have received a Fannie Mae Flex Moditcation and become 60 days
                or more delinquent within the trst 12 months of the esective date of the mortgage loan
                moditcation without being reinstated.


   If the borrower has experienced a disaster-related hardship, the servicer must follow the requirements
   described in Soliciting a Borrower with a Disaster-Related Hardship for a Fannie Mae Flex Moditcation and
   Evaluating a Borrower Who Defaulted After Completing a Disaster Payment Deferral for a Fannie Mae Flex
   Moditcation.

   If the eligibility criteria for a Fannie Mae Flex Moditcation is not satisted, but the servicer determines there are
   acceptable mitigating circumstances, the servicer is authorized to oser a mortgage loan moditcation outside of
   these requirements by submitting a request through Fannie Mae's servicing solutions system for review and
   obtaining prior approval from Fannie Mae. Generally, the servicer's determination of acceptable mitigating
   circumstances is based on a review of the borrower's complete BRP.

   If the borrower converts from a Trial Period Plan to a forbearance plan, the borrower may subsequently be
   eligible for a Fannie Mae Flex Moditcation upon successful completion of the forbearance plan and, if eligible,
   must be placed in a new Fannie Mae Flex Moditcation Trial Period Plan based on the delinquency status at the
   time of the evaluation for the Fannie Mae Flex Moditcation.




   Published May 10, 2023
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       Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 208 of 393 Page ID #:208
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                                                                                           Kristen Pearson <kpearsonlaw@gmail.com>



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    We have received your recent inquiry regarding your mortgage account.
    Your request has been forwarded to the loss mitigation Team for further review and resolution.



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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 209 of 393 Page ID #:209
        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 210 of 393 Page ID #:210
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                                                                                            Kristen Pearson <kpearsonlaw@gmail.com>



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    Your inquiry has been forwarded to the team of specialists experienced in resolving your
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    While you’re waiting…


                 Have you checked our website? Our Frequently Asked Questions page may have the answers
                 you’re looking for.


                 Need to talk? You can reach our Customer Service Department at any time during normal
                 business hours for further assistance. The phone number for our Customer Service Department
                 may be found on your most recent billing statement. We’re here Monday-Friday 8:00
                 A.M.-10:00 P.M. Eastern time, and Saturday 8:00 A.M.-3:00 P.M. Eastern time.


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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 212 of 393 Page ID #:212
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    While you’re waiting…


                 Have you checked our website? Our Frequently Asked Questions page may have the answers
                 you’re looking for.


                 Need to talk? You can reach our Customer Service Department at any time during normal
                 business hours for further assistance. The phone number for our Customer Service Department
                 may be found on your most recent billing statement. We’re here Monday-Friday 8:00
                 A.M.-10:00 P.M. Eastern time, and Saturday 8:00 A.M.-3:00 P.M. Eastern time.


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    Customer Communications Department
    NMLS ID 2916




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                                             Chapter 12 and 13 Bankruptcy



        Delinquency Status             When to Refer to an Attorney                Timeline for Case Completion


     Mortgage loan is delinquent
     but less than 60 days
                                       May refer for proof of claim           Five months and two weeks from the 60th
     delinquent when the
                                       preparation and plan review.           day of delinquency.
     bankruptcy is tled.




     Mortgage loan is 60 or more
                                       Refer no later than two weeks          Five months and two weeks from the date
     days delinquent or in
                                       after the bankruptcy is tled.          of the bankruptcy tling to case
     foreclosure when the
                                                                              completion.
     bankruptcy is tled.


     After contrmation of either a
     Chapter 12 or Chapter 13          Refer when the mortgage loan is
                                                                              Five months and two weeks from the 60th
     plan, the mortgagor               60 days delinquent, but no later
                                                                              day of delinquency.
     becomes 60 days delinquent        than 2 weeks from the 60th day
     making payments pursuant          of delinquency.
     to the plan.


     Case completion for a Chapter 12 or 13 bankruptcy proceeding is detned as: automatic stay terminated, case
     dismissed or closed, the trustee abandons all interest in the secured property, or the Chapter 12 or 13 plan is
     contrmed.



   Recent Related Announcements

   There are no recently issued Announcements related to this topic.




   F-2-02, Incentive Fees for Workout Options (12/09/2020)


   Introduction
   This exhibit contains incentive fees for workout options.

         Incentive Fees for Workout Options




   Published May 10, 2023
                                                                                                                       716
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 248 of 393 Page ID #:248




   Incentive Fees for Workout Options

   The following table lists the incentive fees for certain workout options that will be paid on mortgage loans where
   Fannie Mae bears the risk of loss.

      Note: Servicer incentive fees for retention workout options will be cumulatively capped at a total of
      $1,000 per mortgage loan, regardless of whether the initial retention workout option and any
      subsequent retention workout option were a result of the same hardship. Liquidation workout options
      are not subject to the cumulative incentive fee cap.


        Workout Option               Incentive Fee                             Additional Information


                                                        The following conditions must be satisted:
                                                        • The mortgage loan must be 60 days or more delinquent when trst
                                                        reported with a delinquency status code 12 – Repayment Plan.
                                                        • The mortgage loan must be brought current upon the successful
                                                        completion of the repayment plan.
                                                        • The mortgage loan must not be brought current in the same
                                                        month as the delinquency status code 12 – Repayment Plan is
     Repayment Plan           $500
                                                        reported.
                                                        • The mortgage loan must not be paid in full or repurchased after
                                                        the delinquency status code 12 – Repayment Plan is reported and
                                                        before the mortgage loan becomes current.
                                                        • If a repayment plan incentive fee has been paid for the mortgage
                                                        loan previously, a 12-month period must have elapsed from the date
                                                        the mortgage loan became current.


     Payment Deferral,                                  The servicer must complete the payment deferral or disaster
     Disaster Payment         $500                      payment deferral (i.e., submit the case via Fannie Mae’s servicing
     Deferral                                           solutions system).


                                                        The servicer must close the Fannie Mae Flex Moditcation within two
     Fannie Mae Flex
                              $1,000                    months of the last day of the month in which the tnal Trial Period
     Moditcation
                                                        Plan payment is due.




   Published May 10, 2023
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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 249 of 393 Page ID #:249




        Workout Option               Incentive Fee                       Additional Information


                                Number of Days the
                                Mortgage Loan is
                                Delinquent at the
                                                         Incentive Fee
                                Time the Case is
                                                         Amount
                                Closed in Fannie
                                Mae’s servicing
                                solutions system


     Fannie Mae Short Sale      Less than or equal to                    None
                                                         $2,500
                                210 days delinquent


                                211 days delinquent up
                                to and including 300     $1,500
                                days delinquent


                                Greater than 300 days
                                                         $750
                                delinquent


                                Number of Days the
                                Mortgage Loan is
                                Delinquent at the
                                                         Incentive Fee
                                Time the Case is
                                                         Amount
                                Closed in Fannie
                                Mae’s servicing
                                solutions system

     Fannie Mae Mortgage
     Release (Deed-in-Lieu of   Less than or equal to                    None
                                                         $2,500
     Foreclosure)               210 days delinquent


                                211 days delinquent up
                                to and including 300     $1,500
                                days delinquent


                                Greater than 300 days
                                                         $750
                                delinquent




   Published May 10, 2023
                                                                                                  718
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 250 of 393 Page ID #:250




        Workout Option             Incentive Fee                                 Additional Information


     Fannie Mae HAMP          If the borrower’s           The following conditions must be satisted:
     Moditcation – Borrower   monthly payment (P&I,       • The servicer must have provided a HAMP Registration Form and
     Incentive                taxes, and all related      HAMP loan setup data prior to the esective date HAMP moditcation.
                              property insurance and      • The borrower's monthly mortgage payment ratio must be equal to
                              HOA or condo                or greater than 31% prior to the implementation of a HAMP
                              association fees, but       moditcation.
                              excluding MI) is reduced
                              by 6% or more, the
                              borrower will earn an
                              annual ”pay for
                              performance” principal
                              balance reduction
                              payment for up to 5
                              years equal to the lesser
                              of the following:
                              • $1,000 ($83.33 per
                              month), or
                              • one-half of the
                              reduction in the
                              borrower's annualized
                              monthly payment for
                              each month a timely
                              payment is made.


                                                          The following conditions must be satisted:
                                                          • the mortgage loan must
                                                             q be a trst lien conventional mortgage loan that was previously
                                                          modited under HAMP;
                                                             q be in good standing as detned in Identifying Loss of Good
                              ”pay for performance”
     Fannie Mae HAMP                                      Standing in D2-3.2-04, Fannie Mae HAMP Moditcation on the sixth
                              principal balance
     Moditcation-Expanded                                 anniversary of the Trial Period Plan esective date; and
                              reduction payment of
     Borrower Incentive                                      q not be paid in full.
                              $5,000
                                                          • the borrower must have submitted an executed Real Estate Fraud
                                                          Certihcation (Form 720) or U.S. Treasury Department’s (Treasury)
                                                          ”Dodd Frank Certitcation” on or before the sixth anniversary of the
                                                          HAMP Trial Period Plan esective date or January 1, 2016, whichever
                                                          is later.




   Published May 10, 2023
                                                                                                                                719
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 251 of 393 Page ID #:251




        Workout Option             Incentive Fee                          Additional Information


                              If the borrower's monthly
                              second lien mortgage
                              payment is reduced by
                              6% or more, the
     Fannie Mae 2MP
                              borrower will receive an
     Moditcation – Borrower                               None
                              annual ”pay for
     Incentive
                              performance” principal
                              balance reduction
                              payment of $250 for up
                              to 5 years.



   Recent Related Announcements

   The table below provides references to recently issued Announcements that are related to this topic.


                         Announcements                                              Issue date


     Announcement SVC-2020-07                                    December 9, 2020


     Announcement SVC-2020-04                                    September 9, 2020


     Announcement SVC-2018-04                                    June 13, 2018




   F-2-03, Compensatory Fee Calculation Examples (02/13/2019)


   Introduction
   This exhibit contains compensatory fee calculation examples.

          Compensatory Fee Calculation Examples




   Compensatory Fee Calculation Examples

   The following examples illustrate how compensatory fees will be calculated using the following formula:

   UPB x (Daily PTR/365) x Number of Days Delayed.

   Example #1: Mortgage Loan-Level Compensatory Fee Analysis Resulting in a Compensatory Fee: In



   Published May 10, 2023
                                                                                                             720
        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 252 of 393 Page ID #:252
F-2-03: Compensatory Fee Calculation Examples (02/13/2019)                           5/11/23, 5:59 PM




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                                    F-2-03: Compensatory Fee Calculation Examples (02/13/2019)

                                      
                                    This exhibit contains compensatory fee calculation examples.

                                            Compensatory Fee Calculation Examples



                                    Compensatory Fee Calculation Examples
                                    The following examples illustrate how compensatory fees will be calculated using the following formula:

                                    UPB x (Daily PTR/365) x Number of Days Delayed.

                                    Example #1: Mortgage Loan-Level Compensatory Fee Analysis Resulting in a Compensatory Fee: In this mortgage loan-level example, the s
                                    Fannie Mae's allowable foreclosure time frame and would be billed a compensatory fee in the amount of $728.77.


                                      Property Located in Florida


                                      UPB                                                                             $100,000




                                      PTR                                                                             4.75%




                                      LPI                                                                             02/01/2013



                                      Property Located in Florida


https://servicing-guide.fanniemae.com/THE-SERVICING-GUIDE/Part-F-…90601/F-2-03-Compensatory-Fee-Calculation-Examples-02-13-2019.htm                             Page 1 of 4
        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 253 of 393 Page ID #:253
F-2-03: Compensatory Fee Calculation Examples (02/13/2019)                           5/11/23, 5:59 PM




                                    Foreclosure Sale Date                                                          10/15/2015




                                    Servicer's Overall State Foreclosure Time Frame                                986 days




                                    Fannie Mae's Overall Allowable Foreclosure Time Frame for Florida              930 days




                                    Allowable Delays Reported                                                      0 days




                                    Number of Days Over Allowable Foreclosure Time Frame                           56 days




                                    Compensatory Fee                                                               ($100,000)(.0475/365)*(56) = $728.77



                                  Example #2: Mortgage Loan-Level Compensatory Fee Analysis Not Resulting in a Compensatory Fee: In this mortgage loan-level example, t
                                  performed under Fannie Mae's allowable foreclosure time frame by 53 days, so a compensatory fee would not be assessed against the servicer f
                                  loan.


                                    Property Located in Colorado


                                    UPB                                                                            $200,000




                                    PTR                                                                            5.25%




                                    LPI                                                                            10/01/2015




                                    Foreclosure Sale Date                                                          12/01/2016




                                    Servicer's Overall State Foreclosure Time Frame                                427 days



                                    Fannie Mae's Overall Allowable Foreclosure Time Frame for Colorado             450 days




                                    Allowable Delays Reported                                                      30 days




                                    Number of Days Under Allowable Foreclosure Time Frame                          – 53 days




                                    Compensatory Fee                                                               Not Applicable




                                  Recent Related Announcements

https://servicing-guide.fanniemae.com/THE-SERVICING-GUIDE/Part-F-…90601/F-2-03-Compensatory-Fee-Calculation-Examples-02-13-2019.htm                             Page 2 of 4
        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 254 of 393 Page ID #:254
F-2-03: Compensatory Fee Calculation Examples (02/13/2019)                           5/11/23, 5:59 PM


                                   The table below provides references to recently issued Announcements that are related to this topic.



                                     Announcements                                                                    Issue Date


                                     Announcement SVC-2019-01                                                         February 13, 2019



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        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 255 of 393 Page ID #:255
F-2-03: Compensatory Fee Calculation Examples (02/13/2019)                           5/11/23, 5:59 PM




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        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 256 of 393 Page ID #:256
Foreclosure Time Frames and Compensatory Fee Allowable Delays Exhibit (12/19/2018)   5/11/23, 4:29 PM




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                                     Foreclosure Time Frames

                                     Compensatory Fee Allowable Delays




                                     Foreclosure Time Frames

                                     Eective January 1, 2019 the table below specifies Fannie Mae’s maximum number of allowable days between the
                                     due date of the last paid installment (LPI) and foreclosure sale date, as referenced in the Fannie Mae Servicing Guide
                                     Part E. It includes all applicable time frames based on LPI due dates.


                                                                                                                                                                        Poli knows. J
                                       State                Method of              State Time       State                 Method of            State Time
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        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 257 of 393 Page ID #:257
Foreclosure Time Frames and Compensatory Fee Allowable Delays Exhibit (12/19/2018)   5/11/23, 4:29 PM




                                     Colorado        Non-Judicial    450             New York City    Judicial         2,190




                                     Connecticut     Judicial        660             New York         Judicial         1,740




                                     Delaware        Judicial        720             North Carolina   Non-Judicial     420




                                     District of     Judicial        1,230           North Dakota     Judicial         630
                                     Columbia



                                     Florida         Judicial        810             Ohio             Judicial         510




                                     Georgia         Non-Judicial    330             Oklahoma         Judicial         570




                                     Guam            Non-Judicial    500             Oregon           Non-Judicial**   960




                                     Hawaii          Judicial        900             Pennsylvania     Judicial         690




                                     Idaho           Non-Judicial    630             Puerto Rico      Judicial         810




                                     Illinois        Judicial        630             Rhode Island     Non-Judicial     900




                                     Indiana         Judicial        540             South Carolina   Judicial         570




                                     Iowa            Judicial        570             South Dakota     Judicial         540




                                     Kansas          Judicial        450             Tennessee        Non-Judicial     420




                                     Kentucky        Judicial        570             Texas            Non-Judicial     390




                                     Louisiana       Judicial        540             Utah             Non-Judicial     540




                                     Maine           Judicial        1,320           Vermont          Judicial         1,050




                                     Maryland        Non-Judicial    660             Virgin Islands   Judicial         510




                                     Massachusetts   Non-Judicial    960             Virginia         Non-Judicial     450




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        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 258 of 393 Page ID #:258
Foreclosure Time Frames and Compensatory Fee Allowable Delays Exhibit (12/19/2018)   5/11/23, 4:29 PM


                                     Michigan            Non-Judicial         390               Washington           Non-Judicial         630




                                     Minnesota           Non-Judicial         330               West Virginia        Non-Judicial         450




                                     Mississippi         Non-Judicial         330               Wisconsin            Judicial             540




                                     Missouri            Non-Judicial         450               Wyoming              Non-Judicial         360




                                     Montana             Non-Judicial         450




                                   *This methodology is the preferred method of foreclosure for each jurisdiction. Fannie Mae's Regional Counsel
                                   must approve the use of a dierent methodology prior to foreclosure initiation. The servicer or law firm must
                                   submit a Non-Routine Litigation Form (Form 20) to request the necessary approval. Fannie Mae will provide
                                   procedural instructions and allowable fees if approval is granted.

                                   ** Due to certain judicial decisions in Oregon, the servicer and mortgage default counsel in Oregon may,
                                   depending on the facts and circumstances of a particular case, decide to proceed with a judicial foreclosure
                                   without further approval from Fannie Mae.



                                   Compensatory Fee Allowable Delays Exhibit



                                   The table below specifies the number of days Fannie Mae will add to the state foreclosure time frame to determine the
                                   servicer’s foreclosure time frame performance in accordance with the Fannie Mae Servicing Guide.




                                      Allowable Delay            Application of Credits



                                      Bankruptcy –               Credit will be given for the actual number of days between the begin date and
                                      Chapter 7                  the end date (reported using Delinquency Status Codes 3L and 65), up to a
                                                                 maximum of 80 days for each filing.



                                      Bankruptcy –               Credit will be given for the actual number of days between the begin date and
                                      Chapter 11                 the end date (reported using Delinquency Status Code 66), up to a maximum
                                                                 of 125 days for each filing.



                                      Bankruptcy –               Credit will be given for the actual number of days between the begin date and
                                      Chapter 12                 the end date (reported using Delinquency Status Code 59), up to a maximum
                                                                 of 125 days for each filing.



                                      Bankruptcy –               Credit will be given for the actual number of days between the begin date and
                                      Chapter 13                 the end date (reported using Delinquency Status Codes 67 and 69), up to a
                                                                 maximum of 125 days for each filing.



                                      Probate                    Credit will be given for the actual number of days between the begin date and
                                                                 the end date (reported using Delinquency Status Code 31), up to a maximum
                                                                 of 120 days for the first occurrence.



                                      Military Indulgence        Credit will be given for the actual number of days between the begin date and
                                                                 the end date (reported using Delinquency Status Code 32), up to a maximum
                                                                 of 455 days for the first occurrence.




https://servicing-guide.fanniemae.com/THE-SERVICING-GUIDE/SVC-Gui…mes-and-Compensatory-Fee-Allowable-Delays-Exhibit-12-19-2018.htm                         Page 3 of 4
        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 259 of 393 Page ID #:259
Foreclosure Time Frames and Compensatory Fee Allowable Delays Exhibit (12/19/2018)   5/11/23, 4:29 PM




                                        Contested or          Credit will be given for the actual number of days between the begin date and
                                        Litigated             the end date (reported using Delinquency Status Code 33), up to a maximum
                                        Foreclosure           of 90 days for the first occurrence.



                                        Workout in Review     Loans with LPI on or after 06/01/12: No credit will be given.

                                                              Loans with LPI before 06/01/12: Credit will be given for the actual number of
                                                              days between the begin date and the end date (reported using Delinquency
                                                              Status Code H5), up to a maximum of 60 days for each workout.



                                        Trial Period Plan     Credit will be given for the actual number of days between the begin date and
                                                              the end date (reported using Delinquency Status Code BF), up to a maximum
                                                              of 120 days for each workout.



                                        Unemployment          Credit will be given for the actual number of days between the begin date and
                                        Forbearance           the end date (reported using Delinquency Status Code 09 – Forbearance and
                                                              Delinquency Reason Code 16 - Unemployment), up to a maximum of 180
                                                              days for each workout.



                                        New Jersey            Credit will be given for the actual number of days the loan is reported in a
                                        Foreclosure           foreclosure status between December 2010 and April 2012 (reported using
                                        Delays                Delinquency Status Code 43 – Foreclosure), up to a maximum of 180 days
                                                              total.




                                     Was this article helpful? Yes / No




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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 260 of 393 Page ID #:260




     Overview

     The servicer ordinarily appears in the land records as the mortgagee to facilitate performance of the servicer’s
     contractual responsibilities, including, but not limited to, the receipt of legal notices that may impact Fannie
     Mae’s lien, such as notices of foreclosure, tax, and other liens. However, Fannie Mae may take any and all action
     with respect to the mortgage loan it deems necessary to protect its or an MBS trust’s ownership of the
     mortgage loan, including recording an assignment of mortgage, or its legal equivalent, from the servicer to
     Fannie Mae or its designee. In the event that Fannie Mae determines it necessary to record such an instrument,
     the servicer must assist Fannie Mae by

           preparing and recording any required documentation, such as assignments of mortgages, powers of
           attorney, or avdavits; and
           providing recordation information for the asected mortgage loans.

     The servicer must follow the procedures in F-1-10, Obtaining and Executing Legal Documents when sending
     documents for Fannie Mae’s execution.

     The servicer is authorized to execute legal documents related to payoss, foreclosures, releases of liability,
     releases of security, payment deferrals, mortgage loan moditcations, subordinations, assignments of
     mortgages, and conveyances (or reconveyances) for any mortgage loan for which it (or MERS®) is the owner of
     record. When an instrument of record requires the use of an address for Fannie Mae, including assignments of
     mortgages, foreclosure deeds, REO deeds, and lien releases, the servicer must follow the procedures in Fannie
     Mae Contacts for Document Execution Requests in F-1-10, Obtaining and Executing Legal Documents to locate
     the appropriate address.


     Fannie Mae’s Limited Power of Attorney to Execute Documents

     When Fannie Mae is the owner of record for a mortgage loan, it permits the servicer that has Fannie Mae’s LPOA
     to execute certain types of legal documents on Fannie Mae’s behalf. The servicer must have an LPOA in place to
     be authorized to execute the following legal documents on behalf of Fannie Mae:

           full satisfaction or release of a mortgage or the request to a trustee for a full reconveyance of a deed of
           trust;
           partial release or discharge of a mortgage or the request to a trustee for a partial reconveyance or
           discharge of a deed of trust;

           moditcation or extension of a mortgage or deed of trust;

           subordination of the lien of a mortgage or deed of trust;

           completion, termination, cancellation, or rescission of foreclosure relating to a mortgage or deed of trust,
           including, but not limited to, the following actions:

                  the appointment of a successor or substitute trustee under a deed of trust, in accordance with
                  state law and the deed of trust;

                  the issuance or cancellation or rescission of notices of default;

                  the cancellation or rescission of notices of sale; and

                  the issuance of such other documents as may be necessary under the terms of the mortgage,



     Published May 10, 2023
                                                                                                                         74
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 261 of 393 Page ID #:261




                  deed of trust, or state law to expeditiously complete said transactions, including, but not limited to,
                  assignments or endorsements of mortgages, deeds of trust, or promissory notes to convey title
                  from Fannie Mae to the Attorney-in-Fact under this LPOA;

           conveyance of properties to FHA, HUD, the VA, RD, or a state or private mortgage insurer; and
           assignments or endorsements of mortgages, deeds of trust, or promissory notes to FHA, HUD, VA, RD, a
           state or private mortgage insurer, or MERS.

     To request an LPOA, the servicer must follow the procedures in Requesting a Limited Power of Attorney in
     F-1-10, Obtaining and Executing Legal Documents.

     If the servicer does not have an LPOA to execute documents on Fannie Mae’s behalf, or has a power of attorney
     that does not authorize it to execute documents for a specitc type of transaction, the servicer must send the
     documents requiring execution in any instance in which Fannie Mae is the owner of record for the mortgage
     loan by email, when permitted. If, however, an original document must be executed by Fannie Mae, the servicer
     must send the document by regular or overnight mail. The servicer must follow the procedures in Fannie Mae
     Contacts for Document Execution Requests in F-1-10, Obtaining and Executing Legal Documents for instructions
     in sending documents to Fannie Mae.


     Correcting Conveyances to Fannie Mae

     The servicer must execute a quitclaim deed for properties that have been conveyed in error to Fannie Mae. The
     servicer must follow all procedures in F-1-10, Obtaining and Executing Legal Documents when preparing the
     reconveyance quitclaim deed. A quitclaim deed is an instrument of conveyance of real property that passes
     whatever title, claim, or interest that the grantor has in the property, but does not make any representations as
     to the validity of such title. A quitclaim deed is not a guarantee that the grantor has clear title to the property;
     rather it is a relinquishment of the grantor’s rights, if any, in the property. The holder of a quitclaim deed
     receives only the interest owned by the person conveying the deed.

     Fannie Mae will execute the quitclaim deed only if the servicer has prepared the document to quitclaim or
     assign back to the previous grantor or assignor. The servicer must send the request for quitclaim deed
     execution to Fannie Mae as described in Submitting a Reconveyance Quitclaim Deed in F-1-10, Obtaining and
     Executing Legal Documents.


     Recent Related Announcements

     The table below provides references to recently issued Announcements that are related to this topic.


                         Announcements                                                 Issue Date


       Announcement SVC-2020-04                                    September 9, 2020




     Published May 10, 2023
                                                                                                                       75
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 262 of 393 Page ID #:262




     A2-1-05, Note Holder Status for Legal Proceedings Conducted in the
     Servicer’s Name (06/21/2017)


     Introduction
     This topic contains the following:

           Overview
           Temporary Possession by the Servicer
           Physical Possession of the Note by the Servicer
           Reversion of Possession to Fannie Mae




     Overview

     Fannie Mae is at all times the owner of the mortgage note, whether the mortgage loan is in Fannie Mae’s
     portfolio or part of the MBS pool. In addition, Fannie Mae at all times has possession of and is the holder of the
     mortgage note, whether Fannie Mae has direct possession of the note or a custodian has custody of the note,
     except in the limited circumstances expressly described in this topic.


     Temporary Possession by the Servicer

     In order to ensure that a servicer is able to perform the services and duties incident to the servicing of the
     mortgage loan, Fannie Mae temporarily gives the servicer possession of the mortgage note whenever the
     servicer, acting in its own name, represents the interests of Fannie Mae in foreclosure actions, bankruptcy
     cases, probate proceedings, or other legal proceedings.

     This temporary transfer of possession occurs automatically and immediately upon the commencement of the
     servicer’s representation, in its name, of Fannie Mae’s interests in the foreclosure, bankruptcy, probate, or other
     legal proceeding.

     When Fannie Mae transfers possession, if the note is held by a document custodian on Fannie Mae’s behalf, the
     custodian has possession of the note on behalf of the servicer so that the servicer has constructive possession
     of the note and the servicer shall be the holder of the note and is authorized and entitled to enforce the note in
     the name of the servicer for Fannie Mae’s benett.

     If the servicer determines based on state law that it needs to be the holder of an eNote prior to representing the
     interests of Fannie Mae in a foreclosure, bankruptcy, or other legal proceeding, the servicer must follow the
     procedures in Foreclosure, Bankruptcy and Other Legal Proceedings in F-1-26, Servicing eMortgages to request
     a transfer in control and location from Fannie Mae.


     Physical Possession of the Note by the Servicer




     Published May 10, 2023
                                                                                                                          76
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 263 of 393 Page ID #:263




     In most cases, the servicer will have a copy of the mortgage note. If the servicer determines that it needs
     physical possession of the original mortgage note to represent the interests of Fannie Mae in a foreclosure,
     bankruptcy, probate, or other legal proceeding, the servicer may obtain physical possession of the original
     mortgage note by submitting a request directly to the document custodian.

     If Fannie Mae possesses the original note through a third-party document custodian that has custody of the
     note, the servicer must submit a Request for Release/Return of Documents (Form 2009) to Fannie Mae’s
     custodian to obtain the note and any other custodial documents that are needed.

     In either case, the servicer must specify whether the original note is required or whether the request is for a
     copy.

     For eMortgages, if the eNote is not acceptable in its electronic form for a foreclosure, bankruptcy, or other legal
     proceeding, the servicer is authorized to use a printed Authoritative Copy of the eNote for the legal proceeding
     or action.


     Reversion of Possession to Fannie Mae

     At the conclusion of the servicer’s representation of Fannie Mae’s interests in the foreclosure, bankruptcy,
     probate, or other legal proceeding, or upon the servicer ceasing to service the loan for any reason, possession
     automatically reverts to Fannie Mae, and Fannie Mae resumes being the holder for itself, just as it was before
     the foreclosure, bankruptcy, probate, or other legal proceeding. If the servicer has obtained physical possession
     of the original note, it must be returned to Fannie Mae or the document custodian, as applicable.


     Recent Related Announcements

     There are no recently issued Announcements related to this topic.




     A2-1-06, Use of Fannie Mae Trademarks (08/16/2017)




     For a list of trademarks currently used by Fannie Mae and requirements on how to refer to them, see Selling
     Guide A2-5-01, Fannie Mae Trade Name and Trademarks and Fannie Mae’s website.


     Recent Related Announcements

     There are no recently issued Announcements related to this topic.




     Published May 10, 2023
                                                                                                                       77
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 264 of 393 Page ID #:264




     A2-1-07, Subservicing (12/08/2021)


     Introduction
     This topic contains the following:

           Overview
           Requirements for Subservicing Arrangements
           When Post-Delivery Transfers of Servicing Involve Subservicers




     Overview

     The servicer may use other organizations to perform some or all of its servicing functions on its behalf. Fannie
     Mae refers to these arrangements as “subservicing” arrangements, meaning that the servicer (the
     “subservicer”) other than the contractually responsible servicer (the “master” servicer) is performing the
     servicing functions.

     The following are not considered to be subservicing arrangements:

           when a computer service bureau is used to perform accounting and reporting functions, and
           when the originating seller/servicer sells and assigns servicing to another seller/servicer, unless the
           originating seller/servicer continues to be the contractually responsible servicer.


     Requirements for Subservicing Arrangements

     The servicer may use a subservicer only if it will not interfere with the servicer’s ability to meet Fannie Mae’s
     remitting and reporting requirements.

     The master servicer may not enter into new subservicing arrangements or extend existing arrangements to
     include newly originated mortgage loans, unless both the master servicer and the subservicer are Fannie Mae-
     approved servicers in good standing who are able to perform the duties associated with the master
     servicer/subservicer arrangement.

     The master servicer must ensure that its written agreement with the subservicer acknowledges Fannie Mae’s
     right to rescind its recognition of the subservicing arrangement if Fannie Mae decides to transfer the master
     servicer’s portfolio for any reason.

     The master servicer is not required to submit each separate subservicing arrangement under an existing
     subservicing agreement to Fannie Mae for its approval. However, if the arrangement is a new one, the
     subservicer must submit the applicable Letter of Authorization for P&I Custodial Account (Form 1013) for a P&I
     custodial account and Letter of Authorization for T&I Custodial Account (Form 1014) for a T&I custodial account
     indicating that it has established the required custodial accounts and submit these forms electronically to
     Fannie Mae’s Custodial Accounting Team (see F-4-02, List of Contacts).




     Published May 10, 2023
                                                                                                                         78
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 265 of 393 Page ID #:265




     Even if a subservicing arrangement is known, approved of, or consented to by Fannie Mae, the master servicer
     remains fully liable to Fannie Mae for the performance of all servicing obligations. Fannie Mae may enforce any
     rights and remedies it may have against the master servicer for breach of the servicing obligations, whether
     such breach was caused by the master servicer or by the subservicer. In addition to the foregoing and not in
     limitation thereof, Fannie Mae also may enforce any rights and remedies it may have against the subservicer for
     breach of the servicing obligations (see A2-7-03, Post-Delivery Servicing Transfers).

     The master servicer must contrm its existing subservicing arrangements when it submits the Lender Record
     Information (Form 582) each year.

     The following table describes requirements, pursuant to the MSSC and the Guides, of a subservicing
     arrangement.


                     When a master servicer enters into a subservicing arrangement with respect to all
        i
                                                related mortgage loans...


                The master servicer and the subservicer must execute and submit the Data Access Authorization
                Form (Form 101) at the inception of the subservicing arrangement.
                Note: Each mortgage loan that is subject to a subservicing arrangement must be identited in
                Fannie Mae’s records. The master servicer and the subservicer must also execute and submit Form
                101 at the termination of the subservicing arrangement.


                The master servicer represents and warrants to Fannie Mae that the subservicer will service those
                mortgage loans in accordance with all Fannie Mae requirements.


                The subservicer must
                • be approved by Fannie Mae to service special products, if applicable, unless the special product
                is
                     q an eMortgage; or
                     q a HomeStyle Renovation mortgage loan, for which the subservicer does not perform the
                responsibilities outlined in D1-2-01, Renovation Mortgage Loans.
                • continue the subservicing of Fannie Mae mortgage loans until an acceptable disposition of the
                subserviced portfolio is reached;
                • ensure it has the necessary resources to appropriately support the subserviced portfolios and to
                govern the required interaction with the master servicer and service level agreements;
                • remove funds from P&I, T&I, or other custodial accounts only as allowed by the Servicing Guide;
                • disclose any and all Fannie Mae assessments or reviews to the master servicer upon request by
                the master servicer; and
                • disclose to Fannie Mae if it discovers that it and/or the master servicer is in material breach of
                the Lender Contract or subservicing arrangement in connection with the Fannie Mae subserviced
                loans, or has been subject to any material legal, regulatory or administrative proceeding or order
                relating to the subservicing arrangement or Fannie Mae subserviced loans.




     Published May 10, 2023
                                                                                                                       79
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 266 of 393 Page ID #:266




                   When a master servicer enters into a subservicing arrangement with respect to all
        i
                                              related mortgage loans...


                The subservicer and master servicer of eMortgages must jointly develop policies and procedures to
                address servicing functions which include, but are not limited to, mortgage payoss, moditcations
                to an eNote, foreclosure, bankruptcy, and other legal proceedings.


                The master servicer of eMortgages must agree to perform any Fannie Mae and MERS requirements
                which the subservicer is unable to perform.


                The subservicer agrees with Fannie Mae to service those mortgage loans in accordance with all
                Fannie Mae requirements.


                The master servicer must
                • maintain policies and procedures to evaluate the subservicer’s compliance and performance with
                the master servicer’s Lender Contract, which includes, without limitation, the Servicing Guide; and
                • maintain policies and procedures for selecting and assessing a subservicer.
                Note: The master servicer must make any of the above documentation available to Fannie Mae
                upon request.


                The master servicer and subservicer each represent and warrant to Fannie Mae that
                • the provisions of any agreement between the originating lender, the transferor servicer, and any
                other party providing for servicing those mortgage loans will not continue after the date on which
                Fannie Mae funds the whole loan delivery or issues the MBS with respect to those mortgage loans,
                except as the subservicing agreement between the master servicer and the subservicer; and
                • the subservicing agreement does not conuict with Fannie Mae’s servicing requirements.


                The master servicer and the subservicer must
                • provide copies of the subservicing agreement and the master servicer’s audits and QC reviews of
                the subservicer’s performance under the subservicing arrangement upon request from Fannie
                Mae; and
                • maintain policies and procedures for monitoring compliance in accordance with the Servicing
                Guide and performance of outsource vendors, including services performed outside the United
                States.


                The master servicer and its subservicers may negotiate the servicing fees that the subservicers
                will receive. The master servicer’s and the subservicer’s rights to receive the servicing fee and
                subservicing fee will be terminated if Fannie Mae transfers the servicing portfolio for any reason.
                Note: Fannie Mae will not pay the master servicer or subservicer any servicing compensation or
                other fees that may be payable under a subservicing arrangement.




     Published May 10, 2023
                                                                                                                      80
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 267 of 393 Page ID #:267




   Section E-3.4, When Foreclosure Proceedings Must Be Suspended or Canceled




   E-3.4-01, Suspending Foreclosure Proceedings for Workout
   Negotiations (07/14/2021)


   Introduction
   This topic contains the following:

         Overview
         General Requirements for Suspending Foreclosure Proceedings
         Handling a Complete BRP Received After Foreclosure Referral But More Than 37 Days Prior to the
         Foreclosure Sale Date for a Principal Residence
         Handling a Complete BRP Received After Foreclosure Referral But More Than 37 Days Prior to the
         Foreclosure Sale Date for Other Mortgage Loans
         Handling a Complete BRP Received After Foreclosure Referral But Within 15 to 37 Days Prior to the
         Foreclosure Sale Date
         Handling a Complete BRP Received Less Than 15 Days Prior to the Foreclosure Sale Date




   Overview

   When a delinquent mortgage loan is referred to a law trm, the servicer must continue to work with the borrower
   to bring the mortgage loan current or tnalize a workout arrangement up to the date of the foreclosure sale,
   unless the servicer has determined that all workout options are not feasible as discussed in D2-3, Fannie Mae’s
   Home Retention and Liquidation Workout Options.

   When a delinquent mortgage loan is referred to a law trm, the servicer must NOT suspend foreclosure
   proceedings pending Fannie Mae's approval of additional attorney fees.


   General Requirements for Suspending Foreclosure Proceedings

   If a mortgage loan has been referred to foreclosure prior to receipt of a complete BRP, the servicer may delay
   the foreclosure process without requesting Fannie Mae’s prior written approval pursuant to the terms and
   conditions set forth below:

         the BRP must be complete before any legal action may be postponed, except if
                an oser for a short sale has been made based upon the servicer’s evaluation of the borrower for a
                short sale without receiving a complete BRP in accordance with Evaluating a Borrower to



   Published May 10, 2023
                                                                                                                475
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 268 of 393 Page ID #:268



                Determine Eligibility for a Fannie Mae Short Sale in D2-3.3-01, Fannie Mae Short Sale; or
                a solicitation for a Fannie Mae Flex Moditcation has been made and the borrower contacts the
                servicer within 14 days of the date of the oser to indicate an intent to accept the oser (see
                Soliciting the Borrower for a Fannie Mae Flex Moditcation in D2-3.2-07, Fannie Mae Flex
                Moditcation). In such event, the servicer must delay the next legal action in the foreclosure
                proceeding until the last day of the month in which the trst payment is due. If the borrower’s
                payment is not received by such date, the servicer must proceed with the foreclosure process;
         in cases where a payment is required under the terms of a retention oser including a Trial Period Plan
         based on a complete BRP, and the borrower indicates acceptance of the oser (either verbally or in
         writing), the servicer must delay the next legal action in the foreclosure proceeding until the borrower
         fails to make the trst payment under the terms of the proposed workout. Verbal or written acceptance,
         without payment or execution of required documents, serves only to postpone the foreclosure process. A
         workout plan may not be consummated without an Evaluation Notice as required by the particular
         workout plan;
         if the servicer receives the trst payment in a timely manner in accordance with the terms of a Trial Period
         Plan, repayment plan, or forbearance plan, the servicer must delay the next legal action until the
         borrower breaches the plan;
         fourteen-day delay periods may be extended in order to postpone or repeat the next legal action or
         postpone a foreclosure sale if necessary under state or local law;
         if Fannie Mae approves a short sale purchase oser, the servicer must suspend the foreclosure sale to
         allow the short sale to close as permitted under state or local law; and
         if a notice of trustee/sheris sale has been recorded and the servicer is notited of borrower approval by
         the mortgage assistance fund program provider and the servicer believes the funds will reinstate the
         mortgage loan, the servicer is authorized to postpone the foreclosure proceedings. However, if a
         foreclosure sale is scheduled less than seven days from the date the servicer is notited of borrower
         approval by the mortgage assistance fund program provider, the servicer must not notify the attorney to
         “place on hold” or suspend the foreclosure proceedings. See D2-3.1-05, Interacting with Mortgage
         Assistance Fund Program Providers for additional information.

   When the servicer receives a complete BRP, it must delay the next legal action in the foreclosure process as
   required by these provisions as long as delays are permitted under applicable law. The next legal action will be
   the next step required by law to proceed with the foreclosure action, such as publication or service of process,
   but does not include administrative actions, such as title searches or document preparation.

   In some states, the judge may dismiss the case for “lack of prosecution” if the workout plan is not tled with the
   court as part of the foreclosure proceedings. If this happens and the borrower subsequently defaults under the
   executed workout plan, the foreclosure proceedings will have to be restarted, which will result in extra
   foreclosure fees and expenses. In such cases, Fannie Mae will not reimburse the servicer for the resulting
   additional fees and expenses.

   The servicer is not in violation of these requirements to the extent that a court or public ovcial fails or refuses
   to halt some or all activities in the matter after the servicer has made reasonable esorts to move the court or
   request the public ovcial for a cessation of the activity or event.

   In applicable foreclosure actions where there is no foreclosure sale and title is transferred by court order, where
   possible and subject to applicable law, the servicer must use the estimated court order docket date, if known, in
   place of the foreclosure sale date in this topic’s requirements.




   Published May 10, 2023
                                                                                                                     476
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 269 of 393 Page ID #:269



   The limitations described in the remainder of this section apply only to suspensions initiated by the servicer
   without Fannie Mae's approval and do not apply to suspensions otherwise required by Fannie Mae.


   Handling a Complete BRP Received After Foreclosure Referral But More Than 37
   Days Prior to the Foreclosure Sale Date for a Principal Residence

   The following table contains Fannie Mae’s requirements for suspending foreclosure proceedings on all mortgage
   loans secured by a principal residence when the servicer receives a complete BRP. These requirements do not
   apply if the borrower previously submitted a complete BRP and the mortgage loan has been delinquent at all
   times since the borrower submitted the prior complete BRP, as authorized by applicable law.


                             If...                                        Then the servicer must...


     the borrower’s complete BRP is received after
                                                             delay tling the Motion for Foreclosure Judgment or
     referral to foreclosure and more than 37 days
                                                             Order of Sale.
     prior to the foreclosure sale date


                                                             request the court to delay a hearing or ruling as
                                                             permitted under state or local law, unless
                                                             • the servicer has reviewed a complete BRP and
                                                             delivered an Evaluation Notice to the borrower
                                                             stating that the borrower is ineligible for a workout
                                                             option and, if applicable, the borrower has not
     the Motion for Foreclosure Judgment or Order of         requested an appeal or the borrower’s appeal has
     Sale has already been tled                              been denied in accordance with D2-2-07, Resolving
                                                             an Appeal of a Mortgage Loan Moditcation Trial
                                                             Period Plan Denial for a Principal Residence;
                                                             • the borrower rejects all workout options osered by
                                                             the servicer; or
                                                             • the borrower fails to perform under an agreement
                                                             on any workout option.


                                                             • in a judicial jurisdiction, continue to delay the
                                                             Motion for Judgment (or equivalent action) for up to
     an Evaluation Notice for a retention oser has been
                                                             14 days to permit the borrower to respond; or
     sent to the borrower in connection with the
                                                             • in a non-judicial jurisdiction, delay the next legal
     borrower’s complete BRP
                                                             action for up to 14 days to permit the borrower to
                                                             respond.


   Additional guidance related specitcally to short sale and Mortgage Release transactions is provided below.

   Complete Borrower Response Package Submitted Without a Short Sale Oker




   Published May 10, 2023
                                                                                                                      477
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 270 of 393 Page ID #:270



   The servicer must meet the requirements shown in the following table upon receipt of complete BRP without a
   short sale oser for a principal residence more than 37 days prior to the foreclosure sale date, when either

          the borrower indicates in the complete BRP that they desire a liquidation workout option, or
          the servicer will not be osering a mortgage loan moditcation to the borrower.

   These requirements do not apply if the borrower previously submitted a complete BRP and the mortgage loan
   has been delinquent at all times since the borrower submitted the prior complete BRP, as authorized by
   applicable law.


      i                                               The servicer must…


              Send the borrower an Evaluation Notice within 5 days of an evaluation decision but no more than
              30 days from the receipt of a complete BRP.


              Require the borrower to
              • respond to the servicer decision within 14 days of the date of the Evaluation Notice by either
                q appealing the denial of any mortgage loan moditcation Trial Period Plan, if applicable; or
                q indicating the intent to accept the oser to pursue a short sale, if the Evaluation Notice
              includes the servicer’s approval to pursue a short sale.
              • submit a short sale oser within 45 days of the date of the Evaluation Notice or within 45 days of
              the servicer’s appeal decision, if applicable.


              Review a short sale oser within 15 days from the date it is received if the borrower submits the
              oser within 45 days of the Evaluation Notice.


              Delay referral to foreclosure or the next legal action in the foreclosure process during the
              • servicer evaluation of the complete BRP;
              • 14-day borrower response period;
              • appeals process, if applicable;
              • 45-day period the borrower is required to submit a short sale oser to the servicer;
              • 15-day period the servicer is reviewing a short sale oser submitted within 45 days of the date of
              the Evaluation Notice; and
              • 60-day period following approval of the short sale oser to facilitate the closing of an approved
              short sale.


              Proceed with the next legal action in the foreclosure process if
              • Fannie Mae rejects the short sale oser, or
              • the borrower does not respond or comply with all requirements of the short sale.


   Complete Borrower Response Package Submitted With a Short Sale Oker




   Published May 10, 2023
                                                                                                                    478
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 271 of 393 Page ID #:271



   The following table reuects requirements the servicer must meet when a complete BRP for a principal residence
   that includes a short sale oser is received more than 37 days prior to the foreclosure sale date. These
   requirements do not apply if the borrower previously submitted a complete BRP and the mortgage loan has
   been delinquent at all times since the borrower submitted the prior complete BRP, as authorized by applicable
   law.


      i                                               The servicer must…


              Send the borrower an Evaluation Notice within 5 days of an evaluation decision but no more than
              30 days from the receipt of a complete BRP submitted with a short sale oser.


              Require the borrower to respond to the servicer decision within 14 days of the date of the
              Evaluation Notice or, if applicable, appeal the denial of any mortgage loan moditcation Trial Period
              Plan.
              Note: The servicer must not require the borrower to respond to a short sale counteroser prior to
              the end of the time frame for the borrower’s response to the Evaluation Notice. Specitcally, the
              servicer must request a counteroser response from the borrower by the later of either
              • tve business days for the servicer’s or Fannie Mae’s short sale counteroser, or
              • the date by which the borrower’s response to the Evaluation Notice is due in cases where the
              servicer is providing an Evaluation Notice in response to a complete BRP.


              Delay referral to foreclosure or the next legal action in the foreclosure process during the
              • servicer evaluation of the complete BRP and short sale oser;
              • 14-day borrower response period;
              • appeals process, if applicable; and
              • 60-day period following approval of the short sale oser to facilitate the closing of an approved
              short sale.


              Proceed with the next legal action in the foreclosure process if
              • Fannie Mae rejects the short sale oser, or
              • the borrower does not respond or comply with all requirements of the short sale.


   Mortgage Release

   The servicer must meet the requirements shown in the following table when a complete BRP for a principal
   residence is received more than 37 days prior to the foreclosure sale date and either

          the borrower indicates in the complete BRP that they desire a liquidation workout option, or

          the servicer will not be osering a mortgage loan moditcation to the borrower.

   These requirements do not apply if the borrower previously submitted a complete BRP and the mortgage loan
   has been delinquent at all times since the borrower submitted the prior complete BRP, as authorized by
   applicable law.




   Published May 10, 2023
                                                                                                                   479
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 272 of 393 Page ID #:272




                     If the borrower…                                     Then the servicer…


     was not previously approved to pursue a short        • must send the borrower an Evaluation Notice within
     sale                                                 5 days of an evaluation decision but no more than 30
                                                          days from the receipt of a complete BRP.
                                                          • must require the borrower to respond to the
                                                          servicer decision within 14 days of the date of the
                                                          Mortgage Release oser in the Evaluation Notice by
                                                          either
                                                             q accepting the oser to pursue a Mortgage
                                                          Release oser, or
                                                             q appealing the denial of any mortgage loan
                                                          moditcation Trial Period Plan, if applicable.
                                                          • must delay the next legal action or referral to
                                                          foreclosure during the
                                                             q servicer evaluation of the complete BRP;
                                                             q 14-day borrower response period;
                                                             q appeals process, if applicable; and
                                                             q 60 days following the date of the borrower’s
                                                          acceptance in order to complete the Mortgage
                                                          Release transaction.
                                                          • must proceed with the next legal action in the
                                                          foreclosure process at the end of the 60-day period,
                                                          but is permitted to use an additional 30 days to
                                                          complete the Mortgage Release transaction if it
                                                          cannot be completed within 60 days.


                                                          must not delay the next legal action in the
     was previously approved to pursue a short sale
                                                          foreclosure process and adhere to Fannie Mae’s
     and accepts a Mortgage Release oser
                                                          foreclosure postponement requirements.



   Handling a Complete BRP Received After Foreclosure Referral But More Than 37
   Days Prior to the Foreclosure Sale Date for Other Mortgage Loans

   The following table contains Fannie Mae’s requirements for suspending foreclosure proceedings on all other
   mortgage loans when a complete BRP is received after foreclosure referral but more than 37 days prior to the
   foreclosure sale date.




   Published May 10, 2023
                                                                                                                 480
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 273 of 393 Page ID #:273




            Complete BRP received after foreclosure referral but more than 37 days prior to the
                                          foreclosure sale date


                    Stage of Evaluation                                       Requirements


     A complete BRP has been received and is being
                                                           No delay in legal action is required.
     evaluated


                                                           The servicer must attempt to conduct a review of
                                                           the complete BRP and short sale oser in accordance
                                                           with Fannie Mae’s required timelines. See D2-2-05,
     A complete BRP and a short sale oser have been        Receiving a Borrower Response Package containing
     received                                              standard review timelines.
                                                           If the servicer cannot do so, it must conduct an
                                                           expedited review of the complete BRP and short
                                                           sale oser prior to the foreclosure certitcation date.


                                                           No delay in legal action is required unless the
                                                           foreclosure sale is within the borrower's 14-day
     An Evaluation Notice was sent to the borrower         response period.
     and a retention oser has been extended                In those instances, the servicer must delay the
                                                           foreclosure sale for up to 14 days to allow the
                                                           borrower to respond.



   Handling a Complete BRP Received After Foreclosure Referral But Within 15 to
   37 Days Prior to the Foreclosure Sale Date

   The following table provides Fannie Mae requirements for suspending foreclosure proceedings for all mortgage
   loans when the complete BRP is received after foreclosure referral but within 15 to 37 days prior to the
   foreclosure sale date.


           Complete BRP received after foreclosure referral but within 15 to 37 days prior to the
                                          foreclosure sale date


                    Stage of Evaluation                                       Requirements


                                                          No delay in legal action is required. The servicer
     The complete BRP has been received and is being      must conduct an expedited review of the complete
     evaluated                                            BRP (and short sale purchase oser, if applicable)
                                                          prior to the foreclosure certitcation date.




   Published May 10, 2023
                                                                                                                   481
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 274 of 393 Page ID #:274




            Complete BRP received after foreclosure referral but within 15 to 37 days prior to the
                                           foreclosure sale date


                    Stage of Evaluation                                            Requirements


                                                             No delay in legal action is required unless a
                                                             retention oser is made and the foreclosure sale is
     An Evaluation Notice was sent to borrower and a         within the borrower's 14-day response period.
     retention oser has been extended                        In those instances, the servicer must delay the
                                                             foreclosure sale for up to 14 days to allow the
                                                             borrower to respond.


     Note: The servicer must not oser a Mortgage Release option during this time period.


   Handling a Complete BRP Received Less Than 15 Days Prior to the Foreclosure
   Sale Date

   The following table provides Fannie Mae requirements for suspending foreclosure proceedings for all mortgage
   loans when the complete BRP is received less than 15 days prior to the foreclosure sale date.


                 Complete BRP received less than 15 Days prior to the foreclosure sale date


                    Stage of Evaluation                                            Requirements


                                                             No delay in legal action is required. The servicer is
     The complete BRP has been received and is being         encouraged, but not required, to conduct an
     evaluated                                               expedited review of the complete BRP (and short
                                                             sale purchase oser, if applicable).


     A Notitcation and Evaluation Notice was sent to
                                                             The servicer must delay the foreclosure sale for up
     the borrower and a retention oser has been
                                                             to 14 days to allow the borrower to respond.
     extended


                                                             The servicer must suspend the foreclosure sale to
     Fannie Mae has approved a short sale purchase
                                                             allow the short sale to close as permitted under
     oser
                                                             state or local law.


   If the servicer completed its review of the complete BRP, it must notify the borrower prior to the foreclosure sale
   as to the results of the review. If the servicer did not complete its review of the complete BRP, it must advise
   the borrower of its inability to review the package prior to the sale.




   Published May 10, 2023
                                                                                                                     482
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 275 of 393 Page ID #:275



     Note: The servicer must not oser a Mortgage Release option during this time period.


   Recent Related Announcements

   The table below provides references to recently issued Announcements that are related to this topic.


                        Announcements                                            Issue Date


     Announcement-SVC-2021-04                                 July 14, 2021


     Announcement SVC-2019-02                                 April 10, 2019




   E-3.4-02, Canceling the Foreclosure Sale for a Completed Workout
   (04/10/2019)




   The servicer must cancel the foreclosure sale once the borrower has successfully completed a workout option.

   For a mortgage loan moditcation, the sale must not be cancelled until

         the Trial Period Plan is successfully completed with all payments having been made, and

         the mortgage loan moditcation agreement has been signed by the borrower(s).

   When the servicer osers the borrower a Mortgage Release, the servicer must not suspend or cancel the
   foreclosure process until the servicer has accepted the executed deed from the borrower.

   The following table provides further claritcation regarding servicer actions depending on when the executed
   deed is received.


                        If the servicer...                                 Then the servicer must...


     does not receive an executed deed with clear and
     marketable title as well as all required documents
                                                               continue the foreclosure process.
     signed by the borrower at least 30 days prior to the
     foreclosure sale




   Published May 10, 2023
                                                                                                                 483
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 276 of 393 Page ID #:276
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 277 of 393 Page ID #:277




   Determining Whether a Borrower Response Package is Complete

   Unless a borrower or co-borrower is deceased or divorced, all parties whose income was used to qualify for the
   original mortgage loan and who signed the mortgage loan note must submit the items required for a complete
   BRP. The following table lists the documentation that the servicer must obtain for a BRP to be complete, as
   required in Mortgage Assistance Application (Form 710).


      i                                      Items required for a complete BRP


              Form 710, or equivalent, that is completed in its entirety.


              Income documentation as outlined in Form 710 based on income type. Income documentation
              must be no more than 90 days old as of the date the servicer trst determines that the borrower
              submitted a complete BRP or at the time of a subsequent evaluation for another workout option.
              Non-borrower income: The servicer may include income of a non-borrower who contributes to
              the mortgage loan payment in monthly gross income if the income is voluntarily provided by the
              borrower, is documented and verited by the servicer using the same standards used for verifying a
              borrower’s income, and if
              • the servicer verites that the non-borrower occupies the subject property as a principal residence
              based on a review of the credit report or any other available document; and
              • there is documentary evidence to support that the income has been, and reasonably can
              continue to be, relied upon to support the mortgage loan payment.
              The servicer must not consider the expenses of a non-borrower household member and may only
              consider the amount of the non-borrower’s income that they routinely contribute to the household.
              Non-taxable income: When the borrower’s income is non-taxable, and the income and its tax-
              exempt status are likely to continue, the servicer must develop an “adjusted gross income” by
              adding an amount equivalent to 25% of the non-taxable income to the borrower’s income. If the
              servicer can determine that the actual amount of federal and state taxes is more than 25% of the
              borrower’s non-taxable income, the servicer is authorized to use that amount to develop the
              adjusted gross income.
              Income documented by bank statements: When the borrower’s income is documented by bank
              statements, the servicer must develop an adjusted gross income by adding an amount equivalent
              to 25% of the amount documented by the bank statements. If the servicer can determine that the
              actual amount of federal and state taxes is more than 25% of the borrower’s income documented
              by bank statements, the servicer is authorized to use that amount to verify the borrower’s income.
              Note: If a borrower has been impacted by a disaster (see D1-3, Providing Assistance to a Borrower
              Impacted by a Disaster Event), income documentation must be equal to or less than 180 days old
              at the time of the post-disaster evaluation for a workout option, and the evaluation must occur
              prior to the expiration of any forbearance period granted to the borrower asected by a disaster.


              Hardship documentation as outlined in Form 710 based on hardship type.




   Published May 10, 2023
                                                                                                                 301
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 278 of 393 Page ID #:278




      i                                      Items required for a complete BRP


              The IRS IVES Request for Transcript of Tax Return (IRS IVES Form 4506-C) signed by the borrower
              under the following circumstances:
              • to reconcile inconsistencies between other information the borrower provided (e.g., information
              the borrower provided in the Form 710) and the income documentation; or
              • if Fannie Mae requests it.
              Note: The servicer is authorized to obtain the 4506-C signed by the borrower in the instance the
              borrower is self-employed, and they do not provide the documentation that is outlined in the Form
              710. If the IRS IVES Request for Transcript of Tax Return (IRS IVES Form 4506-C) is required, the
              servicer must follow the procedures in Processing the IRS IVES Form 4506-C in F-1-12, Preparing to
              Implement a Workout Option for processing the IRS IVES Form 4506-C.


   The servicer is authorized to

          permit the borrower to complete, sign, and fax or email the documents required for a complete BRP to
          the servicer in accordance with applicable law;
          provide a secure means of access through which a borrower may prepare and electronically deliver the
          documents required for a complete BRP to the servicer; or
          use a third-party veritcation vendor to verify income and asset information the borrower provided in the
          Form 710 as long as the servicer
                complies with the requirements in this Guide, including but not limited to, the policies outlined in

                       Overview of General Servicer Duties and Responsibilities in A2-1-01, General Servicer Duties
                       and Responsibilities; and
                       Establishing Written Policies or Procedures and Quality Control Requirements in A4-1-01,
                       Stavng, Training, Procedures, and Quality Control Requirements;
                understands it will be held accountable for the security, accuracy, and integrity of the information
                obtained from the third-party veritcation vendor;
                obtains legal authorization from the borrower to use this veritcation method; and
                retains all veritcation reports received from the third-party veritcation vendor in the loan tle.

     Note: The servicer must supplement the veritcation report by obtaining any missing information, or
     any information necessary to address inconsistencies, from the borrower.

   See Selling Guide A2-4.1-03, Electronic Records, Signatures, and Transactions for additional information.

   If the servicer determines that any special documentation is required to support information provided by the
   borrower, it must contact its Fannie Mae Servicing Representative (see F-4-02, List of Contacts).

   A BRP is not considered complete if the borrower submits Form 710, or equivalent, that is

          only partially completed,
          not accompanied by all required income and hardship documentation, or

          not accompanied by an executed IRS IVES Form 4506-C under the circumstances described in this section



   Published May 10, 2023
                                                                                                                   302
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 279 of 393 Page ID #:279



          above.

   When a borrower is in an active Chapter 7 or Chapter 13 bankruptcy, the servicer is authorized to

          accept a copy of the bankruptcy schedule(s) in lieu of Form 710, provided that the schedule(s) is not
          more than 90 days old on the date the servicer receives the schedule(s);
          accept tax returns, if returns are required to be tled; and

          use this information, along with any required income and hardship documentation as specited in Form
          710, to determine borrower eligibility for workout options.


   Acknowledging Receipt of a Borrower Response Package

   Within tve business days, the servicer must acknowledge its receipt of a BRP to the borrower in writing, and
   must indicate whether the BRP is complete or incomplete. The acknowledgment must include the items listed in
   the following table.


      i                                     The acknowledgment must include...


              A statement indicating whether the BRP is complete or incomplete; and if complete, providing any
              other information required by applicable law.
              The servicer’s evaluation process and response time frame.


              An explanation of the foreclosure process, including that
              • the foreclosure process may continue, and
              • foreclosure referral will not occur if the servicer is reviewing a complete BRP or if the servicer
              extends an oser for a home retention workout option and the borrower’s response time for
              acceptance has not expired.


   In addition, for borrowers who submit a complete BRP 37 days or less prior to a scheduled foreclosure sale, the
   servicer must submit an explanation of the servicer’s plans for evaluating the borrower for a workout option and
   suspending the foreclosure sale, if appropriate.


   Sending a Notice of Incomplete Information

   The servicer must send an Incomplete Information Notice including the items listed in the following table to the
   borrower no later than 5 business days from receipt of documentation from the borrower if the servicer
   determines that documentation is missing.




   Published May 10, 2023
                                                                                                                     303
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 280 of 393 Page ID #:280



   There are no recently issued Announcements related to this topic.



   Subpart D2, Assisting a Borrower Who is Facing Default or in
   Default

   Introduction

   This subpart contains information on assisting a borrower who is facing default or in default.




   Chapter D2-1, Working with a Borrower Who is Facing Default

   Introduction

   This chapter contains information on working with a borrower who is facing default.




   D2-1-01, Determining if the Borrower’s Mortgage Payment is in
   Imminent Default (12/12/2018)


   Introduction
   This topic contains the following:

         Evaluating a Borrower Facing Imminent Default
         Evaluating a Borrower for Imminent Default for Conventional Mortgage Loan Moditcation Eligibility
         Evaluating a Borrower for Imminent Default for Fannie Mae Short Sale or Fannie Mae Mortgage Release
         Eligibility




   Evaluating a Borrower Facing Imminent Default

   The servicer must consider available workout options when the servicer is notited or otherwise becomes aware
   of events or factors that are expected to cause the borrower’s monthly payment to be in default within the next
   90 days (“imminent default”). In determining whether a borrower’s monthly payment is in imminent default, the
   servicer must take the actions described in the following table.




   Published May 10, 2023
                                                                                                               288
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 281 of 393 Page ID #:281




      i                                                  The servicer must...


              Evaluate the borrower’s tnancial and hardship condition. See D2-2-05, Receiving a Borrower
              Response Package for information on evaluating the borrower for workout options when the
              borrower submits a complete BRP.


              Evaluate the condition of and the circumstances asecting the property securing the mortgage loan
              by consulting with the borrower.


   The servicer must not solicit borrowers who are current or less than 30 days delinquent for a workout option.

   If the servicer determines that a borrower whose mortgage loan was less than 60 days delinquent did not
   qualify for any workout options, and the borrower’s mortgage loan subsequently becomes 60 or more days
   delinquent, the servicer must continue its solicitation and collection esorts with the borrower in accordance with
   D2-2, Requirements for Contacting a Borrower.


   Evaluating a Borrower for Imminent Default for Conventional Mortgage Loan
   Moditcation Eligibility

   For a borrower’s monthly payment to be considered in imminent default for the purpose of determining
   eligibility for a conventional mortgage loan moditcation, the borrower must satisfy

          the initial eligibility criteria, and

          either the credit or hardship eligibility criteria.

   The servicer must take the steps in the following table to perform the imminent default evaluation.




   Published May 10, 2023
                                                                                                                   289
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 282 of 393 Page ID #:282



     Step                                                                 Servicer Action


            Determine if all initial eligibility criteria are satisted.




                                                                                            Initial Eligibility Criteria


                                                                                            The mortgage loan is current or less
                                                                                            than 60 days delinquent as of the
                                                                                            evaluation date.


                                                                                            The property securing the mortgage
                                                                                            loan is occupied as a principal
                                                                                            residence by at least one borrower.


                                                                                            The borrower submits a complete BRP
                                                                                            (see D2-2-05, Receiving a Borrower
                                                                                            Response Package for additional
    1                                                                                       information).


                                                                                            The borrower’s non-retirement cash
                                                                                            reserves are less than $25,000 based
                                                                                            on information provided in the
                                                                                            Mortgage Assistance Application
                                                                                            (Form 710), or equivalent.


                                                                                            The borrower has a hardship as
                                                                                            documented in accordance with Form
                                                                                            710, or equivalent.
                                                                                            Note: An increased monthly P&I
                                                                                            payment that has occurred as a result
                                                                                            of an interest rate adjustment within
                                                                                            the last 12 months for a previously
                                                                                            modited mortgage loan with a step-
                                                                                            rate feature is an acceptable
                                                                                            hardship.




   Published May 10, 2023
                                                                                                                                  290
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 283 of 393 Page ID #:283



     Step                                                                              Servicer Action


            Determine if either the credit or hardship eligibility criteria is satisted.




            Review                                                                                       Eligibility Criteria


                                                                                                         A FICO credit score less than or equal
                                                                                                         to 620, and either
                                                                                                         • two or more 30-day delinquencies
                                                                                                         on the mortgage loan in the six
                                                                                                         months immediately preceding the
                                                                                                         month of the evaluation, or
                                                                                                         Note: The servicer must not consider
                                                                                                         a missed contractual payment that
                                                                                                         becomes 60 or more days delinquent
                                                                                                         as having two or more 30-day
                                                                                                         delinquencies in the six-month period
                                                                                                         immediately preceding the month of
                                                                                                         the evaluation.
                                                                                                         • a pre-moditcation housing expense-
                                                                                                         to-income ratio greater than 40%
                                                                                                         calculated in accordance with the
                                                                                                         procedures in Calculating the Housing
            Credit                                                                                       Expense-to-Income Ratio for
                                                                                                         Imminent Default for a Conventional
                                                                                                         Mortgage Loan Moditcation in F-1-12,
                                                                                                         Preparing to Implement a Workout
                                                                                                         Option.
                                                                                                         Note: The FICO credit score must be
                                                                                                         no more than 90 days old as of the
                                                                                                         date of evaluation. If the servicer
                                                                                                         obtains multiple credit scores for a
    2
                                                                                                         single borrower, it must select a
                                                                                                         representative credit score using the
                                                                                                         lower of two or the middle of three
                                                                                                         credit scores. If there are multiple
                                                                                                         borrowers, the servicer must
                                                                                                         determine the representative score
                                                                                                         for each borrower and use the lowest
                                                                                                         representative score as the credit
                                                                                                         score for the evaluation.


                                                                                                         The borrower has one of the following
                                                                                                         hardships as documented in
                                                                                                         accordance with Form 710, or
                                                                                                         equivalent:
                                                                                                         • death of a borrower or death of
                                                                                                         either the primary or secondary wage
                                                                                                         earner in the household;
                                                                                                         • long-term or permanent disability,
                                                                                                         or serious illness of a borrower, co-
                                                                                                         borrower, or dependent family
            Hardship                                                                                     member;
                                                                                                         • divorce or legal separation;
                                                                                                         • separation of borrowers unrelated
                                                                                                         by marriage, civil union, or similar
                                                                                                         domestic partnership under
                                                                                                         applicable law; or
                                                                                                         • an increased monthly P&I payment
                                                                                                         occurred as result of an interest rate
                                                                                                         adjustment within the last 12 months
                                                                                                         for a mortgage loan previously
                                                                                                         modited with a step-rate feature.




   Published May 10, 2023
                                                                                                                                                 291
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 284 of 393 Page ID #:284



   If the servicer requests Fannie Mae’s approval of a conventional mortgage loan moditcation through Fannie
   Mae’s servicing solutions system and the mortgage loan is current (i.e., not delinquent or in default) and Fannie
   Mae declines the borrower’s request, the servicer must send an Adverse Action Notice (Form 182) to the
   borrower within 30 days of receipt of Fannie Mae’s decision, unless the servicer osers the borrower another
   retention workout option and the borrower accepts the counteroser within the 30-day period.

   While use of Form 182 is optional, it reuects the minimum level of information the servicer must communicate
   and illustrates a level of specitcity that complies with the requirements of this Guide. The following table
   provides requirements for the adverse action notice.


       i                                           The adverse action notice must include...


                   A statement that Fannie Mae, as the owner of the mortgage loan, reviewed the mortgage loan
                   moditcation request.


                   Fannie Mae’s contact address shown as:
                   Midtown Center
                   1100 15th Street, NW
                   Washington, DC, 20005


                   The reason Fannie Mae did not approve the request.


                   The name and contact information of the credit reporting agency used to make the denial
                   decision, if applicable.


   When requesting Fannie Mae’s approval for a mortgage loan moditcation for a borrower facing imminent
   default, the servicer must either

           include the draft adverse action notice in its submission to Fannie Mae’s servicing solutions system, or

           certify it has a process to send the text pre-approved by Fannie Mae for every adverse action notice that
           is sent in accordance with the requirements of this Guide. See A4-2.1-06, Adverse Action Notitcation
           Certitcation for information on obtaining approval and certitcation.


   Evaluating a Borrower for Imminent Default for Fannie Mae Short Sale or Fannie
   Mae Mortgage Release Eligibility

   For a borrower’s monthly payment to be considered in imminent default for the purpose of determining
   eligibility for a Fannie Mae Short Sale or a Fannie Mae Mortgage Release, the borrower must satisfy

           the initial eligibility criteria, and

           either the credit or hardship eligibility criteria.




   Published May 10, 2023
                                                                                                                      292
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 285 of 393 Page ID #:285



   The servicer must take the steps in the following table to perform the imminent default evaluation, unless the
   borrower’s debt has been discharged pursuant to Chapter 7 of the U.S. bankruptcy code, in which case the
   servicer must evaluate the borrower for a Fannie Mae short sale in accordance with D2-3.3-01, Fannie Mae Short
   Sale or Fannie Mae Mortgage Release in accordance with D2-3.3-02, Fannie Mae Mortgage Release (Deed-in-
   Lieu of Foreclosure).


     Step                                                       Servicer Action


               Determine if all initial eligibility criteria are satisted.


               ?                                                Initial Eligibility Criteria


                                                                The mortgage loan is current or less than 60 days
                                                                delinquent as of the evaluation date.


                                                                The property securing the mortgage loan is occupied as a
                                                                principal residence by at least one borrower.
                                                                Note: If a servicemember receives a PCS order where the
                                                                transfer or new employment location is greater than 50
                                                                miles one way from the property securing the mortgage
                                                                loan, the property securing the mortgage loan must have
                                                                been or currently be the servicemember’s principal
                                                                residence.


     1                                                          The borrower submits a complete BRP (see D2-2-05,
                                                                Receiving a Borrower Response Package for additional
                                                                information).


                                                                The borrower’s non-retirement cash reserves are less than
                                                                $25,000 based on information provided in the Mortgage
                                                                Assistance Application (Form 710), or equivalent.
                                                                Note: If a servicemember receives a PCS order where the
                                                                transfer or new employment location is greater than 50
                                                                miles one way from the property securing the mortgage
                                                                loan, and the property securing the mortgage loan was or
                                                                currently is the servicemember’s principal residence, they
                                                                are exempt from the non-retirement cash reserves
                                                                requirement.


                                                                The borrower has a hardship as documented in accordance
                                                                with Form 710, or equivalent.




   Published May 10, 2023
                                                                                                                             293
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 286 of 393 Page ID #:286




     Step                                                    Servicer Action


               Determine if either the credit or hardship eligibility is satisted.


               Review                                         Eligibility Criteria


                                                              A FICO credit score less than or equal to 620, and either
                                                              • two or more 30-day delinquencies on the mortgage loan
                                                              in the six months immediately preceding the month of the
                                                              evaluation, or
                                                              Note: The servicer must not consider a missed contractual
                                                              payment that becomes 60 or more days delinquent as
                                                              having two or more 30-day delinquencies in the six-month
                                                              period immediately preceding the month of the evaluation.
                                                              • a housing expense-to-income ratio greater than 40%
                                                              calculated in accordance with the procedures in Calculating
                                                              the Housing Expense-to-Income Ratio for Imminent Default
               Credit
                                                              for a Fannie Mae Short Sale or Fannie Mae Mortgage
                                                              Release in F-1-12, Preparing to Implement a Workout
                                                              Option.
                                                              Note: The FICO credit score must be no more than 90 days
                                                              old as of the date of evaluation. If the servicer obtains
     2
                                                              multiple credit scores for a single borrower, it must select a
                                                              representative credit score using the lower of two or the
                                                              middle of three credit scores. If there are multiple
                                                              borrowers, the servicer must determine the representative
                                                              score for each borrower and use the lowest representative
                                                              score as the credit score for the evaluation.


                                                              The borrower has one of the following hardships as
                                                              documented in accordance with Form 710, or equivalent:
                                                              • death of a borrower or death of either the primary or
                                                              secondary wage earner in the household;
                                                              • long-term or permanent disability, or serious illness of a
                                                              borrower, co-borrower, or dependent family member;
               Hardship                                       • divorce or legal separation;
                                                              • separation of borrowers unrelated by marriage, civil
                                                              union, or similar domestic partnership under applicable law;
                                                              or
                                                              • distant employment transfer/relocation, including a PCS
                                                              order, greater than 50 miles one way from the property
                                                              securing the mortgage loan.




   Published May 10, 2023
                                                                                                                             294
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 287 of 393 Page ID #:287




   Recent Related Announcements

   The table below provides references to recently issued Announcements that are related to this topic.


                       Announcements                                               Issue Date


     Announcement SVC-2018-09                                   December 12, 2018


     Announcement SVC-2018-08                                   November 14, 2018


     Announcement SVC-2018-04                                   June 13, 2018



   Chapter D2-2, Requirements for Contacting a Borrower

   Introduction

   This chapter contains information on requirements for contacting a borrower.




   D2-2-01, Achieving Quality Right Party Contact with a Borrower
   (11/14/2018)


   Introduction
   This topic contains information on achieving quality right party contact with a borrower.

         Achieving Quality Right Party Contact with a Borrower




   Achieving Quality Right Party Contact with a Borrower

   QRPC is a uniform standard for communicating with the borrower, co-borrower, or a trusted advisor (collectively
   referred to as “borrower”) about resolution of the mortgage loan delinquency. The servicer must make every
   attempt to achieve QRPC. The purpose of QRPC is to

         determine the reason for the delinquency and whether it is temporary or permanent in nature,




   Published May 10, 2023
                                                                                                               295
       Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 288 of 393 Page ID #:288
Gmail - Re: loan #0038507299, 3421 CORPUS CHRISTI ST, SIMI VALLEY, CA 93063; ref no: CA05000323-22-1
                                                                                    5/16/23, 6:35 AM




                                                                                          Kristen Pearson <kpearsonlaw@gmail.com>



 Re: loan #0038507299, 3421 CORPUS CHRISTI ST, SIMI VALLEY, CA 93063; ref no:
 CA05000323-22-1
 8 messages

 Kristen Pearson <kpearsonlaw@gmail.com>                                             Wed, Feb 1, 2023 at 3:12 PM
 To: LC-lossmitigation@loancare.net, RP@trusteecorps.com, documents@trusteecorps.com

    Attached Please find the Chapter 13 Bankruptcy by Steven Pearson (heir to the 3421 corpus christi property).

    Thank you,

    Kristen




         Steven Pearson.pdf
         3629K


 bankruptcy <bankruptcy@trusteecorps.com>                                                                   Thu, Feb 2, 2023 at 7:21 AM
 To: Kristen Pearson <kpearsonlaw@gmail.com>


    Good Morning –


    This email is to con#rm that our of#ce is in receipt of your bk noti#cation. We have provided to the
    lender for review, at this time our of#ce is pending instructions regarding the sale.




    Thank you and have a great day!ï




    Providing Default Services in AK, AZ, CA, NV, OR, TX & WA




https://mail.google.com/mail/u/0/ik=4c9cb0cbd1&view=pt&search=a…impl=msg-a:r5021849626951102407&simpl=msg-f:1761924520116609396   Page 1 of 5
         Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 289 of 393 Page ID #:289
Gmail - Re: loan #0038507299, 3421 CORPUS CHRISTI ST, SIMI VALLEY, CA 93063; ref no: CA05000323-22-1
                                                                                      5/16/23, 6:35 AM



    Notice of Con#dentiality

    This e-mail message and attachments, if any, are intended solely for the use of the addressee hereof, in addition, this message and
    attachments, if any, may contain information that is con#dential, privileged and exempt from disclosure under applicable law. If you are not
    the intended recipient of this message, you are prohibited from reading, disclosing, reproducing, distributing, disseminating, or otherwise
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    privilege. If you have received this message in error, please promptly notify the sender by e-mail and immediately delete this message from
    your system.

    [Quoted text hidden]



 Kristen Pearson <kpearsonlaw@gmail.com>                                                                        Thu, Mar 16, 2023 at 8:22 AM
 To: bankruptcy <bankruptcy@trusteecorps.com>

    Hello this is Kristen Pearson. Can you please hold off on the sale of my home. I had a call about a week and a half
    ago from a mortgage company that said that my foreclosure was needing a couple of documents, and that it was on
    hold. I received a call yesterday also saying it was on hold because they had received the documents.

    My sister and brother are filing for a California mortgage help and have started the application process

    I can send over the recording if you would like just let me know. Thank you.
    [Quoted text hidden]
    --

    Kristen Pearson

    109 W. Honeysuckle Ave

    PO BOX 184

    Hayden, ID 83835

    Telephone: (208) 682-5870



    This e-mail and any attachments may contain confidential and privileged information. If you are not the intended
    recipient, please notify the sender immediately by return e-mail, delete this e-mail and destroy any copies. Any
    dissemination or use of this information by a person other than the intended recipient is unauthorized and may be
    illegal.


 bankruptcy <bankruptcy@trusteecorps.com>                                           Thu, Mar 16, 2023 at 10:33 AM
 To: Kristen Pearson <kpearsonlaw@gmail.com>, bankruptcy <bankruptcy@trusteecorps.com>


    Hello,
    
    Please be advised that our of#ce proceeded with the scheduled foreclosure sale, as stated on the phone
    there was no guarantee that the lender would approve a postponement.
    
    


https://mail.google.com/mail/u/0/ik=4c9cb0cbd1&view=pt&search=a…impl=msg-a:r5021849626951102407&simpl=msg-f:1761924520116609396           Page 2 of 5
        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 290 of 393 Page ID #:290
Gmail - Re: loan #0038507299, 3421 CORPUS CHRISTI ST, SIMI VALLEY, CA 93063; ref no: CA05000323-22-1
                                                                                     5/16/23, 6:35 AM



    

    




    Providing Default Services in AK, AZ, CA, NV, OR, TX & WA

    

    Bankruptcy Department

    17100 Gillette Avenue, Irvine, CA 92614

    Tel: 949-252-8300

    Fax: 949-252-8330

    bankruptcy@trusteecorps.com

    [Quoted text hidden]



 Kristen Pearson <kpearsonlaw@gmail.com>                                                                   Thu, Mar 16, 2023 at 1:00 PM
 To: bankruptcy <bankruptcy@trusteecorps.com>

    Hi can you please inform me on what I need to do to buy back my property.
    [Quoted text hidden]



 bankruptcy <bankruptcy@trusteecorps.com>                                            Thu, Mar 16, 2023 at 2:08 PM
 To: Kristen Pearson <kpearsonlaw@gmail.com>, bankruptcy <bankruptcy@trusteecorps.com>


    Hello –
    
    Unfortunately, there is nothing that you can do, the property sold to a third-party.
    [Quoted text hidden]



 Kristen Pearson <kpearsonlaw@gmail.com>                                                                    Fri, Mar 31, 2023 at 1:23 PM
 To: bankruptcy <bankruptcy@trusteecorps.com>

    Hello,

    So, I would like to get the foreclosure sale voided out. I was never given the appropriate notice regarding the default
    and only learned that the foreclosure had started at the end of november. I submitted 3-4 applications and my
    application was reviewed and denied after the foreclosure sale despite me giving everything I had to loancare. From
    my understanding my applicantion should have placed a stay on the foreclosure and a denial would have entitled me
    to 30 days to appeal the decision. Additionally, PHH mortgage told me that the foreclosure sale was off the day prior to
    the sale. I have contacted your company the day of the foreclosure to let you know this. Also, my statements were in

https://mail.google.com/mail/u/0/ik=4c9cb0cbd1&view=pt&search=a…impl=msg-a:r5021849626951102407&simpl=msg-f:1761924520116609396   Page 3 of 5
        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 291 of 393 Page ID #:291
Gmail - Re: loan #0038507299, 3421 CORPUS CHRISTI ST, SIMI VALLEY, CA 93063; ref no: CA05000323-22-1
                                                                                     5/16/23, 6:35 AM



    PHH mortgage envelopes.

    can you please have someone contact me who is an attorney.

    Thank you,

    Kristen
    [Quoted text hidden]



 bankruptcy <bankruptcy@trusteecorps.com>                                            Fri, Mar 31, 2023 at 3:35 PM
 To: Kristen Pearson <kpearsonlaw@gmail.com>, bankruptcy <bankruptcy@trusteecorps.com>


    Good afternoon,



    Have you spoken with the Lender or prepared a formal letter addressing your concerns for the Lender to review on
    your behalf? This most recent email seems contradictory to the chain of emails below regarding Bankruptcy
    allegations along with awaiting fund for family members and not yourself. As previously mentioned, this property has
    already been foreclosed upon. I suggest you prepare a formal letter to the Lender you have been communicating
    with as mentioned in your email below. If you are unable to do so, you may consider obtaining representation so they
    can reach out to the Lender on your behalf and further discuss this matter.



    Respectfully –




    Providing Default Services in AK, AZ, CA, NV, OR, TX & WA

    17100 Gillette Avenue, Irvine, CA 92614

    Tel: 949-252-8300

    Fax: 949-252-8330

    

    Notice of Con#dentiality

    [Quoted text hidden]
    [Quoted text hidden]

        [Quoted text hidden]
        [Quoted text hidden]

           [Quoted text hidden]
           [Quoted text hidden]

            Kristen Pearson

           109 W. Honeysuckle Ave

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       Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 292 of 393 Page ID #:292
Gmail - Re: loan #0038507299, 3421 CORPUS CHRISTI ST, SIMI VALLEY, CA 93063; ref no: CA05000323-22-1
                                                                                    5/16/23, 6:35 AM



          PO BOX 184

          Hayden, ID 83835

          Telephone: (208) 682-5870



          [Quoted text hidden]




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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 293 of 393 Page ID #:293



             DERYH

   :KHQDERUURZHULVLQDQDFWLYH&KDSWHURU&KDSWHUEDQNUXSWF\WKHVHUYLFHULVDXWKRUL]HGWR

             DFFHSWDFRS\RIWKHEDQNUXSWF\VFKHGXOH V LQOLHXRI)RUPSURYLGHGWKDWWKHVFKHGXOH V LVQRW
             PRUHWKDQGD\VROGRQWKHGDWHWKHVHUYLFHUUHFHLYHVWKHVFKHGXOH V 
             DFFHSWWD[UHWXUQVLIUHWXUQVDUHUHTXLUHGWREHtOHGDQG

             XVHWKLVLQIRUPDWLRQDORQJZLWKDQ\UHTXLUHGLQFRPHDQGKDUGVKLSGRFXPHQWDWLRQDVVSHFLtHGLQ)RUP
             WRGHWHUPLQHERUURZHUHOLJLELOLW\IRUZRUNRXWRSWLRQV


   $FNQRZOHGJLQJ5HFHLSWRID%RUURZHU5HVSRQVH3DFNDJH

   :LWKLQtYHEXVLQHVVGD\VWKHVHUYLFHUPXVWDFNQRZOHGJHLWVUHFHLSWRID%53WRWKHERUURZHULQZULWLQJDQG
   PXVWLQGLFDWHZKHWKHUWKH%53LVFRPSOHWHRULQFRPSOHWH7KHDFNQRZOHGJPHQWPXVWLQFOXGHWKHLWHPVOLVWHGLQ
   WKHIROORZLQJWDEOH


         i                                     7KHDFNQRZOHGJPHQWPXVWLQFOXGH


                 $VWDWHPHQWLQGLFDWLQJZKHWKHUWKH%53LVFRPSOHWHRULQFRPSOHWHDQGLIFRPSOHWHSURYLGLQJDQ\
                RWKHULQIRUPDWLRQUHTXLUHGE\DSSOLFDEOHODZ
                 7KHVHUYLFHUjVHYDOXDWLRQSURFHVVDQGUHVSRQVHWLPHIUDPH


                 $QH[SODQDWLRQRIWKHIRUHFORVXUHSURFHVVLQFOXGLQJWKDW
                 mWKHIRUHFORVXUHSURFHVVPD\FRQWLQXHDQG
                mIRUHFORVXUHUHIHUUDOZLOOQRWRFFXULIWKHVHUYLFHULVUHYLHZLQJDFRPSOHWH%53RULIWKHVHUYLFHU
                 H[WHQGVDQRsHUIRUDKRPHUHWHQWLRQZRUNRXWRSWLRQDQGWKHERUURZHUjVUHVSRQVHWLPHIRU
                 DFFHSWDQFHKDVQRWH[SLUHG


   ,QDGGLWLRQIRUERUURZHUVZKRVXEPLWDFRPSOHWH%53GD\VRUOHVVSULRUWRDVFKHGXOHGIRUHFORVXUHVDOHWKH
   VHUYLFHUPXVWVXEPLWDQH[SODQDWLRQRIWKHVHUYLFHUjVSODQVIRUHYDOXDWLQJWKHERUURZHUIRUDZRUNRXWRSWLRQDQG
   VXVSHQGLQJWKHIRUHFORVXUHVDOHLIDSSURSULDWH


   6HQGLQJD1RWLFHRI,QFRPSOHWH,QIRUPDWLRQ

   7KHVHUYLFHUPXVWVHQGDQ,QFRPSOHWH,QIRUPDWLRQ1RWLFHLQFOXGLQJWKHLWHPVOLVWHGLQWKHIROORZLQJWDEOHWRWKH
   ERUURZHUQRODWHUWKDQEXVLQHVVGD\VIURPUHFHLSWRIGRFXPHQWDWLRQIURPWKHERUURZHULIWKHVHUYLFHU
   GHWHUPLQHVWKDWGRFXPHQWDWLRQLVPLVVLQJ




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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 294 of 393 Page ID #:294




         i                          7KH,QFRPSOHWH,QIRUPDWLRQ1RWLFHPXVWLQFOXGH


              $OLVWRIPLVVLQJGRFXPHQWVRULQIRUPDWLRQQHHGHGWREHJLQDQHYDOXDWLRQRIWKHERUURZHUIRUD
     
              ZRUNRXWRSWLRQ


             $WROOIUHHQXPEHUIRUWKHERUURZHUWRFRQWDFWWKHVHUYLFHULIWKHERUURZHUKDVDQ\TXHVWLRQV


              $UHIHUHQFHWRWKH+8'ZHEVLWHIRU+8'DSSURYHGFRXQVHORUVDVDUHVRXUFHDYDLODEOHWRKHOSWKH
     
              ERUURZHUFRPSOHWHWKHSDFNDJH


              $UHPLQGHUWKDWIDLOXUHWRVXEPLWDOOWKHUHTXLUHGGRFXPHQWDWLRQRULQIRUPDWLRQPD\UHVXOWLQ
             LQHOLJLELOLW\IRUDZRUNRXWRSWLRQDQGWKHIRUHFORVXUHSURFHHGLQJVZLOOFRQWLQXHLQFOXGLQJUHIHUUDOWR
              IRUHFORVXUHLIWKHPRUWJDJHORDQZDVQRWSUHYLRXVO\UHIHUUHG


              $VWDWHPHQWWKDWGHSHQGLQJRQWKHWLPLQJRIZKHQWKHQHFHVVDU\LQIRUPDWLRQRUGRFXPHQWDWLRQLV
             UHFHLYHGWKHUHLVQRJXDUDQWHHRIDQHYDOXDWLRQIRUDZRUNRXWRSWLRQDQGVXVSHQVLRQRIIRUHFORVXUH
              SURFHHGLQJV


   ,IWKH%53LVLQFRPSOHWHWKHVHUYLFHULVDXWKRUL]HGWRFRPELQHWKH,QFRPSOHWH,QIRUPDWLRQ1RWLFHZLWKWKH
   DFNQRZOHGJPHQWRILWVUHFHLSWRIWKH%53

   7KHVHUYLFHULVDXWKRUL]HGEXWQRWUHTXLUHGWRVHQGDQ,QFRPSOHWH,QIRUPDWLRQ1RWLFHWRDERUURZHUZKR
   VXEPLWVLQFRPSOHWHGRFXPHQWDWLRQGD\VRUOHVVSULRUWRDVFKHGXOHGIRUHFORVXUHVDOH7KHVHUYLFHULVVWURQJO\
   HQFRXUDJHGWRZRUNZLWKERUURZHUVZKRVXEPLWLQFRPSOHWHGRFXPHQWDWLRQGD\VRUOHVVSULRUWRDVFKHGXOHG
   IRUHFORVXUHVDOHWRREWDLQDFRPSOHWH%53DQGH[SHGLWHDGHFLVLRQ

   7KHVHUYLFHUPXVWFRQWLQXHWRDWWHPSWWRREWDLQPLVVLQJGRFXPHQWDWLRQXVLQJRXWERXQGFRQWDFWPHWKRGVDV
   GHVFULEHGLQ'2XWERXQG&RQWDFW$WWHPSW5HTXLUHPHQWV


   6HQGLQJD1RWLFHRI'HFLVLRQRQD:RUNRXW2SWLRQ

   7KHVHUYLFHUPXVWUHYLHZDQGHYDOXDWHDFRPSOHWH%53DQGFRPPXQLFDWHDGHFLVLRQWRWKHERUURZHUE\VHQGLQJ
   DQ(YDOXDWLRQ1RWLFHRUHTXLYDOHQWZLWKLQtYHGD\VDIWHUPDNLQJWKHGHFLVLRQEXWQRODWHUWKDQGD\V
   IROORZLQJWKHUHFHLSWRIDFRPSOHWH%536HH(6XVSHQGLQJ)RUHFORVXUH3URFHHGLQJVIRU:RUNRXW
   1HJRWLDWLRQVIRUHYDOXDWLRQUHTXLUHPHQWVGXULQJIRUHFORVXUHSURFHHGLQJV

   :KLOHXVHRIDQ(YDOXDWLRQ1RWLFHLVRSWLRQDOLWUHuHFWVDPLQLPXPOHYHORILQIRUPDWLRQWKDWWKHVHUYLFHUPXVW
   FRPPXQLFDWHDQGLOOXVWUDWHVDOHYHORIVSHFLtFLW\WKDWFRPSOLHVZLWKWKHUHTXLUHPHQWVRIWKLV*XLGH7KH
   IROORZLQJWDEOHSURYLGHVWKHUHTXLUHPHQWVIRUWKH(YDOXDWLRQ1RWLFH




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         Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 295 of 393 Page ID #:295
Gmail - loan #0038507299, 3421 CORPUS CHRISTI ST, SIMI VALLEY, CA 93063               5/16/23, 7:28 AM




                                                                                      Kristen Pearson <kpearsonlaw@gmail.com>



 loan #0038507299, 3421 CORPUS CHRISTI ST, SIMI VALLEY, CA 93063
 3 messages

 Kristen Pearson <kpearsonlaw@gmail.com>                                                                    Thu, Nov 3, 2022 at 2:39 PM
 To: LC-lossmitigation@loancare.net

    ATTACHED PLEASE FIND

    1. 2019-2021 TAX RETURN
    2. VA BENEFIT LETTER
    3. 90 days bank statements with VA and SSDI deposits
    4. 18 months of bank statements with income and tax return deposits

    --

    Kristen Pearson

    109 W. Honeysuckle Ave

    PO BOX 184

    Hayden, ID 83835

    Telephone: (208) 682-5870



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     4 attachments
          FED TAX RETURN FROM 2019 TO 2021.pdf
          4755K
          Benefit Verification Letter.pdf
          41K
          bofa 18 months of deposits.pdf
          75K
          90 day va and ssdi bank stmt.pdf
          209K


 Kristen Pearson <kpearsonlaw@gmail.com>                                                                    Thu, Nov 3, 2022 at 5:30 PM
 To: LC-lossmitigation@loancare.net

         ATTACHED PLEASE FIND



https://mail.google.com/mail/u/0/ik=4c9cb0cbd1&view=pt&search=a…mpl=msg-a:r7281112799837509611&simpl=msg-a:r8536289106328753927   Page 1 of 2
       Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 296 of 393 Page ID #:296
Gmail - loan #0038507299, 3421 CORPUS CHRISTI ST, SIMI VALLEY, CA 93063             5/16/23, 7:28 AM



      1. 3 MONTH LAW OFFICE INCOME
      2. PROFIT LOSS STMT
      3. UNIFORM BORROWER ASSISTANCE FORM
      --

      Kristen Pearson

      109 W. Honeysuckle Ave

      PO BOX 184

      Hayden, ID 83835

      Telephone: (208) 682-5870



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    [Quoted text hidden]


     3 attachments
          3 MONTH LAW OFFICE INCOME.pdf
          28K
          2022 PROFIT LOSS STMT.pdf
          53K
          Borrower Assistance Form.pdf
          287K


 Kristen Pearson <kpearsonlaw@gmail.com>                                                                    Thu, Nov 3, 2022 at 8:32 PM
 To: LC-lossmitigation@loancare.net

    ATTACHED PLEASE FIND:
    1. MAA APPLICATION AND SUPPORTING DOCUMENTATION
    [Quoted text hidden]




https://mail.google.com/mail/u/0/ik=4c9cb0cbd1&view=pt&search=…mpl=msg-a:r7281112799837509611&simpl=msg-a:r8536289106328753927   Page 2 of 2
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 297 of 393 Page ID #:297



LAW OFFICE OF KRISTEN PEARSON


CLIENT NU INVOICE DATE INVOICE AMOUNT
    10117          8/9/22       $56.25
    10118          8/9/22       $56.25
    10120         8/11/22       $16.26
    10126         8/11/22      $148.77
    10125         8/11/22       $26.25
    10133         8/11/22      $127.51
    10134         8/11/22       $56.25
    10123         8/11/22       $14.18
    10124         8/11/22      $234.36
    10132         8/11/22       $58.75
    10135         8/11/22       $45.00
    10136         8/11/22       $56.25
    10130         8/11/22       $41.10
    10131         8/11/22       $15.01
    10127         8/11/22      $485.20
    10128         8/11/22       $56.25
    10129         8/11/22       $30.00
    10121         8/11/22       $28.34
    10122         8/11/22       $75.00
          JULY INCOME        $1,626.98

      10143               9/3/22               $53.76
      10139               9/3/22              $423.59
      10153               9/3/22               $42.51
      10151               9/3/22               $65.00
      10154               9/3/22               $56.25
      10155               9/3/22              $513.75
      10152               9/3/22                $5.01
      10148               9/3/22               $56.25
      10149               9/3/22                $7.09
      10150               9/3/22              $113.75
      10146               9/3/22              $185.00
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 298 of 393 Page ID #:298


      10144            9/3/22                  $56.25
      10145            9/3/22                $495.01
      10137            9/3/22                $483.09
      10138            9/3/22                $125.02
      10142            9/3/22               $1,131.27
      10140            9/3/22                  $93.75
      10141            9/6/22                $112.50
               AUG INCOME                   $4,018.85

      10161           10/12/22                 $50.01
      10158           10/12/22               $141.67
      10163           10/12/22               $207.51
      10165           10/12/22               $173.76
      10162           10/12/22                  $7.09
      10164           10/12/22               $186.26
      10157           10/12/22                 $12.51
      10160           10/12/22               $482.51
      10159           10/12/22               $180.01
      10166           10/17/22               $130.00
               SEPT INCOME                  $1,571.33

      10187             10/31/22              $400.00
      10190             10/31/22              $350.00
      10170              11/1/22              $286.18
      10173              11/1/22              $284.76
      10179              11/1/22              $384.80
      10172              11/1/22               $39.67
      10168              11/1/22                $4.25
      10186              11/1/22                $7.09
      10181              11/1/22              $511.44
      10177              11/1/22              $184.18
      10185              11/1/22              $395.27
      10167              11/1/22                $9.92
      10184              11/1/22              $141.68
      10180              11/1/22              $124.69
      10189              11/1/22               $39.68
      10196              11/1/22               $35.09
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 299 of 393 Page ID #:299


      10169           11/1/22                 $154.44
      10188           11/1/22                  $56.25
      10175           11/1/22                 $277.87
      10192           11/1/22                  $56.70
      10176           11/1/22                 $177.11
      10182           11/1/22                  $54.18
      10191           11/1/22                 $243.85
      10202           11/1/22                  $95.00
      10203           11/1/22                  $56.25
               0CT INCOME                   $4,370.35
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 300 of 393 Page ID #:300

Wells Fargo Everyday Checking
August 5, 2022             Page 1 of 5




                                                                                                   Questions?
STEVEN R COLLINS                                                                                   Available by phone 24 hours a day, 7 days a week:
                                                                                                   We accept all relay calls, including 711
KRISTEN A PEARSON RP
2023 W SAINT ESTEPHE CT                                                                             1-800-TO-WELLS              (1-800-869-3557)

HAYDEN ID 83835-8436                                                                                En español: 1-877-727-2932



                                                                                                   Online: wellsfargo.com

                                                                                                   Write: Wells Fargo Bank, N.A. (113)
                                                                                                           P.O. Box 6995
                                                                                                           Portland, OR 97228-6995




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 Thank you for being a loyal Wells Fargo customer. We value your trust in our                      A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                    convenient services with your account(s). Go to
                                                                                                   wellsfargo.com or call the number above if you have
                                                                                                   questions or if you would like to add new services.

                                                                                                   Online Banking               Direct Deposit          
                                                                                                   Online Bill Pay              Auto Transfer/Payment
                                                                                                   Online Statements            Overdraft Protection
                                                                                                   Mobile Banking               Debit Card
                                                                                                   My Spending Report           Overdraft Service




Other Wells Fargo Benefits

From Wells Fargo Home Mortgage

Is a home purchase in your future? Competitive rates and low down payment options make now a great time to buy a home. Plus, as a
Wells Fargo customer, you can count on personalized guidance and streamlined service every step of the way.

Get started with an online mortgage application that can pre-fill your Wells Fargo account information and save you time. Use your
                   ®
Wells Fargo Online username and password at the start of the application. Go to wellsfargo.com/homepurchase or contact your local
home mortgage consultant.




     (113)
     Sheet Seq = 0012040
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 301 of 393 Page ID #:301
August 5, 2022           Page 2 of 5




Statement period activity summary                                                                          Account number: 9864331971

         Beginning balance on 7/9                                                    $663.07               STEVEN R COLLINS
                                                                                                           KRISTEN A PEARSON RP
         Deposits/Additions                                                        12,850.72
         Withdrawals/Subtractions                                                - 11,946.22               Idaho account terms and conditions apply
         Ending balance on 8/5                                                    $1,567.57                For Direct Deposit use
                                                                                                           Routing Number (RTN): 124103799



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Transaction history


                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number Description                                                                         Additions         Subtractions              balance
       7/11                     Synchrony Bank Payment 220708 504662220727004                                                                39.00               624.07
                                Pearson,Kristen
       7/13                     Vacp Treas 310 Xxva Benef 071322 xxxxx2312003600 Ref*48*VA                           6,772.32                                   7,396.39
                                Compensation *05/01/21-08
       7/14                     Zelle to Pearson Kristen on 07/14 Ref #Rp0Qkm6W3W                                                          1,200.00
       7/14                     Zelle to Pearson Kristen on 07/14 Ref #Rp0Qkm6Tgq                                                          1,000.00
       7/14                     Zelle to Pearson Kristen on 07/14 Ref #Rp0Qkm76x7                                                          1,000.00
       7/14                     Zelle to Pearson Kristen on 07/14 Ref #Rp0Qkm7Drb                                                          1,000.00             3,196.39
       7/15                     Idaho Housing Mtgpmt 071522 0012084364 Steven Collins                                                      1,533.94             1,662.45
       7/18                     Zelle to Pearson Kristen on 07/17 Ref #Rp0Qks8J87                                                            660.00             1,002.45
       7/19                     Purchase authorized on 07/17 Apple Cash 1Infiniteloop CA                                                   1,000.00                 2.45
                                S462198383380473 Card 8149
       7/21                     Synchrony Bank Payment 220720 650159007523339                                                                 30.00               -27.55
                                Pearson,Kristen
       7/22                     Overdraft Fee for a Transaction Posted on 07/21 $30.00                                                        35.00               -62.55
                                Synchrony Bank Payment 220720 650159007523 339
                                Pearson,Kristen
       8/1                      Vacp Treas 310 Xxva Benef 080122 xxxxx2312003600 Ref*48*VA                           4,328.40
                                Compensation *07/01/22-07
       8/1                      Zelle to Pearson Kristen on 08/01 Ref #Rp0Qlp5Wrr                                                          1,000.00
       8/1                      Zelle to Pearson Kristen on 08/01 Ref #Rp0Qlpd9Fj                                                            500.00
       8/1                      Zelle to Pearson Kristen on 08/01 Ref #Rp0Qlpf89B                                                          1,000.00             1,765.85
       8/2                      Affirm Inc Affirm Pay 220801 6935326 Steven *Collins                                                         155.40
       8/2                      Affirm Inc Affirm Pay 220801 6935315 Steven *Collins                                                         292.88             1,317.57
       8/3                      SSA Treas 310 Xxsoc Sec 080322 xxxxx2312C1 SSA N1*Gd*Kristen                           275.00
                                Pearson for \N1*Be*Sterling Col
       8/3                      SSA Treas 310 Xxsoc Sec 080322 xxxxx2312C2 SSA N1*Gd*Kristen                           275.00
                                Pearson for \N1*Be*Holley Col
       8/3                      SSA Treas 310 Xxsoc Sec 080322 xxxxx2312A SSA N1*Gd*Kristen                          1,200.00
                                Pearson for \N1*Be*Steven Col
       8/3                      Zelle to Pearson Kristen on 08/03 Ref #Rp0Qlt5Ygg                                                            500.00
       8/3                      Zelle to Pearson Kristen on 08/03 Ref #Rp0Qltjqn2                                                          1,000.00             1,567.57

       Ending balance on 8/5                                                                                                                                    1,567.57

       Totals                                                                                                     $12,850.72            $11,946.22

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 302 of 393 Page ID #:302
August 5, 2022              Page 3 of 5




 Summary of Overdraft and Returned Item Fees

                                                                                                      Total this statement period                       Total year-to-date
         Total Overdraft Fees                                                                                              $35.00                                 $140.00
         Total Returned Item Fees                                                                                           $0.00                                   $0.00

         Year-to-date totals reflect fees assessed or reversed since the first full statement period of the calendar year. Negative values indicate that fee reversals
         exceed fees assessed.




                                          ®
 Summary of Overdraft Rewind                  Benefits

                                                                                                       Total this statement period                      Total year-to-date
        Total Number of Overdraft, Returned Item and Overdraft Protection                                                        0                                       3
        Fees Waived or Refunded
        Total Amount of Overdraft, Returned Item and Overdraft Protection                                                    $0.00                                $105.00
        Fees Waived or Refunded


        Year-to-date totals reflect fees waived since the first full statement period of the calendar year. Amounts shown do not include any additional waivers and
        refunds of Overdraft Protection Advance Fees due to advances from credit cards.




Monthly service fee summary

For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to wellsfargo.com/feefaq for
a link to these documents, and answers to common monthly service fee questions.


       Fee period 07/09/2022 - 08/05/2022                                                      Standard monthly service fee $10.00                     You paid $0.00

       How to avoid the monthly service fee                                                                        Minimum required                    This fee period
       Have any ONE of the following account requirements
         · Minimum daily balance                                                                                              $500.00                          -$62.55
          · Total amount of qualifying direct deposits                                                                        $500.00                      $12,850.72 
          · Age of primary account owner                                                                                        17 - 24
          · The fee is waived when the account is linked to a Wells Fargo Campus ATM or
            Campus Debit Card
       RC/RC




         IMPORTANT ACCOUNT INFORMATION

Now with Early Pay Day, you can get paid earlier when you have Direct Deposit.

Effective September 19, 2022, the following information will be incorporated into the "Depositing Funds" section of your
Deposit Account Agreement. (NOTE: As the bank launches Early Pay Day, the service may not be immediately available in all
areas or for all accounts. Monitor your account activity after September 19th to determine whether any of your eligible direct
deposits have been made available early. Until Early Pay Day is available for your account, and subject to the disclosures
below, you should expect to receive your direct deposits on your normally scheduled pay dates.)




      Sheet Seq = 0012041
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 303 of 393 Page ID #:303

Wells Fargo Everyday Checking
September 8, 2022          Page 1 of 5




                                                                                                   Questions?
STEVEN R COLLINS                                                                                   Available by phone 24 hours a day, 7 days a week:
                                                                                                   We accept all relay calls, including 711
KRISTEN A PEARSON RP
2023 W SAINT ESTEPHE CT                                                                             1-800-TO-WELLS              (1-800-869-3557)

HAYDEN ID 83835-8436                                                                                En español: 1-877-727-2932



                                                                                                   Online: wellsfargo.com

                                                                                                   Write: Wells Fargo Bank, N.A. (113)
                                                                                                           P.O. Box 6995
                                                                                                           Portland, OR 97228-6995




 You and Wells Fargo                                                                               Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                      A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                    convenient services with your account(s). Go to
                                                                                                   wellsfargo.com or call the number above if you have
                                                                                                   questions or if you would like to add new services.

                                                                                                   Online Banking               Direct Deposit          
                                                                                                   Online Bill Pay              Auto Transfer/Payment
                                                                                                   Online Statements            Overdraft Protection
                                                                                                   Mobile Banking               Debit Card
                                                                                                   My Spending Report           Overdraft Service




Other Wells Fargo Benefits

From Wells Fargo Home Mortgage

Is a home purchase in your future? Competitive rates and low down payment options make now a great time to buy a home. Plus, as a
Wells Fargo customer, you can count on personalized guidance and streamlined service every step of the way.

Get started with an online mortgage application that can pre-fill your Wells Fargo account information and save you time. Use your
                   ®
Wells Fargo Online username and password at the start of the application. Go to wellsfargo.com/homepurchase or contact your local
home mortgage consultant.




     (113)
     Sheet Seq = 0012872
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 304 of 393 Page ID #:304
September 8, 2022             Page 2 of 5




Statement period activity summary                                                                          Account number: 9864331971

         Beginning balance on 8/6                                                  $1,567.57               STEVEN R COLLINS
                                                                                                           KRISTEN A PEARSON RP
         Deposits/Additions                                                         6,078.40
         Withdrawals/Subtractions                                                 - 7,309.00               Idaho account terms and conditions apply
         Ending balance on 9/8                                                      $336.97                For Direct Deposit use
                                                                                                           Routing Number (RTN): 124103799



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Transaction history


                          Check                                                                                     Deposits/         Withdrawals/          Ending daily
       Date              Number Description                                                                         Additions         Subtractions              balance
       8/8                      Zelle to Pearson Kristen on 08/07 Ref #Rp0QM3Gpvf                                                           700.00               867.57
       8/9                      Synchrony Bank Payment 220808 504662220727004                                                                38.00
                                Pearson,Kristen
       8/9                      Capital One Mobile Pmt 220807 3M95S7Mqjpwj06M Kristen A                                                       58.00
                                Pearson
       8/9                      Capital One Mobile Pmt 220807 3M95S8Jlhi3Kavc Kristen A                                                      213.00              558.57
                                Pearson
       8/15                     Zelle to Pearson Kristen on 08/13 Ref #Rp0Qmftnbm                                                            100.00
       8/15                     Zelle to Pearson Kristen on 08/13 Ref #Rp0Qmhb2Jv                                                            400.00               58.57
       8/22                     Synchrony Bank Payment 220821 650159007523339                                                                 30.00               28.57
                                Pearson,Kristen
       9/1                      Vacp Treas 310 Xxva Benef 090122 xxxxx2312003600 Ref*48*VA                           4,328.40
                                Compensation *08/01/22-08
       9/1                      Zelle to Pearson Kristen on 09/01 Ref #Rp0Qnlbbcz                                                          1,000.00
       9/1                      Zelle to Pearson Kristen on 09/01 Ref #Rp0Qnlbc9Q                                                          1,000.00
       9/1                      Zelle to Pearson Kristen on 09/01 Ref #Rp0Qnlb89T                                                          1,000.00             1,356.97
       9/2                      SSA Treas 310 Xxsoc Sec 090222 xxxxx2312C1 SSA N1*Gd*Kristen                           275.00
                                Pearson for \N1*Be*Sterling Col
       9/2                      SSA Treas 310 Xxsoc Sec 090222 xxxxx2312C2 SSA N1*Gd*Kristen                           275.00
                                Pearson for \N1*Be*Holley Col
       9/2                      SSA Treas 310 Xxsoc Sec 090222 xxxxx2312A SSA N1*Gd*Kristen                          1,200.00                                   3,106.97
                                Pearson for \N1*Be*Steven Col
       9/6                      Zelle to Pearson Kristen on 09/03 Ref #Rp0Qnrqxcy                                                            500.00
       9/6                      Zelle to Pearson Kristen on 09/05 Ref #Rp0Qnvxmt2                                                          1,000.00
       9/6                      Capital One Online Pmt 220903 3Mevx13Wmwlzwdq Kristen                                                         57.00
                                Pearson
       9/6                      Capital One Online Pmt 220903 3Mevx0V0C46Jeo8 Kristen                                                        213.00             1,336.97
                                Pearson
       9/7                      Zelle to Pearson Kristen on 09/07 Ref #Rp0Qnystbl                                                          1,000.00              336.97

       Ending balance on 9/8                                                                                                                                     336.97

       Totals                                                                                                      $6,078.40             $7,309.00

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 305 of 393 Page ID #:305
September 8, 2022             Page 3 of 5




 Summary of Overdraft and Returned Item Fees

                                                                                                      Total this statement period                       Total year-to-date
         Total Overdraft Fees                                                                                               $0.00                                 $140.00
         Total Returned Item Fees                                                                                           $0.00                                   $0.00

         Year-to-date totals reflect fees assessed or reversed since the first full statement period of the calendar year. Negative values indicate that fee reversals
         exceed fees assessed.




Monthly service fee summary

For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to wellsfargo.com/feefaq for
a link to these documents, and answers to common monthly service fee questions.


       Fee period 08/06/2022 - 09/08/2022                                                      Standard monthly service fee $10.00                     You paid $0.00

       How to avoid the monthly service fee                                                                        Minimum required                    This fee period
       Have any ONE of the following account requirements
         · Minimum daily balance                                                                                              $500.00                           $28.57
          · Total amount of qualifying direct deposits                                                                        $500.00                       $6,078.40 
          · Age of primary account owner                                                                                        17 - 24
          · The fee is waived when the account is linked to a Wells Fargo Campus ATM or
            Campus Debit Card
       RC/RC




         IMPORTANT ACCOUNT INFORMATION

Now with Early Pay Day, you can get paid earlier when you have Direct Deposit.

Effective September 19, 2022, the following information will be incorporated into the "Depositing Funds" section of your
Deposit Account Agreement. (NOTE: As the bank launches Early Pay Day, the service may not be immediately available in all
areas or for all accounts. Monitor your account activity after September 19th to determine whether any of your eligible direct
deposits have been made available early. Until Early Pay Day is available for your account, and subject to the disclosures
below, you should expect to receive your direct deposits on your normally scheduled pay dates.)

Early Pay Day (Consumer accounts only)
For certain eligible direct deposits, we may make funds available for your use up to two days before we receive the funds from your
payor. When funds are made available early, they will be reflected in your account's available balance. Whether we make funds
available early depends on (1) when we receive the payor's payment instructions, (2) any limitations we set on the amount and
frequency of early availability, and (3) standard fraud prevention screening. The criteria we use for making funds available early is
determined in our sole discretion, based on confidential criteria necessary for maintaining the security of your account and our
payment services, and is subject to change without notice.

Not all direct deposits are eligible for Early Pay Day. Eligible direct deposits are limited to electronic direct deposits such as your payroll,
pension, and government benefit payments. Items such as deposits of funds from person-to-person payments services (e.g., Zelle,
Venmo, or PayPal transfers) and other online transfers are not eligible for Early Pay Day. The Bank does not guarantee that any direct
deposits will be made available before the date scheduled by the payor, and early availability of funds may vary between direct
deposits from the same payor. For interest-bearing accounts, interest on your incoming direct deposit will begin accruing on the
business day we receive credit for the deposit from your payor's bank. Direct deposits made available early with Early Pay Day will not
count towards applicable options to avoid your account's monthly service fee until the deposit posts to your account and is no longer
pending (e.g., the pay date scheduled by your payor). Except as expressly set forth herein, funds made available early are subject to the
same terms and conditions as other deposits to your account.




      Sheet Seq = 0012873
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 306 of 393 Page ID #:306

Wells Fargo Everyday Checking
October 7, 2022            Page 1 of 5




                                                                                                   Questions?
STEVEN R COLLINS                                                                                   Available by phone 24 hours a day, 7 days a week:
                                                                                                   We accept all relay calls, including 711
KRISTEN A PEARSON RP
2023 W SAINT ESTEPHE CT                                                                             1-800-TO-WELLS              (1-800-869-3557)

HAYDEN ID 83835-8436                                                                                En español: 1-877-727-2932



                                                                                                   Online: wellsfargo.com

                                                                                                   Write: Wells Fargo Bank, N.A. (113)
                                                                                                           P.O. Box 6995
                                                                                                           Portland, OR 97228-6995




 You and Wells Fargo                                                                               Account options
 Thank you for being a loyal Wells Fargo customer. We value your trust in our                      A check mark in the box indicates you have these
 company and look forward to continuing to serve you with your financial needs.                    convenient services with your account(s). Go to
                                                                                                   wellsfargo.com or call the number above if you have
                                                                                                   questions or if you would like to add new services.

                                                                                                   Online Banking               Direct Deposit          
                                                                                                   Online Bill Pay              Auto Transfer/Payment
                                                                                                   Online Statements            Overdraft Protection
                                                                                                   Mobile Banking               Debit Card
                                                                                                   My Spending Report           Overdraft Service




Other Wells Fargo Benefits

From Wells Fargo Home Mortgage

Is a home purchase in your future? Competitive rates and low down payment options make now a great time to buy a home. Plus, as a
Wells Fargo customer, you can count on personalized guidance and streamlined service every step of the way.

Get started with an online mortgage application that can pre-fill your Wells Fargo account information and save you time. Use your
                   ®
Wells Fargo Online username and password at the start of the application. Go to wellsfargo.com/homepurchase or contact your local
home mortgage consultant.




     (113)
     Sheet Seq = 0012595
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 307 of 393 Page ID #:307
October 7, 2022           Page 2 of 5




Statement period activity summary                                                                              Account number: 9864331971

         Beginning balance on 9/9                                                       $336.97                STEVEN R COLLINS
                                                                                                               KRISTEN A PEARSON RP
         Deposits/Additions                                                            6,078.40
         Withdrawals/Subtractions                                                    - 5,630.38                Idaho account terms and conditions apply
         Ending balance on 10/7                                                        $784.99                 For Direct Deposit use
                                                                                                               Routing Number (RTN): 124103799



Overdraft Protection
This account is not currently covered by Overdraft Protection. If you would like more information regarding Overdraft Protection and eligibility requirements
please call the number listed on your statement or visit your Wells Fargo branch.




Transaction history


                           Check                                                                                         Deposits/         Withdrawals/           Ending daily
       Date               Number Description                                                                             Additions         Subtractions               balance
       9/9                       Synchrony Bank Payment 220908 504662220727004                                                                    37.00                299.97
                                 Pearson,Kristen
       9/21                      Synchrony Bank Payment 220920 650159007523339                                                                      30.00                 269.97
                                 Pearson,Kristen
       9/30                      Vacp Treas 310 Xxva Benef 093022 xxxxx2312003600 Ref*48*VA                              4,328.40                                        4,598.37
                                 Compensation *09/01/22-09
       10/3                      SSA Treas 310 Xxsoc Sec 100322 xxxxx2312C1 SSA N1*Gd*Kristen                              275.00
                                 Pearson for \N1*Be*Sterling Col
       10/3                      SSA Treas 310 Xxsoc Sec 100322 xxxxx2312C2 SSA N1*Gd*Kristen                              275.00
                                 Pearson for \N1*Be*Holley Col
       10/3                      SSA Treas 310 Xxsoc Sec 100322 xxxxx2312A SSA N1*Gd*Kristen                             1,200.00
                                 Pearson for \N1*Be*Steven Col
       10/3                      Zelle to Pearson Kristen on 10/01 Ref #Rp0Qqj8Tyv                                                              1,000.00
       10/3                      Zelle to Pearson Kristen on 10/01 Ref #Rp0Qqj8T2K                                                              1,000.00
       10/3                      Zelle to Pearson Kristen on 10/01 Ref #Rp0Qqj8Wx6                                                              1,000.00                 3,348.37
       10/5                      Purchase authorized on 10/03 Apple Cash 1Infiniteloop CA                                                         200.00
                                 S382277039969050 Card 8149
       10/5                      Purchase authorized on 10/03 Apple Cash 1Infiniteloop CA                                                         163.38
                                 S462277188931437 Card 8149
       10/5                      Zelle to Pearson Kristen on 10/05 Ref #Rp0Qqr6Vjd                                                              1,200.00                 1,784.99
       10/6                      Zelle to Pearson Kristen on 10/06 Ref #Rp0Qqrshd7                                                              1,000.00                   784.99

       Ending balance on 10/7                                                                                                                                             784.99

       Totals                                                                                                          $6,078.40              $5,630.38

       The Ending Daily Balance does not reflect any pending withdrawals or holds on deposited funds that may have been outstanding on your account when your
       transactions posted. If you had insufficient available funds when a transaction posted, fees may have been assessed.




 Summary of Overdraft and Returned Item Fees

                                                                                                      Total this statement period                       Total year-to-date
         Total Overdraft Fees                                                                                               $0.00                                 $140.00
         Total Returned Item Fees                                                                                           $0.00                                   $0.00

         Year-to-date totals reflect fees assessed or reversed since the first full statement period of the calendar year. Negative values indicate that fee reversals
         exceed fees assessed.
  Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 308 of 393 Page ID #:308
October 7, 2022             Page 3 of 5




Monthly service fee summary

For a complete list of fees and detailed account information, see the disclosures applicable to your account or talk to a banker. Go to wellsfargo.com/feefaq for
a link to these documents, and answers to common monthly service fee questions.


       Fee period 09/09/2022 - 10/07/2022                                                   Standard monthly service fee $10.00                    You paid $0.00

       How to avoid the monthly service fee                                                                    Minimum required                    This fee period
       Have any ONE of the following account requirements
         · Minimum daily balance                                                                                          $500.00                         $269.97
          · Total amount of qualifying direct deposits                                                                    $500.00                       $6,078.40 
          · Age of primary account owner                                                                                    17 - 24
          · The fee is waived when the account is linked to a Wells Fargo Campus ATM or
            Campus Debit Card
       RC/RC




         IMPORTANT ACCOUNT INFORMATION

In consideration of the global COVID-19 pandemic, Wells Fargo temporarily paused exercising its right to setoff as otherwise allowable
under your Deposit Account Agreement. Effective on or after January 1, 2023, Wells Fargo will resume exercising its right to setoff for
overdrawn deposit account balances, where applicable. When we exercise this right, we may reduce funds in any account you hold
with us for purposes of paying the amount of the debt, either due or past due, that is owed to us as allowed by the laws governing
your account. Our right of setoff won't apply if it would invalidate the tax-deferred status of any tax-deferred retirement account (e.g.,
a SEP or an IRA) you keep with us. To review a copy of your Deposit Account Agreement, including the provisions related to the right of
setoff, please visit wellsfargo.com/online-banking/consumer-account-fees/.




Now with Early Pay Day, you can get paid earlier when you have Direct Deposit.

Effective September 19, 2022, the following information will be incorporated into the "Depositing Funds" section of your
Deposit Account Agreement. (NOTE: As the bank launches Early Pay Day, the service may not be immediately available in all
areas or for all accounts. Monitor your account activity after September 19th to determine whether any of your eligible direct
deposits have been made available early. Until Early Pay Day is available for your account, and subject to the disclosures
below, you should expect to receive your direct deposits on your normally scheduled pay dates.)

Early Pay Day (Consumer accounts only)
For certain eligible direct deposits, we may make funds available for your use up to two days before we receive the funds from your
payor. When funds are made available early, they will be reflected in your account's available balance. Whether we make funds
available early depends on (1) when we receive the payor's payment instructions, (2) any limitations we set on the amount and
frequency of early availability, and (3) standard fraud prevention screening. The criteria we use for making funds available early is
determined in our sole discretion, based on confidential criteria necessary for maintaining the security of your account and our
payment services, and is subject to change without notice.

Not all direct deposits are eligible for Early Pay Day. Eligible direct deposits are limited to electronic direct deposits such as your payroll,
pension, and government benefit payments. Items such as deposits of funds from person-to-person payments services (e.g., Zelle,
Venmo, or PayPal transfers) and other online transfers are not eligible for Early Pay Day. The Bank does not guarantee that any direct
deposits will be made available before the date scheduled by the payor, and early availability of funds may vary between direct
deposits from the same payor. For interest-bearing accounts, interest on your incoming direct deposit will begin accruing on the
business day we receive credit for the deposit from your payor's bank. Direct deposits made available early with Early Pay Day will not
count towards applicable options to avoid your account's monthly service fee until the deposit posts to your account and is no longer
pending (e.g., the pay date scheduled by your payor). Except as expressly set forth herein, funds made available early are subject to the
same terms and conditions as other deposits to your account.




      Sheet Seq = 0012596
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 309 of 393 Page ID #:309




               LAW OFFICE OF KRISTEN PEARSON
               Date: NOVEMBER 3, 2022



               Profit&Loss Statement
                                                                       2022         2021
                                                                current year   prior year

                Revenue

                LEGAL REPRESENTATION SERVICES                    $15,374.49    $9,946.00
                Total Revenue & Gains                            $15,374.49    $9,946.00


                Expenses
                Advertising                                           $0.00       $0.00
                Delivery/Freight Expense                                  -           -
                Depriciation                                          $0.00       $0.00
                Insurance                                           $515.00        $0.00
                Interest                                                  -        $0.00
                Office Supplies                                    $260.00        $32.00
                Rent/Lease                                            $0.00        $0.00
                Maintenance and Repairs                              $79.00        $0.00
                Travel                                             $675.00       $258.00
                Wages                                                 $0.00        $0.00
                Utilities/Telephone Expenses                       $550.00      $600.00
                Other Expenses                                     $100.00       $549.00
                Total Expenses                                    $2,179.00    $1,439.00
                Income before tax                                 $13,195.49   $8,507.00
                Income tax expense                                 $1,864.39     $823.00



               Net Profit (Loss)                                  $11,331.10   $7,684.00

                                      Open an international business account
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 310 of 393 Page ID #:310



                             DEPARTMENT OF VETERANS AFFAIRS




November 03, 2022

Steven Russell Collins                                                                      In Reply Refer to:
2023 W Saint Estephe Ct                                                                     xxx-xx-2312
Hayden, ID 83835                                                                            27/eBenefits



Dear Mr. Collins:


This letter certifies that Steven Russell Collins is receiving service-connected disability compensation from the
Department of Veterans Affairs.


The current benefit paid is as follows:



 Gross Benefit Amount             $4,328.40

 Net Amount Paid                  $4,328.40

 Effective Date                   December 1, 2021

 Combined Evaluation              100 percent




How You Can Contact Us

    •   If you need general information about benefits and eligibility, please visit us at https://www.ebenefits.va.gov
        or http://www.va.gov.

    •   Call us at 1-800-827-1000. If you use a Telecommunications Device for the Deaf (TDD), the number is 1-
        800-829-4833.

    •   Ask a question on the Internet at https://www.va.gov/contact-us.

Sincerely Yours,

Regional Office Director
        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 311 of 393 Page ID #:311
Bank of America | Online Banking | Deposit | Account Activity                        11/3/22, 2:19 PM




                                                            Online Banking




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https://secure.bankofamerica.com/deposit-details/activity/request…0a51b5b7dda411d424573960&source=overview&returnSiteIndicator=GAIMW   Page 1 of 14
        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 312 of 393 Page ID #:312
Bank of America | Online Banking | Deposit | Account Activity                        11/3/22, 2:19 PM




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        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 313 of 393 Page ID #:313
Bank of America | Online Banking | Deposit | Account Activity                        11/3/22, 2:19 PM




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Bank of America | Online Banking | Deposit | Account Activity                        11/3/22, 2:19 PM



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Bank of America | Online Banking | Deposit | Account Activity                        11/3/22, 2:19 PM



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        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 316 of 393 Page ID #:316
Bank of America | Online Banking | Deposit | Account Activity                        11/3/22, 2:19 PM



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        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 317 of 393 Page ID #:317
Bank of America | Online Banking | Deposit | Account Activity                        11/3/22, 2:19 PM



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        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 318 of 393 Page ID #:318
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 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 324 of 393 Page ID #:324




Kristen’s 2019 Tax Packet

Audit Defense Policy

Federal Tax Return

State Tax Return



                                                                                Kristen Pearson
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 325 of 393 Page ID #:325




   Audit Defense Policy
   Defense code: CLGS-U2RQ-2019
   Thanks for filing with Credit Karma Tax! We hope you won't need these
   instructions. But if you do get audited on your ũũũũũũũũũũũũreturn,
                                                    2019               we've partnered
   with the pros at Tax Protection Plus to help you through it – all for free! Here’s
   what you’ll need:


   Instructions
      Ĥļ Call Tax Protection Plus toll-free at 877-579-5602.
            • Make the call within 30 days of hearing from the IRS or the state.
            • If you’d prefer to have them call you, send an email to:
                cases@taxprotectionplus.com.
            • Make the subject line: Audit Defense Redemption.
            • Include your name, phone number, and the best time to reach you
                (within their business hours).
      ĥļ You’ll have to provide some personal info to get started, as well as:
            • Your Defense code: CLGS-U2RQ-2019
            • The tax return year: 2019
            • Whether it’s a federal (IRS) or state audit
      Ħļ You’ll get an email with a secure link to upload your tax return and the audit
         notice you received.



   Policy Details
   Your Audit Defense expires one year after the 2019  ũũũũũtax deadline or your e-file date
   (whichever is later). If you’re not sure when you e-filed, you can find the date on
   your Credit Karma Tax dashboard.

   Your Tax Year 2018 audit defense (Code = CA2M-CW4Q) has been extended until 04/15/2021.


   For more details about Audit Defense, visit
   httpÙ://www.creditkarma.com/tax/programterms#3.




                                                                                               Kristen Pearson
        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 326 of 393 Page ID #:326

        1040 U.S. Individual Income Tax Return 2019
 Form                      Department of the Treasury—Internal Revenue Service                 (99)
                                                                                                                                     OMB No. 1545-0074              IRS Use Only—Do not write or staple in this space.

 Filing Status                  Single         Married filing jointly           Married filing separately (MFS)                    Head of household (HOH)                   Qualifying widow(er) (QW)
 Check only               If you checked the MFS box, enter the name of spouse. If you checked the HOH or QW box, enter the child’s name if the qualifying person is
 one box.
                          a child but not your dependent. a
   Your first name and middle initial                                             Last name                                                                                              Your social security number
   KRISTEN                                                                        PEARSON                                                                                                                                        7
   If joint return, spouse’s first name and middle initial                        Last name                                                                                              Spouse’s social security number
   STEVEN R                                                                       COLLINS
   Home address (number and street). If you have a P.O. box, see instructions.                                                                                   Apt. no.                 Presidential Election Campaign
  2023 W SAINT ESTEPHE CT                                                                                                                                                                Check here if you, or your spouse if filing
                                                                                                                                                                                         jointly, want $3 to go to this fund.
   City, town or post office, state, and ZIP code. If you have a foreign address, also complete spaces below (see instructions).                                                         Checking a box below will not change your
   HAYDEN, ID 83835                                                                                                                                                                      tax or refund.         You        Spouse
   Foreign country name                                                                    Foreign province/state/county                                 Foreign postal code              If more than four dependents,
                                                                                                                                                                                          see instructions and  here a

 Standard                 Someone can claim:              You as a dependent                   Your spouse as a dependent
 Deduction                      Spouse itemizes on a separate return or you were a dual-status alien

 Age/Blindness            You:           Were born before January 2, 1955                 Are blind            Spouse:              Was born before January 2, 1955                           Is blind
 Dependents (see instructions):                                                       (2) Social security number               (3) Relationship to you                     (4)  if qualifies for (see instructions):
   (1) First name                                    Last name                                                                                                          Child tax credit          Credit for other dependents
   TOBIAS S COLLINS                                                                                       9 4 3 1            SON                                              

   VAUGHN COLLINS                                                                                         2 1 6 9            SON                                              

   STERLING COLLINS                                                                                       8 4 9 2            SON                                              

   HOLLEY COLLINS                                                                                         8 6 4 4            DAUGHTER                                         

                           1      Wages, salaries, tips, etc. Attach Form(s) W-2 .              .     .    .     .   .   .      .     .   .   .    .     .   .      .     .    .     .           1                        30227
                           2a     Tax-exempt interest .       .    .     .       2a                                          b Taxable interest. Attach Sch. B if required                      2b
                           3a     Qualified dividends .       .    .     .       3a                                          b Ordinary dividends. Attach Sch. B if required                    3b
Standard
Deduction for—             4a     IRA distributions .     .   .    .     .       4a                                          b Taxable amount            .   .      .     .    .     .          4b
• Single or Married
  filing separately,
                            c     Pensions and annuities .         .     .       4c                                          d Taxable amount            .   .      .     .    .     .          4d
  $12,200                  5a     Social security benefits .       .     .       5a                        13212             b Taxable amount            .   .      .     .    .     .          5b                          3548
• Married filing
                           6      Capital gain or (loss). Attach Schedule D if required. If not required, check here                      .   .    .     .   .      .     .   a                  6
  jointly or Qualifying
  widow(er),               7a     Other income from Schedule 1, line 9           .    .    .    .     .    .     .   .   .      .     .   .   .    .     .   .      .     .    .     .          7a                          2263
  $24,400
• Head of                   b     Add lines 1, 2b, 3b, 4b, 4d, 5b, 6, and 7a. This is your total income                  .      .     .   .   .    .     .   .      .     .    .    a           7b                        36038
  household,                                                                                                                                                                                                                453
  $18,350
                           8a     Adjustments to income from Schedule 1, line 22                .     .    .     .   .   .      .     .   .   .    .     .   .      .     .    .     .          8a
• If you checked            b     Subtract line 8a from line 7b. This is your adjusted gross income                      .      .     .   .   .    .     .   .      .     .    .    a           8b                        35585
  any box under                                                                                                                                                                    24400
  Standard                 9      Standard deduction or itemized deductions (from Schedule A) .                          .      .     .   .        9
  Deduction,              10      Qualified business income deduction. Attach Form 8995 or Form 8995-A .                              .   .       10
  see instructions.
                          11a     Add lines 9 and 10 .        .    .     .   .   .    .    .    .     .    .     .   .   .      .     .   .   .    .     .   .      .     .    .     .          11a                       24400
                            b     Taxable income. Subtract line 11a from line 8b. If zero or less, enter -0-                    .     .   .   .    .     .   .      .     .    .     .         11b                        11185
 For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions.                                                           Cat. No. 11320B                                       Form 1040 (2019)
     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 327 of 393 Page ID #:327
 Form 1040 (2019)                                                                                                                                                                                                                Page 2
                      12a      Tax (see inst.) Check if any from Form(s): 1                8814 2                   4972 3                                          12a                      1118
                          b    Add Schedule 2, line 3, and line 12a and enter the total                         .        .   .     .     .   .     .           .    .      .   .     .   .     .    a     12b                     1118
                      13a      Child tax credit or credit for other dependents .                .       .       .        .   .     .     .   .     .                13a                             128
                          b    Add Schedule 3, line 7, and line 13a and enter the total                         .        .   .     .     .   .     .           .    .      .   .     .   .     .    a     13b                     1118
                      14       Subtract line 13b from line 12b. If zero or less, enter -0-                      .        .   .     .     .   .     .           .    .      .   .     .   .     .     .     14
                      15       Other taxes, including self-employment tax, from Schedule 2, line 10 .                                    .   .     .           .    .      .   .     .   .     .     .     15
                      16       Add lines 14 and 15. This is your total tax .                .   .       .       .        .   .     .     .   .     .           .    .      .   .     .   .     .    a      16
                      17       Federal income tax withheld from Forms W-2 and 1099                              .        .   .     .     .   .     .           .    .      .   .     .   .     .     .     17                        787

• If you have a
                      18       Other payments and refundable credits:
  qualifying child,       a    Earned income credit (EIC) .            .       .   .   .    .   .       .       .        .   .     .     .   .     .                18a                            4291
  attach Sch. EIC.
• If you have             b    Additional child tax credit. Attach Schedule 8812                .       .       .        .   .     .     .   .     .                18b                            4045
  nontaxable              c    American opportunity credit from Form 8863, line 8                       .       .        .   .     .     .   .     .                18c
  combat pay, see
  instructions.           d    Schedule 3, line 14 .       .   .       .       .   .   .    .   .       .       .        .   .     .     .   .     .                18d                             386
                          e    Add lines 18a through 18d. These are your total other payments and refundable credits                                                       .   .     .   .     .    a     18e                     8722
                      19       Add lines 17 and 18e. These are your total payments .                            .        .   .     .     .   .     .           .    .      .   .     .   .     .    a      19                     9509
                      20       If line 19 is more than line 16, subtract line 16 from line 19. This is the amount you overpaid .                                               .     .   .     .     .     20                     9509
 Refund
                      21a      Amount of line 20 you want refunded to you. If Form 8888 is attached, check here                                                .    .      .   .     .   .     a          21a                     9509
 Direct deposit?      a b      Routing number         1    2       1       0       0   0    3       5       8                          a c Type:                  Checking                  Savings
 See instructions.
                      a d      Account number                                                                        8
                      22       Amount of line 20 you want applied to your 2020 estimated tax .                                     .     .   .         a            22
 Amount               23       Amount you owe. Subtract line 19 from line 16. For details on how to pay, see instructions                                                  .   .     .   .     .    a      23
 You Owe              24       Estimated tax penalty (see instructions) .              .    .   .       .       .        .   .     .     .   .         a            24
 Third Party              Do you want to allow another person (other than your paid preparer) to discuss this return with the IRS? See instructions.                                                            Yes. Complete below.
 Designee                                                                                                                                                                                                       No
 (Other than               Designee’s                                                                       Phone                                                                  Personal identification
 paid preparer)            name a                                                                           no. a                                                                  number (PIN)          a

 Sign                     Under penalties of perjury, I declare that I have examined this return and accompanying schedules and statements, and to the best of my knowledge and belief, they are true,
                          correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
 Here                      Your signature                                                       Date                             Your occupation                                                   If the IRS sent you an Identity
                                                                                                                                                                                                   Protection PIN, enter it here
                      F




 Joint return?
                                                                                                                                 ASSISTANT                                                         (see inst.)
 See instructions.         Spouse’s signature. If a joint return, both must sign.               Date                             Spouse’s occupation                                               If the IRS sent your spouse an
 Keep a copy for                                                                                                                                                                                   Identity Protection PIN, enter it here
 your records.                                                                                                                   OTHER                                                             (see inst.)

                           Phone no.                                                            Email address
                           Preparer’s name                                 Preparer’s signature                                                                     Date                      PTIN                Check if:
 Paid                                                                                                                                                                                                                 3rd Party Designee
 Preparer                  Firm’s name a                                                                                                                            Phone no.                                         Self-employed
 Use Only
                           Firm’s address a                                                                                                                                                        Firm’s EIN a
 Go to www.irs.gov/Form1040 for instructions and the latest information.                                                                                                                                              Form 1040 (2019)
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 328 of 393 Page ID #:328
SCHEDULE 1                                                                                                                            OMB No. 1545-0074
                                   Additional Income and Adjustments to Income
                                                                                                                                       2019
(Form 1040 or 1040-SR)
                                                       a Attach to Form 1040 or 1040-SR.
Department of the Treasury                                                                                                            Attachment
                                    a Go to www.irs.gov/Form1040 for instructions and the latest information.
Internal Revenue Service                                                                                                              Sequence No. 01
Name(s) shown on Form 1040 or 1040-SR                                                                                        Your social security number


At any time during 2019, did you receive, sell, send, exchange, or otherwise acquire any financial interest in any
virtual currency? . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                        Yes         No
 Part I        Additional Income
  1      Taxable refunds, credits, or offsets of state and local income taxes . . . . . . . .                .   .   .   .        1
  2a     Alimony received . . . . . . . . . . . . . . . . . . . . . . . .                                    .   .   .   .       2a
    b    Date of original divorce or separation agreement (see instructions) a
  3      Business income or (loss). Attach Schedule C . . . . . . . . . . . . . . .                          .   .   .   .        3                    -761
  4      Other gains or (losses). Attach Form 4797 . . . . . . . . . . . . . . . .                           .   .   .   .        4
  5      Rental real estate, royalties, partnerships, S corporations, trusts, etc. Attach Schedule E .       .   .   .   .        5
  6      Farm income or (loss). Attach Schedule F . . . . . . . . . . . . . . . .                            .   .   .   .        6
  7      Unemployment compensation . . . . . . . . . . . . . . . . . . . .                                   .   .   .   .        7                    3024
  8      Other income. List type and amount a
                                                                                                                                  8
  9      Combine lines 1 through 8. Enter here and on Form 1040 or 1040-SR, line 7a          .   .   .   .   .   .   .   .        9                    2263
 Part II       Adjustments to Income
 10   Educator expenses       . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              10
 11   Certain business expenses of reservists, performing artists, and fee-basis government officials. Attach
      Form 2106 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      11
 12   Health savings account deduction. Attach Form 8889 . . . . . . . . . . . . . . . .                                         12
 13   Moving expenses for members of the Armed Forces. Attach Form 3903 . . . . . . . . . .                                      13
 14   Deductible part of self-employment tax. Attach Schedule SE . . . . . . . . . . . . . .                                     14
 15   Self-employed SEP, SIMPLE, and qualified plans . . . . . . . . . . . . . . . . . .                                         15
 16   Self-employed health insurance deduction . . . . . . . . . . . . . . . . . . . .                                           16
 17   Penalty on early withdrawal of savings . . . . . . . . . . . . . . . . . . . . .                                           17
 18a Alimony paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   18a
    b Recipient’s SSN      . . . . . . . . . . . . . . . . . . . . . a
    c Date of original divorce or separation agreement (see instructions) a
 19   IRA deduction . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    19
 20   Student loan interest deduction . . . . . . . . . . . . . . . . . . . . . . .                                              20                     453
 21   7XLWLRQDQGIHHV$WWDFK)RUP . . . . . . . . . . . . . . . . . . . . . .                      21
 22   Add lines 10 through 21. These are your adjustments to income. Enter here and on Form 1040 or
      1040-SR, line 8a . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   22                     453
For Paperwork Reduction Act Notice, see your tax return instructions.             Cat. No. 71479F                Schedule 1 (Form 1040 or 1040-SR) 2019
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 329 of 393 Page ID #:329
SCHEDULE 3                                                                                                                              OMB No. 1545-0074
                                             Additional Credits and Payments
                                                                                                                                         2019
(Form 1040 or 1040-SR)
                                                       a Attach to Form 1040 or 1040-SR.
Department of the Treasury                                                                                                              Attachment
                                    a Go to www.irs.gov/Form1040 for instructions and the latest information.
Internal Revenue Service                                                                                                                Sequence No. 03
Name(s) shown on Form 1040 or 1040-SR                                                                                          Your social security number


 Part I        Nonrefundable Credits
  1      Foreign tax credit. Attach Form 1116 if required . . . . . . . . . . . .                      .   .   .   .   .   .        1
  2      Credit for child and dependent care expenses. Attach Form 2441 . . . . . .                    .   .   .   .   .   .        2               990
  3      Education credits from Form 8863, line 19 . . . . . . . . . . . . . .                         .   .   .   .   .   .        3
  4      Retirement savings contributions credit. Attach Form 8880 . . . . . . . .                     .   .   .   .   .   .        4
  5      Residential energy credit. Attach Form 5695 . . . . . . . . . . . . .                         .   .   .   .   .   .        5
  6      Other credits from Form: a       3800       b    8801    c                                                                 6
  7      Add lines 1 through 6. Enter here and include on Form 1040 or 1040-SR, line 13b .             .   .   .   .   .   .        7               990
 Part II       Other Payments and Refundable Credits
  8      2019 estimated tax payments and amount applied from 2018 return . .               .   .   .   .   .   .   .   .   .        8
  9      Net premium tax credit. Attach Form 8962 . . . . . . . . . . .                    .   .   .   .   .   .   .   .   .        9               386
 10      Amount paid with request for extension to file (see instructions) . . . .         .   .   .   .   .   .   .   .   .       10
 11      Excess social security and tier 1 RRTA tax withheld . . . . . . . .               .   .   .   .   .   .   .   .   .       11
 12      Credit for federal tax on fuels. Attach Form 4136 . . . . . . . . .               .   .   .   .   .   .   .   .   .       12
 13      Credits from Form: a         2439       b    Reserved      c     8885   d                                                 13
 14      Add lines 8 through 13. Enter here and on Form 1040 or 1040-SR, line 18d          .   .   .   .   .   .   .   .   .       14               386
For Paperwork Reduction Act Notice, see your tax return instructions.             Cat. No. 71480G                  Schedule 3 (Form 1040 or 1040-SR) 2019
     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 330 of 393 Page ID #:330

Form     8396                                                       Mortgage Interest Credit                                                                      OMB No. 1545-0074


                                                                                                                                                                    2019
                                                     (For Holders of Qualified Mortgage Credit Certificates Issued by
                                                             State or Local Governmental Units or Agencies)
                                                          a Go to www.irs.gov/Form8396 for the latest information.
Department of the Treasury                                                                                                                                        Attachment
Internal Revenue Service (99)                                      a Attach to Form 1040, 1040-SR, or 1040-NR.                                                    Sequence No. 138

Name(s) shown on your tax return                                                                                                                     Your social security number
KRISTEN PEARSON



Na                 Mortgage Credit Certificate                              Mortgage Credit Certificate Number                                       Issue date
IDAHO HOUSING AND FINANCE                                                                               2015001273                                                10/13/2015
Before you begin Part I, figure the amounts of any of the following credits you are claiming: credit for the elderly or the disabled,
alternative motor vehicle credit, and qualified plug-in electric drive motor vehicle credit.

 Part I          Current Year Mortgage Interest Credit


     1   Interest paid on the certified indebtedness amount. If someone else (other than your spouse if filing
         jointly) also held an interest in the home, enter only your share of the interest paid . . . . . . .                                                1                  9008

     2   Enter the certificate credit rate shown on your Mortgage Credit Certificate. Do not enter the interest
         rate on your home mortgage . . . . . . . . . . . . . . . . . . . . . . . .                                                                          2                 0.25 %

     3   If line 2 is 20% or less, multiply line 1 by line 2. If line 2 is more than 20%, or you refinanced your
         mortgage and received a reissued certificate, see the instructions for the amount to enter . . . .                                                  3                  2000
         You must reduce your deduction for home mortgage interest on Schedule A (Form 1040 or
         1040-SR) by the amount on line 3.

     4   Enter any 2016 credit carryforward from line 16 of your 2018 Form 8396 .                                    .   .   .   .   .   .   .   .   .       4

     5   Enter any 2017 credit carryforward from line 14 of your 2018 Form 8396 .                                    .   .   .   .   .   .   .   .   .       5

     6   Enter any 2018 credit carryforward from line 17 of your 2018 Form 8396 .                                    .   .   .   .   .   .   .   .   .       6                     674

     7   Add lines 3 through 6 .           .     .    .    .   .    .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .   .   .       7                  2674

     8   Limitation based on tax liability. Enter the amount from the Credit Limit Worksheet. See instructions .                                             8

     9   Current year mortgage interest credit. Enter the smaller of line 7 or line 8. Also include this amount
         in the total on Schedule 3 (Form 1040 or 1040-SR), line 6, or Form 1040-NR, line 51. Check box c on
         that line and enter “8396” in the space next to that box . . . . . . . . . . . . . . . .                                                            9
 Part II         Mortgage Interest Credit Carryforward to 2020 (Complete only if line 9 is less than line 7.)


 10      Add lines 3 and 4         .   .   .     .    .    .   .    .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .   .   .      10                   2000

 11      Enter the amount from line 7 .               .    .   .    .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .   .   .      11                   2674

 12      Enter the larger of line 9 or line 10 .               .    .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .   .   .      12                   2000

 13      Subtract line 12 from line 11 .              .    .   .    .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .   .   .      13                     674

 14      2018 credit carryforward to 2020. Enter the smaller of line 6 or line 13 .                                  .   .   .   .   .   .   .   .   .      14                     674

 15      Subtract line 14 from line 13 .              .    .   .    .   .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .   .   .      15

 16      2017 credit carryforward to 2020. Enter the smaller of line 5 or line 15 .                                  .   .   .   .   .   .   .   .   .      16

 17      2019 credit carryforward to 2020. Subtract line 9 from line 3. If zero or less, enter -0-                                   .   .   .   .   .      17                   2000
For Paperwork Reduction Act Notice, see your tax return instructions.                                                    Cat. No. 62502X                             Form 8396 (2019)
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 331 of 393 Page ID #:331

Form      8962                                                  Premium Tax Credit (PTC)
                                                                                                                                                                      OMB No. 1545-0074


                                                                                                                                                                       2019
                                                                a Attach to Form 1040, 1040-SR, or 1040-NR.
Department of the Treasury                                                                                                                                             Attachment
Internal Revenue Service                    a Go to www.irs.gov/Form8962 for instructions and the latest information.                                                  Sequence No. 73
Name shown on your return                                                                                                    Your social security number

          KRISTEN PEARSON
 You cannot take the PTC if your filing status is married filing separately unless you qualify for an exception (see instructions). If you qualify, check the box             .   .    a


 Part I           Annual and Monthly Contribution Amount
  1        Tax family size. Enter your tax family size (see instructions) .             .   .   .    .    .    .    .   .    .   . .       .   .   .   . .       1     6
  2a       Modified AGI. Enter your modified AGI (see instructions) .                   .   .   .    .    .    .    .   .        2a                     45249
      b    Enter the total of your dependents’ modified AGI (see instructions) . . .                           .    .   .        2b
  3        Household income. Add the amounts on lines 2a and 2b (see instructions) .                           .    .   .    .   . .       .   .   .   .   .     3                     45249
  4        Federal poverty line. Enter the federal poverty line amount from Table 1-1, 1-2, or 1-3 (see instructions). Check the
           appropriate box for the federal poverty table used. a       Alaska      b   Hawaii    c  Other 48 states and DC                                      4                     33740
  5        Household income as a percentage of federal poverty line (see instructions)  . . . . . . . . . . . .                                                  5                    134 %
  6        Did you enter 401% on line 5? (See instructions if you entered less than 100%.)
              No. Continue to line 7.
               Yes. You are not eligible to take the PTC. If advance payment of the PTC was made, see the instructions for
               how to report your excess advance PTC repayment amount.
  7        Applicable Figure. Using your line 5 percentage, locate your “applicable figure” on the table in the instructions                           .   .     7                    0.0317
  8a       Annual contribution amount. Multiply line 3 by                                       b Monthly contribution amount. Divide line 8a
           line 7. Round to nearest whole dollar amount     8a                         1434       by 12. Round to nearest whole dollar amount                    8b                        120
 Part II          Premium Tax Credit Claim and Reconciliation of Advance Payment of Premium Tax Credit
  9        Are you allocating policy amounts with another taxpayer or do you want to use the alternative calculation for year of marriage (see instructions)?
               Yes. Skip to Part IV, Allocation of Policy Amounts, or Part V, Alternative Calculation for Year of Marriage.  No. Continue to line 10.
 10        See the instructions to determine if you can use line 11 or must complete lines 12 through 23.
               Yes. Continue to line 11. Compute your annual PTC. Then skip lines 12–23                                      No. Continue to lines 12–23. Compute
               and continue to line 24.                                                                                       your monthly PTC and continue to line 24.
                          (a) Annual enrollment    (b) Annual applicable              (c) Annual               (d) Annual maximum          (e) Annual premium tax       (f) Annual advance
        Annual                                       SLCSP premium                                              premium assistance
                            premiums (Form(s)                                    contribution amount                                            credit allowed       payment of PTC (Form(s)
      Calculation                                    (Form(s) 1095-A,                                         (subtract (c) from (b), if
                             1095-A, line 33A)                                         (line 8a)                                             (smaller of (a) or (d))     1095-A, line 33C)
                                                         line 33B)                                            zero or less, enter -0-)

 11       Annual Totals
                                                                                   (c) Monthly
                          (a) Monthly enrollment (b) Monthly applicable                                        (d) Monthly maximum                                    (f) Monthly advance
                                                                              contribution amount                                        (e) Monthly premium tax
       Monthly              premiums (Form(s)       SLCSP premium                                               premium assistance                                  payment of PTC (Form(s)
                                                                              (amount from line 8b                                             credit allowed
      Calculation          1095-A, lines 21–32, (Form(s) 1095-A, lines                                        (subtract (c) from (b), if                              1095-A, lines 21–32,
                                                                             or alternative marriage                                        (smaller of (a) or (d))
                                column A)           21–32, column B)                                          zero or less, enter -0-)                                     column C)
                                                                               monthly calculation)

 12        January
 13        February
 14        March
 15        April
 16        May
 17        June                             502                      486                            120                              366                       366                         416
 18        July                             502                      486                            120                              366                       366                         416
 19        August                           502                      486                            120                              366                       366                         416
 20        September                        502                      486                            120                              366                       366                         416
 21        October                          502                      486                            120                              366                       366                         416
 22        November                         502                      486                            120                              366                       366                          48
 23        December                         502                      486                            120                              366                       366                       48
 24        Total premium tax credit. Enter the amount from line 11(e) or add lines 12(e) through 23(e) and enter the total here                                  24                    2562
 25        Advance payment of PTC. Enter the amount from line 11(f) or add lines 12(f) through 23(f) and enter the total here                                    25                    2176

 26        Net premium tax credit. If line 24 is greater than line 25, subtract line 25 from line 24. Enter the difference here and
           on Schedule 3 (Form 1040 or 1040-SR), line 9, or Form 1040-NR, line 65. If line 24 equals line 25, enter -0-. Stop
           here. If line 25 is greater than line 24, leave this line blank and continue to line 27 . . . . . . . . . .                                           26                        386
Part III          Repayment of Excess Advance Payment of the Premium Tax Credit
 27        Excess advance payment of PTC. If line 25 is greater than line 24, subtract line 24 from line 25. Enter the difference here                           27
 28        Repayment limitation (see instructions)          .    .   .   .   .     .    .   .   .    .    .    .    .   .    .   .     .   .   .   .   .   .     28
 29    Excess advance premium tax credit repayment. Enter the smaller of line 27 or line 28 here and on Schedule 2
       (Form 1040 or 1040-SR), line 2, or Form 1040-NR, line 44 . . . . . . . . . . . . . . . . .                                                                29
For Paperwork Reduction Act Notice, see your tax return instructions.                     Cat. No. 37784Z                                                                  Form 8962 (2019)
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 332 of 393 Page ID #:332
Form 8962 (2019)                                                                                                                                       Page 2

Part IV       Allocation of Policy Amounts
Complete the following information for up to four policy amount allocations. See instructions for allocation details.
Allocation 1
 30     (a) Policy Number (Form 1095-A, line 2)       (b) SSN of other taxpayer                 (c) Allocation start month      (d) Allocation stop month


        Allocation percentage                                                                                             (g) Advance Payment of the PTC
                                             (e) Premium Percentage                     (f) SLCSP Percentage
        applied to monthly                                                                                                          Percentage
        amounts

Allocation 2
 31     (a) Policy Number (Form 1095-A, line 2)       (b) SSN of other taxpayer                 (c) Allocation start month      (d) Allocation stop month


        Allocation percentage                                                                                             (g) Advance Payment of the PTC
                                             (e) Premium Percentage                     (f) SLCSP Percentage
        applied to monthly                                                                                                          Percentage
        amounts

Allocation 3
 32     (a) Policy Number (Form 1095-A, line 2)       (b) SSN of other taxpayer                 (c) Allocation start month      (d) Allocation stop month



        Allocation percentage                                                                                             (g) Advance Payment of the PTC
                                             (e) Premium Percentage                     (f) SLCSP Percentage
        applied to monthly                                                                                                          Percentage
        amounts

Allocation 4
 33     (a) Policy Number (Form 1095-A, line 2)       (b) SSN of other taxpayer                 (c) Allocation start month      (d) Allocation stop month



        Allocation percentage                                                                                             (g) Advance Payment of the PTC
                                             (e) Premium Percentage                     (f) SLCSP Percentage
        applied to monthly                                                                                                          Percentage
        amounts

 34     Have you completed all policy amount allocations?
             Yes. Multiply the amounts on Form 1095-A by the allocation percentages entered by policy. Add all allocated policy amounts and non-
        allocated policy amounts from Forms 1095-A, if any, to compute a combined total for each month. Enter the combined total for each month on
        lines 12–23, columns (a), (b), and (f). Compute the amounts for lines 12–23, columns (c)–(e), and continue to line 24.
            No. See the instructions to report additional policy amount allocations.


 Part V       Alternative Calculation for Year of Marriage
Complete line(s) 35 and/or 36 to elect the alternative calculation for year of marriage. For eligibility to make the election, see the instructions for line 9.
To complete line(s) 35 and/or 36 and compute the amounts for lines 12–23, see the instructions for this Part V.
                                (a) Alternative family size (b) Alternative monthly         (c) Alternative start month       (d) Alternative stop month
 35     Alternative entries                                 contribution amount
        for your SSN

                                (a) Alternative family size (b) Alternative monthly         (c) Alternative start month       (d) Alternative stop month
 36     Alternative entries                                 contribution amount
        for your spouse’s
        SSN
                                                                                                                                            Form 8962 (2019)
    Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 333 of 393 Page ID #:333

Form   3800                                                     General Business Credit                                                                       OMB No. 1545-0895


                                                                                                                                                                2019
                                        a Go to www.irs.gov/Form3800 for instructions and the latest information.
Department of the Treasury                                                                                                                                     Attachment
                                    a You must attach all pages of Form 3800, pages 1, 2, and 3, to your tax return.
Internal Revenue Service (99)                                                                                                                                  Sequence No. 22
Name(s) shown on return                                                                                                                       Identifying number
KRISTEN PEARSON
 Part I          Current Year Credit for Credits Not Allowed Against Tentative Minimum Tax (TMT)
                 (See instructions and complete Part(s) III before Parts I and II.)
   1     General business credit from line 2 of all Parts III with box A checked . . . . . . . . . . .                                                    1
   2     Passive activity credits from line 2 of all Parts III with box B checked . . .     2
   3     Enter the applicable passive activity credits allowed for 2019. See instructions . . . . . . . .                                                 3
   4     Carryforward of general business credit to 2019. Enter the amount from line 2 of Part III with box C
         checked. See instructions for statement to attach . . . . . . . . . . . . . . . . .                                                              4
   5     Carryback of general business credit from 2020. Enter the amount from line 2 of Part III with box D
         checked. See instructions . . . . . . . . . . . . . . . . . . . . . . . . .                                                                      5
   6     Add lines 1, 3, 4, and 5 . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     6
 Part II         Allowable Credit
   7     Regular tax before credits:




                                                                                                                                  }
         • Individuals. Enter the sum of the amounts from Form 1040 or 1040-SR, line 12a, and
           Schedule 2 (Form 1040 or 1040-SR), line 2, or the sum of the amounts from Form
           1040-NR, lines 42 and 44 . . . . . . . . . . . . . . . . . . . .
         • Corporations. Enter the amount from Form 1120, Schedule J, Part I, line 2; or the
            applicable line of your return . . . . . . . . . . . . . . . . . . .                                                              .    .      7                  1118
         • Estates and trusts. Enter the sum of the amounts from Form 1041, Schedule G,
            lines 1a and 1b; or the amount from the applicable line of your return . . . . .
   8     Alternative minimum tax:
         • Individuals. Enter the amount from Form 6251, line 11 . . . . . . . . . .
         • Corporations. Enter -0- . . . . . . . . . . . . . . . . . . . . .
         • Estates and trusts. Enter the amount from Schedule I (Form 1041), line 54 . . . .
                                                                                                                                      }       .    .      8



   9     Add lines 7 and 8      .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       .   .    .      9                  1118

 10a Foreign tax credit . . . . . . . . .                            .   .   .   .   .   .   .   .   .   .   .     10a
   b Certain allowable credits (see instructions) .                  .   .   .   .   .   .   .   .   .   .   .     10b                            4945
   c Add lines 10a and 10b . . . . . . .                             .   .   .   .   .   .   .   .   .   .   .   . . .        .   .       .   .    .     10c                 4945

 11      Net income tax. Subtract line 10c from line 9. If zero, skip lines 12 through 15 and enter -0- on line 16                                       11

 12      Net regular tax. Subtract line 10c from line 7. If zero or less, enter -0- .                    .   .       12

 13      Enter 25% (0.25) of the excess, if any, of line 12 over $25,000. See
         instructions . . . . . . . . . . . . . . . . . . . . . .                       13
 14      Tentative minimum tax:
         • Individuals. Enter the amount from Form 6251, line 9 . . . . . .
         • Corporations. Enter -0- . . . . . . . . . . . . . . . .
         • Estates and trusts. Enter the amount from Schedule I (Form 1041),
            line 52 . . . . . . . . . . . . . . . . . . . . .
                                                                                        14
                                                                                                             }
 15      Enter the greater of line 13 or line 14 . . . . . . . . . . . . . . . . . . . . . .                                                             15
 16      Subtract line 15 from line 11. If zero or less, enter -0- . . . . . . . . . . . . . . . .                                                       16
 17      Enter the smaller of line 6 or line 16 . . . . . . . . . . . . . . . . . . . . . .                                                              17
         C corporations: See the line 17 instructions if there has been an ownership change, acquisition, or
         reorganization.
For Paperwork Reduction Act Notice, see separate instructions.                                               Cat. No. 12392F                                      Form 3800 (2019)
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 334 of 393 Page ID #:334
Form 3800 (2019)                                                                                                                                                 Page 2
 Part II      Allowable Credit (continued)
Note: If you are not required to report any amounts on line 22 or 24 below, skip lines 18 through 25 and enter -0- on line 26.

 18     Multiply line 14 by 75% (0.75). See instructions              .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   18

 19     Enter the greater of line 13 or line 18 .         .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   19

 20     Subtract line 19 from line 11. If zero or less, enter -0-             .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   20

 21     Subtract line 17 from line 20. If zero or less, enter -0-             .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   21

 22     Combine the amounts from line 3 of all Parts III with box A, C, or D checked .                        .   .    .   .   .       .   .   .   22

 23     Passive activity credit from line 3 of all Parts III with box B checked                   .   .   .       23

 24     Enter the applicable passive activity credit allowed for 2019. See instructions                       .   .    .   .   .       .   .   .   24

 25     Add lines 22 and 24       .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   25

 26     Empowerment zone and renewal community employment credit allowed. Enter the smaller of line 21
        or line 25 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                   26

 27     Subtract line 13 from line 11. If zero or less, enter -0-             .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   27

 28     Add lines 17 and 26       .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   28

 29     Subtract line 28 from line 27. If zero or less, enter -0-             .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   29

 30     Enter the general business credit from line 5 of all Parts III with box A checked .                       .    .   .   .       .   .   .   30

 31     Reserved .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   31

 32     Passive activity credits from line 5 of all Parts III with box B checked                  .   .   .       32

 33     Enter the applicable passive activity credits allowed for 2019. See instructions .                        .    .   .   .       .   .   .   33

 34     Carryforward of business credit to 2019. Enter the amount from line 5 of Part III with box C checked
        and line 6 of Part III with box G checked. See instructions for statement to attach . . . . . . .                                          34

 35     Carryback of business credit from 2020. Enter the amount from line 5 of Part III with box D checked.
        See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                 35

 36     Add lines 30, 33, 34, and 35 .        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   36

 37     Enter the smaller of line 29 or line 36           .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   37

 38     Credit allowed for the current year. Add lines 28 and 37.
        Report the amount from line 38 (if smaller than the sum of Part I, line 6, and Part II, lines 25 and 36,
        see instructions) as indicated below or on the applicable line of your return.


                                                                                                                                   }
        • Individuals. Schedule 3 (Form 1040 or 1040-SR), line 6, or Form 1040-NR, line 51 . . .
        • Corporations. Form 1120, Schedule J, Part I, line 5c . . . . . . . . . . . .                     . .
        • Estates and trusts. Form 1041, Schedule G, line 2b . . . . . . . . . . . .                                                               38
                                                                                                                                                        Form 3800 (2019)
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 335 of 393 Page ID #:335
Form 3800 (2019)                                                                                                                                                Page 3
Name(s) shown on return                                                                                                      Identifying number
KRISTEN PEARSON
Part III      General Business Credits or Eligible Small Business Credits (see instructions)
Complete a separate Part III for each box checked below. See instructions.
A  General Business Credit From a Non-Passive Activity              E      Reserved
B      General Business Credit From a Passive Activity               F      Reserved
C      General Business Credit Carryforwards                         G      Eligible Small Business Credit Carryforwards
D      General Business Credit Carrybacks                            H      Reserved
I If you are filing more than one Part III with box A or B checked, complete and attach first an additional Part III combining amounts from
    all Parts III with box A or B checked. Check here if this is the consolidated Part III .   .   .   .   .    .    .   .   .   .   .   .    .   .     .   .   a

                                           (a) Description of credit                                                           (b)                        (c)
                                                                                                                     If claiming the credit            Enter the
Note: On any line where the credit is from more than one source, a separate Part III is needed for each              from a pass-through              appropriate
pass-through entity.                                                                                                  entity, enter the EIN             amount
  1a       Investment (Form 3468, Part II only) (attach Form 3468) . . . . . . . . .                           1a
   b       Reserved . . . . . . . . . . . . . . . . . . . . . . . .                                            1b
   c       Increasing research activities (Form 6765) . . . . . . . . . . . . .                                1c
   d       Low-income housing (Form 8586, Part I only) . . . . . . . . . . . .                                 1d
   e       Disabled access (Form 8826) (see instructions for limitation) . . . . . . .                         1e
   f       Renewable electricity, refined coal, and Indian coal production (Form 8835) . .                     1f
   g       Indian employment (Form 8845) . . . . . . . . . . . . . . . . .                                     1g
   h       Orphan drug (Form 8820) . . . . . . . . . . . . . . . . . . .                                       1h
   i       New markets (Form 8874) . . . . . . . . . . . . . . . . . . .                                       1i
   j       Small employer pension plan startup costs (Form 8881) (see instructions for limitation)             1j
   k       Employer-provided child care facilities and services (Form 8882) (see instructions
           for limitation) . . . . . . . . . . . . . . . . . . . . . . .                                        1k
    l      Biodiesel and renewable diesel fuels (attach Form 8864) . . . . . . . . .                            1l
    m      Low sulfur diesel fuel production (Form 8896) . . . . . . . . . . . .                               1m
    n      Distilled spirits (Form 8906) . . . . . . . . . . . . . . . . . .                                    1n
    o      Nonconventional source fuel (carryforward only) . . . . . . . . . . .                                1o
    p      Energy efficient home (Form 8908) . . . . . . . . . . . . . . . .                                    1p
    q      Energy efficient appliance (carryforward only) . . . . . . . . . . . .                               1q
    r      Alternative motor vehicle (Form 8910) . . . . . . . . . . . . . . .                                  1r
    s      Alternative fuel vehicle refueling property (Form 8911)     . . . . . . . . .                        1s
    t      Enhanced oil recovery credit (Form 8830) . . . . . . . . . . . . . .                                 1t
    u      Mine rescue team training (Form 8923) . . . . . . . . . . . . . .                                    1u
    v      Agricultural chemicals security (carryforward only) . . . . . . . . . . .                            1v
    w      Employer differential wage payments (Form 8932) . . . . . . . . . . .                               1w
    x      Carbon oxide sequestration (Form 8933) . . . . . . . . . . . . . .                                   1x
    y      Qualified plug-in electric drive motor vehicle (Form 8936) . . . . . . . .                           1y
    z      Qualified plug-in electric vehicle (carryforward only) . . . . . . . . . .                           1z
    aa     Employee retention (Form 5884-A) . . . . . . . . . . . . . . . .                                    1aa
    bb     General credits from an electing large partnership (carryforward only) . . . .                      1bb
    zz     Other. Oil and gas production from marginal wells (Form 8904) and certain other
           credits (see instructions) . . . . . . . . . . . . . . . . . . .                                    1zz
  2        Add lines 1a through 1zz and enter here and on the applicable line of Part I . .                     2
  3        Enter the amount from Form 8844 here and on the applicable line of Part II . .                       3
  4a       Investment (Form 3468, Part III) (attach Form 3468) . . . . . . . . . .                             4a
    b      Work opportunity (Form 5884) . . . . . . . . . . . . . . . . .                                      4b
    c      Biofuel producer (Form 6478)        . . . . . . . . . . . . . . . . .                               4c
    d      Low-income housing (Form 8586, Part II) . . . . . . . . . . . . . .                                 4d
    e      Renewable electricity, refined coal, and Indian coal production (Form 8835) . .                     4e
    f      Employer social security and Medicare taxes paid on certain employee tips (Form 8846)                4f
    g      Qualified railroad track maintenance (Form 8900) . . . . . . . . . . .                              4g
    h      Small employer health insurance premiums (Form 8941) . . . . . . . . .                              4h
    i      Increasing research activities (Form 6765) . . . . . . . . . . . . .                                 4i
    j      Employer credit for paid family and medical leave (Form 8994) . . . . . . .                          4j
    z      Other . . . . . . . . . . . . . . . . . . . . . . . . .                                             4z
  5        Add lines 4a through 4z and enter here and on the applicable line of Part II      . .                5
  6        Add lines 2, 3, and 5 and enter here and on the applicable line of Part II    . . .                  6
                                                                                                                                                  Form 3800 (2019)
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 336 of 393 Page ID #:336

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1HHGPRUHLQIRUPDWLRQRUIRUPV"9LVLW,56JRY                                                      ƖʹʿƖ
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 337 of 393 Page ID #:337
SCHEDULE EIC                                                 Earned Income Credit                                                                       OMB No. 1545-0074
(Form 1040 or 1040-SR)                                                                                                  1040  `
                                                                Qualifying Child Information
                                                                                                                                                         2019
                                                                                                                    .........
                                                                                                                    1040-SR
                           a Complete and attach to Form 1040 or 1040-SR only if you have a
Department of the Treasury      qualifying child.                                                                              EIC                      Attachment
Internal Revenue Service (99) a Go to www.irs.gov/ScheduleEIC for the latest information.                                                               Sequence No. 43
Name(s) shown on return                                                                                                                      Your social security number
    KRISTEN PEARSON                                                                                                                     5
                                         • See the instructions for Form 1040 or 1040-SR, line 18a, to make sure that (a) you can take the EIC, and (b)
Before you begin:                          you have a qualifying child.
                                         • Be sure the child’s name on line 1 and social security number (SSN) on line 2 agree with the child’s social security card.
                                           Otherwise, at the time we process your return, we may reduce or disallow your EIC. If the name or SSN on the child’s
                                           social security card is not correct, call the Social Security Administration at 1-800-772-1213.


F
!
CAUTION
            • You can't claim the EIC for a child who didn't live with you for more than half of the year.
            • If you take the EIC even though you are not eligible, you may not be allowed to take the credit for up to 10 years. See the instructions for details.
            • It will take us longer to process your return and issue your refund if you do not fill in all lines that apply for each qualifying child.

Qualifying Child Information                                       Child 1                                   Child 2                                  Child 3
1 Child’s name                                        First name                Last name       First name                Last name      First name               Last name

    If you have more than three qualifying
    children, you have to list only three to get
    the maximum credit.                             Tobias S Collins                           Vaughn Collins                           sterling Collins

2 Child’s SSN
    The child must have an SSN as defined in
    the instructions for Form 1040 or
    1040-SR, line 18a, unless the child was
    born and died in 2019. If your child was
    born and died in 2019 and did not have an
    SSN, enter “Died” on this line and attach a
    copy of the child’s birth certificate, death
    certificate, or hospital medical records
    showing a live birth.                                                                                                                                          8492

3 Child’s year of birth
                                                     Year        2         0     1      8      Year        2        0      1      6     Year        2         0    1      4
                                                     If born after 2000 and the child is       If born after 2000 and the child is      If born after 2000 and the child is
                                                     younger than you (or your spouse, if      younger than you (or your spouse, if     younger than you (or your spouse, if
                                                     filing jointly), skip lines 4a and 4b;    filing jointly), skip lines 4a and 4b;   filing jointly), skip lines 4a and 4b;
                                                     go to line 5.                             go to line 5.                            go to line 5.

4 a Was the child under age 24 at the end of
    2019, a student, and younger than you (or                Yes.                 No.                  Yes.                No.                  Yes.                No.
    your spouse, if filing jointly)?
                                                      Go to                 Go to line 4b.      Go to               Go to line 4b.       Go to                Go to line 4b.
                                                      line 5.                                   line 5.                                  line 5.

  b Was the child permanently and totally
    disabled during any part of 2019?                        Yes.                 No.                  Yes.                No.                  Yes.                No.
                                                      Go to               The child is not a    Go to           The child is not a       Go to            The child is not a
                                                      line 5.             qualifying child.     line 5.         qualifying child.        line 5.          qualifying child.

5 Child’s relationship to you
    (for example, son, daughter, grandchild,
    niece, nephew, eligible foster child, etc.)      SON                                       SON                                      SON

6 Number of months child lived
  with you in the United States
  during 2019

    • If the child lived with you for more than
    half of 2019 but less than 7 months,
    enter “7.”
    • If the child was born or died in 2019 and                      12                                        12                                        12
                                                                         months                                   months                                   months
    your home was the child’s home for more
    than half the time he or she was alive            Do not enter more than 12                Do not enter more than 12                Do not enter more than 12
    during 2019, enter “12.”                          months.                                  months.                                  months.
For Paperwork Reduction Act Notice, see your tax                                        Cat. No. 13339M                          Schedule EIC (Form 1040 or 1040-SR) 2019
return instructions.
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 338 of 393 Page ID #:338
Schedule EIC (Form 1040 or 1040-SR) 2019                                                                                                         Page 2

Purpose of Schedule
After you have figured your earned income credit                                   EIC rules, you will not be allowed to take the credit for 2
(EIC), use Schedule EIC to give the IRS information                                years even if you are otherwise eligible to do so. If you
about your qualifying child(ren).                                                  fraudulently take the EIC, you will not be allowed to take
                                                                                   the credit for 10 years. You may also have to pay
To figure the amount of your credit or to have the IRS
                                                                                   penalties.
figure it for you, see the instructions for Form 1040 or
1040-SR, line 18a.                                                                 Future developments. For the latest information about
                                                                                   developments related to Schedule EIC (Form 1040 or
Taking the EIC when not eligible. If you take the EIC
                                                                                   1040-SR) and its instructions, such as legislation enacted
even though you are not eligible and it is determined that
                                                                                   after they were published, go to www.irs.gov/
your error is due to reckless or intentional disregard of the
                                                                                   ScheduleEIC.
              You may also be able to take the additional child tax credit if your child was your dependent and under age 17 at the end of 2019.
  TIP         For more details, see the instructions for line 18b of Form 1040 or 1040-SR.


                                                           Qualifying Child
                                 A qualifying child for the EIC is a child who is your . . .
                      Son, daughter, stepchild, eligible foster child, brother, sister, stepbrother, stepsister, half brother, half sister, or
                                      a descendant of any of them (for example, your grandchild, niece, or nephew)

                                                                           AND
                                                                        H
                                                                        was . . .
                                 Under age 19 at the end of 2019 and younger than you (or your spouse, if filing jointly)
                                                                             or
                             Under age 24 at the end of 2019, a student, and younger than you (or your spouse, if filing jointly)
                                                                             or
                                                       Any age and permanently and totally disabled

                                                                           AND
                                                                        H
                                                            Who is not filing a joint return for 2019
                                                        or is filing a joint return for 2019 only to claim
                                                    a refund of withheld income tax or estimated tax paid

                                                                           AND
                                                                        H
                                                 Who lived with you in the United States for more than half
                                                                         of 2019.
                                                  You can't claim the EIC for a child who didn't live with
                                      F
                                      !
                                      CAUTION
                                                  you for more than half of the year, even if you paid most
                                                  of the child's living expenses. The IRS may ask you for
                                                  documents to show you lived with each qualifying child.
                                                  Documents you might want to keep for this purpose
                                                  include school and child care records and other records
                                                  that show your child's address.
                                                  If the child didn't live with you for more than half of the
                                           TIP    year because of a temporary absence, birth, death, or
                                                  kidnapping, see Exception to time lived with you in the
                                                  instructions for Form 1040 or 1040-SR, line 18a.

                                                  If the child was married or meets the conditions to be a
                                      F
                                      !
                                      CAUTION
                                                  qualifying child of another person (other than your
                                                  spouse, if filing a joint return), special rules apply. For
                                                  details, see Married child or Qualifying child of more
                                                  than one person in the instructions for Form 1040 or
                                                  1040-SR, line 18a.
    Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 339 of 393 Page ID #:339

        2441                     Child and Dependent Care Expenses                                                        1040
                                                                                                                                 `
                                                                                                                                                              OMB No. 1545-0074


                                                                                                                                                                2019
Form                                                                                                                      1040-SR
                                                                                                                      ..........
                                             a Attach to Form 1040, 1040-SR, or 1040-NR.                                  1040-NR

Department of the Treasury              a Go to www.irs.gov/Form2441 for instructions and the                                        2441                     Attachment
                                                                                                                                                              Sequence No. 21
Internal Revenue Service (99)                                latest information.
Name(s) shown on return                                                                                                                          Your social security number
KRISTEN PEARSON                                                                                                                                             559710977
You cannot claim a credit for child and dependent care expenses if your filing status is married filing separately unless you meet the
requirements listed in the instructions under “Married Persons Filing Separately.” If you meet these requirements, check this box.
 Part I          Persons or Organizations Who Provided the Care—You must complete this part.
                 (If you have more than two care providers, see the instructions.)
   1     (a) Care provider’s                                       (b) Address                                        (c) Identifying number                  (d) Amount paid
               name                             (number, street, apt. no., city, state, and ZIP code)                      (SSN or EIN)                       (see instructions)
little folks                           1165 ironwood drive
                                                                                                                               820348920                           8668.00
                                       Coeur D Alene, ID 83814



                              Did you receive                No             a Complete only Part II below.
                        dependent care benefits?             Yes            a Complete Part III on the back next.
Caution: If the care was provided in your home, you may owe employment taxes. For details, see the instructions for Schedule 2
(Form 1040 or 1040-SR), line 7a; or Form 1040-NR, line 59a.
 Part II       Credit for Child and Dependent Care Expenses
   2     Information about your qualifying person(s). If you have more than two qualifying persons, see the instructions.
                                                                                                                                                     (c) Qualified expenses you
                                 (a) Qualifying person’s name                                                                                      incurred and paid in 2019 for the
                      First                                         Last                                                                              person listed in column (a)

 Tobias                                       Collins                                                                                                                  4125


 Vaughn                                       Collins
   3     Add the amounts in column (c) of line 2. Don’t enter more than $3,000 for one qualifying person
         or $6,000 for two or more persons. If you completed Part III, enter the amount from line 31 . .                                            3                           4125
   4     Enter your earned income. See instructions . . . . . . . . . . . . . . . . .                                                               4                          29466
   5     If married filing jointly, enter your spouse’s earned income (if you or your spouse was a student
         or was disabled, see the instructions); all others, enter the amount from line 4 . . . . . .                                               5                              6000
   6     Enter the smallest of line 3, 4, or 5 . . . . . . . . . . .                                .   .   .   .     .    .     .   .     .        6                              4125
   7     Enter the amount from Form 1040 or 1040-SR, line 8b; or Form
         1040-NR, line 35 . . . . . . . . . . . . . . . .                      7                                                         35585
   8     Enter on line 8 the decimal amount shown below that applies to the amount on line 7
                 If line 7 is:                                                If line 7 is:
                             But not       Decimal                                            But not       Decimal
                 Over        over          amount is                          Over            over          amount is
                      $0—15,000               .35                              $29,000—31,000                   .27
                  15,000—17,000               .34                               31,000—33,000                   .26                                 8                      X.       0.24
                  17,000—19,000               .33                               33,000—35,000                   .25
                  19,000—21,000               .32                               35,000—37,000                   .24
                  21,000—23,000               .31                               37,000—39,000                   .23
                  23,000—25,000               .30                               39,000—41,000                   .22
                  25,000—27,000               .29                               41,000—43,000                   .21
                  27,000—29,000               .28                               43,000—No limit                 .20
   9     Multiply line 6 by the decimal amount on line 8. If you paid 2018 expenses in 2019, see the
         instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       9                               990
 10      Tax liability limit. Enter the amount from the Credit Limit Worksheet
         in the instructions . . . . . . . . . . . . . . . .                   10                  1118
 11      Credit for child and dependent care expenses. Enter the smaller of line 9 or line 10 here and
         on Schedule 3 (Form 1040 or 1040-SR), line 2; or Form 1040-NR, line 47 . . . . . . . .                                                    11                              990
For Paperwork Reduction Act Notice, see your tax return instructions.                                                 Cat. No. 11862M                              Form 2441 (2019)
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 340 of 393 Page ID #:340
Form 2441 (2019)                                                                                                                    Page 2
Part III     Dependent Care Benefits
 12 Enter the total amount of dependent care benefits you received in 2019. Amounts you received as
    an employee should be shown in box 10 of your Form(s) W-2. Don’t include amounts reported as
    wages in box 1 of Form(s) W-2. If you were self-employed or a partner, include amounts you
    received under a dependent care assistance program from your sole proprietorship or partnership .               12                1875
 13 Enter the amount, if any, you carried over from 2018 and used in 2019 during the grace period.
    See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . .                                          13                 0.00
 14 Enter the amount, if any, you forfeited or carried forward to 2020. See instructions    .   .   .   .    .      14 (             0.00 )
 15 Combine lines 12 through 14. See instructions . . . . . . . . . . . .                   .   .   .   .    .      15                1875
 16 Enter the total amount of qualified expenses incurred in 2019 for the
    care of the qualifying person(s) . . . . . . . . . . . .                   16                           8668
 17 Enter the smaller of line 15 or 16 . . . . . . .         .   .   .   .   .   17                         1875
 18 Enter your earned income. See instructions . . .         .   .   .   .   .   18                         29466
 19 Enter the amount shown below that applies to you.




                                                   }
    • If married filing jointly, enter your spouse’s
      earned income (if you or your spouse was
      a student or was disabled, see the
      instructions for line 5).                      . .     .   .   .   .   .   19                         6000
      • If married filing separately, see
        instructions.
    • All others, enter the amount from line 18.
 20 Enter the smallest of line 17, 18, or 19 . . . . . . . . .               .   20                         1875
 21 Enter $5,000 ($2,500 if married filing separately and you were
    required to enter your spouse’s earned income on line 19) . .            .     21                  5000
 22 Is any amount on line 12 from your sole proprietorship or partnership?
        No. Enter -0-.
        Yes. Enter the amount here . . . . . . . . . . . . . . . . . . . . . .                              22                        0.00
 23 Subtract line 22 from line 15 . . . . . . . . . . . . .                        23                  1875
 24 Deductible benefits. Enter the smallest of line 20, 21, or 22. Also, include this amount on the
    appropriate line(s) of your return. See instructions . . . . . . . . . . . . . . . .                    24                        0.00
 25 Excluded benefits. If you checked “No” on line 22, enter the smaller of line 20 or 21. Otherwise,
    subtract line 24 from the smaller of line 20 or line 21. If zero or less, enter -0- . . . . . . .       25                       1875
 26 Taxable benefits. Subtract line 25 from line 23. If zero or less, enter -0-. Also, include this amount
    on Form 1040 or 1040-SR, line 1; or Form 1040-NR, line 8. On the dotted line next to Form 1040
    or 1040-SR, line 1; or Form 1040-NR, line 8, enter “DCB” . . . . . . . . . . . . . .                    26                           0

                                              To claim the child and dependent care
                                              credit, complete lines 27 through 31 below.

 27 Enter $3,000 ($6,000 if two or more qualifying persons) . . . . . . . . . . . . . .                             27               6000
 28 Add lines 24 and 25 . . . . . . . . . . . . . . . . . . . . . . . . . .                                         28               1875
 29 Subtract line 28 from line 27. If zero or less, stop. You can’t take the credit. Exception. If you paid
    2018 expenses in 2019, see the instructions for line 9 . . . . . . . . . . . . . . .                            29               4125
 30 Complete line 2 on the front of this form. Don’t include in column (c) any benefits shown on line
    28 above. Then, add the amounts in column (c) and enter the total here . . . . . . . . .                        30               6793
 31 Enter the smaller of line 29 or 30. Also, enter this amount on line 3 on the front of this form and
    complete lines 4 through 11 . . . . . . . . . . . . . . . . . . . . . . .                                       31               4125
                                                                                                                           Form 2441 (2019)
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 341 of 393 Page ID #:341

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KRISTEN & STEVEN PEARSON


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                    ƇƈƧ Uä¹ª¡öªÀ¢ƧÒÕÙÆÀżÙƧÀ¿          ƇƈƧ Uä¹ª¡öªÀ¢ƧÒÕÙÆÀżÙƧÙÆª¹ƧÙäÕªàöƧ   ƇƈƧUä¹ª¡ªƧõÒÀÙÙ
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          sterling                             Collins                                                           0
     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 342 of 393 Page ID #:342
SCHEDULE C                                               Profit or Loss From Business                                                                             OMB No. 1545-0074

                                                                                                                                                                      2019
(Form 1040 or 1040-SR)                                                     (Sole Proprietorship)
                                            a Go to www.irs.gov/ScheduleC for instructions and the latest information.
Department of the Treasury                                                                                                                                        Attachment
Internal Revenue Service (99) a Attach to Form 1040, 1040-SR, 1040-NR, or 1041; partnerships generally must file Form 1065.                                       Sequence No. 09
Name of proprietor                                                                                                                           Social security number (SSN)
          KRISTEN PEARSON
A         Principal business or profession, including product or service (see instructions)                                                  B Enter code from instructions
          PROFESSIONAL, SCIENTIFIC, & TECHNICAL SERVICES                                                                                                  a   5       4    1    1   0   0
C         Business name. If no separate business name, leave blank.                                                                          D Employer ID number (EIN) (see instr.)
          THE LAW OFFICE OF KRISTEN PEARSON
E         Business address (including suite or room no.) a         2023 W SAINT ESTEPHE CT
          City, town or post office, state, and ZIP code           HAYDEN ID 83835
F         Accounting method:       (1)  Cash         (2)     Accrual      (3)     Other (specify) a
G         Did you “materially participate” in the operation of this business during 2019? If “No,” see instructions for limit on losses                           .        Yes         No
H         If you started or acquired this business during 2019, check here . . . . . . . . . . . . . . . . .                                                      a       
I         Did you make any payments in 2019 that would require you to file Form(s) 1099? (see instructions) .                       .    .    .       .   .   .   .         Yes      No
J         If “Yes,” did you or will you file required Forms 1099? . . . . . . . . . . . . . .                                       .    .    .       .   .   .   .         Yes      No
    Part I    Income
     1    Gross receipts or sales. See instructions for line 1 and check the box if this income was reported to you on
          Form W-2 and the “Statutory employee” box on that form was checked . . . . . . . . . a                                                  1                            2000
     2    Returns and allowances . . . . . . . . . . . . . . . . . . . . . . . . .                                                                2                             0.00
     3    Subtract line 2 from line 1 . . . . . . . . . . . . . . . . . . . . . . . .                                                             3                            2000
     4    Cost of goods sold (from line 42) . . . . . . . . . . . . . . . . . . . . . .                                                           4                                0
     5    Gross profit. Subtract line 4 from line 3 . . . . . . . . . . . . . . . . .                                           .   . .           5                            2000
     6    Other income, including federal and state gasoline or fuel tax credit or refund (see instructions) .                  .   . .           6                             0.00
     7    Gross income. Add lines 5 and 6 . . . . . . . . . . . . . . . . . . .                                                 .   . a           7                            2000
 Part II      Expenses. Enter expenses for business use of your home only on line 30.
     8    Advertising .     .   .   .   .       8                841.00              18       Office expense (see instructions)                   18                        368.00
     9    Car and truck expenses (see                                                19       Pension and profit-sharing plans .                  19                          0.00
          instructions) . . . . .                9                    0              20       Rent or lease (see instructions):
    10    Commissions and fees .                10                 0.00                a      Vehicles, machinery, and equipment               20a                              0.00
    11    Contract labor (see instructions)     11                 0.00                 b     Other business property . . .                    20b                              0.00
    12    Depletion . . . . .                   12                 0.00              21       Repairs and maintenance . . .                       21                            0.00
    13    Depreciation and section 179                                               22       Supplies (not included in Part III) .               22                           16.00
          expense      deduction   (not
          included in Part III) (see                                                 23       Taxes and licenses . . . . .                        23                            0.00
          instructions) . . . . .               13                     0             24       Travel and meals:
    14    Employee benefit programs                                                    a      Travel . . . .            .   .   .   .    .     24a                              0.00
          (other than on line 19) . .           14                 0.00                   b   Deductible meals (see
    15    Insurance (other than health)         15               541.00                       instructions) . . . . . . .                      24b                               0
    16    Interest (see instructions):                                               25       Utilities . . . . . . . .                         25                            0.00
      a   Mortgage (paid to banks, etc.)       16a                 0.00              26       Wages (less employment credits) .                 26                            0.00
      b   Other . . . . . .           16b                          0.00  27a Other expenses (from line 48) . .                                 27a                          995.00
    17    Legal and professional services
                                       17                          0.00    b Reserved for future use . . .                                     27b                               0
    28    Total expenses before expenses for business use of home. Add lines 8 through 27a . . . . . . a                                        28                           2761
    29    Tentative profit or (loss). Subtract line 28 from line 7 .   .     .   .   .    .   .   .    .   .   .   .    .   .   .   .    .        29                          -761
    30    Expenses for business use of your home. Do not report these expenses elsewhere. Attach Form 8829
          unless using the simplified method (see instructions).
          Simplified method filers only: enter the total square footage of: (a) your home:
          and (b) the part of your home used for business:                                                     . Use the Simplified
          Method Worksheet in the instructions to figure the amount to enter on line 30                .   .    . . . . . . .                     30                                0
    31    Net profit or (loss). Subtract line 30 from line 29.



                                                                                                                                    }
          • If a profit, enter on both Schedule 1 (Form 1040 or 1040-SR), line 3 (or Form 1040-NR, line
          13) and on Schedule SE, line 2. (If you checked the box on line 1, see instructions). Estates and                                       31                           -761
          trusts, enter on Form 1041, line 3.
          • If a loss, you must go to line 32.
    32    If you have a loss, check the box that describes your investment in this activity (see instructions).
          • If you checked 32a, enter the loss on both Schedule 1 (Form 1040 or 1040-SR), line 3 (or
          Form 1040-NR, line 13) and on Schedule SE, line 2. (If you checked the box on line 1, see the line
          31 instructions). Estates and trusts, enter on Form 1041, line 3.
          • If you checked 32b, you must attach Form 6198. Your loss may be limited.
                                                                                                                                    }          32a  All investment is at risk.
                                                                                                                                               32b   Some investment is not
                                                                                                                                                     at risk.

For Paperwork Reduction Act Notice, see the separate instructions.                                    Cat. No. 11334P                   Schedule C (Form 1040 or 1040-SR) 2019
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 343 of 393 Page ID #:343
Schedule C (Form 1040 or 1040-SR) 2019                                                                                                                                                 Page 2
Part III        Cost of Goods Sold (see instructions)

 33       Method(s) used to
          value closing inventory:            a           Cost             b           Lower of cost or market             c           Other (attach explanation)
 34       Was there any change in determining quantities, costs, or valuations between opening and closing inventory?
          If “Yes,” attach explanation . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       .       Yes             No


 35       Inventory at beginning of year. If different from last year’s closing inventory, attach explanation .                          .   .            35                    0.00

 36       Purchases less cost of items withdrawn for personal use                      .   .   .   .   .   .   .   .   .   .   .   .     .   .            36                    0.00

 37       Cost of labor. Do not include any amounts paid to yourself .                     .   .   .   .   .   .   .   .   .   .   .     .   .            37                    0.00

 38       Materials and supplies      .   .       .   .   .    .   .   .       .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .            38                    0.00

 39       Other costs .   .   .   .   .   .       .   .   .    .   .   .       .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .            39                    0.00

 40       Add lines 35 through 39 .       .       .   .   .    .   .   .       .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .            40                       0

 41       Inventory at end of year .      .       .   .   .    .   .   .       .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .            41                    0.00

 42       Cost of goods sold. Subtract line 41 from line 40. Enter the result here and on line 4 .                         .   .   .     .   .            42                       0
Part IV         Information on Your Vehicle. Complete this part only if you are claiming car or truck expenses on line 9
                and are not required to file Form 4562 for this business. See the instructions for line 13 to find out if you must
                file Form 4562.

 43       When did you place your vehicle in service for business purposes? (month, day, year)                             a             /            /

 44       Of the total number of miles you drove your vehicle during 2019, enter the number of miles you used your vehicle for:


    a     Business    0                                       b Commuting (see instructions)               0                                 c Other               0

 45       Was your vehicle available for personal use during off-duty hours?                       .   .   .   .   .   .   .   .   .     .   .    .       .    .   .   Yes        No

 46       Do you (or your spouse) have another vehicle available for personal use?.                        .   .   .   .   .   .   .     .   .    .       .    .   .    Yes       No

 47a      Do you have evidence to support your deduction?                      .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .    .       .    .   .    Yes       No

      b   If “Yes,” is the evidence written?          .   .    .   .   .       .   .   .   .   .   .   .   .   .   .   .   .   .   .     .   .    .       .    .   .    Yes       No
 Part V         Other Expenses. List below business expenses not included on lines 8–26 or line 30.

      Bestcase Bankruptcy program- 1 year                                                                                                                                     995.00




 48       Total other expenses. Enter here and on line 27a .                       .   .   .   .   .   .   .   .   .   .   .   .   .     .   .            48                  995.00
                                                                                                                                                 Schedule C (Form 1040 or 1040-SR) 2019
    Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 344 of 393 Page ID #:344
SCHEDULE 8812                                                                                                                                              OMB No. 1545-0074
                                           Additional Child Tax Credit                                               . . 1040
                                                                                                                         .......
                                                                                                                                       `
                                                                                                                                                            2019
(Form 1040 or 1040-SR)                                                                                               1040-SR
                                                                                                                     .........
                                           a Attach to Form 1040, 1040-SR, or 1040-NR.                               1040-NR
Department of the Treasury
                                a Go to www.irs.gov/Schedule8812 for instructions and the latest                                       8812                Attachment
Internal Revenue Service (99)                                  information.                                                                                Sequence No. 47

Name(s) shown on return                                                                                                                         Your social security number
KRISTEN PEARSON
 Part I          All Filers
Caution: If you file Form 2555, stop here; you cannot claim the additional child tax credit.
  1   If you are required to use the worksheet in Pub. 972, enter the amount from line 10 of the Child Tax Credit
      and Credit for Other Dependents Worksheet in the publication. Otherwise:
      1040 and            Enter the amount from line 8 of your Child Tax Credit and Credit for Other Dependents
      1040-SR filers: Worksheet (see the instructions for Forms 1040 and 1040-SR, line 13a).
      1040-NR filers: Enter the amount from line 8 of your Child Tax Credit and Credit for Other Dependents
                          Worksheet (see the instructions for Form 1040-NR, line 49).
                                                                                                                                                }      1                   8000



                                                                                                                                                                            128
  2   Enter the amount from Form 1040, line 13a; Form 1040-SR, line 13a; or Form 1040-NR, line 49 . . . . .                                            2
  3   Subtract line 2 from line 1. If zero, stop here; you cannot claim this credit . . . . . . . . . . . .                                            3                  7872
  4   Number of qualifying children under 17 with the required social security number:                          x $1,400.
      Enter the result. If zero, stop here; you cannot claim this credit . . . . . . . . . . . . . . .                                                 4                   5600
      TIP: The number of children you use for this line is the same as the number of children you used for line 1 of the
      Child Tax Credit and Credit for Other Dependents Worksheet.
  5   Enter the smaller of line 3 or line 4 . . . . . . . . . . . . . . . . . . . . . . .                                                              5                  5600
  6a Earned income (see instructions) . . . . . . . . . . . . . . . .                               6a             29466
    b Nontaxable combat pay (see instructions) . . . . . .                6b                 0
  7   Is the amount on line 6a more than $2,500?
            No. Leave line 7 blank and enter -0- on line 8.
        Yes. Subtract $2,500 from the amount on line 6a. Enter the result . . . . .                7              26966
  8   Multiply the amount on line 7 by 15% (0.15) and enter the result . . . . . . . . . . . . . . .                                                   8                  4045
      Next. On line 4, is the amount $4,200 or more?
            No. If line 8 is zero, stop here; you cannot claim this credit. Otherwise, skip Part II and enter the smaller
                 of line 5 or line 8 on line 15.
        Yes. If line 8 is equal to or more than line 5, skip Part II and enter the amount from line 5 on line 15.
                 Otherwise, go to line 9.
 Part II         Certain Filers Who Have Three or More Qualifying Children
   9     Withheld social security, Medicare, and Additional Medicare taxes from
         Form(s) W-2, boxes 4 and 6. If married filing jointly, include your spouse’s amounts
         with yours. If your employer withheld or you paid Additional Medicare Tax or tier 1
         RRTA taxes, see instructions . . . . . . . . . . . . . . . . .                                         9                           2413




                                                                                                        }
 10      1040 and        Enter the total of the amounts from Schedule 1 (Form 1040 or 1040-SR),
         1040-SR filers: line 14, and Schedule 2 (Form 1040 or 1040-SR), line 5, plus any taxes
                         that you identified using code “UT” and entered on Schedule 2 (Form
                         1040 or 1040-SR), line 8.                                                              10                               0
         1040-NR filers: Enter the total of the amounts from Form 1040-NR, lines 27 and
                         56, plus any taxes that you identified using code “UT” and
                         entered on line 60.
 11      Add lines 9 and 10 . . . . . . . . . . . . . . . . . . .                                       .       11                          2413
 12      1040 and           Enter the total of the amounts from Form 1040 or 1040-SR, line
         1040-SR filers: 18a, and Schedule 3 (Form 1040 or 1040-SR), line 11.
         1040-NR filers: Enter the amount from Form 1040-NR, line 67.
                                                                                                        }       12                          4291
 13      Subtract line 12 from line 11. If zero or less, enter -0- . . . . . . . . .                    .   .   . .       .        .    .   .   .     13                       0
 14      Enter the larger of line 8 or line 13 . . . . . . . . . . . . . .                              .   .   . .       .        .    .   .   .     14                  4045
         Next, enter the smaller of line 5 or line 14 on line 15.
Part III         Additional Child Tax Credit
 15      This is your additional child tax credit .    .   .    .   .   .   .   .   .   .   .   .   .   .   .   .    .    .        .    .   .   .     15                  4045

                                                                                                                                                       Enter this amount on
                                                                                                                                                       Form 1040, line 18b;
                                                                                                                                                       Form 1040-SR, line 18b; or
                                                                                                                                        . . 1040
                                                                                                                                            .......
                                                                                                                                                       Form 1040-NR, line 64.
                                                                                                                                        1040-SR
                                                                                                                                        .........
                                                                                                                                        1040-NR `


For Paperwork Reduction Act Notice, see your tax return instructions.                       Cat. No. 59761M                    Schedule 8812 (Form 1040 or 1040-SR) 2019
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 345 of 393 Page ID #:345

Form   8959                                       Additional Medicare Tax
                                a If any line does not apply to you, leave it blank. See separate instructions.

                                      a Attach to Form 1040, 1040-SR, 1040-NR, 1040-PR, or 1040-SS.
                                                                                                                                 OMB No. 1545-0074


                                                                                                                                  2019
Department of the Treasury                                                                                                       Attachment
Internal Revenue Service         a Go to www.irs.gov/Form8959 for instructions and the latest information.                       Sequence No. 71
Name(s) shown on return                                                                                           Your social security number

KRISTEN PEARSON
 Part I        Additional Medicare Tax on Medicare Wages
  1     Medicare wages and tips from Form W-2, box 5. If you have more than one
        Form W-2, enter the total of the amounts from box 5 . . . . . . . .           1             18366
  2     Unreported tips from Form 4137, line 6 . . . . . . . . . . . . .              2
  3     Wages from Form 8919, line 6 . . . . . . . . . . . . . . . .                  3
  4     Add lines 1 through 3 . . . . . . . . . . . . . . . . . . .                   4             18366
  5     Enter the following amount for your filing status:
        Married filing jointly . . . . . . . . . . . . . . . $250,000
        Married filing separately . . . . . . . . . . . . . . $125,000
        Single, Head of household, or Qualifying widow(er) . . . . . $200,000         5            250000
  6     Subtract line 5 from line 4. If zero or less, enter -0- . . . . . . . . . . . . . . . . .                            6
  7     Additional Medicare Tax on Medicare wages. Multiply line 6 by 0.9% (0.009). Enter here and go to
        Part II . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              7
 Part II       Additional Medicare Tax on Self-Employment Income
  8     Self-employment income from Schedule SE (Form 1040 or 1040-SR), Section
        A, line 4, or Section B, line 6. If you had a loss, enter -0- (Form 1040-PR or
        1040-SS filers, see instructions.) . . . . . . . . . . . . . . .                8
  9     Enter the following amount for your filing status:
        Married filing jointly . . . . . . . . . . . . . . . . $250,000
        Married filing separately . . . . . . . . . . . . . . $125,000
        Single, Head of household, or Qualifying widow(er) . . . . . $200,000           9             250000
 10     Enter the amount from line 4 . . . . . . . . . . . . . . . .                   10              18366
 11     Subtract line 10 from line 9. If zero or less, enter -0- . . . . . . . . .     11             231634
 12     Subtract line 11 from line 8. If zero or less, enter -0- . . . . . . . . . . . . . . . . .           12
 13     Additional Medicare Tax on self-employment income. Multiply line 12 by 0.9% (0.009). Enter here and
        go to Part III . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                           13
Part III       Additional Medicare Tax on Railroad Retirement Tax Act (RRTA) Compensation
 14     Railroad retirement (RRTA) compensation and tips from Form(s) W-2, box 14
        (see instructions) . . . . . . . . . . . . . . . . . . . .                       14
 15     Enter the following amount for your filing status:
        Married filing jointly . . . . . . . . . . . . . . . $250,000
        Married filing separately . . . . . . . . . . . . . . $125,000
        Single, Head of household, or Qualifying widow(er) . . . . . $200,000            15            250000
 16     Subtract line 15 from line 14. If zero or less, enter -0- . . . . . . . . . . . . . . . .             16
 17     Additional Medicare Tax on railroad retirement (RRTA) compensation. Multiply line 16 by 0.9% (0.009).
        Enter here and go to Part IV . . . . . . . . . . . . . . . . . . . . . . . . .                        17
Part IV        Total Additional Medicare Tax
 18     Add lines 7, 13, and 17. Also include this amount on Schedule 2 (Form 1040 or 1040-SR), line 8 (check
        box a) (Form 1040-NR, 1040-PR, or 1040-SS filers, see instructions), and go to Part V . . . . .                     18
 Part V        Withholding Reconciliation
 19     Medicare tax withheld from Form W-2, box 6. If you have more than one Form
        W-2, enter the total of the amounts from box 6 . . . . . . . . . .             19              457
 20     Enter the amount from line 1 . . . . . . . . . . . . . . . .                   20            18366
 21     Multiply line 20 by 1.45% (0.0145). This is your regular Medicare tax
        withholding on Medicare wages . . . . . . . . . . . . . . .                    21              266
 22     Subtract line 21 from line 19. If zero or less, enter -0-. This is your Additional Medicare Tax
        withholding on Medicare wages . . . . . . . . . . . . . . . . . . . . . . .                        22                                      191
 23     Additional Medicare Tax withholding on railroad retirement (RRTA) compensation from Form W-2, box
        14 (see instructions) . . . . . . . . . . . . . . . . . . . . . . . . . . .                        23
 24     Total Additional Medicare Tax withholding. Add lines 22 and 23. Also include this amount with
        federal income tax withholding on Form 1040 or 1040-SR, line 17 (Form 1040-NR, 1040-PR, or
        1040-SS filers, see instructions) . . . . . . . . . . . . . . . . . . . . . . .                    24                                      191
For Paperwork Reduction Act Notice, see your tax return instructions.                        Cat. No. 59475X                        Form 8959 (2019)
                              Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 346 of 393 Page ID #:346
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                '6;492<?                                             0     3F<B?=.?2;A<?@<:2<;229@20.;09.6:F<B.@.
              !.??621696;4                                                 12=2;12;A0520852?2.;12;A2?G2?<<;96;2  ƒ
               '2=.?.A29F
                 
                                                     A2:6G21121B0A6<;@;09B123212?.9'0521B92212?.996:6A@.==9F ƒ                                                                
                    2.1<3
                   <B@25<91                       'A.A2.;19<0.96;0<:2<?42;2?.9@.92@A.E2@6;09B121<;3212?.9'0521B92 ƒ                                                                     
                       
                                                     'B/A?.0A96;2 3?<:96;2 3F<B1<;JAB@23212?.9'0521B922;A2?G2?<                                                                    
              !.??621696;4                        'A.;1.?1121B0A6<;'226;@A?B0A6<;@=.42A<12A2?:6;2.:<B;A63;<A@A.;1.?1 ƒ                                                              24400 
               <6;A9F<?
               %B.963F6;4                           'B/A?.0AA52!&&<396;2 <? 3?<:96;2 392@@A5.;G2?<2;A2?G2?<                                                          3512 
               +61<D2?
                                                 1.5<A.E./926;0<:2;A2?.:<B;A3?<:96;2  ƒ                                             3512 
                                                      (.E3?<:A./92@<??.A2@0521B92'226;@A?B0A6<;@=.42ƒ                                                  49 
                                                                                    $#( #)($%

                                           1.5<'A.A2(.E<::6@@6<;$#<E<6@2                                               
                                                    #!)$"%!($%,$,$)&&!&()&#
              #                                                                                                                          $.42 <3 
     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 347 of 393 Page ID #:347
                                                                                                                                                               $&"
      (.E.:<B;A3?<:96;2                                         49 
  & ('/LPLWVDSSO\6HHLQVWUXFWLRQVSDJH
   ;0<:2A.E=.61A<<A52?@A.A2@;09B12<?: &.;1.0<=F<3<A52?@A.A2@J?2AB?;@ƒ                                                   
   (<A.90?216A@3?<:<?: &$.?A96;2;09B12<?: &                                       10 
  (<A.9/B@6;2@@6;0<:2A.E0?216A@3?<:<?:$.?A96;2;09B12<?:                                                  
  1.5<5691(.E?216A<:=BA21.:<B;A3?<:D<?8@522A<;=.42ƒ                                           820 
  $(! & ('1196;2@ A5?<B45                                                  830 
  'B/A?.0A96;2 3?<:96;2 396;2 6@:<?2A5.;96;2 2;A2?G2?<                                                                   
(&+'6HHLQVWUXFWLRQVSDJH
  B29@B@2A.E1B2;09B12<?:                                                   
  6DOHVXVHWD[GXHRQXQWD[HGSXUFKDVHV RQOLQHPDLORUGHUDQGRWKHU  ƒ                                                                              
   (<A.9A.E3?<:?20.=AB?2<36;0<:2A.E0?216A@3?<:<?:$.?A96;2;09B12<?:                                                                                  
   7D[IURPUHFDSWXUHRITXDOL¿HGLQYHVWPHQWH[HPSWLRQ 4,( ,QFOXGH)RUP(5 ƒ                                                                               
   $2?:.;2;A/B6916;43B;1A.E
    5208A52/<E63F<B?2026C211.5<=B/960.@@6@A.;02=.F:2;A@3<?                          ƒ                                                        
   $(!+1196;2@ A5?<B45  ƒ                                               10 
 $#( $#'6HHLQVWUXFWLRQVSDJH           D.;AA<1<;.A2A<
  1.5<"<;4.:2+6919632B;1ƒ                       1.5<5691?2;J@(?B@AB;1ƒ
  '=206.9#9F:=60@1.5<ƒ                  1.5<B.?1&2@2?C2.:69Fƒ
  :2?60.;&21?<@@<31.5<B;1ƒ                           *2A2?.;@'B==<?AB;1ƒ
  1.5<<<1/.;8B;1ƒ                  #==<?AB;6AF'05<9.?@56=$?<4?.:ƒ
  $(!+!)' $#( $#'1196;2@ A5?<B45                                                             10 
,"#('#(& & ('
   ?<02?F?216A<:=BA21.:<B;A3?<:D<?8@522A<;=.42  ƒ 200
     (<1<;.A2F<B?4?<02?F0?216AA<A52<<=2?.A6C2+293.?2B;105208A52/<E.;12;A2?G2?<<;96;2 ƒ
     $& *,$)&&$&,& (2;A2?A520<:=BA21.:<B;A<;96;2  ƒ                                                                    200 
  !.6;A.6;6;4.5<:23<?3.:69F:2:/2?.42<?<912?<?12C29<=:2;A.99F16@./921;09B12<?: & ƒ                                                                                  
  '=206.93B29@A.E?23B;1                      .@<96;2A.E?23B;1                                 ;09B12<?:                                                                   
  1.5<6;0<:2A.ED6A55291;09B12<?:+ @.;1.;F @A5.A@5<D1.5<D6A55<916;4 ƒ                                                                                154 
      <?: =.F:2;A@.;1.:<B;A.==96213?<:              ?2AB?; ƒ                                                       
  $.@@A5?<B456;0<:2A.E $.61/F2;A6AFƒ                   +6A55291ƒ                   ;09B12<?: @                                                                      
  (.E&26:/B?@2:2;A;02;A6C20?216Aƒ                  9.6:<3&645A0?216Aƒ                        '226;@A?B0A6<;@                                                                 
   $(!,"#('#(& & ('1196;2@ A5?<B45                                                                354 
+ )$&)#6HHLQVWUXFWLRQVSDJH
   + )396;2 6@:<?2A5.;96;2 @B/A?.0A96;2 3?<:96;2  ƒ                                                                      
   $2;.9AFƒ                     ;A2?2@A3?<:A521B21.A2ƒ                         ;A2?A<A.9                                                               
     &KHFNER[LISHQDOW\LVFDXVHGE\DQXQTXDOL¿HG,GDKRPHGLFDOVDYLQJVDFFRXQWZLWKGUDZDO ƒ
   $(! )1196;2@ .;1 $.F<;96;2<?:.8205208=.F./92A<A521.5<'A.A2(.E<::6@@6<; ƒ                                                                                   
  *&% 396;2 6@92@@A5.;96;2 @B/A?.0A96;2@ .;1 3?<:96;2  ƒ                                                      344 
  )#:<B;A<396;2A</2?23B;121A<F<B ƒ                                                           344 
  '( "(+:<B;A<396;2A</2.==9621A<F<B?            2@A6:.A21A.E ƒ                                                              
  'LUHFW'HSRVLW6HHLQVWUXFWLRQVSDJH ƒ                                       &KHFNLI¿QDOGHSRVLWGHVWLQDWLRQLVRXWVLGHWKH86
                                                                                                                                                                                (F=2<3 ƒ  52086;4
ƒ &<BA6;4"<     1     2     1       0   0   0    3    5    8      ƒ 00<B;A"< 1           7    1     5    6     0    2    0     0    8                                     00<B;A ƒ   '.C6;4@

  "#()&##!, $"%!(( ''( $#($(&" #,$)&(+)$&&)# #'(&)( $#'
    (<A.91B296;2 <?<C2?=.6196;2<;A56@?2AB?;          
    &23B;13?<:<?646;.9?2AB?;=9B@.116A6<;.9?23B;1@ ƒ  
     (.E=.61D6A5<?646;.9?2AB?;=9B@.116A6<;.9A.E=.61 ƒ          
     :2;121A.E1B2<??23B;11196;2@.;1A52;@B/A?.0A96;2                            
        :LWKLQGD\VRIUHFHLYLQJWKLVUHWXUQWKH,GDKR6WDWH7D[&RPPLVVLRQPD\GLVFXVVWKLVUHWXUQZLWKWKHSDLGSUHSDUHULGHQWL¿HGEHORZ
 ƒ
        );12?=2;.9A62@<3=2?7B?F1209.?2A5.AA<A52/2@A<3:F8;<D92142.;1/29623A56@?2AB?;6@A?B20<??20A.;10<:=92A2'226;@A?B0A6<;@
        ,<B?@64;.AB?2                                                                         '=<B@2J@@64;.AB?263.7<6;A?2AB?;/<A5:B@A@64;                          .A2
        ƒ                                                                                      ƒ
 #
& $.61=?2=.?2?J@@64;.AB?2                                                                 $?2=.?2?J@"''"$("                                           (.E=.F2?J@=5<;2;B:/2?
        ƒ                                                                                      ƒ
 $?2=.?2?J@.11?2@@                                                          'A.A2           -$<12                     $?2=.?2?J@=5<;2;B:/2?


#                                                                                                                              $.42 <3 
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 348 of 393 Page ID #:348
                                                                                 16 8 2

                                       ')%                                                                                                                 
                                       *#&+,(($%&+$",$
",70=,==39A898<0>?<8                                                                                                            &9.4,6&0.?<4>C8?7-0<
 KRISTEN PEARSON & STEVEN R COLLINS
 #+#'&*#&*+),+#'&*(! 
      0/0<,680>9:0<,>48269==/0/?.>49848.6?/0/989<7 6480 ƒ                                               
         ,:4>,669==.,<<C9@0<48.?<<0/9?>=4/0>30=>,>0-019<0-0.97482,8/,39<0=4/08> ƒ                                                       
         "98/,39=>,>0,8/69.,6-98/48>0<0=>,8//4@4/08/= ƒ                                      
       /,39.966020=,@482=,..9?8>A4>3/<,A,6 ƒ                                
       98?=/0:<0.4,>4988.6?/09<7 = ƒ                                
       #>30<,//4>498=8.6?/00B:6,8,>498 ƒ                           
     '9>,6,//4>498=//6480= >3<9?238>0<30<0,8/989<7 6480 ƒ                                                 
 ,+)+#'&*#&*+),+#'&*(! 
      /,3980>9:0<,>48269==.,<<C9@0<       ƒ
          /,3980>9:0<,>48269==.,<<C-,.5                     ƒ                         8>0<>9>,630<0                          
         &>,>048.970>,B<01?8/4148.6?/0/4810/0<,648.970 ƒ                                    
         8>0<0=>1<97(&29@0<8708>9-642,>498= ƒ                               
       (QHUJ\HႈFLHQF\XSJUDGHV ƒ                         
       6>0<8,>4@0080<2C/0@4.0/0/?.>498
                +0,<
              .;?4<0/      'C:0910@4.0                            '9>,69=>           $0<.08>,20
              ,                                                                     *                 , ƒ                                  
              -                                                                     *                  - ƒ                                  
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KRISTEN PEARSON & STEVEN R COLLINS                                                                                                          559710977
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       48.6?/482C9?,8/C9?<=:9?=0,8/:<9@4/079<0>3,89803,6191>3,>:0<=98E==?::9<>                                                         +0=       "9
              4=>0,.31,746C707-0<C9?E<0.6,47482
                         ,746C!07-0<E=",70                                  ,746C!07-0<E=        %06,>498=34:>9$0<=98           ,746C!07-0<E=            30.530<041
            4<=>",70                       ,=>",70                           &9.4,6&0.?<4>C           46482%0>?<8                   4<>3/,>0               0@069:708>,66C
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       '9>,6,79?8>.6,470/     19<0,.3;?,641C482707-0<-?>89>79<0>3,8                                   
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 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 350 of 393 Page ID #:350




Kristen’s 2020 Tax Packet

Audit Defense Policy

Federal Tax Return

State Tax Return



                                                                                Kristen Pearson
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 351 of 393 Page ID #:351




   Audit Defense Policy
   Defense code: C4B4-RHCI-2020
   Thanks for filing with Credit Karma Tax! We hope you won't need these
   instructions. But if you do get audited on your ũũũũũũũũũũũũreturn,
                                                    2020               we've partnered
   with the pros at Tax Protection Plus to help you through it – all for free! Here’s
   what you’ll need:


   Instructions
      Ĥļ Call Tax Protection Plus toll-free at 877-579-5602.
            • Make the call within 30 days of hearing from the IRS or the state.
            • If you’d prefer to have them call you, send an email to:
                cases@taxprotectionplus.com.
            • Make the subject line: Audit Defense Redemption.
            • Include your name, phone number, and the best time to reach you
                (within their business hours).
      ĥļ You’ll have to provide some personal info to get started, as well as:
            • Your Defense code: C4B4-RHCI-2020
            • The tax return year: 2020
            • Whether it’s a federal (IRS) or state audit
      Ħļ You’ll get an email with a secure link to upload your tax return and the audit
         notice you received.



  Policy Details
  Your Audit Defense expires one year afteÕƧƧƧƧƧƧƧƧƧƧƧƧƧƧƧƧƧƧƧƧƧƧƧƧÆÕƧöÆäÕƧƑ¡ª¹Ƨà
                                               04/15/2021
  (whichever is later). If you’re not sure when you e-filed, you can find the date on
  your Credit Karma Tax dashboard.

   Your Tax Year 2019 audit defense (Code = CLGS-U2RQ-2019) has been extended until 04/15/2022.
   Your Tax Year 2018 audit defense (Code = CA2M-CW4Q) has been extended until 04/15/2022.
  For more details about Audit Defense, visit
  httpÙ://www.creditkarma.com/tax/programterms#3.




                                                                                          Kristen Pearson
        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 352 of 393 Page ID #:352

        1040 U.S. Individual Income Tax Return 2020                                 (99)
 Form                  Department of the Treasury—Internal Revenue Service

                                                                                                                       OMB No. 1545-0074                 IRS Use Only—Do not write or staple in this space.

 Filing Status              Single      Married filing jointly              Married filing separately (MFS)                           Head of household (HOH)                Qualifying widow(er) (QW)
 Check only           If you checked the MFS box, enter the name of your spouse. If you checked the HOH or QW box, enter the child’s name if the qualifying
 one box.
                      person is a child but not your dependent a
   Your first name and middle initial                                    Last name
   KRISTEN                                                               PEARSON
   If joint return, spouse’s first name and middle initial               Last name                                                                                         Spouse’s social security number
   STEVEN R                                                              COLLINS
   Home address (number and street). If you have a P.O. box, see instructions.                                                                       Apt. no.        Presidential Election Campaign
  2023 W SAINT ESTEPHE CT                                                                                                                                            Check here if you, or your
                                                                                                                                                                     spouse if filing jointly, want $3
   City, town, or post office. If you have a foreign address, also complete spaces below.                         State                          ZIP code
                                                                                                                                                                     to go to this fund. Checking a
  HAYDEN                                                                                                                      ID                      83835          box below will not change
   Foreign country name                                                           Foreign province/state/county                                  Foreign postal code your tax or refund.
                                                                                                                                                                                       You           Spouse

 At any time during 2020, did you receive, sell, send, exchange, or otherwise acquire any financial interest in any virtual currency?                                                  Yes          No

 Standard             Someone can claim:        You as a dependent          Your spouse as a dependent
 Deduction               Spouse itemizes on a separate return or you were a dual-status alien

 Age/Blindness You:               Were born before January 2, 1956                   Are blind           Spouse:                       Was born before January 2, 1956                  Is blind
 Dependents (see instructions):                                                            (2) Social security            (3) Relationship                (4)  if qualifies for (see instructions):
                  (1) First name   Last name                                                    number                         to you                    Child tax credit       Credit for other dependents
 If more
 than four        TOBIAS S COLLINS                                                  2 0 9 4 5 9 4 3 1                  SON                                         
 dependents,      VAUGHN COLLINS                                                    0 9 5 3 1 2 1 6 9                  SON                                         
 see instructions
 and check        STERLING COLLINS                                                  6 5 1 6 5 8 4 9 2                  SON                                         

 here a           HOLLEY COLLINS                                                    1 1 7 4 3 8 6 4 4                  DAUGHTER                                    

                      1      Wages, salaries, tips, etc. Attach Form(s) W-2                  .   .   .   .   .     .      .        .     .   .   .   .   .   .     .   .        1                    22388
 Attach               2a     Tax-exempt interest .           .   .     2a                                                                                                      2b
                                                                                                                 b Taxable interest   .                  .   .     .   .
 Sch. B if
                      3a     Qualified dividends .           .   .     3a                                        b Ordinary dividends .                  .   .     .   .       3b
 required.
                      4a     IRA distributions . .           .   .     4a                                        b Taxable amount . .                    .   .     .   .       4b
                      5a     Pensions and annuities . .         5a                             b Taxable amount .                                    .   .   .     .   .       5b
Standard              6a     Social security benefits . .       6a                 13416       b Taxable amount .                                    .   .   .     .   .       6b
Deduction for—                                                                                                                                                   a
                      7      Capital gain or (loss). Attach Schedule D if required. If not required, check here .                                    .   .   .                  7
• Single or
  Married filing       8     Other income from Schedule 1, line 9 . . . . . . . . .                                       .        .     .   .   .   .   .   .     .   .        8
  separately,
  $12,400              9     Add lines 1, 2b, 3b, 4b, 5b, 6b, 7, and 8. This is your total income                         .        .     .   .   .   .   .   .     .   a        9                    22388
• Married filing      10     Adjustments to income:
  jointly or
  Qualifying            a    From Schedule 1, line 22 . . . . . . . . . . . . . .                          10a
  widow(er),
  $24,800
                        b    Charitable contributions if you take the standard deduction. See instructions 10b
• Head of               c    Add lines 10a and 10b. These are your total adjustments to income . . . .                                               .   .   .     .   a       10c
  household,
  $18,650             11     Subtract line 10c from line 9. This is your adjusted gross income . .                                       .   .   .   .   .   .     .   a       11                    22388
• If you checked      12     Standard deduction or itemized deductions (from Schedule A)       . .                                       .   .   .   .   .   .     .   .       12                    24800
  any box under
  Standard            13     Qualified business income deduction. Attach Form 8995 or Form 8995-A                                        .   .   .   .   .   .     .   .       13
  Deduction,                                                                                                                                                                                         24800
  see instructions.
                      14     Add lines 12 and 13 . . . . . . . . . . . . . . . .                                                         .   .   .   .   .   .     .   .       14
                      15     Taxable income. Subtract line 14 from line 11. If zero or less, enter -0- .                                 .   .   .   .   .   .     .   .       15
 For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions.                                                     Cat. No. 11320B                         Form 1040 (2020)
     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 353 of 393 Page ID #:353
Form 1040 (2020)                                                                                                                                                                                  Page 2
                    16      Tax (see instructions). Check if any from Form(s): 1 8814                              2       4972 3                               .     .     16
                    17      Amount from Schedule 2, line 3        . . . . . . . .                              .       .   . . . .            .   .   .   .     .     .     17
                    18      Add lines 16 and 17 . . . . . . . .                          .   .     .     .     .       .   .   .   .   .      .   .   .   .     .     .     18
                    19      Child tax credit or credit for other dependents              .   .     .     .     .       .   .   .   .   .      .   .   .   .     .     .     19
                    20      Amount from Schedule 3, line 7        . . . .                .   .     .     .     .       .   .   .   .   .      .   .   .   .     .     .     20
                    21      Add lines 19 and 20 . . . . . . . . . . . . . . .                                                  .   .   .      .   .   .   .     .     .     21
                    22      Subtract line 21 from line 18. If zero or less, enter -0- . . . . .                                .   .   .      .   .   .   .     .     .     22
                    23      Other taxes, including self-employment tax, from Schedule 2, line 10                               .   .   .      .   .   .   .     .     .     23
                    24      Add lines 22 and 23. This is your total tax              .   .   .     .     .     .       .   .   .   .   .      .   .   .   .     .     a     24
                    25      Federal income tax withheld from:
                      a     Form(s) W-2 . . . . . . . . .                            .   .   .     .     .     .       .   .   .       25a
                        b   Form(s) 1099 . . . . . .                  .   .      .   .   .   .     .     .     .       .   .   .     25b
                        c   Other forms (see instructions) .          .   .      .   .   .   .     .     .     .       .   .   .     25c
                        d   Add lines 25a through 25c . .             .   .      .   .   .   .     .     .     .       .   .   .   . . .          .   .   .     .     .    25d
• If you have a     26      2020 estimated tax payments and amount applied from 2019 return .                                  .   .   . .        .   .   .     .    .      26
  qualifying child, 27      Earned income credit (EIC) . . . . . . . . . . . . .                                               .       27                           6660
  attach Sch. EIC.
• If you have       28      Additional child tax credit. Attach Schedule 8812 . . . . . .                                      .       28                           2983
  nontaxable        29      American opportunity credit from Form 8863, line 8 . . . . . . .          29
  combat pay,
  see instructions. 30      Recovery rebate credit. See instructions . . . . . . . . . .              30
                    31      Amount from Schedule 3, line 13 . . . . . . . . . . . .                   31
                    32      Add lines 27 through 31. These are your total other payments and refundable credits .                                         .     .     a     32                     9643
                    33      Add lines 25d, 26, and 32. These are your total payments   . . . . . . . . .                                                  .     .     a     33                     9643
                    34      If line 33 is more than line 24, subtract line 24 from line 33. This is the amount you overpaid                                     .     .     34                     9643
Refund
                  35a       Amount of line 34 you want refunded to you. If Form 8888 is attached, check here                                      .   .   .    a           35a                     9643
Direct deposit?   ab        Routing number 1 2 1 0 0 0 3 5 8                                                                                                  Savings
See instructions. a
                    d                        1 7 1 5 6 0 2 0 0 8
                  36                                                                                     d tax .           .   a       36
Amount              37      Subtract line 33 from line 24. This is the amount you owe now .                                .   .   .   .      .   .   .   .     .    a      37
You Owe                     Note: Schedule H and Schedule SE filers, line 37 may not represent all of the taxes you owe for
For details on              2020. See Schedule 3, line 12e, and its instructions for details.
how to pay, see
instructions.   38          Estimated tax penalty (see instructions) . . . . . . . . . a               38
Third Party             Do you want to allow another person to discuss this return with the IRS? See
Designee                instructions . . . . . . . . . . . . . . . . . . . . a                                                                    Yes. Complete below.                 No
                        Designee’s                                                               Phone                                                Personal identification
                        name a                                                                   no. a                                                number (PIN) a
                        Under penalties of perjury, I declare that I have examined this return and accompanying schedules and statements, and to the best of my knowledge and
Sign                    belief, they are true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Here                    Your signature                                               Date                    Your occupation                                        If the IRS sent you an Identity
                                                                                                                                                                    Protection PIN, enter it here
                    F




Joint return?                                                                                                ASSISTANT                                              (see inst.) a
See instructions.       Spouse’s signature. If a joint return, both must sign.       Date                    Spouse’s occupation                                    If the IRS sent your spouse an
Keep a copy for                                                                                                                                                     Identity Protection PIN, enter it here
your records.                                                                                                OTHER                                                  (see inst.) a
                        Phone no.                                                    Email address
                        Preparer’s name                        Preparer’s signature                                                    Date                    PTIN                Check if:
Paid                                                                                                                                                                                   Self-employed
Preparer                Firm’s name a                                                                                                                               Phone no.
Use Only                Firm’s address a                                                                                                                            Firm’s EIN a
Go to www.irs.gov/Form1040 for instructions and the latest information.                                                                                                                Form 1040 (2020)
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 354 of 393 Page ID #:354
SCHEDULE EIC                                                  Earned Income Credit                                                                       OMB No. 1545-0074
(Form 1040)                                                                                                              1040  `
                                                                 Qualifying Child Information
                                                                                                                                                          2020
                                                                                                                     .........
                                                                                                                     1040-SR
                            a Complete and attach to Form 1040 or 1040-SR only if you have a
Department of the Treasury      qualifying child.                                                                               EIC                      Attachment
Internal Revenue Service (99) a Go to www.irs.gov/ScheduleEIC for the latest information.                                                                Sequence No. 43
Name(s) shown on return                                                                                                                       Your social security number
    KRISTEN PEARSON
                                          • See the instructions for Form 1040 or 1040-SR, line 27, to make sure that (a) you can take the EIC, and (b)
Before you begin:                           you have a qualifying child.
                                          • Be sure the child’s name on line 1 and social security number (SSN) on line 2 agree with the child’s social security card
                                            Otherwise, at the time we process your return, we may reduce or disallow your EIC. If the name or SSN on the child’s
                                            social security card is not correct, call the Social Security Administration at 1-800-772-1213.


F
!
CAUTION
              • You can't claim the EIC for a child who didn't live with you for more than half of the year
              • If you take the EIC even though you are not eligible, you may not be allowed to take the credit for up to 10 years. See the instructions for details
              • It will take us longer to process your return and issue your refund if you do not fill in all lines that apply for each qualifying child

Qualifying Child Information                                         Child 1                                  Child 2                                  Child 3
1 Child’s name                                          First name                               First name                               First name

    If you have more than three qualifying
    children, you have to list only three to get
    the maximum credit.                              sterling Collins                           Tobias S Collins                         Vaughn Collins

2 Child’s SSN
    The child must have an SSN as defined in
    the instructions for Form 1040 or
    1040-SR, line 27, unless the child was
    born and died in 2020. If your child was
    born and died in 2020 and did not have an
    SSN, enter “Died” on this line and attach a
    copy of the child’s birth certificate, death
    certificate, or hospital medical records
    showing a live birth.                                                             2

3 Child’s year of birth
                                                       Year       2         0     1       4     Year        2        0      1      8     Year        2        0    1      6
                                                      If born after 2001 and the child is       If born after 2001 and the child is      If born after 2001 and the child is
                                                      younger than you (or your spouse, if      younger than you (or your spouse, if     younger than you (or your spouse, if
                                                      filing jointly), skip lines 4a and 4b;    filing jointly), skip lines 4a and 4b;   filing jointly), skip lines 4a and 4b;
                                                      go to line 5.                             go to line 5.                            go to line 5.

4 a Was the child under age 24 at the end of
    2020, a student, and younger than you (or                 Yes.                 No.                  Yes.                No.                  Yes.               No.
    your spouse, if filing jointly)?
                                                       Go to                 Go to line 4b.      Go to               Go to line 4b.       Go to               Go to line 4b.
                                                       line 5.                                   line 5.                                  line 5.

  b Was the child permanently and totally
    disabled during any part of 2020?                         Yes.                 No.                  Yes.                No.                  Yes.               No.
                                                       Go to               The child is not a    Go to            The child is not a      Go to            The child is not a
                                                       line 5.             qualifying child.     line 5.          qualifying child.       line 5.          qualifying child.

5 Child’s relationship to you
    (for example, son, daughter, grandchild,
    niece, nephew, eligible foster child, etc.)       SON                                       SON                                      SON

6 Number of months child lived
  with you in the United States
  during 2020

    • If the child lived with you for more tha
    half of 2020 but less than 7 months,
    enter “7.”
    • If the child was born or died in 2020 an                        12                                        12                                       12
                                                                          months                                    months                                  months
    your home was the child’s home for more
    than half the time he or she was alive             Do not enter more than 12                 Do not enter more than 12               Do not enter more than 12
    during 2020, enter “12.”                           months.                                   months.                                 months.
For Paperwork Reduction Act Notice, see your tax                                                Cat. No. 13339M                               Schedule EIC (Form 1040) 2020
return instructions.
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 355 of 393 Page ID #:355
Schedule EIC (Form 1040) 2020                                                                                                                    Page 2

Purpose of Schedule
After you have figured your earned income credit                                   EIC rules, you will not be allowed to take the credit for 2
(EIC), use Schedule EIC to give the IRS information                                years even if you are otherwise eligible to do so. If you
about your qualifying child(ren).                                                  fraudulently take the EIC, you will not be allowed to take
                                                                                   the credit for 10 years. You may also have to pay
To figure the amount of your credit or to have the IRS
                                                                                   penalties.
figure it for you, see the instructions for Form 1040 or
1040-SR, line 27.                                                                  Future developments. For the latest information about
                                                                                   developments related to Schedule EIC (Form 1040 or
Taking the EIC when not eligible. If you take the EIC
                                                                                   1040-SR) and its instructions, such as legislation enacted
even though you are not eligible and it is determined that
                                                                                   after they were published, go to www.irs.gov/
your error is due to reckless or intentional disregard of the
                                                                                   ScheduleEIC.
              You may also be able to take the additional child tax credit if your child was your dependent and under age 17 at the end of 2020.
  TIP         For more details, see the instructions for line 28 of Form 1040 or 1040-SR.


                                                            Qualifying Child
                                    A qualifying child for the EIC is a child who is your . . .
                      Son, daughter, stepchild, eligible foster child, brother, sister, stepbrother, stepsister, half brother, half sister, or
                                      a descendant of any of them (for example, your grandchild, niece, or nephew)

                                                                           AND
                                                                         H
                                                                        was . . .
                                    Under age 19 at the end of 2020 and younger than you (or your spouse, if filing jointly)
                                                                                or
                                Under age 24 at the end of 2020, a student, and younger than you (or your spouse, if filing jointly)
                                                                                or
                                                          Any age and permanently and totally disabled

                                                                           AND
                                                                         H
                                                              Who is not filing a joint return for 2020
                                                          or is filing a joint return for 2020 only to claim
                                                      a refund of withheld income tax or estimated tax paid

                                                                           AND
                                                                         H
                                                    Who lived with you in the United States for more than half
                                                                            of 2020.
                                                    You can't claim the EIC for a child who didn't live with
                                        F
                                        !
                                        CAUTION
                                                    you for more than half of the year, even if you paid most
                                                    of the child's living expenses. The IRS may ask you for
                                                    documents to show you lived with each qualifying child.
                                                    Documents you might want to keep for this purpose
                                                    include school and child care records and other records
                                                    that show your child's address.
                                                    If the child didn't live with you for more than half of the
                                          TIP       year because of a temporary absence, birth, death, or
                                                    kidnapping, see Exception to time lived with you in the
                                                    instructions for Form 1040 or 1040-SR, line 27.

                                                    If the child was married or meets the conditions to be a
                                        F
                                        !
                                        CAUTION
                                                    qualifying child of another person (other than your
                                                    spouse, if filing a joint return), special rules apply. For
                                                    details, see Married child or Qualifying child of more
                                                    than one person in the instructions for Form 1040 or
                                                    1040-SR, line 27.
    Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 356 of 393 Page ID #:356
SCHEDULE 8812                                                                                                                                                   OMB No. 1545-0074
(Form 1040)
                                            Additional Child Tax Credit                                                    . .1040
                                                                                                                                            `
                                                                                                                                                                 2020
                                                                                                                              .......
                                                                                                                           1040-SR
                                                                                                                            .........
                                            a Attach to Form 1040, 1040-SR, or 1040-NR.                                    1040-NR
Department of the Treasury      a Go to www.irs.gov/Schedule8812 for instructions and the latest information.
                                                                                                                                            8812                Attachment
Internal Revenue Service (99)                                                                                                                                   Sequence No. 47

Name(s) shown on return                                                                                                                              Your social security number
KRISTEN PEARSON
 Part I          All Filers
Caution: If you file Form 2555, stop here; you cannot claim the additional child tax credit.
   1     If you are required to use the worksheet in Pub. 972, enter the amount from line 10 of the Child Tax Credit
         and Credit for Other Dependents Worksheet in the publication. Otherwise, enter the amount from line 8 of your
         Child Tax Credit and Credit for Other Dependents Worksheet. (See the instructions for Forms 1040 and 1040-
         SR, line 19, or the instructions for Form 1040-NR, line 19.) . . . . . . . . . . . . . . . .                                                       1                   8000
   2     Enter the amount from line 19 of your Form 1040, Form 1040-SR, or Form 1040-NR . . . . . . . .                                                     2                      0
   3     Subtract line 2 from line 1. If zero, stop here; you cannot claim this credit . . . . . . . . . . . .                                              3                   8000
   4     Number of qualifying children under 17 with the required social security number:                     4 x $1,400.
         Enter the result. If zero, stop here; you cannot claim this credit . . . . . . . . . . . . . . .                                                   4                   5600
         TIP: The number of children you use for this line is the same as the number of children you used for line 1 of the
         Child Tax Credit and Credit for Other Dependents Worksheet.
   5     Enter the smaller of line 3 or line 4 . . . . . . . . . . . . . . . . . . . . . . .                                                                5                   5600
   6a    Earned income (see instructions) . . . . . . . . . . . . . . . .                             6a             22388
    b    Nontaxable combat pay (see instructions) . . . . . .                6b                0
   7     Is the amount on line 6a more than $2,500?
              No. Leave line 7 blank and enter -0- on line 8.
           Yes. Subtract $2,500 from the amount on line 6a. Enter the result . . . . .               7              19888
   8     Multiply the amount on line 7 by 15% (0.15) and enter the result . . . . . . . . . . . . . . .                                                     8                   2983
         Next. On line 4, is the amount $4,200 or more?
              No. If line 8 is zero, stop here; you cannot claim this credit. Otherwise, skip Part II and enter the smaller
                   of line 5 or line 8 on line 15.
           Yes. If line 8 is equal to or more than line 5, skip Part II and enter the amount from line 5 on line 15.
                   Otherwise, go to line 9.
 Part II         Certain Filers Who Have Three or More Qualifying Children
   9     Withheld social security, Medicare, and Additional Medicare taxes from Form(s) W-2,
         boxes 4 and 6. If married filing jointly, include your spouse’s amounts with yours. If
         your employer withheld or you paid Additional Medicare Tax or tier 1 RRTA taxes, see
         instructions . . . . . . . . . . . . . . . . . . . . . . .                                                   9                          1713
 10      Enter the total of the amounts from Schedule 1 (Form 1040), line 14, and Schedule 2
         (Form 1040), line 5, plus any taxes that you identified using code “UT” and entered on
         Schedule 2 (Form 1040), line 8 . . . . . . . . . . . . . . . . .                                             10                              0
 11      Add lines 9 and 10 . . . . . . . . . . . . . . . . . . . .                                                   11                         1713
 12      1040 and           Enter the total of the amounts from Form 1040 or 1040-SR, line 27,
         1040-SR filers: and Schedule 3 (Form 1040), line 10.
         1040-NR filers: Enter the amount from Schedule 3 (Form 1040), line 10.
                                                                                                              }       12                         6660
 13      Subtract line 12 from line 11. If zero or less, enter -0- . . . . . . . . . .                            .   . .       .       .    .   .   .     13                       0
 14      Enter the larger of line 8 or line 13 . . . . . . . . . . . . . . .                                      .   . .       .       .    .   .   .     14                   2983
         Next, enter the smaller of line 5 or line 14 on line 15.
Part III         Additional Child Tax Credit
 15      This is your additional child tax credit .      .   .   .   .   .   .   .   .   .   .   .    .   .       .   .    .    .       .    .   .   .     15                   2983
                                                                                                                                                            Enter this amount on
                                                                                                                                                            Form 1040, line 28;
                                                                                                                                             . .1040
                                                                                                                                                .......     Form 1040-SR, line 28; or
                                                                                                                                            1040-SR
                                                                                                                                             .........
                                                                                                                                                            Form 1040-NR, line 28.
                                                                                                                                            1040-NR `

For Paperwork Reduction Act Notice, see your tax return instructions.                                Cat. No. 59761M                                  Schedule 8812 (Form 1040) 2020
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 357 of 393 Page ID #:357

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        ZLGRZ HU RUPDUULHGILOLQJVHSDUDWHO\DQG\RXOLYHGDSDUWIURP\RXUVSRXVHIRUDOO
        RI                                                                                  12000
     6XEWUDFWOLQHIURPOLQH,I]HURRUOHVVHQWHU                                                                       0
     (QWHUWKHVPDOOHURIOLQHRUOLQH                                                                            0
     (QWHURQHKDOIRIOLQH                                                                              0
     (QWHUWKHVPDOOHURIOLQHRUOLQH                                                                            0
     0XOWLSO\OLQHE\  ,IOLQHLV]HURHQWHU                                                                       0
     $GGOLQHVDQG                                                                                0
     0XOWLSO\OLQHE\                                                                                 0
     7D[DEOHVRFLDOVHFXULW\EHQHILWV(QWHUWKHVPDOOHURIOLQHRUOLQH$OVRHQWHUWKLVDPRXQW
        RQ)RUPRU65OLQHE                                                                                0

       TIP    ,IDQ\RI\RXUEHQHILWVDUHWD[DEOHIRUDQGWKH\LQFOXGHDOXPSVXPEHQHILWSD\PHQWWKDWZDVIRUDQHDUOLHU
              \HDU\RXPD\EHDEOHWRUHGXFHWKHWD[DEOHDPRXQW6HH/XPS6XP(OHFWLRQLQ3XEIRUGHWDLOV




1HHGPRUHLQIRUPDWLRQRUIRUPV"9LVLW,56JRY                                                      ƖʺʷƖ
                              Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 358 of 393 Page ID #:358
                              "!+&&#                          1 6 8 2
                                                                    "$               
                                                                  !('!" )&'$!
                                     !&'$!5208A52/<E                          ƒ                     'A.A2)@2#;9F
              '22=.42<36;@A?B0A6<;@3<?A52?2.@<;@A<                                                           PEA
              .:2;1.;12;A2?A52;B:/2?A5.A.==962@       ƒ

              )RUFDOHQGDU\HDURU¿VFDO\HDUEHJLQQLQJ                                                 2;16;4
                                      <RXU¿UVWQDPHDQGLQLWLDO                           ,<B?9.@A;.:2                                              ,<B?'<06.9'20B?6AF;B:/2?''"                           202.@21
              %$!&"$*#




                                     KRISTEN                                               PEARSON                                                                                                                 6;
                                      6SRXVH¶V¿UVWQDPHDQGLQLWLDO                       '=<B@2J@9.@A;.:2                                          '=<B@2J@'<06.9'20B?6AF;B:/2?''"                       202.@21
                                     STEVEN R                                              COLLINS                                                                                                                 6;
                                      B??2;A:.696;4.11?2@@
                                     2023 W SAINT ESTEPHE CT                                                                                                       <?:@.;16;@A?B0A6<;@.C.69./92.A
                                      6AF                                                                        'A.A2      -$<12                                       &)""(
                                     HAYDEN                                                                      ID         83835
                   !&&'%5208<;9F<;2/<E,IPDUULHG¿OLQJMRLQWO\RUVHSDUDWHO\HQWHUVSRXVH¶VQDPHDQG6RFLDO6HFXULW\QXPEHUDERYH
                                               '6;492            0DUULHG¿OLQJ                          0DUULHG¿OLQJ                    2.1<3                             %B.963F6;4D61<D2?
                                                                    7<6;A9F                                  @2=.?.A29F                          <B@25<91                              D6A5>B.963F6;412=2;12;A@

              "'%"HHLQVWUXFWLRQVSDJH 3@<:2<;20.;09.6:F<B.@.12=2;12;A92.C296;2./9.;8;A2?H I<;96;2@..;1/63A52F.==9F
                                 . ,<B?@293              1              / '=<B@2             1           0 2=2;12;A@                 4          1 (<A.9<B@25<91                 6

                       6@AF<B?12=2;12;A@/29<D3F<B5.C2:<?2A5.;3<B?12=2;12;A@0<;A6;B2<;<?: &;A2?A<A.9;B:/2?<;96;20
                                                                                                                                                                                                    2=2;12;AJ@/6?A51.A2
                                                'HSHQGHQW¶V¿UVWQDPH                                    2=2;12;AJ@9.@A;.:2                                 2=2;12;AJ@''"                         :: 11 FFFF
                            STERLING                                                       COLLINS                                                                                                    07/08/2014
                            TOBIAS                                                         COLLINS                                                                                                    02/17/2018

                            VAUGHN                                                         COLLINS                                                                                                    04/28/2016
                            HOLLEY                                                         COLLINS                                                                                                    08/10/2012

          !" 6HHLQVWUXFWLRQVSDJH
                    ;A2?F<B?3212?.9.17B@A214?<@@6;0<:23?<:3212?.9<?:  <?  '&96;2/
"!+&&#




                      ;09B12.0<:=92A20<=F<3F<B?3212?.9?2AB?;                                    ƒ                    22388 
                                    116A6<;@3?<:<?: &$.?A96;2;09B12<?: &                                                             
                                    (<A.91196;2@.;1                           22388 
                                     'B/A?.0A6<;@3?<:<?: &$.?A96;2 ;09B12<?: &                                                        4466 
                                     4XDOL¿HGEXVLQHVVLQFRPHGHGXFWLRQ                 ƒ                                
                              7RWDO$GMXVWHG,QFRPH'B/A?.0A96;2@                              .;1     3?<:96;2      ƒ                     17922 

              ) " #'&&"!6HHLQVWUXFWLRQVSDJH
                        &!$
                         '&"!                                       .     3.42<?<912? ƒ             ,<B?@293       ƒ       '=<B@2
                        "$"%&
                         "#                         5208          /     3/96;1 ƒ ,<B?@293 ƒ                  '=<B@2
                '6;492<?                                              0     3F<B?=.?2;A<?@<:2<;229@20.;09.6:F<B.@.
              !.??621696;4                                                  12=2;12;A0520852?2.;12;A2?G2?<<;96;2  ƒ
               '2=.?.A29F
                 
                                                      A2:6G21121B0A6<;@;09B123212?.9'0521B92212?.996:6A@.==9F ƒ                                                                
                    2.1<3
                   <B@25<91                        'A.A2.;19<0.96;0<:2<?42;2?.9@.92@A.E2@6;09B121<;3212?.9'0521B92 ƒ                                                                     
                      
                                                      'B/A?.0A96;2 3?<:96;2 3F<B1<;JAB@23212?.9'0521B922;A2?G2?<                                                                    
              !.??621696;4                         'A.;1.?1121B0A6<;'226;@A?B0A6<;@=.42A<12A2?:6;2.:<B;A63;<A@A.;1.?1 ƒ                                                              24800 
               <6;A9F<?
               %B.963F6;4                            'B/A?.0AA52$$<396;2 <? 3?<:96;2 392@@A5.;G2?<2;A2?G2?<                                                                   
               +61<D2?
                                                  1.5<A.E./926;0<:2;A2?.:<B;A3?<:96;2                         ƒ                               
                                                       (.E3?<:A./92@<??.A2@0521B92'226;@A?B0A6<;@=.42                             ƒ                       NRF 
                                                                                     "!&!'&"#

                                           1.5<'A.A2(.E<::6@@6<;$#<E<6@2                                               
                                                     !'" #&"#*"*"'$$$&'$!
              #                                                                                                                            $.42 <3 
     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 359 of 393 Page ID #:359
                                                                                                                                                              "$ 
      (.E.:<B;A3?<:96;2                                         
  $&%/LPLWVDSSO\6HHLQVWUXFWLRQVSDJH
   ;0<:2A.E=.61A<<A52?@A.A2@;09B12<?: &.;1.0<=F<3<A52?@A.A2@J?2AB?;@ƒ                                                   
   (<A.90?216A@3?<:<?: &$.?A96;2;09B12<?: &                                           
  (<A.9/B@6;2@@6;0<:2A.E0?216A@3?<:<?:$.?A96;2 ;09B12<?:                                                   
  1.5<5691(.E?216A<:=BA21.:<B;A3?<:D<?8@522A<;=.42 ƒ                                                  
  "& $&%1196;2@ A5?<B45                                                   
  'B/A?.0A96;2 3?<:96;2 396;2 6@:<?2A5.;96;2 2;A2?G2?<                                                                
&$)%6HHLQVWUXFWLRQVSDJH
  B29@B@2A.E1B2;09B12<?:                                                
  6DOHVXVHWD[GXHRQXQWD[HGSXUFKDVHV RQOLQHPDLORUGHUDQGRWKHU  ƒ                                                                           
   (<A.9A.E3?<:?20.=AB?2<36;0<:2A.E0?216A@3?<:<?:$.?A96;2;09B12<?:                                                                               
   7D[IURPUHFDSWXUHRITXDOL¿HGLQYHVWPHQWH[HPSWLRQ 4,( ,QFOXGH)RUP(5 ƒ                                                                            
   $2?:.;2;A/B6916;43B;1A.E
    5208A52/<E63F<B?2026C211.5<=B/960.@@6@A.;02=.F:2;A@3<?                            ƒ                                                   
   "&)1196;2@ A5?<B45  ƒ                                               
 "!&"!%6HHLQVWUXFWLRQVSDJH           D.;AA<1<;.A2A<
  1.5<"<;4.:2+6919632B;1ƒ                       1.5<5691?2;J@(?B@AB;1ƒ
  '=206.9#9F:=60@1.5<ƒ                  1.5<B.?1&2@2?C2.:69Fƒ
  :2?60.;&21?<@@<31.5<B;1ƒ                           *2A2?.;@'B==<?AB;1ƒ
  1.5<<<1/.;8B;1ƒ                  #==<?AB;6AF'05<9.?@56=$?<4?.:ƒ
  "&)'% "!&"!%1196;2@ A5?<B45                                                             
* !&%!&$ $&%
   ?<02?F?216A<:=BA21.:<B;A3?<:D<?8@522A<;=.42  ƒ 100
     (<1<;.A2F<B?4?<02?F0?216AA<A52<<=2?.A6C2+293.?2B;105208A52/<E.;12;A2?G2?<<;96;2 ƒ
     "$(*"'$$"$*$&2;A2?A520<:=BA21.:<B;A<;96;2  ƒ                                                                 100 
  !.6;A.6;6;4.5<:23<?3.:69F:2:/2?.42<?<912?<?12C29<=:2;A.99F16@./921;09B12<?: & ƒ                                                                               
  '=206.93B29@A.E?23B;1                      .@<96;2A.E?23B;1                                 ;09B12<?:                                                                
  1.5<6;0<:2A.ED6A55291;09B12<?:+ @.;1.;F @A5.A@5<D1.5<D6A55<916;4 ƒ                                                                               2 
       <?: =.F:2;A@.;1.:<B;A.==96213?<:              ?2AB?; ƒ                                                    
  $.@@A5?<B456;0<:2A.E $.61/F2;A6AFƒ                   +6A55291ƒ                   ;09B12<?: @                                                                   
  (.E&26:/B?@2:2;A;02;A6C20?216Aƒ                  9.6:<3&645A0?216Aƒ                        '226;@A?B0A6<;@                                                              
   "&* !&%!&$ $&%1196;2@ A5?<B45                                                             102 
) '"$'!6HHLQVWUXFWLRQVSDJH
   ) '396;2 6@:<?2A5.;96;2 @B/A?.0A96;2 3?<:96;2  ƒ                                                                   
   $2;.9AFƒ                     ;A2?2@A3?<:A521B21.A2ƒ                         ;A2?A<A.9                                                            
     &KHFNER[LISHQDOW\LVFDXVHGE\DQXQTXDOL¿HG,GDKRPHGLFDOVDYLQJVDFFRXQWZLWKGUDZDO ƒ
   "& '1196;2@ .;1 $.F<;96;2<?:.8205208=.F./92A<A521.5<'A.A2(.E<::6@@6<; ƒ                                                                                
  ($#396;2 6@92@@A5.;96;2 @B/A?.0A96;2@ .;1 3?<:96;2  ƒ                                                   102 
  '!:<B;A<396;2A</2?23B;121A<F<B ƒ                                                        102 
  %& &):<B;A<396;2A</2.==9621A<F<B?             2@A6:.A21A.E ƒ                                                           
  'LUHFW'HSRVLW6HHLQVWUXFWLRQVSDJH ƒ                                    &KHFNLI¿QDOGHSRVLWGHVWLQDWLRQLVRXWVLGHWKH86
                                                                                                                                                                             (F=2<3 ƒ  52086;4
ƒ &<BA6;4"<      1     2     1   0   0   0    3    5    8      ƒ 00<B;A"                                                                                                00<B;A ƒ   '.C6;4@

       !&'$!!* " #&&%%&"!&"&$ !*"'$&)'"$$'!!%&$'&"!%
     (<A.91B296;2 <?<C2?=.6196;2<;A56@?2AB?;           
     &23B;13?<:<?646;.9?2AB?;=9B@.116A6<;.9?23B;1@ ƒ  
      (.E=.61D6A5<?646;.9?2AB?;=9B@.116A6<;.9A.E=.61 ƒ          
      :2;121A.E1B2<??23B;11196;2@.;1A52;@B/A?.0A96;2                            
         :LWKLQGD\VRIUHFHLYLQJWKLVUHWXUQWKH,GDKR6WDWH7D[&RPPLVVLRQPD\GLVFXVVWKLVUHWXUQZLWKWKHSDLGSUHSDUHULGHQWL¿HGEHORZ
 ƒ       );12?=2;.9A62@<3=2?7B?F1209.?2A5.AA<A52/2@A<3:F8;<D92142.;1/29623A56@?2AB?;6@A?B20<??20A.;10<:=92A2'226;@A?B0A6<;@
         ,<B?@64;.AB?2                                                                     '=<B@2J@@64;.AB?263.7<6;A?2AB?;/<A5:B@A@64;                          .A2
         ƒ                                                                                  ƒ
!
$ $.61=?2=.?2?J@@64;.AB?2                                                              $?2=.?2?J@"''"$("                                           (.E=.F2?J@=5<;2;B:/2?
         ƒ                                                                                  ƒ
 $?2=.?2?J@.11?2@@                                                       'A.A2           -$<12                     $?2=.?2?J@=5<;2;B:/2?


#                                                                                                                            $.42 <3 
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 360 of 393 Page ID #:360
                                                                                 16 8 2

                                       (*&                                                                                                                  
                                        +$ ',-))% & ',%# -% 
",70=,==39A898<0>?<8                                                                                                            &9.4,6&0.?<4>C8?7-0<
 KRISTEN PEARSON & STEVEN R COLLINS
 $,$('+ $'+,*-,$('+)"  
      0/0<,680>9:0<,>48269==/0/?.>49848.6?/0/989<7 6480 ƒ                                               
         ,:4>,669==.,<<C9@0<48.?<<0/9?>=4/0>30=>,>0-019<0-0.97482,8/,39<0=4/08> ƒ                                                       
         "98/,39=>,>0,8/69.,6-98/48>0<0=>,8//4@4/08/= ƒ                                      
       /,39.966020=,@482=,..9?8>A4>3/<,A,6 ƒ                                
       98?=/0:<0.4,>4988.6?/09<7 = ƒ                                
       #>30<,//4>498=8.6?/00B:6,8,>498 ƒ                           
     '9>,6,//4>498=//6480= >3<9?238>0<30<0,8/989<7 6480 ƒ                                                 
 -,*,$('+ $'+,*-,$('+)"  
      /,3980>9:0<,>48269==.,<<C9@0<       ƒ
          /,3980>9:0<,>48269==.,<<C-,.5                     ƒ                         8>0<>9>,630<0                          
         &>,>048.970>,B<01?8/4148.6?/0/4810/0<,648.970 ƒ                                    
         8>0<0=>1<97(&29@0<8708>9-642,>498= ƒ                               
       (QHUJ\HႈFLHQF\XSJUDGHV ƒ                         
       6>0<8,>4@0080<2C/0@4.0/0/?.>498
                +0,<
              .;?4<0/       'C:0910@4.0                              '9>,69=>        $0<.08>,20
              ,                                                                      *                 , ƒ                                  
              -                                                                     *                  - ƒ                                  
              .                                                                     *                  . ƒ                                  
              /                                                                     *                  / ƒ                                  
              0 //6480=,>3<9?23/,8E>0B.00/                        ƒ   0           
       346/ /0:08/08>.,<097:60>0A9<5=300>98:,20 ,8/48.6?/010/0<,69<7   ƒ                                                        4466 

       6RFLDO6HFXULW\DQGUDLOURDGEHQH¿WVLILQFOXGHGLQIHGHUDOLQFRPH ƒ                                           
       5HWLUHPHQWEHQH¿WVGHGXFWLRQ
              , ,IVLQJOHHQWHURULIPDUULHG¿OLQJMRLQWO\HQWHU                           ƒ ,                               
              - )HGHUDO5DLOURDG5HWLUHPHQWEHQH¿WVUHFHLYHG ƒ -                                                   
              . 6RFLDO6HFXULW\EHQH¿WVUHFHLYHG ƒ .                                          
              / 480,748?=6480=-,8/.160==>3,8D0<908>0<D0<9                              /                             
              0 4XDOL¿HGUHWLUHPHQWEHQH¿WVLQFOXGHGLQIHGHUDOLQFRPH ƒ 0                                                       
               1 8>0<>30=7,660<916480/9<030<0 ƒ              1           
       '0.3896924.,60;?4:708>/98,>498 ƒ                            
         /,39.,:4>,62,48=/0/?.>4988.6?/09<7 ƒ                                    
         .>4@0/?>C7464>,<C:,C0,<80/9?>=4/091/,39 ƒ                                 
         /9:>4980B:08=0= ƒ                   
         /,3970/4.,6=,@482=,..9?8>98><4-?>498=                                                8>0<0=>
              48,8.4,68=>4>?>498                                             ..9?8>8?7-0<                                                     ƒ                
       /,39.966020=,@482=:<92<,7 ƒ                          
       !,48>,48482,397019<>30,20/9</0@069:708>,66C/4=,-60/ ƒ                                            
       /,3969>>0<CA488482=60==>3,8                  :0<:<4D0 ƒ                 
       8.9700,<80/98,<0=0<@,>498-C,870<4.,88/4,8 ƒ                                         
#                                                                                                                                                   $,20 91 
     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 361 of 393 Page ID #:361
                                                                                                                                 (*&   
",70=,==39A898<0>?<8                                                                                                       &9.4,6&0.?<4>C8?7-0<
KRISTEN PEARSON & STEVEN R COLLINS
        0,6>348=?<,8.0:<074?7= ƒ                               
        982>0<7.,<048=?<,8.0 ƒ                              
          )9<50<=E.97:08=,>49848=?<,8.0 ƒ                                    
          98?=/0:<0.4,>4988.6?/09<7 = ƒ                                       
          4<=>>4703970-?C0<=,@482=,..9?8>                    98><4-?>498=                           8>0<0=>
               48,8.4,68=>4>?>498                           ..9?8>8?7-0<
               ƒ    %\FKHFNLQJWKHER[,DWWHVWWKDW,DPD¿UVWWLPHKRPHEX\HU6HHLQVWUXFWLRQV                                         ƒ                             
          #>30<=?-><,.>498=8.6?/00B:6,8,>498 ƒ                                    
        '9>,6=?-><,.>498=//6480= >3<9?230>3<9?23,8/1>3<9?23 
          8>0<30<0,8/989<7 6480  ƒ                              4466 
 * $,!(*$'(& ,0)$,((,# *+,, + $'+,*-,$('+)"                                      
   '34=.<0/4>4=-0482.6,470/19<>,B0=:,4/>9 ƒ                                                                                               &>,>08,70

          /,39>,B9<7 6480                                       
                                                                                                                                                 8.6?/0,.9:C91>30
          )HGHUDODGMXVWHGJURVVLQFRPHHDUQHGLQRWKHUVWDWHDGMXVWHGIRU                                                                      48.970>,B<0>?<8,8/
            ,GDKRPRGL¿FDWLRQV6HHLQVWUXFWLRQV ƒ                                           ,+ )*, (*& 
          ,GDKRDGMXVWHGLQFRPH6HHLQVWUXFWLRQV                                              19<0,.3=>,>019<A34.3
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        48.6?/482C9?,8/C9?<=:9?=0,8/:<9@4/079<0>3,89803,6191>3,>:0<=98E==?::9<>                                                    +0=           "9
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                                                                                                                                                           77 // CCCC




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Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 362 of 393 Page ID #:362




  Kristen’s 2021 Tax Packet
  Audit Defense Policy

  Federal Tax Return

  State Tax Return



                                                                     Kristen Pearson
Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 363 of 393 Page ID #:363




  Audit Defense Policy
  Defense Code: COXD-EXII-2021
  Thanks for filing with Cash App Taxes! We hope you won’t need these instructions. But if
  you do get audited on your 2021 return, we’ve partnered with the pros at Tax Protection Plus
  to help you through it – all for free! Here’s what you’ll need:


  Instructions
  9L Call Tax Protection Plus toll-free at 877-579-5602.

       • Make the call within 30 days of hearing from the IRS or the state.
       • If you’d prefer to have them call you, send an email to: cases@taxprotectionplus.com.
       • Make the subject line: Audit Defense Redemption.
       • Include your name, phone number, and the best time to reach you (within their busi-
         ness hours).

  :L You’ll have to provide some personal info to get started, as well as:

       • Your Defense code: COXD-EXII-2021
       • The tax return year: 2021
       • Whether it’s a federal (IRS) or state audit

  ;L You’ll get an email with a secure link to upload your tax return and the audit notice you
     received.


  Policy Details
  Your Audit Defense expires one year after,r
                                             04/18/2022          your e-file date (whichever is
  later). If you’re not sure when you e-filed, you can find the date on your Cash App Taxes
  dashboard.
   Your Tax Year 2020 audit defense (Code = C4B4-RHCI-2020) has been extended until 05/08/2023.

   Your Tax Year 2019 audit defense (Code = CLGS-U2RQ-2019) has been extended until 04/15/2023.
  For more details about Audit Defense, visit %11-0Nmm15"0%")-L 0%L--m0m/1& )"m2!&1f
  "#"+0"f4%"+f6,2f#&)"f4&1%f0%f--f5"0

                                                                                      Kristen Pearson
        Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 364 of 393 Page ID #:364

        1040 U.S. Individual Income Tax Return 2021                                 (99)
 Form                  Department of the Treasury—Internal Revenue Service

                                                                                                                           OMB No. 1545-0074                   IRS Use Only—Do not write or staple in this space.

 Filing Status              Single      Married filing jointly              Married filing separately (MFS)                               Head of household (HOH)                  Qualifying widow(er) (QW)
 Check only           If you checked the MFS box, enter the name of your spouse. If you checked the HOH or QW box, enter the child’s name if the qualifying
 one box.
                      person is a child but not your dependent a
   Your first name and middle initial                                    Last name                                                                                               Your social security number
   KRISTEN A                                                             PEARSON
   If joint return, spouse’s first name and middle initial               Last name                                                                                               Spouse’s social security number
   STEVEN R                                                              COLLINS
   Home address (number and street). If you have a P.O. box, see instructions.                                                                             Apt. no.        Presidential Election Campaign
   2023 W SAINT ESTEPHE CT                                                                                                                                                 Check here if you, or your
                                                                                                                                                                           spouse if filing jointly, want $3
   City, town, or post office. If you have a foreign address, also complete spaces below.                             State                            ZIP code
                                                                                                                                                                           to go to this fund. Checking a
   HAYDEN                                                                                                                         ID                        83835          box below will not change
   Foreign country name                                                           Foreign province/state/county                                        Foreign postal code your tax or refund.
                                                                                                                                                                                             You           Spouse

 At any time during 2021, did you receive, sell, exchange, or otherwise dispose of any financial interest in any virtual currency?                                                           Yes          No

 Standard             Someone can claim:        You as a dependent          Your spouse as a dependent
 Deduction               Spouse itemizes on a separate return or you were a dual-status alien

 Age/Blindness You:               Were born before January 2, 1957                   Are blind               Spouse:                       Was born before January 2, 1957                    Is blind
 Dependents (see instructions):                                                            (2) Social security                (3) Relationship                  (4)  if qualifies for (see instructions):
                  (1) First name   Last name                                                    number                             to you                      Child tax credit       Credit for other dependents
 If more
 than four        TOBIAS S COLLINS                                                                                         SON                                           
 dependents,      VAUGHN COLLINS                                                    0 9                                    SON                                           
 see instructions
 and check        STERLING COLLINS                                                                                         SON                                           

 here a           HOLLEY COLLINS                                                                                           DAUGHTER                                      

                      1      Wages, salaries, tips, etc. Attach Form(s) W-2                  .   .   .       .   .     .      .        .     .   .     .   .   .   .     .   .        1                    10429
 Attach               2a     Tax-exempt interest .           .   .     2a                                                                                                            2b                         10
                                                                                                                     b Taxable interest   .                    .   .     .   .
 Sch. B if
                      3a     Qualified dividends .           .   .     3a                                1           b Ordinary dividends .                    .   .     .   .       3b                             1
 required.
                      4a     IRA distributions . .           .   .     4a                                            b Taxable amount . .                      .   .     .   .       4b
                  5a         Pensions and annuities . .         5a                             b Taxable amount .                                          .   .   .     .   .       5b                     1067
Standard          6a         Social security benefits . .       6a                 13596       b Taxable amount .                                          .   .   .     .   .       6b
Deduction for—                                                                                                                                                         a
                  7          Capital gain or (loss). Attach Schedule D if required. If not required, check here .                                          .   .   .                  7
• Single or
  Married filing  8          Other income from Schedule 1, line 10 . . . . . . . .                                            .        .     .   .     .   .   .   .     . .         8                      5829
  separately,
  $12,550         9          Add lines 1, 2b, 3b, 4b, 5b, 6b, 7, and 8. This is your total income                             .        .     .   .     .   .   .   .     . a          9                    17336
• Married filing 10          Adjustments to income from Schedule 1, line 26        . . . . .                                  .        .     .   .     .   .   .   .     . .         10                       412
  jointly or
  Qualifying     11          Subtract line 10 from line 9. This is your adjusted gross income                                 .        .     .   .     .   .   .   .     . a         11                    16924
  widow(er),                                                                                                                                                              25100
  $25,100
                      12a    Standard deduction or itemized deductions (from Schedule A)             . .                                         12a
• Head of               b    Charitable contributions if you take the standard deduction (see instructions)                                      12b                         100
  household,
  $18,800               c    Add lines 12a and 12b . . . . . . . . . . . . . . .                                                             .   .     .   .   .   .     .   .       12c                   25200
• If you checked      13     Qualified business income deduction from Form 8995 or Form 8995-A .                                             .   .     .   .   .   .     .   .        13
  any box under
  Standard            14     Add lines 12c and 13    . . . . . . . . . . . . . . .                                                           .   .     .   .   .   .     .   .        14                   25200
  Deduction,          15     Taxable income. Subtract line 14 from line 11. If zero or less, enter -0- .                                     .   .     .   .   .   .     .   .
  see instructions.
                                                                                                                                                                                     15


 For Disclosure, Privacy Act, and Paperwork Reduction Act Notice, see separate instructions.                                                           Cat. No. 11320B                         Form 1040 (2021)
    Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 365 of 393 Page ID #:365
Form 1040 (2021)                                                                                                                                                                                  Page 2
                    16      Tax (see instructions). Check if any from Form(s): 1 8814                              2       4972 3                               .     .     16
                    17      Amount from Schedule 2, line 3        . . . . . . . .                              .       .   . . . .            .   .   .   .     .     .     17
                    18      Add lines 16 and 17 . . . . . . . . . . . . . . . . . . .                                                             .   .   .     .     .     18
                    19      Nonrefundable child tax credit or credit for other dependents from Schedule 8812                                      .   .   .     .     .     19
                    20      Amount from Schedule 3, line 8     . . . . . . . . . . . . . . .                                                      .   .   .     .     .     20
                    21      Add lines 19 and 20 . . . . . . . . . . . . . . .                                                  .   .   .      .   .   .   .     .     .     21
                    22      Subtract line 21 from line 18. If zero or less, enter -0- . . . . .                                .   .   .      .   .   .   .     .     .     22
                    23      Other taxes, including self-employment tax, from Schedule 2, line 21                               .   .   .      .   .   .   .     .     .     23                        823
                    24      Add lines 22 and 23. This is your total tax              .   .   .     .     .     .       .   .   .   .   .      .   .   .   .     .     a     24                        823
                    25      Federal income tax withheld from:
                      a     Form(s) W-2 . . . . . . . . .                            .   .   .     .     .     .       .   .   .       25a
                        b   Form(s) 1099 . . . . . .                  .   .      .   .   .   .     .     .     .       .   .   .     25b
                        c   Other forms (see instructions) .          .   .      .   .   .   .     .     .     .       .   .   .     25c
                        d   Add lines 25a through 25c . .             .   .      .   .   .   .     .     .     .       .   .   .   . . .          .   .   .     .     .    25d
                    26      2021 estimated tax payments and amount applied from 2020 return . .                                    .    . .       .   .   .     .    .      26
If you have a
qualifying child,   27a     Earned income credit (EIC) . . . . . . . . . . . . . .                                                     27a                          6728
attach Sch. EIC.
                            Check here if you were born after January 1, 1998, and before
                            January 2, 2004, and you satisfy all the other requirements for
                            taxpayers who are at least age 18, to claim the EIC. See instructions a
                        b   Nontaxable combat pay election            .   .      .   .       27b
                        c   Prior year (2019) earned income           .   .      .   .       27c
                    28      Refundable child tax credit or additional child tax credit from Schedule 8812                              28                           9900
                    29      American opportunity credit from Form 8863, line 8 . . . . . . .           29
                    30      Recovery rebate credit. See instructions . . . . . . . . . .               30
                    31      Amount from Schedule 3, line 15 . . . . . . . . . . . .                    31              1271
                    32      Add lines 27a and 28 through 31. These are your total other payments and refundable credits a                                                   32                   17899
                    33      Add lines 25d, 26, and 32. These are your total payments     . . . . . . . . . . . a                                                            33                   17899
                    34      If line 33 is more than line 24, subtract line 24 from line 33. This is the amount you overpaid                                     .     .     34                   17076
Refund
                  35a       Amount of line 34 you want refunded to you. If Form 8888 is attached, check here .                                        .   .    a           35a                   17076
Direct deposit?   ab        Routing number 1 2 1 0 0 0 3 5 8                           a c Type:     Checking                                                Savings
See instructions. a
                    d       Account number 0 0 1 7 1 5 6 0 2 0 0 8
                  36        Amount of line 34 you want applied to your 2022 estimated tax .    . a       36
Amount              37      Amount you owe. Subtract line 33 from line 24. For details on how to pay, see instructions                                          .    a      37
You Owe             38      Estimated tax penalty (see instructions) . . . . . . . . . a                 38
Third Party             Do you want to allow another person to discuss this return with the IRS? See
Designee                instructions . . . . . . . . . . . . . . . . . . . . a                                                                    Yes. Complete below.                 No
                        Designee’s                                                               Phone                                                Personal identification
                        name a                                                                   no. a                                                number (PIN) a
                        Under penalties of perjury, I declare that I have examined this return and accompanying schedules and statements, and to the best of my knowledge and
Sign                    belief, they are true, correct, and complete. Declaration of preparer (other than taxpayer) is based on all information of which preparer has any knowledge.
Here                    Your signature                                               Date                    Your occupation                                        If the IRS sent you an Identity
                                                                                                                                                                    Protection PIN, enter it here
                    F




Joint return?                                                                                                LAWYER                                                 (see inst.) a
See instructions.       Spouse’s signature. If a joint return, both must sign.       Date                    Spouse’s occupation                                    If the IRS sent your spouse an
Keep a copy for                                                                                                                                                     Identity Protection PIN, enter it here
your records.                                                                                                DISABLED                                               (see inst.) a
                        Phone no.                                                    Email address
                        Preparer’s name                        Preparer’s signature                                                    Date                    PTIN                Check if:
Paid                                                                                                                                                                                   Self-employed
Preparer
                        Firm’s name a                                                                                                                               Phone no.
Use Only
                        Firm’s address a                                                                                                                            Firm’s EIN a
Go to www.irs.gov/Form1040 for instructions and the latest information.                                                                                                                Form 1040 (2021)
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 366 of 393 Page ID #:366
SCHEDULE 1                                                                                                                  OMB No. 1545-0074
                                Additional Income and Adjustments to Income
(Form 1040)
Department of the Treasury
                                               a Attach to Form 1040, 1040-SR, or 1040-NR.                                   2021
                                                                                                                            Attachment
                                 a Go to www.irs.gov/Form1040 for instructions and the latest information.
Internal Revenue Service                                                                                                    Sequence No. 01
Name(s) shown on Form 1040, 1040-SR, or 1040-NR                                                              Your social security number
KRISTEN A PEARSON
 Part I        Additional Income
  1       Taxable refunds, credits, or offsets of state and local income taxes . . . . . . .                           1
  2a Alimony received . . . . . . . . . . . . . . . . . . . . . . . . . . .                                            2a
      b Date of original divorce or separation agreement (see instructions) a
  3       Business income or (loss). Attach Schedule C              . . . . . . . . . . . . . . .                      3                  5829

  4       Other gains or (losses). Attach Form 4797 . . . . . . . . . . . . . . . . .                                  4
  5       Rental real estate, royalties, partnerships, S corporations, trusts, etc. Attach
          Schedule E . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                         5
  6       Farm income or (loss). Attach Schedule F . . . . . . . . . . . . . . . . .                                   6
  7       Unemployment compensation . . . . . . . . . . . . . . . . . . . . . .                                        7
  8       Other income:
    a Net operating loss          . . . . . . . . . . . . . . . . . .                        8a (                  )
      b Gambling income . . . . . . . . . . . . . . . . . . .                                8b
      c Cancellation of debt . . . . . . . . . . . . . . . . . .                             8c
      d Foreign earned income exclusion from Form 2555                   . . . . .           8d (                  )
      e Taxable Health Savings Account distribution . . . . . . . .                          8e
      f Alaska Permanent Fund dividends . . . . . . . . . . . .                              8f
      g Jury duty pay        . . . . . . . . . . . . . . . . . . . .                         8g
      h Prizes and awards         . . . . . . . . . . . . . . . . . .                        8h
      i   Activity not engaged in for profit income           . . . . . . . . .              8i
      j Stock options . . . . . . . . . . . . . . . . . . . .                                8j
      k Income from the rental of personal property if you engaged in
        the rental for profit but were not in the business of renting such
        property . . . . . . . . . . . . . . . . . . . . . .                                 8k
      l   Olympic and Paralympic medals and USOC prize money (see
          instructions) . . . . . . . . . . . . . . . . . . . . .                            8l
      m Section 951(a) inclusion (see instructions) . . . . . . . . .                        8m
      n Section 951A(a) inclusion (see instructions)             . . . . . . . .             8n
      o Section 461(l) excess business loss adjustment . . . . . . .                         8o
      p Taxable distributions from an ABLE account (see instructions) .                      8p
      z Other income. List type and amount a
                                                                                             8z
 9        Total other income. Add lines 8a through 8z . . . . . . . . . . . . . . . .                                  9
10        Combine lines 1 through 7 and 9. Enter here and on Form 1040, 1040-SR, or
          1040-NR, line 8 . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        10                 5829
For Paperwork Reduction Act Notice, see your tax return instructions.               Cat. No. 71479F                Schedule 1 (Form 1040) 2021
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 367 of 393 Page ID #:367
Schedule 1 (Form 1040) 2021                                                                                         Page 2

 Part II Adjustments to Income
11      Educator expenses . . . . . . . . . . . . . . . . . . . . . . . . . .                    11
12      Certain business expenses of reservists, performing artists, and fee-basis government
        officials. Attach Form 2106 . . . . . . . . . . . . . . . . . . . . . . .                12
13      Health savings account deduction. Attach Form 8889 . . . . . . . . . . . .               13
14      Moving expenses for members of the Armed Forces. Attach Form 3903 . . . . .              14
15      Deductible part of self-employment tax. Attach Schedule SE     . . . . . . . . .         15                   412

16      Self-employed SEP, SIMPLE, and qualified plans . . . . . . . . . . . . . .               16
17      Self-employed health insurance deduction . . . . . . . . . . . . . . . . .               17
18      Penalty on early withdrawal of savings   . . . . . . . . . . . . . . . . . .             18
19a Alimony paid . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                      19a
    b Recipient’s SSN         . . . . . . . . . . . . . . . . . . . . a
    c Date of original divorce or separation agreement (see instructions) a
20      IRA deduction . . . . . . . . . . . . . . . . . . . . . . . . . . . .                    20
21      Student loan interest deduction . . . . . . . . . . . . . . . . . . . . .                21
22      Reserved for future use     . . . . . . . . . . . . . . . . . . . . . . . .              22
23      Archer MSA deduction . . . . . . . . . . . . . . . . . . . . . . . . .                   23
24      Other adjustments:
    a Jury duty pay (see instructions) . . . . . . . . . . . . .           24a
    b Deductible expenses related to income reported on line 8k from
      the rental of personal property engaged in for profit . . . . . 24b
    c Nontaxable amount of the value of Olympic and Paralympic
      medals and USOC prize money reported on line 8l . . . . . 24c
    d Reforestation amortization and expenses . . . . . . . . .            24d
    e Repayment of supplemental unemployment benefits under the
      Trade Act of 1974 . . . . . . . . . . . . . . . . . . . 24e
    f Contributions to section 501(c)(18)(D) pension plans . . . . .       24f
    g Contributions by certain chaplains to section 403(b) plans     . .   24g
    h Attorney fees and court costs for actions involving certain
      unlawful discrimination claims (see instructions) . . . . . . 24h
    i Attorney fees and court costs you paid in connection with an
      award from the IRS for information you provided that helped the
      IRS detect tax law violations . . . . . . . . . . . . . .       24i
    j   Housing deduction from Form 2555      . . . . . . . . . . .        24j
    k Excess deductions of section 67(e) expenses from Schedule K-1
      (Form 1041) . . . . . . . . . . . . . . . . . . . . . 24k
    z Other adjustments. List type and amount a
                                                                           24z
25      Total other adjustments. Add lines 24a through 24z . . . . . . . . . . . . .             25
26      Add lines 11 through 23 and 25. These are your adjustments to income. Enter
        here and on Form 1040 or 1040-SR, line 10, or Form 1040-NR, line 10a . . . . .           26                   412
                                                                                                Schedule 1 (Form 1040) 2021
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 368 of 393 Page ID #:368
SCHEDULE 2                                                                                                                OMB No. 1545-0074
                                                        Additional Taxes
(Form 1040)
Department of the Treasury
                                               a Attach to Form 1040, 1040-SR, or 1040-NR.                                 2021
                                                                                                                          Attachment
                                 a Go to www.irs.gov/Form1040 for instructions and the latest information.
Internal Revenue Service                                                                                                  Sequence No. 02
Name(s) shown on Form 1040, 1040-SR, or 1040-NR                                                              Your social security number
KRISTEN A PEARSON
 Part I        Tax
  1      Alternative minimum tax. Attach Form 6251 . . . . . . . . . . . . . . . .                                   1
  2      Excess advance premium tax credit repayment. Attach Form 8962 . . . . . . .                                 2
  3      Add li
         AGGOLQHVDQG(QWHUKHUHDQGRQ)RUP65RU15OLQH . .                            3
 Part II Other Taxes
  4      Self-employment tax. Attach Schedule SE . . . . . . . . . . . . . . . . .                                   4                  823

  5      Social security and Medicare tax on unreported tip income.
         Attach Form 4137 . . . . . . . . . . . . . . . . . .                                5
  6      Uncollected social security and Medicare tax on wages. Attach
         Form 8919 . . . . . . . . . . . . . . . . . . . . .                                 6
  7      Total additional social security and Medicare tax. Add lines 5 and 6                    . . . . . .         7
  8      Additional tax on IRAs or other tax-favored accounts. Attach Form 5329 if required                          8
  9      Household employment taxes. Attach Schedule H                   . . . . . . . . . . . . .                   9
10       Repayment of first-time homebuyer credit. Attach Form 5405 if required . . . . .                            10
11       Additional Medicare Tax. Attach Form 8959 . . . . . . . . . . . . . . . .                                   11
12       Net investment income tax. Attach Form 8960 . . . . . . . . . . . . . . .                                   12
13       Uncollected social security and Medicare or RRTA tax on tips or group-term life
         insurance from Form W-2, box 12 . . . . . . . . . . . . . . . . . . . .                                     13
14       Interest on tax due on installment income from the sale of certain residential lots
         and timeshares . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      14
15       Interest on the deferred tax on gain from certain installment sales with a sales price
         over $150,000 . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                       15
16       Recapture of low-income housing credit. Attach Form 8611 . . . . . . . . . .                                16
                                                                                                                 (continued on page 2)
For Paperwork Reduction Act Notice, see your tax return instructions.              Cat. No. 71478U                 Schedule 2 (Form 1040) 2021
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 369 of 393 Page ID #:369
Schedule 2 (Form 1040) 2021                                                                                       Page 2

 Part II Other Taxes (continued)
17      Other additional taxes:
    a Recapture of other credits. List type, form number, and
      amount a                                                17a
    b Recapture of federal mortgage subsidy. If you sold your home in
      2021, see instructions . . . . . . . . . . . . . . . . . 17b
    c Additional tax on HSA distributions. Attach Form 8889 . . . .      17c
    d Additional tax on an HSA because you didn’t remain an eligible
      individual. Attach Form 8889 . . . . . . . . . . . . . . 17d
    e Additional tax on Archer MSA distributions. Attach Form 8853 .     17e
    f Additional tax on Medicare Advantage MSA distributions. Attach
      Form 8853 . . . . . . . . . . . . . . . . . . . . .            17f
    g Recapture of a charitable contribution deduction related to a
      fractional interest in tangible personal property . . . . . . . 17g
    h Income you received from a nonqualified deferred compensation
      plan that fails to meet the requirements of section 409A . . . 17h
    i Compensation you received from a nonqualified deferred
      compensation plan described in section 457A . . . . . . .      17i
    j   Section 72(m)(5) excess benefits tax . . . . . . . . . . .        17j
    k Golden parachute payments       . . . . . . . . . . . . . .        17k
    l   Tax on accumulation distribution of trusts . . . . . . . . .      17l
    m Excise tax on insider stock compensation from an expatriated
      corporation . . . . . . . . . . . . . . . . . . . . . 17m
    n Look-back interest under section 167(g) or 460(b) from Form
      8697 or 8866 . . . . . . . . . . . . . . . . . . . . 17n
    o Tax on non-effectively connected income for any part of the
      year you were a nonresident alien from Form 1040-NR . . . . 17o
    p Any interest from Form 8621, line 16f, relating to distributions
      from, and dispositions of, stock of a section 1291 fund . . . . 17p
    q Any interest from Form 8621, line 24 . . . . . . . . . . .         17q
    z Any other taxes. List type and amount a
                                                                         17z
18      Total additional taxes. Add lines 17a through 17z . . . . . . . . . . . . . .          18
19      Additional tax from Schedule 8812 . . . . . . . . . . . . . . . . . . . .              19
20      Section 965 net tax liability installment from Form 965-A . . .    20
21      Add lines 4, 7 through 16, 18, and 19. These are your total other taxes. Enter here
        and on Form 1040 or 1040-SR, line 23, or Form 1040-NR, line 23b . . . . . . .          21                  823
                                                                                              Schedule 2 (Form 1040) 2021
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 370 of 393 Page ID #:370
SCHEDULE 3                                                                                                               OMB No. 1545-0074
                                           Additional Credits and Payments
(Form 1040)
Department of the Treasury
                                               a Attach to Form 1040, 1040-SR, or 1040-NR.                                2021
                                                                                                                         Attachment
                                 a Go to www.irs.gov/Form1040 for instructions and the latest information.
Internal Revenue Service                                                                                                 Sequence No. 03
Name(s) shown on Form 1040, 1040-SR, or 1040-NR                                                              Your social security number
KRISTEN A PEARSON

 Part I        Nonrefundable Credits
  1       Foreign tax credit. Attach Form 1116 if required              . . . . . . . . . . . . . .                  1
  2       Credit for child and dependent care expenses from Form 2441, line 11. Attach
          Form 2441 . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        2
  3       Education credits from Form 8863, line 19 . . . . . . . . . . . . . . . . .                                3
  4       Retirement savings contributions credit. Attach Form 8880 . . . . . . . . . .                              4
  5       Residential energy credits. Attach Form 5695              . . . . . . . . . . . . . . .                    5
  6       Other nonrefundable credits:
    a General business credit. Attach Form 3800                  . . . . . . . .             6a
      b Credit for prior year minimum tax. Attach Form 8801                  . . . .         6b
      c Adoption credit. Attach Form 8839 . . . . . . . . . . . .                            6c
      d Credit for the elderly or disabled. Attach Schedule R . . . . .                      6d
      e Alternative motor vehicle credit. Attach Form 8910                . . . . .          6e
      f Qualified plug-in motor vehicle credit. Attach Form 8936 . . .                       6f
      g Mortgage interest credit. Attach Form 8396 . . . . . . . .                           6g
      h District of Columbia first-time homebuyer credit. Attach Form 8859                   6h
      i   Qualified electric vehicle credit. Attach Form 8834             . . . . .          6i
      j   Alternative fuel vehicle refueling property credit. Attach Form 8911               6j
      k Credit to holders of tax credit bonds. Attach Form 8912 . . .                        6k
      l   Amount on Form 8978, line 14. See instructions                . . . . . .          6l
      z Other nonrefundable credits. List type and amount a
                                                                                             6z
  7       Total other nonrefundable credits. Add lines 6a through 6z . . . . . . . . . .                             7
  8                                                                   1040-65 or 1040-15
          Add lines 1 through 5 and 7. Enter here and on Form 1040, 1040         1040
          line 20 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                      8
                                                                                                                 (continued on page 2)
For Paperwork Reduction Act Notice, see your tax return instructions.               Cat. No. 71480G                Schedule 3 (Form 1040) 2021
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 371 of 393 Page ID #:371
Schedule 3 (Form 1040) 2021                                                                                     Page 2

 Part II Other Payments and Refundable Credits
  9     Net premium tax credit. Attach Form 8962 . . . . . . . . . . . . . . . . .            9
10      Amount paid with request for extension to file (see instructions) . . . . . . . .    10
11      Excess social security and tier 1 RRTA tax withheld . . . . . . . . . . . . .        11
12      Credit for federal tax on fuels. Attach Form 4136 . . . . . . . . . . . . . .        12
13      Other payments or refundable credits:
    a Form 2439 . . . . . . . . . . . . . . . . . . . . . 13a
    b Qualified sick and family leave credits from Schedule(s) H and
      Form(s) 7202 for leave taken before April 1, 2021 . . . . . . 13b
    c Health coverage tax credit from Form 8885 . . . . . . . . 13c
    d Credit for repayment of amounts included in income from earlier
      years . . . . . . . . . . . . . . . . . . . . . . . . 13d
    e Reserved for future use    . . . . . . . . . . . . . . . .          13e
    f Deferred amount of net 965 tax liability (see instructions) . . .   13f
    g Credit for child and dependent care expenses from Form 2441,
      line 10. Attach Form 2441 . . . . . . . . . . . . . . . 13g                   1271

    h Qualified sick and family leave credits from Schedule(s) H and
      Form(s) 7202 for leave taken after March 31, 2021 . . . . . 13h
    z Other payments or refundable credits. List type and amount a
                                                                          13z
14      Total other payments or refundable credits. Add lines 13a through 13z . . . . .      14              1271

15      Add lines 9 through 12 and 14. Enter here and on Form 1040, 1040-SR, or 1040-NR,
        line 31 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                15              1271
                                                                                            Schedule 3 (Form 1040) 2021
    Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 372 of 393 Page ID #:372
SCHEDULE B                                                                                                                      OMB No. 1545-0074
                                                    Interest and Ordinary Dividends
                                                                                                                                  2021
(Form 1040)
                                         a Go to www.irs.gov/ScheduleB for instructions and the latest information.
Department of the Treasury                                  a Attach to Form 1040 or 1040-SR.
                                                                                                                                Attachment
Internal Revenue Service (99)                                                                                                   Sequence No. 08
Name(s) shown on return                                                                                                 Your social security number
KRISTEN A PEARSON
Part I                   1      List name of payer. If any interest is from a seller-financed mortgage and the                      Amount
                                buyer used the property as a personal residence, see the instructions and list this
Interest                        interest first. Also, show that buyer’s social security number and address a
                                capital one n.a.                                                                                              10
(See instructions
and the
Instructions for
Form 1040, line
2b.)

Note: If you                                                                                                             1
received a Form
1099-INT, Form
1099-OID, or
substitute
statement from
a brokerage firm,
list the firm’s
name as the
payer and enter
the total interest
shown on that
form.
                         2  Add the amounts on line 1 . . . . . . . . . . . . . . . . . . .                              2                    10
                         3  Excludable interest on series EE and I U.S. savings bonds issued after 1989.
                            Attach Form 8815 . . . . . . . . . . . . . . . . . . . . . .                                 3                     0
                       4    Subtract line 3 from line 2. Enter the result here and on Form 1040 or 1040-SR,
                            line 2b . . . . . . . . . . . . . . . . . . . . . . . . a                                    4                    10
                      Note: If line 4 is over $1,500, you must complete Part III.                                                   Amount
Part II                5    List name of payer a     harley-davidson, inc                                                                   1.00

Ordinary
Dividends
(See instructions
and the
Instructions for
Form 1040, line
3b.)                                                                                                                     5
Note: If you
received a Form
1099-DIV or
substitute
statement from
a brokerage firm,
list the firm’s
name as the
payer and enter
the ordinary
dividends shown
on that form.
                         6   Add the amounts on line 5. Enter the total here and on Form 1040 or 1040-SR,
                             line 3b . . . . . . . . . . . . . . . . . . . . . . . . a                                   6                      1
                      Note: If line 6 is over $1,500, you must complete Part III.
Part III              You must complete this part if you (a) had over $1,500 of taxable interest or ordinary dividends; (b) had a
                                                                                                                                          Yes No
                      foreign account; or (c) received a distribution from, or were a grantor of, or a transferor to, a foreign trust.
Foreign                  7a     At any time during 2021, did you have a financial interest in or signature authority over a financial
Accounts                        account (such as a bank account, securities account, or brokerage account) located in a foreign
and Trusts                      country? See instructions . . . . . . . . . . . . . . . . . . . . . . . .
Caution: If                  If “Yes,” are you required to file FinCEN Form 114, Report of Foreign Bank and Financial
required, failure            Accounts (FBAR), to report that financial interest or signature authority? See FinCEN Form 114
to file FinCEN               and its instructions for filing requirements and exceptions to those requirements . . . . . .
Form 114 may
result in
                           b If you are required to file FinCEN Form 114, enter the name of the foreign country where the
substantial                  financial account is located a
penalties. See           8   During 2021, did you receive a distribution from, or were you the grantor of, or transferor to, a
instructions.                foreign trust? If “Yes,” you may have to file Form 3520. See instructions . . . . . . . . .
For Paperwork Reduction Act Notice, see your tax return instructions.                     Cat. No. 17146N             Schedule B (Form 1040) 2021
     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 373 of 393 Page ID #:373
SCHEDULE C                                                 Profit or Loss From Business                                                                           OMB No. 1545-0074

                                                                                                                                                                      2021
(Form 1040)                                                                   (Sole Proprietorship)
                                              a Go to www.irs.gov/ScheduleC for instructions and the latest information.
Department of the Treasury                                                                                                                                        Attachment
Internal Revenue Service (99) a Attach to Form 1040, 1040-SR, 1040-NR, or 1041; partnerships must generally file Form 1065.                                       Sequence No. 09
Name of proprietor                                                                                                                           Social security number (SSN)
             KRISTEN A PEARSON
A            Principal business or profession, including product or service (see instructions)                                               B Enter code from instructions
             PROFESSIONAL, SCIENTIFIC, & TECHNICAL SERVICES                                                                                               a   5       4    1   1   0   0
C            Business name. If no separate business name, leave blank.                                                                       D Employer ID number (EIN) (see instr.)
             LAW OFFICE OF KRISTEN PEARSON
E            Business address (including suite or room no.) a         2023 W SAINT ESTEPHE CT
             City, town or post office, state, and ZIP code         HAYDEN ID 83835
F            Accounting method:       (1)  Cash         (2)     Accrual      (3)     Other (specify) a
G            Did you “materially participate” in the operation of this business during 2021? If “No,” see instructions for limit on losses                        .        Yes        No
H            If you started or acquired this business during 2021, check here . . . . . . . . . . .                                  .   .    .       .   .   .   a

I            Did you make any payments in 2021 that would require you to file Form(s) 1099? See instructions .                       .   .    .       .   .   .   .         Yes     No
J            If “Yes,” did you or will you file required Form(s) 1099? . . . . . . . . . . . . . .                                   .   .    .       .   .   .   .         Yes     No
    Part I       Income
     1       Gross receipts or sales. See instructions for line 1 and check the box if this income was reported to you on
             Form W-2 and the “Statutory employee” box on that form was checked . . . . . . . . . a                                               1                            9946
     2       Returns and allowances . . . . . . . . . . . . . . . . . . . . . . . . .                                                             2                             0.00
     3       Subtract line 2 from line 1 . . . . . . . . . . . . . . . . . . . . . . . .                                                          3                            9946
     4       Cost of goods sold (from line 42) . . . . . . . . . . . . . . . . . . . . . .                                                        4                                0
     5       Gross profit. Subtract line 4 from line 3 . . . . . . . . . . . . . . . . .                                         .   . .          5                            9946
     6       Other income, including federal and state gasoline or fuel tax credit or refund (see instructions) .                .   . .          6                            0.00
     7       Gross income. Add lines 5 and 6 . . . . . . . . . . . . . . . . . . .                                               .   . a          7                            9946
 Part II         Expenses. Enter expenses for business use of your home only on line 30.
     8       Advertising .    .   .   .   .       8                   0.00              18       Office expense (see instructions) .              18                        158.00
     9       Car and truck expenses (see                                                19       Pension and profit-sharing plans .               19                          0.00
             instructions)     . . . .             9                   255              20       Rent or lease (see instructions):
    10       Commissions and fees .               10                  0.00                   a   Vehicles, machinery, and equipment            20a                            0.00
    11       Contract labor (see instructions)    11                  0.00                   b   Other business property . . .                 20b                            0.00
    12       Depletion . . . . .                  12                  0.00              21       Repairs and maintenance . . .                    21                          0.00
    13       Depreciation and section 179                                               22       Supplies (not included in Part III) .            22                         32.00
             expense      deduction   (not
             included in Part III) (see                                                 23       Taxes and licenses . . . . .                     23                        903.00
             instructions)   . . . .              13                      0             24       Travel and meals:
    14       Employee benefit programs                                                    a      Travel . . . .          .   .   .   .   .     24a                          258.00
             (other than on line 19)     .        14                  0.00                   b   Deductible meals (see
    15       Insurance (other than health)        15                  0.00                       instructions) . . . . . . .                   24b                              36
    16       Interest (see instructions):                                               25       Utilities . . . . . . . .                      25                          432.00
      a      Mortgage (paid to banks, etc.)      16a                  0.00              26       Wages (less employment credits)                26                            0.00
         b   Other . . . . . .           16b                408.00                      27a      Other expenses (from line 48) . .             27a                          549.00
    17       Legal and professional services
                                          17                 11.00                         b     Reserved for future use . . .                 27b                               0
    28       Total expenses before expenses for business use of home. Add lines 8 through 27a .                      .   .   .   .   .   a      28                           3042
    29       Tentative profit or (loss). Subtract line 28 from line 7 .   .     .   .   .    .   .   .   .   .   .   .   .   .   .   .   .        29                         6904
    30       Expenses for business use of your home. Do not report these expenses elsewhere. Attach Form 8829
             unless using the simplified method. See instructions.
             Simplified method filers only: Enter the total square footage of (a) your home:         1842
             and (b) the part of your home used for business:                     215                            . Use the Simplified
             Method Worksheet in the instructions to figure the amount to enter on line 30               .   .    . . . . . . .                   30                           1075
    31       Net profit or (loss). Subtract line 30 from line 29.




    32
             • If a profit, enter on both Schedule 1 (Form 1040), line 3, and on Schedule SE, line 2. (If you
             checked the box on line 1, see instructions). Estates and trusts, enter on Form 1041, line 3.
             • If a loss, you must go to line 32.
             If you have a loss, check the box that describes your investment in this activity. See instructions.
                                                                                                                                     }            31                           5829



             • If you checked 32a, enter the loss on both Schedule 1 (Form 1040), line 3, and on Schedule
             SE, line 2. (If you checked the box on line 1, see the line 31 instructions.) Estates and trusts, enter on
             Form 1041, line 3.
             • If you checked 32b, you must attach Form 6198. Your loss may be limited.
                                                                                                                                     }         32a  All investment is at risk.
                                                                                                                                               32b   Some investment is not
                                                                                                                                                     at risk.
For Paperwork Reduction Act Notice, see the separate instructions.                                           Cat. No. 11334P                              Schedule C (Form 1040) 2021
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 374 of 393 Page ID #:374
Schedule C (Form 1040) 2021                                                                                                                                                         Page 2
Part III        Cost of Goods Sold (see instructions)

 33       Method(s) used to
          value closing inventory:            a           Cost             b           Lower of cost or market              c        Other (attach explanation)
 34       Was there any change in determining quantities, costs, or valuations between opening and closing inventory?
          If “Yes,” attach explanation . . . . . . . . . . . . . . . . . . . . . . . . .                                                                  .       Yes               No


 35       Inventory at beginning of year. If different from last year’s closing inventory, attach explanation .                          .   .       35                      0.00

 36       Purchases less cost of items withdrawn for personal use                       .   .   .   .   .   .   .   .   .   .   .    .   .   .       36                      0.00

 37       Cost of labor. Do not include any amounts paid to yourself .                      .   .   .   .   .   .   .   .   .   .    .   .   .       37                      0.00

 38       Materials and supplies      .   .       .   .   .    .   .   .       .   .    .   .   .   .   .   .   .   .   .   .   .    .   .   .       38                      0.00

 39       Other costs .   .   .   .   .   .       .   .   .    .   .   .       .   .    .   .   .   .   .   .   .   .   .   .   .    .   .   .       39                      0.00

 40       Add lines 35 through 39 .       .       .   .   .    .   .   .       .   .    .   .   .   .   .   .   .   .   .   .   .    .   .   .       40                         0

 41       Inventory at end of year .      .       .   .   .    .   .   .       .   .    .   .   .   .   .   .   .   .   .   .   .    .   .   .       41                      0.00

 42       Cost of goods sold. Subtract line 41 from line 40. Enter the result here and on line 4 .                          .   .    .   .   .       42                         0
Part IV         Information on Your Vehicle. Complete this part only if you are claiming car or truck expenses on line 9 and
                are not required to file Form 4562 for this business. See the instructions for line 13 to find out if you must file
                Form 4562.

 43       When did you place your vehicle in service for business purposes? (month/day/year)                                a       04 / 30 / 2019

 44       Of the total number of miles you drove your vehicle during 2021, enter the number of miles you used your vehicle for:


      a   Business    456                                     b Commuting (see instructions)                0                                c Other          4556

 45       Was your vehicle available for personal use during off-duty hours?                        .   .   .   .   .   .   .   .    .   .   .   .   .    .   .  Yes               No


 46       Do you (or your spouse) have another vehicle available for personal use?.                         .   .   .   .   .   .    .   .   .   .   .    .   .  Yes               No


 47a      Do you have evidence to support your deduction?                      .   .    .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .    .   .      Yes        No

      b   If “Yes,” is the evidence written?          .   .    .   .   .       .   .    .   .   .   .   .   .   .   .   .   .   .    .   .   .   .   .    .   .      Yes        No
 Part V         Other Expenses. List below business expenses not included on lines 8–26 or line 30.

      continuing cle                                                                                                                                                       549.00




 48       Total other expenses. Enter here and on line 27a                     .   .    .   .   .   .   .   .   .   .   .   .   .    .   .   .       48                    549.00
                                                                                                                                                              Schedule C (Form 1040) 2021
      Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 375 of 393 Page ID #:375
SCHEDULE SE                                                                                                                             OMB No. 1545-0074
                                                           Self-Employment Tax
                                                                                                                                         2021
(Form 1040)
                                    a Go to www.irs.gov/ScheduleSE for instructions and the latest information.
Department of the Treasury                                                                                                              Attachment
                                                                                                                                        Sequence No. 17
                                                      a Attach to Form 1040, 1040-SR, or 1040-NR.
Internal Revenue Service (99)
Name of person with self-employment income (as shown on Form 1040, 1040-SR, or 1040-NR)        Social security number of person
KRISTEN A PEARSON                                                                              with self-employment income a
    Part I       Self-Employment Tax
Note: If your only income subject to self-employment tax is church employee income, see instructions for how to report your income
and the definition of church employee income.
A       If you are a minister, member of a religious order, or Christian Science practitioner and you filed Form 4361, but you had
        $400 or more of other net earnings from self-employment, check here and continue with Part I . . . . . . . . a
Skip lines 1a and 1b if you use the farm optional method in Part II. See instructions.
  1a Net farm profit or (loss) from Schedule F, line 34, and farm partnerships, Schedule K-1 (Form 1065),
        box 14, code A . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        1a            0
    b If you received social security retirement or disability benefits, enter the amount of Conservation Reserve
        Program payments included on Schedule F, line 4b, or listed on Schedule K-1 (Form 1065), box 20, code AH 1b (                0)
Skip line 2 if you use the nonfarm optional method in Part II. See instructions.
  2     Net profit or (loss) from Schedule C, line 31; and Schedule K-1 (Form 1065), box 14, code A (other than
        farming). See instructions for other income to report or if you are a minister or member of a religious order    2      5829.00
  3     Combine lines 1a, 1b, and 2 . . . . . . . . . . . . . . . . . . . . . . . . .                                    3         5829
  4a If line 3 is more than zero, multiply line 3 by 92.35% (0.9235). Otherwise, enter amount from line 3 .             4a         5383
        Note: If line 4a is less than $400 due to Conservation Reserve Program payments on line 1b, see instructions.
    b If you elect one or both of the optional methods, enter the total of lines 15 and 17 here . . . . .               4b            0
   c Combine lines 4a and 4b. If less than $400, stop; you don’t owe self-employment tax. Exception: If
        less than $400 and you had church employee income, enter -0- and continue . . . . . . . a 4c                               5383
  5a Enter your church employee income from Form W-2. See instructions for
        definition of church employee income . . . . . . . . . . . . .                         5a                     0
    b Multiply line 5a by 92.35% (0.9235). If less than $100, enter -0- . . . . . . . . . . . . .                       5b            0
  6     Add lines 4c and 5b . . . . . . . . . . . . . . . . . . . . . . . . . . .                                        6         5383
  7     Maximum amount of combined wages and self-employment earnings subject to social security tax or
        the 6.2% portion of the 7.65% railroad retirement (tier 1) tax for 2021 . . . . . . . . . . .                    7    142,800
  8a Total social security wages and tips (total of boxes 3 and 7 on Form(s) W-2)
        and railroad retirement (tier 1) compensation. If $142,800 or more, skip lines
        8b through 10, and go to line 11 . . . . . . . . . . . . . . .                         8a                10429
    b Unreported tips subject to social security tax from Form 4137, line 10 . . .             8b                     0
   c Wages subject to social security tax from Form 8919, line 10 . . . . . .                  8c                     0
   d Add lines 8a, 8b, and 8c . . . . . . . . . . . . . . . . . . . . . . . . . .                                       8d        10429
  9     Subtract line 8d from line 7. If zero or less, enter -0- here and on line 10 and go to line 11 . . . a           9       132371
 10     Multiply the smaller of line 6 or line 9 by 12.4% (0.124) . . . . . . . . . . . . . . . .                       10          667
 11     Multiply line 6 by 2.9% (0.029) . . . . . . . . . . . . . . . . . . . . . . . .                                 11          156
 12     Self-employment tax. Add lines 10 and 11. Enter here and on Schedule 2 (Form 1040), line 4 . .                  12          823
 13     Deduction for one-half of self-employment tax.
        Multiply line 12 by 50% (0.50). Enter here and on Schedule 1 (Form 1040),
        line 15 . . . . . . . . . . . . . . . . . . . . . . . .                                13                  412
    Part II      Optional Methods To Figure Net Earnings (see instructions)
Farm Optional Method. You may use this method only if (a) your gross farm income1 wasn’t more than
$8,820, or (b) your net farm profits2 were less than $6,367.
 14    Maximum income for optional methods . . . . . . . . . . . . . . . . . . . . .                                               14                5,8800
 15    Enter the smaller of: two-thirds (2/3) of gross farm income1 (not less than zero) or $5,880. Also, include
       this amount on line 4b above . . . . . . . . . . . . . . . . . . . . . . . .                                                15                       0
Nonfarm Optional Method. You may use this method only if (a) your net nonfarm profits3 were less than $6,367
and also less than 72.189% of your gross nonfarm income,4 and (b) you had net earnings from self-employment
of at least $400 in 2 of the prior 3 years. Caution: You may use this method no more than five times.
 16     Subtract line 15 from line 14 . . . . . . . . . . . . . . . . . . . . . . . . .                                            16                       0
 17     Enter the smaller of: two-thirds (2/3) of gross nonfarm income4 (not less than zero) or the amount on
        line 16. Also, include this amount on line 4b above . . . . . . . . . . . . . . . . .                                      17                       0
1                                                                                    3
  From Sch. F, line 9; and Sch. K-1 (Form 1065), box 14, code B.                       From Sch. C, line 31; and Sch. K-1 (Form 1065), box 14, code A.
2                                                                                    4
  From Sch. F, line 34; and Sch. K-1 (Form 1065), box 14, code A—minus the amount      From Sch. C, line 7; and Sch. K-1 (Form 1065), box 14, code C.
  you would have entered on line 1b had you not used the optional method.
For Paperwork Reduction Act Notice, see your tax return instructions.                         Cat. No. 11358Z                   Schedule SE (Form 1040) 2021
    Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 376 of 393 Page ID #:376

Form   2441                       Child and Dependent Care Expenses                                                     1040
                                                                                                                        1040-SR `
                                                                                                                                                         OMB No. 1545-0074


                                          a Attach to Form 1040, 1040-SR, or 1040-NR.
                                                                                                                        .........
                                                                                                                        1040-NR                            2021
Department of the Treasury
                                       a Go to www.irs.gov/Form2441 for instructions and                                          2441                    Attachment
Internal Revenue Service (99)                           the latest information.                                                                           Sequence No. 21
Name(s) shown on return                                                                                                                    Your social security number
KRISTEN A PEARSON
A You can’t claim a credit for child and dependent care expenses if your filing status is married filing separately unless you meet the
requirements listed in the instructions under “Married Persons Filing Separately.” If you meet these requirements, check this box .
B For 2021, your credit for child and dependent care expenses is refundable if you, or your spouse if married filing jointly, had a
principal place of abode in the United States for more than half of 2021. If you meet these requirements, check this box . . . 
 Part I          Persons or Organizations Who Provided the Care—You must complete this part.
                 If you have more than three care providers, see the instructions and check this box . . . . . . . .
   1                                                                                                                                        (d) Check here if the
         (a) Care provider’s                                        (b) Address                                      (c) Identifying number care provider is your (e) Amount paid
                name                            (number, street, apt. no., city, state, and ZIP code)                     (SSN or EIN)      household employee. (see instructions)
                                                                                                                                              (see instructions)
Little Folks INC                    1165 W Ironwood Drive
                                                                                                                        820348920                                        2541.00
                                    coeur d alene, ID 83814




                                    Did you receive                              No                        a   Complete only Part II below.
                                dependent care benefits?                         Yes                       a   Complete Part III on page 2 next.
Caution: If the care was provided in your home, you may owe employment taxes. For details, see the instructions for Schedule H
(Form 1040). If you incurred care expenses in 2021 but didn’t pay them until 2022, or if you prepaid in 2021 for care to be provided
in 2022, don’t include these expenses in column (c) of line 2 for 2021. See the instructions.
 Part II            Credit for Child and Dependent Care Expenses
   2     Information about your qualifying person(s). If you have more than three qualifying persons, see the instructions and check
         this box . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .
                                 (a) Qualifying person’s name                                           (b) Qualifying person’s social         (c) Qualified expenses you
                                                                                                              security number                incurred and paid in 2021 for the
                      First                                         Last                                                                        person listed in column (a)
Holley                                       Collins                                                                                                                60
Tobias                                       Collins                                                                                                              1257
Vaughn                                       Collins
   3  Add the amounts in column (c) of line 2. Don’t enter more than $8,000 if you had one qualifying
      person or $16,000 if you had two or more persons. If you completed Part III, enter the amount
      from line 31 . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                     3                           2541
  4   Enter your earned income. See instructions . . . . . . . . . . . . . . . . .                                                             4                          15846
  5   If married filing jointly, enter your spouse’s earned income (if you or your spouse was a student
      or was disabled, see the instructions); all others, enter the amount from line 4 . . . . . .                                             5                            6000
  6   Enter the smallest of line 3, 4, or 5 . . . . . . . . . . . . . . . . . . . .                                                            6                            2541
  7   Enter the amount from Form 1040, 1040-SR, or 1040-NR, line 11 .             7                  16924
  8   Enter on line 8 the decimal amount shown below that applies to the amount on line 7.
      • If line 7 is $125,000 or less, enter .50 on line 8
      • If line 7 is over $125,000 and no more than $438,000, see the instructions for line 8 for th
         amount to enter.
      • If line 7 is over $438,000, don’t complete line 8. Enter zero on line 9a. You may be able t
         claim a credit on line 9b.                                                                                                            8                       X.     0.5
  9a Multiply line 6 by the decimal amount on line 8 . . . . . . . . . . . . . . . .                                                          9a                            1271
    b If you paid 2020 expenses in 2021, complete Worksheet A in the instructions. Enter the amount
      from line 13 of the worksheet here. Otherwise, go to line 10 . . . . . . . . . . . .                                                    9b                                 0
 10   Add lines 9a and 9b and enter the result. If you checked the box on line B above, this is your
      refundable credit for child and dependent care expenses; enter the amount from this line on
      Schedule 3 (Form 1040), line 13g, and don’t complete line 11. If you didn’t check the box on line
      B above, go to line 11 . . . . . . . . . . . . . . . . . . . . . . . . .                                                                10                            1271
 11   Nonrefundable credit for child and dependent care expenses. If you didn’t check the box on
      line B above, your credit is nonrefundable and limited by the amount of your tax; see the
      instructions to figure the portion of line 10 that you can claim and enter that amount here and on
      Schedule 3 (Form 1040), line 2 . . . . . . . . . . . . . . . . . . . . . .                                                              11                                 0
For Paperwork Reduction Act Notice, see your tax return instructions.                                                  Cat. No. 11862M                        Form 2441 (2021)
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 377 of 393 Page ID #:377
Form 2441 (2021)                                                                                                                 Page 2
Part III           Dependent Care Benefits
 12     Enter the total amount of dependent care benefits you received in 2021. Amounts you received
        as an employee should be shown in box 10 of your Form(s) W-2. Don’t include amounts
        reported as wages in box 1 of Form(s) W-2. If you were self-employed or a partner, include
        amounts you received under a dependent care assistance program from your sole proprietorship
        or partnership . . . . . . . . . . . . . . . . . . . . . . . . . . .                                     12                   0
 13     Enter the amount, if any, you carried over from 2020 and used in 2021. See instructions . . .            13                   0
 14     If you forfeited or carried over to 2022 any of the amounts reported on line 12 or 13, enter the
        amount. See instructions . . . . . . . . . . . . . . . . . . . . . . . .                                 14 (             0.00 )
 15     Combine lines 12 through 14. See instructions . . . . . . . . . . . . . . . .                            15                   0
 16     Enter the total amount of qualified expenses incurred in 2021 for
        the care of the qualifying person(s) . . . . . . . . . . . 16                                2541
 17     Enter the smaller of line 15 or 16 . . . . . . . . . . . . 17                                    0
 18     Enter your earned income. See instructions . . . . . . . . 18                               15846
 19     Enter the amount shown below that applies to you.




                                                       }
        • If married filing jointly, enter your spouse’
           earned income (if you or your spouse was a
           student or was disabled, see the instructions
                                                             . . . . . . 19                          6000
           for line 5).
        • If married filing separately, see instructions
        • All others, enter the amount from line 18
 20     Enter the smallest of line 17, 18, or 19 . . . . . . . . . .            20                           0
 21     Enter $10,500 ($5,250 if married filing separately and you were
        required to enter your spouse’s earned income on line 19). If you
        entered an amount on line 13, add it to the $10,500 or $5,250
        amount you enter on line 21. However, don’t enter more than the
        maximum amount allowed under your dependent care plan. See
        instructions . . . . . . . . . . . . . . . . . . .                      21                   10500

 22     Is any amount on line 12 or 13 from your sole proprietorship or partnership?
          No. Enter -0-.

            Yes. Enter the amount here . . . . . . . . . . . . . . . . . . . . . .                          22                        0
 23     Subtract line 22 from line 15     . . . . . . . . . . . . . 23                                    0
 24     Deductible benefits. Enter the smallest of line 20, 21, or 22. Also, include this amount on the
        appropriate line(s) of your return. See instructions . . . . . . . . . . . . . . .                  24                        0
 25     Excluded benefits. If you checked “No” on line 22, enter the smaller of line 20 or 21. Otherwise,
        subtract line 24 from the smaller of line 20 or line 21. If zero or less, enter -0- . . . . . .     25                        0
 26     Taxable benefits. Subtract line 25 from line 23. If zero or less, enter -0-. Also, include this
        amount on Form 1040 or 1040-SR, line 1; or Form 1040-NR, line 1a. On the dotted line next to
        Form 1040 or 1040-SR, line 1; or Form 1040-NR, line 1a, enter “DCB” . . . . . . . . .               26                        0

                                           To claim the child and dependent care credit,
                                               complete lines 27 through 31 below.
 27     Enter $8,000 ($16,000 if two or more qualifying persons) . . . . . . . . . . . . .                       27              16000
 28     Add lines 24 and 25 . . . . . . . . . . . . . . . . . . . . . . . . .                                    28                  0
 29     Subtract line 28 from line 27. If zero or less, stop. You can’t take the credit. Exception. If you
        paid 2020 expenses in 2021, see the instructions for line 9b . . . . . . . . . . . .                     29              16000
 30     Complete line 2 on page 1 of this form. Don’t include in column (c) any benefits shown on line
        28 above. Then, add the amounts in column (c) and enter the total here . . . . . . . .                   30               2541
 31     Enter the smaller of line 29 or 30. Also, enter this amount on line 3 on page 1 of this form and
        complete lines 4 through 11 . . . . . . . . . . . . . . . . . . . . . . .                                31               2541
                                                                                                                        Form 2441 (2021)
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 378 of 393 Page ID #:378

                                               ªàªÆÀ¹Ƨ,À¡ÆÕ¿àªÆÀƧ¡ÆÕ
                                          §ª¹ƧÀƧÒÀÀàƧÕƧõÒÀÙÙƧ
                                                      #ÆÕ¿ƧĥħħĤ

A¿ƇÙƈƧÙ§ÆðÀƧÆÀƧ#ÆÕ¿ƧĤģħģ                                                             ZÆª¹ƧÙäÕªàöƧƧÀä¿Õ
KRISTEN & STEVEN PEARSON                                                               5


ĥƧ ªàªÆÀ¹ƧÔä¹ª¡öªÀ¢ƧÒÕÙÆÀƇÙƈƧªÀ¡ÆÕ¿àªÆÀ

                    ƇƈƧ Uä¹ª¡öªÀ¢ƧÒÕÙÆÀżÙƧÀ¿          ƇƈƧ Uä¹ª¡öªÀ¢ƧÒÕÙÆÀżÙƧÙÆª¹ƧÙäÕªàöƧ   ƇƈƧUä¹ª¡ªƧõÒÀÙÙ
           #ªÕÙàƧ                               :Ùà       Àä¿Õ


          sterling                             Collins                     651658492                             400
    Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 379 of 393 Page ID #:379

Form   3800                                                     General Business Credit                                                                        OMB No. 1545-0895


                                                                                                                                                                 2021
                                        a Go to www.irs.gov/Form3800 for instructions and the latest information.
Department of the Treasury                                                                                                                                      Attachment
                                    a You must attach all pages of Form 3800, pages 1, 2, and 3, to your tax return.
Internal Revenue Service (99)                                                                                                                                   Sequence No. 22
Name(s) shown on return                                                                                                                           Identifying number
KRISTEN A PEARSON
 Part I          Current Year Credit for Credits Not Allowed Against Tentative Minimum Tax (TMT)
                 (See instructions and complete Part(s) III before Parts I and II.)
   1     General business credit from line 2 of all Parts III with box A checked . . . . . . . . . . .                                                     1
   2     Passive activity credits from line 2 of all Parts III with box B checked . . .     2
   3     Enter the applicable passive activity credits allowed for 2021. See instructions . . . . . . . .                                                  3
   4     Carryforward of general business credit to 2021. Enter the amount from line 2 of Part III with box C
         checked. See instructions for statement to attach . . . . . . . . . . . . . . . . .                                                               4
         Check this box if the carryforward was changed or revised from the original reported amount . . . .                                               . .     .   .   a
   5     Carryback of general business credit from 2022. Enter the amount from line 2 of Part III with box D
         checked. See instructions . . . . . . . . . . . . . . . . . . . . . . . . .                                                                       5
   6     Add lines 1, 3, 4, and 5 . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                      6
 Part II         Allowable Credit
   7     Regular tax before credits:




                                                                                                                                      }
         • Individuals. Enter the sum of the amounts from Form 1040, 1040-SR, or 1040-NR, line
           16, and Schedule 2 (Form 1040), line 2 . . . . . . . . . . . . . . .
         • Corporations. Enter the amount from Form 1120, Schedule J, Part I, line 2; or the
            applicable line of your return . . . . . . . . . . . . . . . . . . .                                                                  .   .    7
         • Estates and trusts. Enter the sum of the amounts from Form 1041, Schedule G,
            lines 1a and 1b, plus any Form 8978 amount included on line 1d; or the amount from
            the applicable line of your return . . . . . . . . . . . . . . . . .
   8     Alternative minimum tax:
         • Individuals. Enter the amount from Form 6251, line 11 . . . . . . . . . .
         • Corporations. Enter -0 . . . . . . . . . . . . . . . . . . . . .
         • Estates and trusts. Enter the amount from Schedule I (Form 1041), line 54 . . . .
                                                                                                                                          }       .   .    8


   9     Add lines 7 and 8      .   .   .   .   .   .   .   .    .   .   .   .   .   .   .   .   .   .   .       .   .   .    .   .   .       .   .   .    9

 10a Foreign tax credit . . . . . . . . .                            .   .   .   .   .   .   .   .   .   .       .     10a
   b Certain allowable credits (see instructions) .                  .   .   .   .   .   .   .   .   .   .       .     10b
   c Add lines 10a and 10b . . . . . . .                             .   .   .   .   .   .   .   .   .   .       .   . . .        .   .       .   .   .   10c

 11      Net income tax. Subtract line 10c from line 9. If zero, skip lines 12 through 15 and enter -0- on line 16                                        11

 12      Net regular tax. Subtract line 10c from line 7. If zero or less, enter -0- .                    .       .       12

 13      Enter 25% (0.25) of the excess, if any, of line 12 over $25,000. See
         instructions . . . . . . . . . . . . . . . . . . . . . .                       13
 14      Tentative minimum tax:
         • Individuals. Enter the amount from Form 6251, line 9 . . . . . .
         • Corporations. Enter -0 . . . . . . . . . . . . . . . .
         • Estates and trusts. Enter the amount from Schedule I (Form 1041),
            line 52 . . . . . . . . . . . . . . . . . . . . .
                                                                                        14
                                                                                                             }
 15      Enter the greater of line 13 or line 14 . . . . . . . . . . . . . . . . . . . . . .                                                              15
 16      Subtract line 15 from line 11. If zero or less, enter -0- . . . . . . . . . . . . . . . .                                                        16
 17      Enter the smaller of line 6 or line 16 . . . . . . . . . . . . . . . . . . . . . .                                                               17
         C corporations: See the line 17 instructions if there has been an ownership change, acquisition, or
         reorganization.
For Paperwork Reduction Act Notice, see separate instructions.                                               Cat. No. 12392F                                       Form 3800 (2021)
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 380 of 393 Page ID #:380
Form 3800 (2021)                                                                                                                                                    Page 2
 Part II      Allowable Credit (continued)
Note: If you are not required to report any amounts on line 22 or 24 below, skip lines 18 through 25 and enter -0- on line 26.

 18     Multiply line 14 by 75% (0.75). See instructions              .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   18

 19     Enter the greater of line 13 or line 18 .         .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   19

 20     Subtract line 19 from line 11. If zero or less, enter -0-             .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   20

 21     Subtract line 17 from line 20. If zero or less, enter -0-             .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   21

 22     Combine the amounts from line 3 of all Parts III with box A, C, or D checked .                        .   .    .   .   .       .   .   .   22

 23     Passive activity credit from line 3 of all Parts III with box B checked                   .   .   .       23

 24     Enter the applicable passive activity credit allowed for 2021. See instructions                       .   .    .   .   .       .   .   .   24

 25     Add lines 22 and 24       .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   25

 26     Empowerment zone and renewal community employment credit allowed. Enter the smaller of line 21
        or line 25 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                   26

 27     Subtract line 13 from line 11. If zero or less, enter -0-             .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   27

 28     Add lines 17 and 26       .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   28

 29     Subtract line 28 from line 27. If zero or less, enter -0-             .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   29

 30     Enter the general business credit from line 5 of all Parts III with box A checked .                       .    .   .   .       .   .   .   30

 31     Reserved .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   31

 32     Passive activity credits from line 5 of all Parts III with box B checked                  .   .   .       32

 33     Enter the applicable passive activity credits allowed for 2021. See instructions .                        .    .   .   .       .   .   .   33

 34     Carryforward of business credit to 2021. Enter the amount from line 5 of Part III with box C checked
        and line 6 of Part III with box G checked. See instructions for statement to attach . . . . . . .    34
        Check this box if the carryforward was changed or revised from the original reported amount . . . . . .                                         .   .   a

 35     Carryback of business credit from 2022. Enter the amount from line 5 of Part III with box D checked.
        See instructions . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                                 35

 36     Add lines 30, 33, 34, and 35 .        .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   36

 37     Enter the smaller of line 29 or line 36           .   .   .   .   .   .   .   .   .   .   .   .   .   .   .    .   .   .       .   .   .   37

 38     Credit allowed for the current year. Add lines 28 and 37.
        Report the amount from line 38 (if smaller than the sum of Part I, line 6, and Part II, lines 25 and 36,
        see instructions) as indicated below or on the applicable line of your return.


                                                                                                                                   }
        • Individuals. Schedule 3 (Form 1040), line . . . . . . . . . . . . . . . .
        • Corporations. Form 1120, Schedule J, Part I, line 5c . . . . . . . . . . . .                     . .
        • Estates and trusts. Form 1041, Schedule G, line 2b . . . . . . . . . . . .                                                               38
                                                                                                                                                        Form 3800 (2021)
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 381 of 393 Page ID #:381
Form 3800 (2021)                                                                                                                                             Page 3
Name(s) shown on return                                                                                                      Identifying number
KRISTEN A PEARSON
Part III       General Business Credits or Eligible Small Business Credits (see instructions)
Complete a separate Part III for each box checked below. See instructions.
A  General Business Credit From a Non-Passive Activity              E      Reserved
B      General Business Credit From a Passive Activity               F      Reserved
C      General Business Credit Carryforwards                         G      Eligible Small Business Credit Carryforwards
D      General Business Credit Carrybacks                            H      Reserved
I If you are filing more than one Part III with box A or B checked, complete and attach first an additional Part III combining amounts from
    all Parts III with box A or B checked. Check here if this is the consolidated Part III .   .   .   .   .    .    .   .   .   .   .   .   .   .   .   .   a

                                               (a) Description of credit                                                (b) Enter EIN if         (c) Enter the
                                                                                                                      claiming the credit         appropriate
Note: On any line where the credit is from more than one source, a separate Part III is needed for each              from a pass-through           amount.
pass-through entity.                                                                                                         entity.
   1a      Investment (Form 3468, Part II only) (attach Form 3468) . . . . . . . . .                            1a
    b      Reserved . . . . . . . . . . . . . . . . . . . . . . . .                                             1b
    c      Increasing research activities (Form 6765) . . . . . . . . . . . . .                                 1c
    d      Low-income housing (carryforward only) (see instructions) . . . . . . . .                            1d
    e      Disabled access (Form 8826)*. . . . . . . . . . . . . . . . . .                                      1e
    f      Renewable electricity, refined coal, and Indian coal production (Form 8835) . .                      1f
    g      Indian employment (Form 8845) . . . . . . . . . . . . . . . . .                                      1g
    h      Orphan drug (Form 8820) . . . . . . . . . . . . . . . . . . .                                        1h
    i      New markets (Form 8874) . . . . . . . . . . . . . . . . . . .                                        1i
    j      Small employer pension plan startup costs and auto-enrollment (Form 8881) . .                        1j
    k      Employer-provided child care facilities and services (Form 8882)* . . . . . .                        1k
    l      Biodiesel and renewable diesel fuels (attach Form 8864) . . . . . . . . .                            1l
    m      Low sulfur diesel fuel production (Form 8896) . . . . . . . . . . . .                               1m
    n      Distilled spirits (Form 8906) . . . . . . . . . . . . . . . . . .                                    1n
    o      Nonconventional source fuel (carryforward only) . . . . . . . . . . .                                1o
    p      Energy efficient home (Form 8908) . . . . . . . . . . . . . . . .                                    1p
    q      Energy efficient appliance (carryforward only) . . . . . . . . . . . .                               1q
    r      Alternative motor vehicle (Form 8910) . . . . . . . . . . . . . . .                                  1r
    s      Alternative fuel vehicle refueling property (Form 8911)     . . . . . . . . .                        1s
    t      Enhanced oil recovery credit . . . . . . . . . . . . . . . . . .                                     1t
    u      Mine rescue team training (Form 8923) . . . . . . . . . . . . . .                                    1u
    v      Agricultural chemicals security (carryforward only) . . . . . . . . . . .                            1v
    w      Employer differential wage payments (Form 8932) . . . . . . . . . . .                               1w
    x      Carbon oxide sequestration (Form 8933) . . . . . . . . . . . . . .                                   1x
    y      Qualified plug-in electric drive motor vehicle (Form 8936) . . . . . . . .                           1y
    z      Qualified plug-in electric vehicle (carryforward only) . . . . . . . . . .                           1z
    aa     Employee retention (Form 5884-A) . . . . . . . . . . . . . . . .                                    1aa
    bb     General credits from an electing large partnership (carryforward only) . . . .                      1bb
    zz     Other. Oil and gas production from marginal wells (Form 8904) and certain other
           credits (see instructions) . . . . . . . . . . . . . . . . . . .                                    1zz
  2        Add lines 1a through 1zz and enter here and on the applicable line of Part I . .                     2
  3        Enter the amount from Form 8844 here and on the applicable line of Part II . .                       3
  4a       Investment (Form 3468, Part III) (attach Form 3468) . . . . . . . . . .                             4a
    b      Work opportunity (Form 5884) . . . . . . . . . . . . . . . . .                                      4b
    c      Biofuel producer (Form 6478)        . . . . . . . . . . . . . . . . .                               4c
    d      Low-income housing (Form 8586) . . . . . . . . . . . . . . . .                                      4d
    e      Renewable electricity, refined coal, and Indian coal production (Form 8835) . .                     4e
    f      Employer social security and Medicare taxes paid on certain employee tips (Form 8846)                4f
    g      Qualified railroad track maintenance (Form 8900) . . . . . . . . . . .                              4g
    h      Small employer health insurance premiums (Form 8941) . . . . . . . . .                              4h
    i      Increasing research activities (Form 6765) . . . . . . . . . . . . .                                 4i
    j      Employer credit for paid family and medical leave (Form 8994) . . . . . . .                          4j
    z      Other . . . . . . . . . . . . . . . . . . . . . . . . .                                             4z
  5        Add lines 4a through 4z and enter here and on the applicable line of Part II     . .                 5
  6        Add lines 2, 3, and 5 and enter here and on the applicable line of Part II    . . .                  6
* See instructions for limitation on this credit                                                                                                Form 3800 (2021)
    Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 382 of 393 Page ID #:382
SCHEDULE EIC                                                   Earned Income Credit                                                                       OMB No. 1545-0074
(Form 1040)                                                                                                                1040     `
                                                                                                                                                           2021
                                                                  Qualifying Child Information                            .........

                                a Complete and attach to Form 1040 or 1040-SR only if you have a
                                                                                                                          1040-SR
Department of the Treasury        qualifying child.                                                                                 EIC                   Attachment
Internal Revenue Service (99)   a Go to www.irs.gov/ScheduleEIC for the latest information.                                                               Sequence No. 43
Name(s) shown on return                                                                                                                        Your social security number
     KRISTEN A PEARSON
If you are separated from your spouse, filing a separate return and meet the requirements to claim the EIC (see instructions), check here

Before you begin:                          • See the instructions for Form 1040, lines 27a, 27b, and 27c, to make sure that(a) you can take the EIC, and
                                              C you have a qualifying child.
                                           • Be sure the child’s name on line 1 and social security number (SSN) on line 2 agree with the child’s sociaM
                                             security card. Otherwise, at the time we process your return, we may reduce your EIC. If the name or SSN on
                                             the child’s social security card is not correct, call the Social Security Administration at 800-772-1213.
                                           • If you have a child who meets the conditions to be your qualifying child for purposes of claiming the EIC, but that
                                             child doesn’t have an SSN as defined in the instructions for Form 1040, lines 27a, 27b, and 27c, see the instructions.


F
               • You can’t claim the EIC for a child who didn’t live with you for more than half of the year
!
CAUTION
               • If your child doesn’t have an SSN as defined in the instructions for Form 1040, lines 27a, 27b, and 27c, see the instructions
               • If you take the EIC even though you are not eligible, you may not be allowed to take the credit for up to 10 years. See the instructions for details
               • It will take us longer to process your return and issue your refund if you do not fill in all lines that apply for each qualifying child

Qualifying Child Information                                          Child 1                                  Child 2                                  Child 3
1 Child’s name                                           First name                               First name                               First name

     If you have more than three qualifying
     children, you have to list only three to get      sterling Collins                          Holley Collins                           Vaughn Collins
     the maximum credit.
2 Child’s SSN
     The child must have an SSN as defined in
     the instructions for Form 1040, lines 27a,
     27b, and 27c, unless the child was born
     and died in 2021 or you are claiming the
     self-only EIC (see instructions). If your
     child was born and died in 2021 and did
     not have an SSN, enter “Died” on this line
     and attach a copy of the child’s birth
     certificate, death certificate, or hospital
     medical records showing a live birth.
3 Child’s year of birth                                 Year       2         0     1      4      Year        2        0     1       2     Year        2        0    1       6
                                                       If born after 2002 and the child is       If born after 2002 and the child is      If born after 2002 and the child is
                                                       younger than you (or your spouse, if      younger than you (or your spouse, if     younger than you (or your spouse, if
                                                       filing jointly), skip lines 4a and 4b;    filing jointly), skip lines 4a and 4b;   filing jointly), skip lines 4a and 4b;
                                                       go to line 5.                             go to line 5.                            go to line 5.

4 a Was the child under age 24 at the end of
     2021, a student, and younger than you (or                 Yes.                 No.                  Yes.                No.                  Yes.               No.
     your spouse, if filing jointly)?
                                                        Go to                 Go to line 4b.      Go to               Go to line 4b.       Go to               Go to line 4b.
                                                        line 5.                                   line 5.                                  line 5.
  b Was the child permanently and totally
     disabled during any part of 2021?                         Yes.                 No.                  Yes.                No.                  Yes.               No.
                                                        Go to               The child is not a    Go to            The child is not a      Go to            The child is not a
                                                        line 5.             qualifying child.     line 5.          qualifying child.       line 5.          qualifying child.
5 Child’s relationship to you
     (for example, son, daughter, grandchild,          SON                                       DAUGHTER                                 SON
     niece, nephew, eligible foster child, etc.)

6 Number of months child lived
  with you in the United States
  during 2021
    • If the child lived with you for more thaQ
    half of 2021 but less than 7 months,enter
    “7.”
    • If the child was born or died in 2021 anG                        12                                        12                                       12
                                                                           months                                    months                                  months
    your home was the child’s home for more
    than half the time he or she was alive              Do not enter more than 12                 Do not enter more than 12               Do not enter more than 12
    during 2021, enter “12.”                            months.                                   months.                                 months.
For Paperwork Reduction Act Notice, see your tax                                                 Cat. No. 13339M                               Schedule EIC (Form 1040) 2021
return instructions.
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 383 of 393 Page ID #:383
Schedule EIC (Form 1040) 2021                                                                                                                    Page 2

Purpose of Schedule
After you have figured your earned income credit (EIC), use                        the instructions for Form 1040, lines 27a, 27b, and 27c, and you are
Schedule EIC to give the IRS information about your qualifying                     otherwise eligible, you can claim the self-only EIC. To claim the
child(ren).                                                                        self-only EIC with a qualifying child, complete and attach Schedule
To figure the amount of your credit or to have the IRS figure it for               EIC to your Form 1040 or 1040-SR. Complete line 1 and lines 2
you, see the instructions for Form 1040, lines 27a, 27b, and 27c.                  through 6 for Child 1. If Child 1 has an ITIN, an ATIN, or an SSN
                                                                                   that is not considered a valid SSN as defined in the instructions for
Special rule for separated spouses. You can claim the EIC if you                   Form 1040, lines 27a, 27b, and 27c, enter it on line 2. Otherwise,
are married, not filing a joint return, had a qualifying child who                 leave line 2 blank.
lived with you for more than half of 2021, and either of the
following apply.                                                                   Taking the EIC when not eligible. If you take the EIC even
                                                                                   though you are not eligible and it is determined that your error is
• You lived apart from your spouse for the last 6 months of 2021, oS               due to reckless or intentional disregard of the EIC rules, you will
• You are legally separated according to your state law underB                   not be allowed to take the credit for 2 years even if you are
written separation agreement or a decree of separate maintenance                  otherwise eligible to do so. If you fraudulently take the EIC, you
and you didn’t live in the same household as your spouse at the end               will not be allowed to take the credit for 10 years. You may also
of 2021.                                                                           have to pay penalties.
   If you meet these requirements, check the box at the top of                     Future developments. For the latest information about
Schedule EIC.                                                                      developments related to Schedule EIC (Form 1040) and its
Qualifying child doesn’t have an SSN. If you have a child who                      instructions, such as legislation enacted after they were published,
meets the conditions to be your qualifying child for purposes of                   go to www.irs.gov/ScheduleEIC.
claiming the EIC, but that child doesn’t have an SSN as defined in

                                                           Qualifying Child
                                 A qualifying child for the EIC is a child who is your . . .
                      Son, daughter, stepchild, eligible foster child, brother, sister, stepbrother, stepsister, half brother, half sister, or
                                      a descendant of any of them (for example, your grandchild, niece, or nephew)

                                                                          AND
                                                                        H
                                                                        was . . .
                               Under age 19 at the end of 2021 and younger than you (or your spouse, if filing jointly)
                                                                           or
                           Under age 24 at the end of 2021, a student, and younger than you (or your spouse, if filing jointly)
                                                                           or
                                                     Any age and permanently and totally disabled
                                                                          AND
                                                                        H
                                                          Who is not filing a joint return for 2021
                                                      or is filing a joint return for 2021 only to claim
                                                  a refund of withheld income tax or estimated tax paid
                                                                          AND
                                                                        H
                                                Who lived with you in the United States for more than half
                                                                        of 2021.
                                                  You can’t claim the EIC for a child who didn’t live with
                                     F
                                     !CAUTION
                                                  you for more than half of the year, even if you paid most
                                                  of the child’s living expenses. The IRS may ask you for
                                                  documents to show you lived with each qualifying child.
                                                  Documents you might want to keep for this purpose
                                                  include school and child care records and other records
                                                  that show your child’s address.
                                                  If the child didn’t live with you for more than half of the
                                                  year because of a temporary absence, birth, death, or
                                       TIP        kidnapping, see Exception to time lived with you in the
                                                  instructions for Form 1040, lines 27a, 27b, and 27c.

                                                  If the child was married or meets the conditions to be a
                                     F
                                     !CAUTION
                                                  qualifying child of another person (other than your
                                                  spouse, if filing a joint return), special rules apply. For
                                                  details, see Married child or Qualifying child of more
                                                  than one person in the instructions for Form 1040, lines
                                                  27a, 27b, and 27c.
    Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 384 of 393 Page ID #:384
SCHEDULE 8812                                 Credits for Qualifying Children                                               `
                                                                                                                                                 OMB No. 1545-0074
(Form 1040)                                                                                                . .1040
                                                 and Other Dependents                                         .......


                                                a Attach to Form 1040, 1040-SR, or 1040-NR.
                                                                                                          1040-SR
                                                                                                           .........
                                                                                                          1040-NR                                 2021
Department of the Treasury                                                                                                  8812                 Attachment
Internal Revenue Service (99)   a Go to www.irs.gov/Schedule8812 for instructions and the latest information.                                    Sequence No. 47

Name(s) shown on return                                                                                                              Your social security number
KRISTEN A PEARSON
 Part I-A          Child Tax Credit and Credit for Other Dependents
   1       Enter the amount from line 11 of your Form 1040, 1040-SR, or 1040-NR . . . . . . . . . . . .                                     1               16924
   2a      Enter income from Puerto Rico that you excluded . . . . . . . . . . .                         2a
     b     Enter the amounts from lines 45 and 50 of your Form 2555 . . . . . . . .                      2b
     c     Enter the amount from line 15 of your Form 4563 . . . . . . . . . . .                         2c
     d     Add lines 2a through 2c . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                   2d
   3       Add lines 1 and 2d . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                       3               16924
   4a      Number of qualifying children under age 18 with the required social security number           4a                 4
     b     Number of children included on line 4a who were under age 6 at the end of 2021 . .            4b                 2
     c     Subtract line 4b from line 4a . . . . . . . . . . . . . . . . .                               4c                 2
   5       If line 4a is more than zero, enter the amount from the Line 5 Worksheet; otherwise, enter -0- . . . . . .                       5               13200
   6       Number of other dependents, including any qualifying children who are not under age
           18 or who do not have the required social security number . . . . . . . .                      6
           Caution: Do not include yourself, your spouse, or anyone who is not a U.S. citizen, U.S. national, or U.S. resident
           alien. Also, do not include anyone you included on line 4a.
   7       Multiply line 6 by $500 . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                    7
   8       Add lines 5 and 7 . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                      8               13200
   9       Enter the amount shown below for your filing status.
           • Married filing jointly—$400,00
           • All other filing statuses—$200,00   }   . . . . . . . . . . . . . . . . . . . . . .                                          9              400000
 10        Subtract line 9 from line 3.


                                                                                                   }
           • If zero or less, enter -0-
           • If more than zero and not a multiple of $1,000, enter the next multiple of $1,000. FoU
           example, if the result is $425, enter $1,000; if the result is $1,025, enter $2,000, etc.     . . . . . . .                     10
 11        Multiply line 10 by 5% (0.05) . . . . . . . . . . . . . . . . . . . . . . . . .                                                 11
 12        Subtract line 11 from line 8. If zero or less, enter -0- . . . . . . . . . . . . . . . . . .                                    12               13200
 13        Check all the boxes that apply to you (or your spouse if married filing jointly).
           A Check here if you (or your spouse if married filing jointly) had a principal place of abode in the United States
                for more than half of 2021 . . . . . . . . . . . . . . . . . . . . . . . . 
           B Check here if you (or your spouse if married filing jointly) were a bona fide resident of Puerto Rico for 2021
 Part I-B          Filers Who Check a Box on Line 13
Caution: If you did not check a box on line 13, do not complete Part I-B; instead, skip to Part I-C.
 14a Enter the smaller of line 7 or line 12 . . . . . . . . . . . . . . . . . .                                 .       .    .   .   .     14a
   b Subtract line 14a from line 12 . . . . . . . . . . . . . . . . . . . .                                     .       .    .   .   .     14b              13200
   c If line 14a is zero, enter -0-; otherwise, enter the amount from the Credit Limit Worksheet A .            .       .    .   .   .     14c
   d Enter the smaller of line 14a or line 14c . . . . . . . . . . . . . . . . .                                .       .    .   .   .     14d
   e Add lines 14b and 14d . . . . . . . . . . . . . . . . . . . . . .                                          .       .    .   .   .     14e              13200
    f      Enter the aggregate amount of advance child tax credit payments you (and your spouse if filing jointly) received
           for 2021. See your Letter(s) 6419 for the amounts to include on this line. If you are missing Letter 6419, see the
           instructions before entering an amount on this line. If you didn’t receive any advance child tax credit payments
           for 2021, enter -0- . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                     14f               3300
           Caution: If the amount on this line doesn’t match the aggregate amounts reported to you (and your spouse if
           filing jointly) on your Letter(s) 6419, the processing of your return will be delayed.
    g      Subtract line 14f from line 14e. If zero or less, enter -0- on lines 14g through 14i and go to Part III . . . .                 14g               9900
    h      Enter the smaller of line 14d or line 14g. This is your credit for other dependents. Enter this amount on line
           19 of your Form 1040, 1040-SR, or 1040-NR . . . . . . . . . . . . . . . . . . . .                                               14h
       i   Subtract line 14h from line 14g. This is your refundable child tax credit. Enter this amount on line 28 of
           your Form 1040, 1040-SR, or 1040-NR . . . . . . . . . . . . . . . . . . . . . .                                                 14i               9900
For Paperwork Reduction Act Notice, see your tax return instructions.                       Cat. No. 59761M                           Schedule 8812 (Form 1040) 2021
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 385 of 393 Page ID #:385
Schedule 8812 (Form 1040) 2021                                                                                                                                     Page 2
Part I-C        Filers Who Do Not Check a Box on Line 13
Caution: If you checked a box on line 13, do not complete Part I-C.
 15a Enter the amount from the Credit Limit Worksheet A . . . . . . . . . . . . . .                                                 .   .   .   15a
   b Enter the smaller of line 12 or line 15a . . . . . . . . . . . . . . . . . . .                                                 .   .   .   15b
       Additional child tax credit. Complete Parts II-A through II-C if you meet each of the following items.
       1. You are not filing Form 2555.
       2. Line 4a is more than zero.
       3. Line 12 is more than line 15a.
   c If you completed Parts II-A through II-C, enter the amount from line 27; otherwise, enter -0- . . .                            .   .   .   15c
   d Add lines 15b and 15c . . . . . . . . . . . . . . . . . . . . . . . .                                                          .   .   .   15d
    e   Enter the aggregate amount of advance child tax credit payments you (and your spouse if filing jointly) received
        for 2021. See your Letter(s) 6419 for the amounts to include on this line. If you are missing Letter 6419, see the
        instructions before entering an amount on this line. If you didn’t receive any advance child tax credit payments
        for 2021, enter -0- . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                             15e
        Caution: If the amount on this line doesn’t match the aggregate amounts reported to you (and your spouse if
        filing jointly) on your Letter(s) 6419, the processing of your return will be delayed.
    f   Subtract line 15e from line 15d. If zero or less, enter -0- on lines 15f through 15h and go to Part III . . . .                          15f
    g   Enter the smaller of line 15b or line 15f. This is your nonrefundable child tax credit and credit for other
        dependents. Enter this amount on line 19 of your Form 1040, 1040-SR, or 1040-NR . . . . . . . .                                         15g
    h   Subtract line 15g from line 15f. This is your additional child tax credit. Enter this amount on line 28 of your
        Form 1040, 1040-SR, or 1040-NR . . . . . . . . . . . . . . . . . . . . . . .                                                            15h
Part II-A       Additional Child Tax Credit (use only if completing Part I-C)
Caution: If you file Form 2555, do not complete Parts II-A through II-C; you cannot claim the additional child tax credit.
Caution: If you checked a box on line 13, do not complete Parts II-A through II-C; you cannot claim the additional child tax credit.
 16a Subtract line 15b from line 12. If zero, skip Parts II-A and II-B and enter -0- on line 27 . . . . . . . .               16a
    b Number of qualifying children under 18 with the required social security number:                             x $1,400.
       Enter the result. If zero, skip Parts II-A and II-B and enter -0- on line 27 . . . . . . . . . . . .                   16b
       TIP: The number of children you use for this line is the same as the number of children you used for line 4a.
 17    Enter the smaller of line 16a or line 16b . . . . . . . . . . . . . . . . . . . . . .                                   17
 18a Earned income (see instructions) . . . . . . . . . . . . . . . .                                18a
    b Nontaxable combat pay (see instructions) . . . . . .                  18b
 19    Is the amount on line 18a more than $2,500?
            No. Leave line 19 blank and enter -0- on line 20.
            Yes. Subtract $2,500 from the amount on line 18a. Enter the result       . . . .          19
 20    Multiply the amount on line 19 by 15% (0.15) and enter the result . . . . . . . . . . . . . .                           20
       Next. On line 16b, is the amount $4,200 or more?
            No. If line 20 is zero, enter -0- on line 15c. Otherwise, skip Part II-B and enter the smaller of line 17 or line
                  20 on line 27.
            Yes. If line 20 is equal to or more than line 17, skip Part II-B and enter the amount from line 17 on line 27.
                  Otherwise, go to line 21.
Part II-B       Certain Filers Who Have Three or More Qualifying Children
 21     Withheld social security, Medicare, and Additional Medicare taxes from Form(s) W-2,
        boxes 4 and 6. If married filing jointly, include your spouse’s amounts with yours. If
        your employer withheld or you paid Additional Medicare Tax or tier 1 RRTA taxes, see
        instructions . . . . . . . . . . . . . . . . . . . . . .                                                   21
 22     Enter the total of the amounts from Schedule 1 (Form 1040), line 15; Schedule 2 (Form
        1040), line 5; Schedule 2 (Form 1040), line 6; and Schedule 2 (Form 1040), line 13 .                       22
 23     Add lines 21 and 22 . . . . . . . . . . . . . . . . . . . .                                                23
 24     1040 and


                                                                                                           }
        1040-SR filers: Enter the total of the amounts from Form 1040 or 1040-SR, line 27a,
                            and Schedule 3 (Form 1040), line 11.
        1040-NR filers: Enter the amount from Schedule 3 (Form 1040), line 11.                                     24
 25     Subtract line 24 from line 23. If zero or less, enter -0- . . . . . . . . . . .                            . .      .   .   .   .   .    25
 26     Enter the larger of line 20 or line 25 . . . . . . . . . . . . . . . .                                     . .      .   .   .   .   .    26
        Next, enter the smaller of line 17 or line 26 on line 27.
Part II-C       Additional Child Tax Credit
 27     Enter this amount on line 15c .    .   .   .   .   .   .   .   .   .   .   .   .   .   .   .   .       .   .    .   .   .   .   .   .    27
                                                                                                                                            Schedule 8812 (Form 1040) 2021
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 386 of 393 Page ID #:386
Schedule 8812 (Form 1040) 2021                                                                                                                     Page 3
 Part III       Additional Tax (use only if line 14g or line 15f, whichever applies, is zero)
 28a    Enter the amount from line 14f or line 15e, whichever applies . . . . . . . . . . . . . . .                              28a
    b   Enter the amount from line 14e or line 15d, whichever applies . . . . . . . . . . . . . . .                              28b
 29     Excess advance child tax credit payments. Subtract line 28b from line 28a. If zero, stop; you do not owe the
        additional tax . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                               29
 30     Enter the number of qualifying children taken into account in determining the annual advance amount you
        received for 2021. See your Letter 6419 for this number. If you are missing your Letter 6419, you are filing a joint
        return, or you received more than one Letter 6419, see the instructions before entering a number on this line . .        30
        Caution: If the amount on this line doesn’t match the number of qualifying children reported to you (and your
        spouse if filing jointly) on your Letter(s) 6419, the processing of your return will be delayed.
 31     Enter the smaller of line 4a or line 30 . . . . . . . . . . . . . . . . . . . . . . .                                    31
 32     Subtract line 31 from line 30. If zero, skip to line 40 and enter the amount from line 29; otherwise, continue to
        line 33 . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                                  32
 33     Enter the amount shown below for your filing status.


                                                                      }
        • Married filing jointly or Qualifying widow(er)—$60,00
        • Head of household—$50,00
        • All other filing statuses—$40,00                                 . . . . . . . . . . . . . . .                        33
 34     Subtract line 33 from line 3. If zero or less, enter -0- . . . . . . . . . . . . . . . . . .                             34
 35     Enter the amount from line 33 . . . . . . . . . . . . . . . . . . . . . . . . .                                          35
 36     Divide line 34 by line 35. Enter the result as a decimal (rounded to at least three places). If the result is 1.000 or
        more, enter 1.000 . . . . . . . . . . . . . . . . . . . . . . . . . . . . .                                              36
 37     Multiply line 32 by $2,000 . . . . . . . . . . . . . . . . . . . . . . . . . .                                           37
 38     Multiply line 37 by line 36 . . . . . . . . . . . . . . . . . . . . . . . . . .                                          38
 39     Subtract line 38 from line 37 . . . . . . . . . . . . . . . . . . . . . . . . .                                          39
 40     Subtract line 39 from line 29. If zero or less, enter -0-. This is your additional tax. If more than zero, enter
        this amount on Schedule 2 (Form 1040), line 19 . . . . . . . . . . . . . . . . . . .                                     40
                                                                                                                            Schedule 8812 (Form 1040) 2021
»¹ÅÌ»ÈÏ»¸·Ê»È»º¿ÊÅÈÁÉ¾»»ÊƳ¿Ä»ʺʷ
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 387 of 393 Page ID #:387
»¼ÅÈ»ÏÅË¸»½¿ÄƓ                 6HHWKHLQVWUXFWLRQVIRUOLQHWRILQGRXWLI\RXFDQWDNHWKLVFUHGLWDQGIRUGHILQLWLRQVDQGRWKHU
                                  LQIRUPDWLRQQHHGHGWRILOORXWWKLVZRUNVKHHW
                                  ,I\RXUHFHLYHG1RWLFH&KDYHLWDYDLODEOH
                      'RQ¶WLQFOXGHRQOLQHDQ\DPRXQW\RXUHFHLYHGEXWODWHUUHWXUQHGWRWKH,56
                      ,I\RXFDQ WWDNHWKHUHFRYHU\UHEDWHFUHGLW\RXGRQ WKDYHWRUHSD\DQ\DPRXQWRI(,3RQ)RUPRU
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      UHWXUQ LQFOXGLQJH[WHQVLRQV IRU\RXDQGLIILOLQJDMRLQWUHWXUQ\RXUVSRXVH"
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          <HV *RWROLQH
          1R ,I\RXDUHILOLQJDMRLQWUHWXUQJRWROLQH
                ,I\RXDUHQ WILOLQJDMRLQWUHWXUQJRWROLQH
    :DVDWOHDVWRQHRI\RXDPHPEHURIWKH86$UPHG)RUFHVDWDQ\WLPHGXULQJDQGGRHVDWOHDVWRQHRI\RX
      KDYHDVRFLDOVHFXULW\QXPEHUWKDWZDVLVVXHGRQRUEHIRUHWKHGXHGDWHRI\RXUUHWXUQ LQFOXGLQJH[WHQVLRQV "
          <HV <RXUFUHGLWLVQRWOLPLWHG*RWROLQH
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    'RHVRQHRI\RXKDYHDVRFLDOVHFXULW\QXPEHUWKDWZDVLVVXHGRQRUEHIRUHWKHGXHGDWHRI\RXUUHWXUQ
      LQFOXGLQJH[WHQVLRQV "
         <HV <RXUFUHGLWLVOLPLWHG*RWROLQH
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      H[WHQVLRQV RUDQDGRSWLRQWD[SD\HULGHQWLILFDWLRQQXPEHU"
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 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 388 of 393 Page ID #:388


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                                   %HIRUHFRPSOHWLQJWKLVZRUNVKHHWFRPSOHWH)RUPRU65WKURXJKOLQH
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       WRILJXUHWKHWD[,IWKHDPRXQWRQOLQHLVRUPRUHXVHWKH7D[&RPSXWDWLRQ
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    $GGOLQHVDQG                                                                       
    )LJXUHWKHWD[RQWKHDPRXQWRQOLQH,IWKHDPRXQWRQOLQHLVOHVVWKDQXVHWKH7D[7DEOH
       WRILJXUHWKHWD[,IWKHDPRXQWRQOLQHLVRUPRUHXVHWKH7D[&RPSXWDWLRQ
       :RUNVKHHW                                                                           
    7D[RQDOOWD[DEOHLQFRPH(QWHUWKHVPDOOHURIOLQHRU$OVRLQFOXGHWKLVDPRXQWRQWKHHQWU\
       VSDFHRQ)RUPRU65OLQH,I\RXDUHILOLQJ)RUPGRQ¶WHQWHUWKLVDPRXQWRQWKH
       HQWU\VSDFHRQ)RUPRU65OLQH,QVWHDGHQWHULWRQOLQHRIWKH)RUHLJQ(DUQHG,QFRPH
       7D[:RUNVKHHW                                                                          
 ,I\RXDUHILOLQJ)RUPVHHWKHIRRWQRWHLQWKH)RUHLJQ(DUQHG,QFRPH7D[:RUNVKHHWEHIRUHFRPSOHWLQJWKLVOLQH




1HHGPRUHLQIRUPDWLRQRUIRUPV"9LVLW,56JRY                                 ƖʺʽƖ
 Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 389 of 393 Page ID #:389


Å¹¿·Â»¹ËÈ¿ÊÏ»Ä»¼¿ÊÉÅÈÁÉ¾»»ÊƳ¿Ä»Éʽ··Äºʽ¸                                                                                                       »»Æ¼ÅÈÅËÈ»¹ÅÈºÉ
 »¼ÅÈ»ÏÅË¸»½¿ÄƓ                      )LJXUHDQ\ZULWHLQDGMXVWPHQWVWREHHQWHUHGRQ6FKHGXOHOLQH] VHHWKHLQVWUXFWLRQVIRU6FKHGXOH
                                        OLQH] 
                                        ,I\RXDUHPDUULHGILOLQJVHSDUDWHO\DQG\RXOLYHGDSDUWIURP\RXUVSRXVHIRUDOORIHQWHU³'´WR
                                        WKHULJKWRIWKHZRUG³EHQHILWV´RQOLQHD,I\RXGRQ¶W\RXPD\JHWDPDWKHUURUQRWLFHIURPWKH,56
                                        %HVXUH\RXKDYHUHDGWKH([FHSWLRQLQWKHOLQHDDQGELQVWUXFWLRQVWRVHHLI\RXFDQXVHWKLV
                                        ZRUNVKHHWLQVWHDGRIDSXEOLFDWLRQWRILQGRXWLIDQ\RI\RXUEHQHILWVDUHWD[DEOH


     (QWHUWKHWRWDODPRXQWIURPER[RIDOO\RXU)RUPV66$DQG
       55%$OVRHQWHUWKLVDPRXQWRQ)RUPRU65
       OLQHD                                                          13596
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     (QWHUWKHDPRXQWLIDQ\IURP)RUPRU65OLQHD                                                                         0
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       (QWHUWKHWRWDORIWKHDPRXQWVIURP6FKHGXOHOLQHVWKURXJKDQGDQG
         QWH
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         QWHU                                                                                                                                                          412
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            1R              1RQHRI\RXUVRFLDOVHFXULW\EHQHILWVDUHWD[DEOH(QWHURQ)RUPRU
                 STOP
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     ,I\RXDUH
            0DUULHGILOLQJMRLQWO\HQWHU
            6LQJOHKHDGRIKRXVHKROGTXDOLI\LQJZLGRZ HU RUPDUULHGILOLQJ
           VHSDUDWHO\DQG\RXOLYHGDSDUWIURP\RXUVSRXVHIRUDOORI
           HQWHU                                                                                                                                  32000
            0DUULHGILOLQJVHSDUDWHO\DQG\RXOLYHGZLWK\RXUVSRXVHDWDQ\WLPH
           LQVNLSOLQHVWKURXJKPXOWLSO\OLQHE\  DQG
           HQWHUWKHUHVXOWRQOLQH7KHQJRWROLQH
     ,VWKHDPRXQWRQOLQHOHVVWKDQWKHDPRXQWRQOLQH"
           1R          1RQHRI\RXUVRFLDOVHFXULW\EHQHILWVDUHWD[DEOH(QWHURQ)RUPRU
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                         65OLQHE,I\RXDUHPDUULHGILOLQJVHSDUDWHO\DQG\RXOLYHGDSDUWIURP
                         \RXUVSRXVHIRUDOORIEHVXUH\RXHQWHUHG³'´WRWKHULJKWRIWKHZRUG
                         ³EHQHILWV´RQOLQHD
            <HV6XEWUDFWOLQHIURPOLQH                                                                          0

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       ZLGRZ HU RUPDUULHGILOLQJVHSDUDWHO\DQG\RXOLYHGDSDUWIURP\RXUVSRXVHIRUDOO
       RI                                                                               12000
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       RQ)RUPRU65OLQHE                                                                             0

      TIP    ,IDQ\RI\RXUEHQHILWVDUHWD[DEOHIRUDQGWKH\LQFOXGHDOXPSVXPEHQHILWSD\PHQWWKDWZDVIRUDQHDUOLHU
             \HDU\RXPD\EHDEOHWRUHGXFHWKHWD[DEOHDPRXQW6HH/XPS6XP(OHFWLRQLQ3XEIRUGHWDLOV




                                                                                                ƖʺʸƖ                         1HHGPRUHLQIRUPDWLRQRUIRUPV"9LVLW,56JRY
                               Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 390 of 393 Page ID #:390
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              )RUFDOHQGDU\HDURU¿VFDO\HDUEHJLQQLQJ                                           .7-270
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               %$!&"$*#




                                      KRISTEN A                                        PEARSON                                                                                                     27
                                       6SRXVH¶V¿UVWQDPHDQGLQLWLDO                  $98><.F<5*<=7*6.                                    $98><.F<$8,2*5$.,>;2=B7>6+.;$$                 .,.*<.-
                                      STEVEN R                                         COLLINS                                                                                                     27
                                       >;;.7=6*25270*--;.<<
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                                      HAYDEN                                                               ID        83835
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                                                $2705.             0DUULHG¿OLQJ                  0DUULHG¿OLQJ                   .*-8/                   ">*52/B270@2-8@.;
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                                                 'HSHQGHQW¶V¿UVWQDPH                              .9.7-.7=F<5*<=7*6.                          .9.7-.7=F<$$                     66--BBBB
                             STERLING                                                 COLLINS                                                                                         07/08/2014
                             HOLLEY                                                   COLLINS                                                                                         08/10/2012

                             VAUGHN                                                   COLLINS                                                                                         04/28/2016
                             TOBIAS                                                   COLLINS                                                                                         02/17/2018

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                $2705.8;                                             ,   /B8>;9*;.7=8;<86.87..5<.,*7,5*26B8>*<*
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              *;;2.-25270                         $=*7-*;--.->,=287$..27<=;>,=287<9*0.=8-.=.;627.*68>7=2/78=<=*7-*;- ƒ                                              25200 
               827=5B8;
               ">*52/B270                            $>+=;*,==1.$$8/527. 8; /;86527. /5.<<=1*7C.;8.7=.;C.;8                                             
               '2-8@.;
                                                   4XDOL¿HGEXVLQHVVLQFRPHGHGXFWLRQ ƒ                                
                                                      -*18=*A*+5.27,86.$>+=;*,=527. /;86527. ƒ                                  
                                                          %*A/;86=*+5.<8;;*=.<,1.->5.$..27<=;>,=287<9*0.  ƒ                               NRF 
                                                                                 "!&!'&"#

                                            -*18$=*=.%*A8662<<287! 8A82<.                                   
                                                      !'" #&"#*"*"'$$$&'$!
                                                                                                                                   !*0. 8/ 
     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 391 of 393 Page ID #:391
                                                                                                                                                   
       !'='35:49,7532/4+                           
! /LPLWVDSSO\6HHLQVWUXFWLRQVSDJH
    4)53+9'=6'/*9559.+789'9+84)2:*+573 '4*')56>5,59.+789'9+8@7+9:748ƒ                                              
    !59'2)7+*/98,753573 '792/4+ 4)2:*+573                                            
    !59'2(:8/4+88/4)53+9'=)7+*/98,753573 '792/4+ 4)2:*+573                                                      
    *'.5./2*!'=7+*/9536:9+*'35:49,753<5718.++9546'-+ ƒ                                                  
   !! **2/4+8 9.75:-.                                       
   :(97')92/4+ ,7532/4+ ,2/4+ /8357+9.'42/4+ +49+7?+75                                                    
  !$ 6HHLQVWUXFWLRQVSDJH
   :+28:8+9'=*:+4)2:*+573                                   
   6DOHVXVHWD[GXHRQXQWD[HGSXUFKDVHV RQOLQHPDLORUGHUDQGRWKHU  ƒ                                                         12 
   !59'29'=,7537+)'69:7+5,/4)53+9'=)7+*/98,753573 '792/4+4)2:*+573                                                                   
    7D[IURPUHFDSWXUHRITXDOL¿HGLQYHVWPHQWH[HPSWLRQ 4,( ,QFOXGH)RUP(5 ƒ                                                              
    +73'4+49(:/2*/4-,:4*9'=
     .+)19.+(5=/,>5:7+)+/;+**'.56:(2/)'88/89'4)+6'>3+498,57   ƒ                                                              
    !$**2/4+8 9.75:-.  ƒ                               12 
  ! 6HHLQVWUXFWLRQVSDJH           <'4995*54'9+95
    *'.554-'3+$/2*2/,+:4*ƒ                         *'.5./2*7+4@8!7:89:4*ƒ
   6+)/'22>36/)8*'.5ƒ                   *'.5:'7*+8+7;+'3/2>ƒ
   3+7/)'4+*75885,*'.5:4*ƒ                           #+9+7'48 :66579:4*ƒ
   *'.555*'41:4*ƒ                     66579:4/9> ).52'78./675-7'3ƒ
    !$"  ! **2/4+8 9.75:-.                                               12 
%!  !! 
    75)+7>7+*/9536:9+*'35:49,753<5718.++9546'-+  ƒ 600
     !5*54'9+>5:7-75)+7>)7+*/9959.+556+7'9/;+$+2,'7+:4*).+)19.+(5='4*+49+7?+75542/4+                     ƒ
     #%"%!+49+79.+)536:9+*'35:49542/4+  ƒ                                                       600 
    '/49'/4/4-'.53+,57,'3/2>3+3(+7'-+ 5752*+757*+;+2563+49'22>*/8'(2+*4)2:*+573  ƒ                                                                     
    6+)/'2,:+289'=7+,:4*                       '852/4+9'=7+,:4*                                4)2:*+573                                                        
   *'.5/4)53+9'=</9..+2*4)2:*+573$ 8'4*'4> 89.'98.5<*'.5</9..52*/4- ƒ                                                                    
    573 +89/3'9+*6'>3+498'4*'35:49'662/+*,753  7+9:74 ƒ                                                              
   '/*(>+49/9> ƒ                      $/9..+2* ƒ                   ƒ                        ++/4897:)9/548                                                     
   !'=+/3(:78+3+494)+49/;+)7+*/9ƒ                  2'/35,/-.9)7+*/9ƒ                        ++/4897:)9/548                                                   
   !%!  !! **2/4+8 9.75:-.                                                   600 
$ ""6HHLQVWUXFWLRQVSDJH
    $ ",2/4+ /8357+9.'42/4+ 8:(97')92/4+ ,7532/4+  ƒ                                                           
    +4'29>ƒ                     49+7+89,7539.+*:+*'9+ƒ                        49+7959'2                                                  
     &KHFNER[LISHQDOW\LVFDXVHGE\DQXQTXDOL¿HG,GDKRPHGLFDOVDYLQJVDFFRXQWZLWKGUDZDO ƒ
    ! "**2/4+8 '4* '>542/4+573'1+).+)16'>'(2+959.+*'.5 9'9+!'=533/88/54 ƒ                                                                       
      #,2/4+ /82+889.'42/4+ 8:(97')92/4+8 '4* ,7532/4+  ƒ                                           588 
    "35:495,2/4+ 95(+7+,:4*+*95>5: ƒ                                               588 
      !!$35:495,2/4+ 95(+'662/+*95>5:7  +89/3'9+*9'= ƒ                                                         
      'LUHFW'HSRVLW6HHLQVWUXFWLRQVSDJH ƒ                             &KHFNLI¿QDOGHSRVLWGHVWLQDWLRQLVRXWVLGHWKH86
ƒ 5:9/4-5      1     2    1    0   0   0    3    5   8      ƒ ))5:495                                                                                   ))5:49 ƒ    ';/4-8

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       !59'2*:+2/4+ 575;+76'/*2/4+ 549./87+9:74              
       +,:4*,75357/-/4'27+9:7462:8'**/9/54'27+,:4*8 ƒ   
      !'=6'/*</9.57/-/4'27+9:7462:8'**/9/54'29'=6'/* ƒ         
       3+4*+*9'=*:+577+,:4***2/4+8 '4* 9.+48:(97')92/4+                           
          :LWKLQGD\VRIUHFHLYLQJWKLVUHWXUQWKH,GDKR6WDWH7D[&RPPLVVLRQPD\GLVFXVVWKLVUHWXUQZLWKWKHSDLGSUHSDUHULGHQWL¿HGEHORZ
 ƒ
          "4*+76+4'29/+85,6+70:7>*+)2'7+9.'9959.+(+895,3>145<2+*-+'4*(+2/+,9./87+9:74/897:+)577+)9'4*)5362+9+ ++/4897:)9/548
          %5:78/-4'9:7+                                                                   65:8+@88/-4'9:7+/,'05/497+9:74(59.3:898/-4                '9+
          ƒ                                                                            ƒ

  '/*67+6'7+7@88/-4'9:7+                                                         7+6'7+7@8           !                           !'=6'>+7@86.54+4:3(+7
          ƒ                                                                            ƒ
 7+6'7+7@8'**7+88                                                      9'9+        &)5*+                     7+6'7+7@86.54+4:3(+7


                                                                                                                  '-+ 5, 
   Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 392 of 393 Page ID #:392
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                                       ')%                                                                                                                        
                                       *#&+,(($%&+$",$
",70=,==39A898<0>?<8                                                                                                            &9.4,6                  -0<
 KRISTEN A PEARSON & STEVEN R COLLINS

 #+#'&*#&*+),+#'&*(! 
      0/0<,680>9:0<,>48269==/0/?.>49848.6?/0/989<7 6480 ƒ                                                     
         ,:4>,669==.,<<C9@0<48.?<<0/9?>=4/0>30=>,>0-019<0-0.97482,8/,39<0=4/08> ƒ                                                             
         "98/,39=>,>0,8/69.,6-98/48>0<0=>,8//4@4/08/= ƒ                                            
       /,39.966020=,@482=,..9?8>A4>3/<,A,6 ƒ                                      
       98?=/0:<0.4,>4988.6?/010/0<,69<7 =
             30.5>30-9B41C9?3,@0,.?<<08>C0,<10/0<,6:,==4@069==6474>,>498ƒ                                       ƒ                      
       #>30<,//4>498=8.6?/00B:6,8,>498 ƒ                                 
     '9>,6,//4>498=//6480= >3<9?238>0<30<0,8/989<7 6480 ƒ                                                       
 ,+)+#'&*#&*+),+#'&*(! 
      /,3980>9:0<,>48269==.,<<C9@0<      ƒ
          /,3980>9:0<,>48269==.,<<C-,.5                     ƒ                          8>0<>9>,630<0                               
         &>,>048.970>,B<01?8/4148.6?/0/4810/0<,648.970 ƒ                                          
         8>0<0=>1<97(&29@0<8708>9-642,>498= ƒ                                     
       (QHUJ\HႈFLHQF\XSJUDGHV ƒ                               
       6>0<8,>4@0080<2C/0@4.0/0/?.>498
                 +0,<
               .;?4<0/       'C:0910@4.0                             '9>,69=>         $0<.08>,20
             ,                                                                      *                 , ƒ                                  
             -                                                                      *                  - ƒ                                  
             .                                                                     *                  . ƒ                                  
             /                                                                     *                  / ƒ                                  
             0 //6480=,>3<9?23/,8E>0B.00/                         ƒ   0                 
       346/ /0:08/08>.,<097:60>0A9<5=300>98:,20                                ,8/48.6?/010/0<,69<7   ƒ                                2541 

       6RFLDO6HFXULW\DQGUDLOURDGEHQH¿WVLILQFOXGHGLQIHGHUDOLQFRPH ƒ                                                 
       5HWLUHPHQWEHQH¿WVGHGXFWLRQ
             , ,IVLQJOHHQWHURULIPDUULHG¿OLQJMRLQWO\HQWHU                           ƒ ,                               
             - )HGHUDO5DLOURDG5HWLUHPHQWEHQH¿WVUHFHLYHG ƒ -                                                    
             . 6RFLDO6HFXULW\EHQH¿WVUHFHLYHG ƒ .                                           
             / 480,748?=6480=-,8/.160==>3,8D0<908>0<D0<9                               /                             
             0 4XDOL¿HGUHWLUHPHQWEHQH¿WVLQFOXGHGLQIHGHUDOLQFRPH ƒ 0                                                        
              1 8>0<>30=7,660<916480/9<030<0 ƒ               1                 
       '0.3896924.,60;?4:708>/98,>498 ƒ                                  
         /,39.,:4>,62,48=/0/?.>4988.6?/09<7 ƒ                                          
         .>4@0/?>C7464>,<C:,C0,<80/9?>=4/091/,39 ƒ                                       
         /9:>4980B:08=0= ƒ                         
         /,3970/4.,6=,@482=,..9?8>98><4-?>498=                                               8>0<0=>
             48,8.4,648=>4>?>498                                              ..9?8>8?7-0<                                                     ƒ                      
       /,39.966020=,@482=:<92<,7 ƒ                                
       97019<>30,20/9</0@069:708>,66C/4=,-60/97:60>0$,<>6480                                      ƒ                     
       /,3969>>0<CA488482=60==>3,8                  :0<:<4D0 ƒ                       
       8.9700,<80/98,<0=0<@,>498-C,870<4.,88/4,8 ƒ                                               
#                                                                                                                                                          $,20 91 
     Case 2:23-cv-03882-DSF-MRW Document 1 Filed 05/18/23 Page 393 of 393 Page ID #:393
                                                                                                                                ')%   
",70=,==39A898<0>?<8                                                                                                      &9.4,6&0.?<4>C8?7-0<
KRISTEN A PEARSON & STEVEN R COLLINS
        0,6>348=?<,8.0:<074?7= ƒ                            
        982>0<7.,<048=?<,8.0 ƒ                           
          )9<50<=E.97:08=,>49848=?<,8.0 ƒ                                 
          98?=/0:<0.4,>4988.6?/09<7 = ƒ                                    
          4<=>>4703970-?C0<=,@482=,..9?8>               98><4-?>498=                           8>0<0=>
           48,8.4,648=>4>?>498                                 ..9?8>8?7-0<                                                                  
              ƒ        %\FKHFNLQJWKHER[,DWWHVWWKDW,DPD¿UVWWLPHKRPHEX\HU6HHLQVWUXFWLRQV                                   ƒ                             
          #>30<=?-><,.>498=8.6?/00B:6,8,>498 ƒ                                 
        '9>,6=?-><,.>498=//6480= >3<9?230>3<9?23,8/1>3<9?23 
           8>0<30<0,8/989<7 6480  ƒ                          2541 
 )#+ ')#&'%+/(#+''+")*++*#&*+),+#'&*(!                                   
   '34=.<0/4>4=-0482.6,470/19<>,B0=:,4/>9 ƒ                                                                                            &>,>08,70

          /,39>,B9<7 6480                                   
                                                                                                                                             8.6?/0,.9:C91>30
          )HGHUDODGMXVWHGJURVVLQFRPHHDUQHGLQRWKHUVWDWHDGMXVWHGIRU                                                                 48.970>,B<0>?<8,8/
            ,GDKRPRGL¿FDWLRQV6HHLQVWUXFWLRQV ƒ                                       ,*()+')% 
          ,GDKRDGMXVWHGLQFRPH6HHLQVWUXFWLRQV                                          19<0,.3=>,>019<A34.3
                                                                                                                                             ,.<0/4>4=.6,470/
        4@4/06480 -C6480 8>0<:0<.08>,2030<0                                          
        !?6>4:6C6480 -C64808>0<,79?8>30<0                                   
        #>30<=>,>0E=>,B/?0748?=4>=48.970>,B.<0/4>= ƒ                                      
     8>0<>30=7,660<916480=9<30<0,8/989<7 6480  ƒ                                                
 )#+* ')"',+#'&$&+#+0&"'0',+"&)"#$#++#'&
   #$#+0'&+)#,+#'&*&$#-')!&'&+#'&/(&**#&*+),+#'&*(! 
          <0/4>19</,390/?.,>498,608>4>C.98><4-?>498= ƒ                                    
          <0/4>19</,39C9?>3,8/<03,-464>,>4981,.464>C.98><4-?>498= ƒ                                         
          <0/4>19<64@09<2,8/98,>4980B:08=0= ƒ                                 
     '9>,6.<0/4>=//6480= >3<9?23 8>0<>9>,630<0,8/989<7 6480                                                           
 #&+#&#&!"'%     ') %#$0%%)! ')'$)') %#$0%%).#+"
   -$'(%&+$#*#$#+0#&*+),+#'&*(! 
      4/C9?7,48>,48,397019<,84770/4,>01,746C707-0<,209<96/0<89>48.6?/482
        C9?,8/C9?<=:9?=0,8/:<9@4/079<0>3,89803,6191>3,>:0<=98E==?::9<>                                             +0=           "9
      4/C9?7,48>,48,397019<,84770/4,>01,746C707-0<A4>3,/0@069:708>,6/4=,-464>C
        48.6?/482C9?,8/C9?<=:9?=0,8/:<9@4/079<0>3,89803,6191>3,>:0<=98E==?::9<>                                                 +0=           "9
          4=>0,.31,746C707-0<C9?E<0.6,47482
                            ,746C!07-0<E=",70                               ,746C!07-0<E=        %06,>498=34:>9$0<=98       ,746C!07-0<E=         30.50<041
          4<=>",70                               ,=>",70                     &9.4,6&0.?<4>C           46482%0>?<8               4<>3/,>0            0@069:708>,66C
                                                                                   "?7-0<                                            77 // CCCC              4=,-60/




        '9>,6,79?8>.6,470/   19<0,.3;?,641C482707-0<-?>89>79<0>3,8                                
           8>0<30<0,8/989<7 6480                                 
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                                                                                                                                                          4<>3/,>0
                    4<=>",70                                                  ,=>",70                              &9.4,6&0.?<4>C"?7-0<
                                                                                                                                                        77 // CCCC




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